Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 1 of 225 PageID #: 11
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 2 of 225 PageID #: 12




           DOCUMENT A: APPEARANCE
                                                                        Filed: 10/17/2018 4:49 PM
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 3 of 225 PageID   #: 13Nicole Browne
                                           Monroe Circuit Court 1                                               Clerk
                                                                                               Monroe County, Indiana



   STATE OF INDIANA                                    )        IN THE MONROE SUPERIOR/CIRCUIT
                                                                COURT
                                                       ) SS:
   COUNTY OF MONROE                                    )     CAUSE NO:        53C01-1810-PL-002169


   JADEN THOMAS, RYAN BRAVERMAN,                       )
   KATIE DEDELOW, JAKE RAMSEY,                         )
   ISABELLA BLACKFORD, MICHAEL                         )
   DUKE, LINDSAY FREEMAN, individuals,                 )
   each on behalf of himself/herself and all           )
   others similarly situated,                          )
                                                       )
                                                       )
                          Plaintiffs,
                                                       )
           v.
                                                       )
                                                       )
   INDIANA UNIVERSITY, by and through
                                                       )
   its Board of Trustees,

                          Defendant.


                                           APPEARANCE

           This Appearance Form must be filed on behalf of every party in a civil case.

      1. The party on whose behalf this form is being filed is:
         Initiating _X_        Responding ____         Intervening ____ ; and

          the undersigned attorney and all attorneys listed on this form now appear in this case for
          the following parties:

          Name of party___Jaden Thomas, Ryan Braverman, Katie Dedelow, Jake Ramsey,
          Isabella Blackford, Michael Duke, Lindsay Freeman, individuals, each on behalf of
          himself/herself and all others similarly situated ______________________________

   (List on a continuation page additional parties this attorney represents in this case.)

      2. Attorney information for service as required by Trial Rule 5(B)(2)

          Name: Jacob R. Cox                     Atty Number: 26321-49
          Address: Cox Law Office                Phone: 317-884-8550
          1606 N. Delaware St.                   FAX: 317-660-2453
          Indianapolis, Indiana 46202            Email Address: jcox@coxlaw.com
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 4 of 225 PageID #: 14



        Name: Jonathon B. Noyes               Atty Number: 31444-49
        Name: William E. Winingham            Atty Number: 1309-49
        Address: 2859 North Meridian St.      Phone: (317) 920-6400
        Indianapolis, IN 46208                FAX: (317) 920-6405
                                              Email Address: jnoyes@wkw.com
                                              Email Address: winingham@wkw.com


     3. This is a _PL_________ case type as defined in administrative Rule 8(B)(3).

     4. I will accept service by FAX at the above noted number: Yes ____ No _X_

     5. This case involves child support issues. Yes ____ No _X_ (If yes, supply social security
        numbers for all family members on a separately attached document filed as confidential
        information on light green paper. Use Form TCM-TR3.1-4.)

     6. This case involves a protection from abuse order, a workplace violence restraining order,
        or a no – contact order. Yes ____ No _X_ (If Yes, the initiating party must provide an
        address for the purpose of legal service but that address should not be one that exposes
        the whereabouts of a petitioner.) The party shall use the following address for purposes
        of legal service:

        __X__         Attorney’s address
        ______        The Attorney General Confidentiality program address
                      (contact the Attorney General at 1-800-321-1907 or e-mail address is
                      confidential@atg.state.in.us).
        ______        Another address (provide)
        ______________________________________________________________

     7. This case involves a petition for involuntary commitment. Yes ____ No _X_

     8. If Yes above, provide the following regarding the individual subject to the petition for
        involuntary commitment:
        a. Name of the individual subject to the petition for involuntary commitment if it is not
        already provided in #1 above: ____________________________________________
        b. State of Residence of person subject to petition: _______________
        c. At least one of the following pieces of identifying information:
             (i) Date of Birth ___________
             (ii) Driver’s License Number ______________________
                   State where issued _____________ Expiration date __________
             (iii) State ID number ____________________________
                   State where issued _____________ Expiration date ___________
             (iv) FBI number __________________________
             (v) Indiana Department of Corrections Number _______________________
             (vi) Social Security Number is available and is being provided in an attached
                   confidential document Yes ____ No ____
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 5 of 225 PageID #: 15




     9. There are related cases: Yes ____ No _X_ (If yes, list on continuation page.)

     10. Additional information required by local rule:
         _____________________________________________________________________

     11. There are other party members: Yes ____ No_X_ (If yes, list on continuation page.)

     12. This form has been served on all other parties and Certificate of Service is attached:
         Yes_ __ No _X_




  Respectfully submitted,


  COX LAW OFFICE                                       WILSON KEHOE WININGHAM


  /s/ Jacob R. Cox__________________                   /s/ Jonathon B. Noyes____________
  Jacob R. Cox, Attorney No. 26321-49                  Jon Noyes, Attorney No. 31444-49
  COX LAW OFFICE                                       William E. Winingham, Atty. No. 1309-49
  1606 N. Delaware Street                              Wilson Kehoe Winingham LLC
  Indianapolis, Indiana 46202                          2859 N. Meridian Street
  T: 317.884.8550                                      Indianapolis, Indiana 46204
  F: 317.660.2453                                      T: 317.920.6400
  jcox@coxlaw.com                                      F: 317.920.6405
  Attorney for Plaintiffs                              jnoyes@wkw.com.com
                                                       winingham@wkw.com
                                                       Attorney for Plaintiffs
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 6 of 225 PageID #: 16




             DOCUMENT B: COMPLAINT
                                                                        Filed: 10/17/2018 4:49 PM
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 7 of 225 PageID   #: 17Nicole Browne
                                            Monroe Circuit Court 1                                              Clerk
                                                                                               Monroe County, Indiana



   STATE OF INDIANA                                       )      IN THE MONROE SUPERIOR/CIRCUIT
                                                                 COURT
                                                          ) SS:
   COUNTY OF MONROE                                       )     CAUSE NO:   53C01-1810-PL-002169



   JADEN THOMAS, RYAN BRAVERMAN,                          )
   KATIE DEDELOW, JAKE RAMSEY,                            )
   ISABELLA BLACKFORD, MICHAEL                            )
   DUKE, and LINDSAY FREEMAN,                             )
   individuals, each on behalf of himself/herself         )
   and all others similarly situated,                     )
                                                          )
                                                          )
                          Plaintiffs,
                                                          )
             v.
                                                          )
                                                          )
   INDIANA UNIVERSITY, by and through
                                                          )
   its Board of Trustees,
                                                          )
                                                          )
                          Defendant.



                                             COMPLAINT

         Plaintiffs, Jaden Thomas, Ryan Braverman, Katie Dedelow, Jake Ramsey, Isabella

  Blackford, Michael Duke, and Lindsay Freeman (“Plaintiffs”), by counsel, each on behalf of

  himself/herself and all others similarly situated, for their Complaint against Defendant, allege as

  follows:

                                        PARTIES, JURISDICTION

         1.       Plaintiff Jaden Thomas is a freshman student who resides on campus at McNutt

  Dormitory at Indiana University in Bloomington, Indiana.

         2.       Plaintiff Ryan Braverman is a freshman student who resides on campus at McNutt

  Dormitory at Indiana University in Bloomington, Indiana.




                                                      1
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 8 of 225 PageID #: 18



         3.      Plaintiff Katie Dedelow is a freshman student who resides on campus at Foster

  Dormitory at Indiana University in Bloomington, Indiana.

         4.      Plaintiff Jake Ramsey is a freshman student who resides on campus at Foster

  Dormitory at Indiana University in Bloomington, Indiana.

         5.      Plaintiff Isabella Blackford is a freshman student who resides on campus at Foster

  Dormitory at Indiana University in Bloomington, Indiana.

         6.      Plaintiff Michael Duke is a freshman student who resides on campus at McNutt

  Dormitory at Indiana University in Bloomington, Indiana.

         7.      Plaintiff Lindsay Freeman is a freshman student who resides on campus at Foster

  Dormitory at Indiana University in Bloomington, Indiana.

         8.      Indiana University is a public university in the State of Indiana with its principal

  campus in Bloomington, Indiana. Indiana University, by and through its Board of Trustees (herein

  “IU”), operates and maintains the residential dormitories located at Indiana University in

  Bloomington, Indiana.

         9.      This Court has subject matter jurisdiction over this matter because Plaintiffs and

  the putative class members are each individuals who attend college in the State of Indiana and who

  were injured in Indiana due to the unlawful actions of Defendant as set forth below.

         10.     This Court has personal jurisdiction over Defendant because Defendant does

  business in, and is a political subdivision of, the State of Indiana including specifically via the

  business activities and conduct at issue in this Complaint.

         11.     This Court is a preferred venue for this matter because IU maintains its principal

  office, and also the office to which the Complaint relates, in Monroe County, Indiana and the real

  property at issue in this matter is located in Monroe County, Indiana.


                                                   2
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 9 of 225 PageID #: 19



                                     FACTUAL ALLEGATIONS

         12.       Plaintiffs are each students at IU who, during the Fall Semester of 2018, moved

  into and lived on campus in residential dormitories that were operated and maintained by IU’s

  Division of Residential Programs & Services, including specifically the McNutt and Foster Quad

  dormitories.

         13.       IU generally opened residence halls and dormitories for students such as Plaintiffs

  to move into on or about August 12, 2018, and classes at IU thereafter began on August 20, 2018.

         14.       Plaintiffs each moved into residential dormitories provided and maintained by IU

  in mid-August, 2018 and then began to reside there as they began the Fall Semester and their

  studies at IU.

         15.       Unknown to Plaintiffs at the time they moved into and took possession of the IU

  dormitory residences that were assigned to them, IU had failed to provide dormitory buildings

  and/or residential units to Plaintiffs and members of the putative Class that were in safe, clean, and

  habitable condition.

         16.       Instead, the IU dormitories were infested with mold that created a dangerous and

  toxic environment for Plaintiffs and members of the putative Class.

         17.       For example, mold existed on various surfaces and in various locations throughout

  the rooms and dormitories, including in air vents, behind furniture, on plumbing fixtures and pipes,

  and on the walls and backs of closet doors closets where students were supposed to store their

  clothes and other property.

         18.       Upon information and belief, this mold infestation has been an ongoing problem

  for years at IU (including specifically at McNutt and Foster).

         19.       IU has known about the mold problem in its dormitories.


                                                    3
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 10 of 225 PageID #: 20



         20.     IU has through the date of this Complaint failed to adequately remediate the mold

  and/or cure problems and conditions at the IU dormitories that caused said mold.

         21.     Since mid-August, 2018, and as the extent of the mold problems have been

  discovered and students have become more and more sick, Plaintiffs and other members of the

  putative Class or their families have repeatedly contacted IU regarding the mold infestation and in

  an attempt at getting IU to fix the mold problem and provide remedy for the injuries to Plaintiffs

  and the other members of the putative Class that were caused by that mold.

         22.     However, the repeated requests and demands of Plaintiffs and other students and

  family members to comprehensively address and remove the dangerous mold infestation have

  gone unanswered, and as of the date of this filing the IU dormitories remain infested with mold

  and a danger to the students who live there.

         23.     IU has further refused to provide detailed information to Plaintiffs and other

  members of the putative Class or their families regarding the nature of the mold that has infested

  the dormitories or the specific steps taken by IU to remediate that mold.

         24.     Upon information and belief, to the extent IU has attempted to clean or remediate

  mold in the dormitories, it has done so only on a piecemeal basis and without following applicable

  industry standards for effective mold remediation.

         25.     Students living in these dorms have suffered health problems and illnesses due to

  their exposure to the toxic mold, including hives and sores, breathing and respiratory difficulties,

  fatigue, and other serious and disruptive injuries and symptoms, and a number of students have

  even been forced to move out of the dormitories due to health-related problems that they have

  experienced.




                                                   4
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 11 of 225 PageID #: 21



         26.     Plaintiffs now bring this action on behalf of themselves and other similarly situated

  individuals to (i) obtain an accounting as to the extent of the mold infestation and issues known to

  IU and efforts taken to date, and planned in the future, to remediate that mold, (ii) obtain injunctive

  relief to prevent Defendant from continuing to fail to remedy the mold problem in its dormitories,

  (iii) reimburse them for the damages caused by IU’s actions as alleged herein.

         27.     All conditions precedent to Plaintiff’s claims1 and the claims of the Class have

  occurred, have been performed, or have been excused or waived.

                           CLASS DEFINITION AND ALLEGATIONS

         28.     Plaintiffs bring this action on behalf of themselves and members of a Class defined

  as:

                 All individuals who resided at IU residential dormitories for the Fall,
                 2018 Semester and were exposed to and suffered injury due to mold
                 that was present in the IU residential dormitory where that individual
                 resided. Excluded from the Class are Defendant(s) and their officers,
                 directors and employees.

         29.     Numerosity. The members of the Class are so numerous that joinder of all members

  of the Class is impracticable. Upon information and belief, the proposed Class contains hundreds

  or even thousands of students who were provided residential dwelling units in IU dormitories, that

  include the McNutt and Foster Quad buildings, that were infested with mold and whom have been

  damaged by Defendant’s conduct as alleged herein. Individual joinder of each such Class member

  would be impractical. The precise number of Class members is unknown to Plaintiffs at this time




  1
   Plaintiffs anticipate the potential need to amend their Complaint to add additional claims arising
  in tort after following the procedure required by the Indiana Tort Claims Act. Whether such
  amendment is necessary will depend on whether Defendant responds to and cures issues
  identified in the notice of claims provided by Plaintiffs on October 16, 2018 under the Indiana
  Tort Claims Act.
                                                    5
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 12 of 225 PageID #: 22



  but Plaintiffs’ counsel has been contacted by dozens of parents and students regarding these issues

  and is aware that hundreds have participated in social media groups and mass communications.

         30.     Existence and Predominance of Common Questions of Law and Fact. This action

  involves common questions of law and fact, which predominate over any questions affecting

  individual Class members. These common legal and factual questions include, but are not limited

  to, the following:

                   (a)    whether Defendant has breached its contract with Plaintiffs and members

           of the putative Class by providing dwelling units in dormitories that are infested with

           dangerous and toxic mold;

                   (b)    whether Defendant has breached an implied warranty of habitability to

           Plaintiffs and members of the putative Class by providing dwelling units in dormitories

           that are infested with dangerous and toxic mold;

                   (c)    whether Defendant has breached its obligations under the applicable

          health code or other laws and regulations governing the condition of residential

          dormitories provided to Plaintiffs and member of the putative Class;

                   (d)    whether the alleged conduct constitutes violations of the laws asserted;

                   (e)    whether Plaintiff and the putative Class members have sustained monetary

           loss and the proper measure of that loss; and

                   (f)    whether Plaintiffs and the Class members are entitled to other appropriate

           remedies, including but not limited to equitable remedies, injunctive relief or an

           accounting as to the measures taken and to be taken by IU to remedy the injuries caused

           by the conduct identified herein.




                                                  6
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 13 of 225 PageID #: 23



         31.     Typicality. Plaintiffs’ claims are typical of the claims of the members of the Class

  because, inter alia, all Class members were injured through the uniform unlawful conduct

  described above. Plaintiffs are advancing the same claims and legal theories on behalf of

  themselves and all members of the Class. Plaintiffs are representative of the Class and have

  standing to advance these claims because they were subject to and injured by Defendant’s conduct

  such that they suffered damages that were proximately caused by Defendant’s wrongful actions as

  set forth in greater detail above and are at issue in this Complaint.

         32.     Adequacy of Representation. Plaintiffs wish to represent the Class because each of

  the Plaintiffs feel that he or she has been harmed by wrongful actions of Defendant, wishes to

  obtain redress for the wrongs that have been done to Plaintiffs, and also wish to ensure Defendant

  is not allowed to perpetrate similar wrongs on Plaintiffs’ fellow students who reside alongside

  them and make up their classmates and school community at IU. Plaintiffs will fairly and

  adequately protect the interests of the members of the Class and does not have interests that conflict

  with or are antagonistic to the interests of the Class member. Plaintiffs have retained counsel

  experienced in mold litigation, personal injury and property damage litigation, and class action

  litigation, and who are knowledgeable of applicable law to claims for the Class, and Plaintiffs

  intends to prosecute this action vigorously.

         33.     Superiority. A class action is superior to all other available means for the fair and

  efficient adjudication of this controversy. The damages or other financial detriment suffered by

  individual Class members is relatively small compared to the burden and expense that would be

  entailed by individual litigation of their claims against Defendant, including the necessity of

  extensive discovery and the likely need for and use of expert witnesses in relation to the issues

  raised in this litigation as well as in developing and implementing the relief necessary to remediate


                                                    7
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 14 of 225 PageID #: 24



  the mold issues identified herein. It would be virtually impossible for the Class, on an individual

  basis, to obtain effective redress for the wrongs done to them. Furthermore, even if Class members

  could afford such individualized litigation, the court system would be overwhelmed by such

  redundant litigation of the same factual issues set forth in this Complaint. Individualized litigation

  would create the danger of inconsistent or contradictory judgments arising from the same set of

  facts. Individualized litigation would also increase the delay and expense to all parties and the

  court system from the issues raised by this action. By contrast, the class action device provides the

  benefits of adjudication of these issues in a single proceeding, economies of scale, and

  comprehensive supervision by a single court, and presents no unusual management difficulties

  under the circumstances here.

         34.       Plaintiff seeks preliminary and permanent injunctive, declaratory and equitable

  relief on behalf of the entire Class, on grounds generally applicable to the entire Class, to enjoin

  and prevent Defendant from engaging in the acts described, to require Defendant to conduct

  comprehensive mold remediation in a manner that is effective in the circumstances and in

  compliance with applicable industry standards, and requiring Defendant to provide full restitution

  to Plaintiff and all other Class members for all injuries suffered.

         35.       Unless a Class is certified, Defendant will have no obligation to remedy injuries

  caused as a result of its conduct and in relation to Plaintiff and Class members, and will also have

  no obligation to conduct mold remediation that is both effective and in compliance with industry

  standards as it relates to all members of the putative Class. Unless a Class-wide injunction and/or

  order for declaratory relief is issued, Defendant will continue to commit the violations alleged, and

  the members of the Class and the general public will continue to suffer injuries such as those

  alleged above.


                                                    8
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 15 of 225 PageID #: 25



         36.     Defendant has acted and refused to act on grounds generally applicable to the Class,

  making appropriate final injunctive and/or declaratory relief with respect to the Class as a whole.

                                    Count I: Breach of Contract

         37.     Plaintiffs incorporate by reference and re-allege each and every allegation set forth

  in paragraphs 1 through 36 above as if fully set forth herein.

         38.     Plaintiffs each bring this claim individually and on behalf of the putative Class.

         39.     Defendant and Plaintiffs each entered into a contract by which Defendant agreed to

  provide residential dormitories to Plaintiffs and other member of the putative class that were

  suitable and ready for inhabitation by students attending and residing at IU.

         40.     Defendant breached its contract by providing residential dwellings to Plaintiffs and

  members of the putative Class that were infested with mold and that were not clean, safe, or

  habitable, but instead dangerous and injurious to the health and property of Plaintiffs and the

  members of the putative Class.

         41.     Despite notice of its failure to provide such safe, clean and habitable residential

  units to Plaintiffs and members of the putative class, and the allowance of a reasonable time to

  make repairs or otherwise remedy the mold and unsanitary and dangerous conditions described in

  said notice, IU has failed to adequately repair or provide a remedy for these unsafe conditions.

         42.     Plaintiffs and the members of the putative Class have been injured and have

  suffered harm proximately caused by Defendant’s breach of contract.

         43.     The injuries of Plaintiffs and the members of the putative Class include but are not

  limited to such damages as personal injury, medical expenses, damage to property, additional

  living expenses and the need for appropriate alternative residential lodging during any remediation




                                                   9
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 16 of 225 PageID #: 26



  of the mold infestation, mental anguish, pain and suffering, and other potential actual or

  consequential damages arising from the conduct described herein.

          WHEREFORE, Plaintiffs, each as individuals and on behalf of all individuals similarly

  situated, pray for judgment against Defendant in favor of Plaintiffs and the Class members for

  actual and consequential damages, for appropriate injunctive and/or declaratory relief, for

  attorneys fees and costs, for pre- and post-judgment interest, and for all other relief just and proper

  in the premises.

                      Count II: Breach of Implied Warranty of Inhabitability

         44.     Plaintiffs incorporate by reference and re-allege each and every allegation set forth

  in paragraphs 1 through 43 above as if fully set forth herein.

         45.     Plaintiffs and the putative Class members each entered into an agreement with

  Defendant for Defendant to provide residential units and common areas at its dormitories for

  Plaintiffs and the putative Class members to reside in while studying at IU.

         46.     Defendant made an implied warranty of habitability as to the nature of these rooms

  and living areas including specifically that they would be clean, safe, and habitable for the intended

  use as a residential dwelling.

         47.     Defendant breached this implied warranty of habitability by providing residential

  dwellings to Plaintiffs and members of the putative Class that were infested with mold and that

  were not clean, safe, or habitable, but instead dangerous and injurious to the health and property

  of Plaintiffs and the members of the putative Class.

         48.     Despite notice of its failure to provide such safe, clean and habitable residential

  units to Plaintiffs and members of the putative class, and the allowance of a reasonable time to




                                                    10
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 17 of 225 PageID #: 27



  make repairs or otherwise remedy the mold and unsanitary and dangerous conditions described in

  said notice, IU has failed to adequately repair or provide a remedy for these unsafe conditions.

         49.     Plaintiffs and the members of the putative Class have been injured and have

  suffered harm proximately caused by Defendant’s breach of the implied warranty of habitability.

         50.     The injuries of Plaintiffs and the members of the putative Class include but are not

  limited to such damages as personal injury, medical expenses, damage to property, additional

  living expenses and the need for appropriate alternative residential lodging during any remediation

  of the mold infestation, mental anguish, pain and suffering, and other potential actual or

  consequential damages arising from the conduct described herein.

         WHEREFORE, Plaintiffs, each as individuals and on behalf of all individuals similarly

  situated, pray for judgment against Defendant in favor of Plaintiffs and the Class members for

  actual and consequential damages, for appropriate injunctive and/or declaratory relief, for

  attorneys fees and costs, for pre- and post-judgment interest, and for all other relief just and proper

  in the premises.

                            Count III: Claim for Declaratory Judgment

         51.     Plaintiffs incorporate by reference and re-allege each and every allegation set forth

  in paragraphs 1 through 50 above as if fully set forth herein.

         52.     Plaintiffs seek a declaratory judgment, pursuant to Indiana’s Uniform Declaratory

  Judgments Act, as set forth in Indiana Code § 34-14 et seq., to provide a declaration of their rights,

  status, and/or other legal relations under their contract with IU for residence in IU’s dormitories as

  well as under all applicable State or local laws, statutes, and regulations that govern the nature of

  residential dwellings provided by IU to Plaintiffs and the putative Class Members.




                                                    11
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 18 of 225 PageID #: 28



         53.      Specifically, Plaintiffs seek a declaration that IU is legally required to provide a

  safe, clean and habitable residence for Plaintiffs and the putative Class members to live in, and

  that IU is obligated to remedy any harm or injury caused by its failure to provide such a safe clean

  and habitable residence, including any such harm or injury caused by mold in the IU dormitories.

         54.      Plaintiffs further seek a declaration that IU is required to remediate mold at its

  dormitories in accordance with industry standards and in a manner that effectively and

  comprehensively eliminates the danger to Plaintiffs and the putative Class members that is posed

  by that mold.

          WHEREFORE, Plaintiffs, each as individuals and on behalf of all individuals similarly

  situated, pray for a declaratory judgment against Defendant and in favor of Plaintiffs and the Class

  members as requested herein, for appropriate injunctive and/or declaratory relief, and for all other

  relief just and proper in the premises.


                                       PRAYER FOR RELIEF

         Wherefore, Plaintiffs pray for a judgment:
         A.       Certifying the Class as requested herein;

         B.       Awarding damages to Plaintiffs and the putative Class members;
         C.       Awarding injunctive, declaratory and/or equitable relief as permitted by law or
  equity, including: enjoining Defendant from continuing the unlawful conduct as set forth herein,
  and directing Defendant to remediate mold at its dormitories in accordance with industry
  standards and in a manner that effectively and comprehensively eliminates the danger to
  Plaintiffs and the putative Class members that is posed by that mold;

         D.       Awarding attorneys' fees and costs as is appropriate; and

         E.       Providing such further relief as may be just and proper.




                                                   12
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 19 of 225 PageID #: 29



  Respectfully submitted,



   COX LAW OFFICE                                                     WILSON KEHOE WTNINGHAM


  /s/   Jacob   R.   Cox                                              /s/Jonathon B. Noyes
  Jacob R. Cox, Attorney N0. 26321 -49                                Jon Noyes, Attorney N0. 3 1 444-49
   COX LAW OFFICE                                                     William E. Winingham, Atty. N0. 1309-49
   1606 N. Delaware Street                                            Wilson Kehoe Winingham        LLC
  Indianapolis, Indiana            46202                              2859 N. Meridian Street
   T: 317.884.8550                                                    Indianapolis, Indiana 46204
  F:    317.660.2453                                                  T: 3 17.920.6400
   jcox@coxlaw.com                                                    F:    317.920.6405
  Attorneyfor Plaintiffs                                              jnoyes@wkw.com.com
                                                                      winingham@wkw.com
                                                                      Attorneyfor Plaintiffs




                                              CERTIFICATE OF SERVICE

          hereby certify that a copy of the foregoing, along with copies of the Appearance and
            I

   Summons contemporaneously ﬁled in this matter, has been served upon the following, via hand
                           1711‘
   delivery,    on the             day of October, 2018:

            Indiana University
            Board of Trustees
            Franklin Hall 200
            601 E. Kirkland Avenue
            Bloomington, Indiana 47405



                                                           /s/   Jacob     R.   Cox
                                                           Jacob R. Cox




                                                                 l3
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 20 of 225 PageID #: 30




               DOCUMENT C: SUMMONS
                                                                         Filed: 10/17/2018 4:49 PM
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 21 of 225 PageID    #: 31
                                                                                    Nicole Browne
                                               Monroe Circuit Court 1                                                    Clerk
                                                                                                        Monroe County, Indiana



    STATE OF INDIANA                                       )        IN THE MONROE SUPERIOR/CIRCUIT
                                                                    COURT
                                                           ) SS:
    COUNTY OF MONROE                                       )        CAUSE NO: 53C01-1810-PL-002169


    JADEN THOMAS, RYAN BRAVERMAN,                          )
    KATIE DEDELOW, JAKE RAMSEY,                            )
    ISABELLA BLACKFORD, MICHAEL DUKE,                      )
    LINDSAY FREEMAN, individuals, each on                  )
    behalf of himself/herself and all others similarly     )
    situated,                                              )
                                                           )
                                                           )
                             Plaintiffs,
                                                           )
            v.
                                                           )
                                                           )
    INDIANA UNIVERSITY, by and through its
                                                           )
    Board of Trustees,

                             Defendant.

   TO DEFENDANT:           Indiana University Board of Trustees
                           Franklin Hall 200
                           601 E. Kirkwood Ave.
                           Bloomington, IN 47405

       You are hereby notified that you have been sued by the person named as plaintiff and in the Court
   indicated above.
       The nature of the suit against you is stated in the complaint which is attached to this Summons. It also
   states the relief sought or the demand made against you be the plaintiff.
        An answer or other appropriate response in writing to the complaint must be filed either by you or your
   attorney within twenty (20) days, commencing the day after you receive this Summons, (or twenty-three
   (23), days if this Summons was received by mail), or a judgment by default may be rendered against you
   for the relief demanded by plaintiff.
      If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you
   must assert it in your written answer.
       If you need the name of an attorney, you may contact the Indianapolis Bar Association Lawyer Referral
   Service (317-269-2222).
            10/18/2018
   Dated _______________________                   _________________________________(Seal)
                                                         Clerk, Monroe County Courts
              (The following manner of service of summons is hereby designated.)
                 X Registered or certified mail.

                                                                   Monroe County Courts
                                                                   100 W. Kirkwood Ave.
                                                                   Bloomington, IN 47404
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 22 of 225 PageID #: 32



  Attorneys for Plaintiffs
  Jon Noyes                           Jacob R. Cox
  Wilson Kehoe Winingham LLC          COX LAW OFFICE
  2859 N. Meridian Street             1606 N. Delaware Street
  Indianapolis, Indiana 46204         Indianapolis, Indiana 46202
  T: 317.920.6400                     T: 317.884.8550
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 23 of 225 PageID #: 33




        DOCUMENT D: PLAINTIFFS’
     EMERGENCY MOTION TO SHORTEN
      LENGTH OF TIME TO RESPOND TO
              DISCOVERY
                                                                         Filed: 10/25/2018 5:24 PM
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 24 of 225 PageID    #: 34
                                                                            Monroe  Circuit Court 1
                                                                                                   Monroe County, Indiana




       STATE OF INDIANA                                   )     IN THE MONROE CIRCUIT COURT
                                                          ) SS:
       COUNTY OF MONROE                                   )     CAUSE NO: 53C01-1810-PL-002169



       JADEN THOMAS, RYAN BRAVERMAN,                      )
       KATIE DEDELOW, JAKE RAMSEY,                        )
       ISABELLA         BLACKFORD,         MICHAEL        )
       DUKE, LINDSAY FREEMAN, individuals,                )
       each on behalf of himself/herself and all others   )
       similarly situated,                                )
                                                          )
                                                          )
                             Plaintiffs,
                                                          )
              v.
                                                          )
                                                          )
       INDIANA UNIVERSITY, by and through its
                                                          )
       Board of Trustees,
                                                          )
                                                          )
                             Defendant.

                    EMERGENCY MOTION TO SHORTEN LENGTH OF TIME
                             TO RESPOND TO DISCOVERY

             Plaintiffs, by counsel, for their Emergency Motion to Shorten Length of Time to Respond

   to Discovery, state as follows:

             1.      Multiple dorms1 at Indiana University (“IU”) have been, and currently remain,

   infested with mold that IU itself admits poses a real and serious threat to the health of the

   students who live there.




   1
     IU has acknowledged that mold is a current problem in at least the dormitories of McNutt,
   Foster, and Teter, which house thousands of students, many of whom are freshmen that cannot
   leave because (i) they are required to live in those dorms by IU’s policy that all freshmen must
   live on campus, and (ii) IU does not have adequate amounts of alternative dormitory housing for
   all of the students residing in the affected dorms.
                                                      1
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 25 of 225 PageID #: 35



         2.      The mold infestation is a yearly problem at IU but has never been adequately

  addressed – instead, incoming groups of students at the IU dorms deal with the same types of

  mold problems and related health issues each year. (See Exhibit A hereto (Partial Chronology of

  IU Mold Problems with Supporting Exhibits).)

         3.      Due to health problems suffered by students in these dorms, IU’s students and

  their parents (including the Plaintiffs) have lodged complaints and attempted to persuade IU to

  share information about the nature and scope of this problem, and then fix it, for months

  (approximately since those students moved in for the Fall Semester in mid-August, 2018).

         4.      In response, IU performed a number of “remediations” of mold-infested rooms,

  and assured the students and their families that the mold problem had been addressed. These

  were the same actions taken by IU last year, and the year before, and before that, in response to

  the persistent mold problems and health concerns for the students living in IU’s dorms.

         5.      However, students remained sick after the “remediations” were performed such

  that the students feared their homes continued to contain dangerous mold, and accordingly

  continued to complain to IU, and even engage the undersigned counsel, in hopes of obtaining a

  resolution to the recurring mold problem at IU.

         6.      These fears were well founded. Air testing of rooms, obtained after this litigation

  was initiated, has confirmed that a large number of rooms that were “remediated” by IU earlier

  in October or September continued to contain unhealthy levels of mold even after “remediation.”

         7.      However, despite the ongoing and known nature of this problem, IU has refused

  and continues to refuse to answer most of the questions and requests for information by parents

  and students regarding the nature and scope of the mold problems or how they are being

  addressed.


                                                    2
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 26 of 225 PageID #: 36



         8.      IU further has refused to cooperate with counsel for Plaintiffs and provide

  information that should be readily available to IU, including such information as copies of all

  mold tests conducted at the dorms, information regarding the conditions in which those tests

  were taken (critical to evaluating the nature of the problems identified in those tests), and the

  mold remediation protocol(s) that have been, and are being, utilized to effectively remediate IU’s

  dorms and provide a safe place for IU’s students to live.

         9.      Specifically, Plaintiff’s counsel first sought this information outside of litigation2

  and via correspondence to IU, but IU did not respond to this correspondence or its request for

  immediate communications and information regarding the mold issues.

         10.     Instead, the next day IU threatened to force some students who had been moved

  to temporary housing back into the mold-infested dorms, while other students who had engaged

  legal counsel were told by IU that it would not keep promises that it had already made to them

  regarding reimbursement of expenses and other accommodations because those students had

  sought help from an attorney.

         11.     All the while, students continued to remain in the mold-infested dorms and IU

  continued to refuse to provide information regarding the nature and scope of the mold infestation

  that would allow those students to make informed decisions as to what steps were necessary to

  mitigate the physical harm they continued to suffer due to exposure to that mold.




  2
    Plaintiffs’ counsel has also served a public records request seeking access to information
  regarding the mold problem and remediation efforts (as have at least some parents of IU
  students). IU has thus far failed to provide the records in its possession in response to these
  requests.

                                                    3
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 27 of 225 PageID #: 37



         12.     Because of these actions by IU, Plaintiff’s counsel then filed this litigation and

  served Requests for Production of Documents on October 18, 2018 seeking information

  identifying the mold and remediation efforts at issue. (Attached as Exhibit B.)

         13.     This information is critical to Plaintiffs, as well as all students at IU, in

  determining whether they need to seek immediate medical assistance or take other steps to avoid

  continued exposure to mold that will make their health problems continue or worsen.

         14.     Further, it is inconceivable that IU does not have readily available much, if not

  all, of the information requested, as mold tests, mold remediation protocols, and information

  regarding the nature and scope of the mold problem would have to be in hand for IU to conduct

  the mold remediation that it claims is currently underway.

         15.     Also of great concern is that IU has yet to provide information identifying

  whether it has determined the actual water or moisture source that has caused the mold

  infestation or evidencing that IU has taken steps to remedy or remove that cause to prevent

  further mold growth, as opposed to simply attempting to remedy an effect of the infestation -

  mold spores in the air or on room surfaces - and then requiring students to continue to live in the

  dorms (where the mold will come back yet again as it has now for years).

         16.     After litigation was filed, IU’s Office of General Counsel sent a letter indicating

  that it would not provide any of the specific information requested by Plaintiff’s counsel; instead,

  IU’s Office of General Counsel directed Plaintiffs and their counsel to the public relations and

  general information website it had created. Notably, this website does not contain most of the

  information requested or needed by Plaintiffs and IU’s students.

         17.     When IU continued to ignore attempts by Plaintiffs’ counsel to obtain information

  needed by the IU students to assess the health risks to which they were exposed, Plaintiffs’


                                                     4
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 28 of 225 PageID #: 38



  counsel further served a 30(B)(6) deposition notice scheduling a deposition for the following

  week (October 23) to provide information regarding the mold testing, remediation protocols, and

  other information sought previously.

         18.     This deposition notice was served on IU on the afternoon of Friday, October 19

  (with courtesy copies sent by email to IU’s general counsel), and included correspondence

  indicating that Plaintiffs would readily cancel the deposition if they could instead obtain copies

  of the documents and information that had been sought over the course of the past week.

         19.     That evening, the law firm of Taft, Stettinius and Hollister sent an email to

  Plaintiff’s counsel and informed them that they had been hired to represent IU in the litigation

  and would be in touch on Monday, October 22.

         20.     On Monday, October 22, counsel for IU and Plaintiffs’ counsel conferred

  regarding the deposition scheduled for the next day, and Plaintiffs’ counsel agreed to withdraw

  the deposition notice while IU’s counsel conferred with IU and determined what information or

  documents could be shared.

         21.     Later that day, though, IU’s counsel contacted Plaintiffs’ counsel and indicated

  that IU had decided that it would not provide any of the documents or information that had been

  repeatedly requested by students, parents, and the undersigned counsel, because it “did not have

  time” due to a massive relocation of students that would soon be underway and because all

  individuals with access to the information and documents were actively involved in the

  remediation efforts.

         22.     IU’s counsel stressed that IU’s primary concern and reason for failing to provide

  the requested information was the “the health and safety” of the students and efforts by IU to

  conduct additional testing and remediation; however, with these efforts being implemented by


                                                   5
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 29 of 225 PageID #: 39



  IU’s facilities’ and RPS employees, as well as outside contractors, it remains unclear (and no

  explanation has been offered) why the almost two dozen attorneys, and additional administrative

  and paralegal staff, employed within IU’s Office of General Counsel (without accounting for the

  resources of their outside legal counsel) are unable to simultaneously assist in providing

  information to IU’s students, parents and counsel regarding IU’s current knowledge of the nature

  and scope of the mold crisis in dorms that even now still house hundreds of students.

         23.     The next day, on October 23, Plaintiffs renewed their request for a 30(B)(6)

  deposition of IU to provide information relating to its current knowledge of mold testing and

  mold remediation efforts. (Attached as Exhibit C.)

         24.     Plaintiffs requested that IU provide a deponent on Friday, October 26 to address

  these issues, and again volunteered to withdraw the attempt at deposition should IU instead

  simply produce documents in its possession that would inform Plaintiffs and the IU students

  regarding the nature of the mold problem and remediation efforts.

         25.     IU’s counsel responded (correctly) that Plaintiffs could not force IU to provide

  such a deponent, or produce any documents or information at all, without obtaining a Court

  order, as the presumptive time to respond to Requests for Production under the Indiana Trial

  Rules is thirty (30) days and IU can refuse to provide a deponent in response to a notice of

  deposition where the deposition is scheduled to take place within twenty (20) days of the

  Complaint and Summons being served on IU.

         26.     IU further indicated that it would not provide documents sought by Plaintiffs until

  November 19 (thirty days after service of the RFPs) or later, and would also not provide a

  deponent to answer questions regarding the information needed by IU’s students to determine




                                                   6
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 30 of 225 PageID #: 40



  what medical or logistical steps to take in relation to both the prior, as well as the current, mold

  exposure that they have suffered and still suffer.

         27.     As set forth above, Plaintiffs’ counsel has been unable to resolve this dispute or

  obtain information urgently needed by IU’s students without the instant resort to a request for

  relief from the Court.

         28.     As allowed by Trial Rule 34(B), Plaintiff now requests that the Court shorten the

  time to respond to, and produce documents requested by, the attached Requests for Production

  from the presumptive thirty (30) day period to eleven (11) days from the date of service (service

  was effected on the morning of October 18, 2018). This would require production of these

  documents on or before October 29, 2018.3

         29.     Notably, the Requests for Production are limited in scope, seeking only

  documents and information relating to the current mold infestation and testing and remediation

  that has occurred this year.

         30.     In fact, Plaintiffs purposefully avoided seeking all documents relevant to this

  litigation (which will necessarily include records extending back years as well as additional

  information in IU’s possession) in their first Requests for Production of Documents to avoid

  seeking any information other than that which is critical to the current decisions being made by

  the IU students (along with their parents and medical providers) regarding the immediate steps

  they should take in response to their exposure to mold in IU’s dorms (both currently and over the

  past two months).




  3
   Plaintiffs would alternatively agree to review documents and obtain information during a
  deposition of Defendant as requested in the 30(B)(6) Deposition Notice, but believe production
  of the requested documents would be more efficient and less burdensome to Defendant.
                                                       7
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 31 of 225 PageID #: 41



         31.     Plaintiffs’ counsel expects that it would take less than an hour (and perhaps only

  minutes) to send most of these documents and information to Plaintiffs’ counsel via email or

  FTP, or alternatively to copy them to a disc or other digital media such as a USB drive that could

  be provided to Plaintiffs’ counsel.

         32.     It is simply not credible that IU’s legal department has not gathered such

  documents in addressing legal issues and concerns arising out of the mold crisis that has now

  extended for weeks at the IU dorms. In fact, IU’s general counsel informed Plaintiffs’ counsel a

  week ago that IU is taking active steps to preserve and avoid spoliation of these very documents.

         33.     Thus, the burden on IU in responding to this discovery (even on an expedited

  basis) should be minimal and outweighed by the need of IU’s students to have access to this

  information when deciding how to move forward, both medically and personally, to address the

  harm they have suffered (and are currently still suffering) due to mold exposure in IU’s dorms.

         WHEREFORE, Plaintiffs, by counsel, request that the Court issue an Order GRANTING

  this Motion and ORDERING that Defendant Indiana University must respond to, and produce

  documents sought by, Plaintiff’s October 18, 2018 Requests for Production of Documents by no

  later than Monday, October 29, 2018, eleven (11) days after service of those requests on

  Defendant, and for all other relief just and appropriate.


  Respectfully submitted,

  WILSON KEHOE WININGHAM                                COX LAW OFFICE


  /s/ Jonathon B. Noyes____________                     /s/ Jacob R. Cox__________________
  Jon Noyes, Attorney No. 31444-49                      Jacob R. Cox, Attorney No. 26321-49
  Wilson Kehoe Winingham LLC                            COX LAW OFFICE
  2859 N. Meridian Street                               1606 N. Delaware Street
  Indianapolis, Indiana 46204                           Indianapolis, Indiana 46202
  T: 317.920.6400                                       T: 317.884.8550

                                                    8
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 32 of 225 PageID #: 42



  F:   317.920.6405                                      F:   317.660.2453
   jnoyes@wkw.com.com                                    jcox@coxlaw.com



                                      CERTIFICATE OF SERVICE

           I   hereby certify that a copy 0f the foregoing has been served upon the following, Via
   electronic mail   and U.S. Mail, postage prepaid, on the 25‘d day of October, 201 8:

           Indiana University
           c/oThomas A. Barnard
           FrankJ. Deveau

           Ann O’Connor  McCready
           Taft Stettinius   & Hollister LLP
           One   Indiana Square, Suite 3500
           Indianapolis,   IN 46204
           TBarnard     taftlaw.c0m
           FDeveau taftlaw.com
           AMcCreadngtaftlaw.com



                                                /s/   Jacob   R.   Cox
                                                Jacob R. Cox
                                                                         Filed: 10/25/2018 5:24 PM
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 33 of 225 PageID    #: 43
                                                                            Monroe  Circuit Court1
                                                                                                                                                 Monroe County, Indiana




                                                                           EXHIBIT    A

               Partial      Chronology of Mold Problems at Indiana University (with Supporting Exhibits)

              In   2005, graduate students and faculty                     in IU’s   SPEA Capstone program found           it   necessary to
   conduct    a    semester long analysis of          |U’s    ongoing mold problems on the Bloomington campus that
   resulted    in a    112 page Report concluding that                 a   number      of measures       were needed (but had not been
   affected) to address IU‘s          mold problem. (See Exh.                  1,   Mold on the Indiana University Bloomington
   Campus: A Review of Conditions, Procedures and Impacts,                                 last   accessed online on October 25, 2018 at
   https://speacapstone.indiana.edu/reports/Mold Final Reportpdf.)

              "Indiana University has an acknowledged mold problem that has never been comprehensively
   evaluated. At this time, the University does not                         seem     to have an encompassing strategy to address the
   current problems and             how to   prevent future problems.” (Exh. 1 at                      1.)


             This study found that the largest contributing factors to IU’s                             mold problem were due to           a failure

   by IU to adequately maintain and repair                    its   buildings:


       1.     ”Water       leaks have   become       a large        problem because an increased number of University buildings
              have roof leaks due to the             lack of funding to fix           them,” with roof leaks being caused by "poor
              construction, poor materials, the age of the roof in question, or the lack of repairs and
              maintenance;"
              "Water damage           aris[ing]   from chronic leaking of plumbing pipes (bathrooms, laboratory                            sinks,

              etc.),   burst pipes (water mains,             bathroom plumbing), and the subsequent                     collection of   water on
              the floors below the water source;” and
              “Water       leaks   and damage       [...]   from the condensate from water—based heating/cooling systems,
              moisture from landscaping planters, exterior walls seeping moisture, and the occasional incident
              of sprinkler systems being triggered."


   (Exh. 1 at 16.)


             The      IU   SPEA study further acknowledged the long                       list   of negative consequences suffered by
   students and staff         in   moId-infested university buildings, including such consequences                          as:


              Increasing potential for long—term and short—term health problems for students and staff.

              Impacting student and staff learning and working environment, comfort, and attendance.
              Reducing performance of               faculty,    and    staff   due to discomfort,            sickness, or absenteeism.

              Accelerating building deterioration. Reducing efficiency of the Physical Plant                               work time and
              equipment.
              Increasing the potential that schools will have to be closed, or occupants temporarily relocated,

              Straining relationships        among          University administration, staff, and students.

              Creating negative publicity that could                   damage the         University’s       image and effectiveness, and
              creating potential        liability   problems.

   (Exh. 1 at 16-17 (citing U.S. Environmental Protection                            Agency      publications).)




                                                                                                                                    Exh.   A Page
                                                                                                                                             -         1
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 34 of 225 PageID #: 44



          The SPEA study also acknowledged the common adverse health effects to individuals living or
  working in mold-infested buildings and that a public university such as IU has a duty to avoid even
  moderate levels of mold exposure due to varying levels of sensitivities to mold that are found in groups
  such as a student body:

          Indoor air problems, such as mold, can be subtle and do not always produce easily recognizable
          impacts on human health or general well-being. Air quality at public universities is of particular
          concern. Proper maintenance of indoor air is more than an issue of “quality;” it encompasses
          safety and stewardship of the public’s investment in the students, staff, and facilities. Building
          occupants in IUB include the faculty, staff, students, and others who spend extended periods of
          time in these buildings. The effects of IAQ problems on occupants are often non-specific
          symptoms, rather than clearly defined illnesses. Symptoms commonly attributed to IAQ
          problems include:

                    •   Headache, fatigue, and shortness of breath.
                    •   Sinus congestion, cough, and sneezing.
                    •   Eye, nose, throat, and skin irritation.
                    •   Dizziness and nausea.

          Due to the varying sensitivity among individuals, one person may react severely to an IAQ
          problem such as mold, while surrounding occupants may not display any adverse effects. In
          other cases, symptoms may be widespread. In addition to different degrees of reaction, an
          indoor air pollutant or problem can trigger different types of reactions in different people.

          Based to these reasons, it is extremely important to try to prevent and address mold issues as
          quickly as possible.

  (Exh. 1 at 17.)

          One difficulty in obtaining more detailed information regarding the true extent of mold
  problems at IU was fear of retaliation. “[W]hen IUB individuals reportedly affected by mold were
  contacted, there was a great deal of concern regarding anonymity. Faculty and staff acknowledge that
  some of their peers are affected by mold, however when contacted, these individuals did not respond to
  inquiries or would speak only on the condition of anonymity. Some individuals revealed that they were
  concerned about their job security if they openly criticized the University’s handling of mold-related
  issues.” (Exh. 1 at 17.)

          Thus, rather than insisting on a fix for the issue, “[IU staff] implied that faculty and staff
  knowledge of mold is constrained by the perceived unwillingness of the University to permanently fix
  the mold-growth conditions in their workplace. The staff have resigned to living in discomfort in their
  office environment and continue to pay medical bills and miss workdays because of their persistent
  symptoms.” (Exh. 1 at 18.)

          As the years have passed since the SPEA study and report, it appears that the perceived
  unwillingness of IU to permanently fix the mold problems is, in fact, an actual unwillingness, as mold
  continues to plague university buildings including most recently on what appears to be an annual basis.




                                                                                                Exh. A - Page 2
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 35 of 225 PageID #: 45



                For example,           in   October, 2016, IU admitted to having a systemic mold throughout the Teter
   dormitories (where mold has again been found now) after complaints by sick students, and |U
   responded by moving students                       into lounges      and      instituting a plan to           ”wipe down [the           HVAC room        units]

  with soap and water to remove the mold” with IU stating that                                        its   ”goal      is   to have no   mold next
   summer.”           (Exh. 2 (quoting         Dan Derheimer, Director of Environmental Health and Safety                                       at IU), last

   accessed online on October 25, 2018 at https://www.idsnews.com/article/ZOlG/lO/humid—summer—
   leaves-teter-quad-with-mold-problem.)

                In   January, 2017,          McNutt dormitory           residents suffered the                  same problems from rampant mold,
   including         mold sickness and the disruption and                    distress    caused by the students’ fear that the ”homes”
   provided to them by |U were poisoning them. Specifically, McNutt students complained to IU                                                         in   2017
  that “practically everyone on the floor                      is   sick”   due to mold and had been                        for weeks, with     some students
   even being forced to move out or seek refuge                             in hotels.       (Exh. 3, last accessed online               on October 25,
   2018    at   https://www.idsnews.com/articIe/2017/Ol/mcnutt—residents—complain—about—mold.) IU
   promised to         fix    the problem via the same action                    now   being taken          —   ”all   of [the] convector units are
   scheduled to be cleaned.”                  (|d.)



                Now,     in   October, 2018, a          new group       of students has had to suffer through                          mold health problems
   and concerns for the past two months after moving into the                                    IU    dorms. Parents and students have
   attempted for the past two months to obtain information and                                        a resolution to           the mold-infestation that
   has taken over multiple dorms that house thousands of students, including McNutt and Foster (and with
   mold problems              also reported in Teter), but IU has failed to yet fix the                           problem        or, as importantly,

   provide readin—available information to the IU students and families affected by the mold that would
   allow   them        to understand the nature and scope of the risk and                              harm to which they have been, and                        still


   are,   exposed. (See generally Complaint; httpsﬁbuildings.iu.edu.)

                Further concerning             is   that public statements             made    by |U to alleviate the fear and outrage of the
   IU students, families,              and public      in   general, appear to be incomplete or inaccurate. For example, after
   receipt of correspondence by the undersigned counsel                                 demanding that                 IU utilize professional

   remediators and adhere to industry standards                             in   addressing the mold problem, and after this
   subsequent lawsuit requesting declaratory                          relief     mandating the same,                   IU published a     statement assuring
   its   students and their families that third-party professionals had been brought                                             in   to handle the matter:


                Indiana University has contracted to have Certified Industrial Hygienists (CIHs) with                                              two
                independent environmental contractors to perform   visual room inspections and mold spore

                sampling. SafetyManagement Group is performing the third party mold spore sampling, and
                samples are being sent to EMLab P&K for independent laboratory analysis. ATC Environmental                                                              is


                performing the third party building and room inspections."

   (See ”Update Oct. 18, 11:04 a.m.," last accessed online on October 25, 2018 at
   https://buildings.iu.edu/updates/index.htmI)

                However, even after the promise that                        third party experts             have been brought             in   to handle this

   matter, |U appears to instead be handling matters on                                its   own. For example, at                least   some mold samples
   continue to be taken by IU employees, and not the independent environmental contractors. (See,                                                               e.g.,

   Exh. 4,   EMLab P&K Mold                  Report, identifying IU         employee         as the individual providing samples and

   requesting a report            in   relation to tests       conducted on October               19). Similarly,             ”remediation" of the




                                                                                                                                                    Exh.   A Page
                                                                                                                                                            -           3
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 36 of 225 PageID #: 46



   convector units        is   similarly being      conducted by employees of                   IU’s Residential      Program Services
   department who performed the                   prior attempts at IU to fix             its   mold problem by ”wiping down”                 its   HVAC
   units.   (See, e.g.,    Exh. 5, Fan Coil Unit           Maintenance report taped to students’ doors after ”cleaning"                                 is


   performed.) Further, the analysis of mold tests produced by IU                          was conducted not by a third
                                                                                                  last night

   party certified industrial hygienist,                but by the EHS Systems Manager employed by IU. (Exh 6.) Thus, it is
   unclear whether the current remediation                        is   actually being predominantly handled by different

   individuals than those efforts in years past.


             IU has also        taken the public position that "Residents are being provided a room-specific copy 0f
  the   EMLab    report(s) for their         room, and some rooms have more than one report from multiple
   samples.” However,             in   conferring with families and students affected by the mold                            crisis, it   appears that
  the majority of such ”residents” have                    ﬂreceived any such               report or testing nor do they             know when
  they   will learn   as to     what     level of   mold was, or currently          is,   in    their rooms. Further, the limited testing

   IU has   made   available evidence that areas in the IU                    dorms that are not dorm rooms                   also suffer     from
   dangerous     levels of      mold such that          it is   unclear what assurances IU has that the ”temporary housing”
  where students are being placed                   -
                                                        largely lounges      and   common         areas   —    is   itself safe. (See, e.g.,      Exh. 7,

   an excerpt from test results            last   accessed online on October 25, 2018 at
   https://bui|dings.iu.edu/doc/proiect-2024943-mcnutt-foster-air-samplingpdf.)




                                                                                                                                           Exh.   A Page
                                                                                                                                                    -        4
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 37 of 225 PageID #: 47
                                   EXHIBIT 1




   Mold on the Indiana University Bloomington Campus:
    A Review of Conditions, Procedures and Impacts




            Indiana University School of Public and Environmental Affairs
                             V600 Mold Capstone Course




                                                                            Exh. A - Page 5
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 38 of 225 PageID #: 48
                                   EXHIBIT 1


  Table of Contents
  I. Introduction .......................................................................................................................................1
     I.A. Course Description and Project Goals.......................................................................................1
     I.B. Introduction to Key Players .......................................................................................................1
     I.C. Paper Roadmap ..........................................................................................................................2

  II. Background on Mold........................................................................................................................3
     II.A. What is Mold? ..........................................................................................................................3
     II.B. Mold in Buildings.....................................................................................................................3
     II.C. Mold and Health .......................................................................................................................5
     II.D. Introduction to Legal Issues and Potential Liability ................................................................6

  III. Mold at Indiana University, Bloomington ....................................................................................14
     III.A. Current Status of Problem at IUB.........................................................................................14
     III.B. Human Health Implications and the IUB Community..........................................................16

  IV. Administrative Hierarchy and Process at Indiana University.......................................................23
    IV.A. Description of Relevant Offices ...........................................................................................23
    IV.B. Initial Mold Complaint and Response Protocol....................................................................32

  V. Financial Analysis..........................................................................................................................36
    V.A. Repair and Rehabilitation Funding (R & R) ..........................................................................36
    V.B. Missing R&R Funding: Impact and Strategic Responses ......................................................37
    V.C. Responsibility Centered Management ...................................................................................41

  VI. Estimating the Costs of Health Care and Lost Productivity Due to Mold....................................42
    VI.A. Methods ................................................................................................................................42
    VI.B. Results...................................................................................................................................43

  VII. Policy Analysis............................................................................................................................44
    VII.A. Mold Policy .........................................................................................................................44
    VII.B. Administrative Policy Analysis ...........................................................................................45
    VII.C Building Management Policy Analysis .................................................................................48

  VIII. Recommendations .......................................................................................................................50
    VIII.A. Policy and Administrative Protocols..................................................................................50
    VIII.B. Building Management Policy Recommendations ..............................................................52
    VIII.C. Training Programs & Materials...........................................................................................53
    VIII.D. Building Materials...............................................................................................................56
    VIII.E. Administrative Structure and Budgeting .............................................................................60

  IX. Overview of Primary Recommendations......................................................................................61

  X. Next Steps ......................................................................................................................................62

  Appendices.............................................................................................................................................1




                                                                                                                                                       ii

                                                                                                                                       Exh. A - Page 6
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 39 of 225 PageID #: 49
                                          EXHIBIT 1




  Acknowledgments
  We appreciate the leadership and guidance provided by Professor Diane Henshel. We would
  also like to acknowledge the invaluable information provided by Dan Derheimer, Ed Rhodes,
  John Bruce, Steve Akers, Neil Theobald, Hank Hewetson, Linda Michael, IUB building
  mangers, IUPUI EHS staff, Tom Swafford, Tim Rice, Jose Bonner, Jim Donges, Bill Beranek,
  Chad Sweatman, Larry Isom, and the case study participants. Jim Donges and Hank Hewetson
  were very accommodating in providing much needed data on the departmental budgets at IUB.




  Contributing Authors
  Dr. Diane Henshel, Erich Eschmann, Kristin Gallagher, Karen Grannan, Elissa Gutt, Daisuke
  Hayashi, Jinhwan Lim, James Melonas, Sean Merrill, Josh Naramore, Hideo Okazaki, Aaron
  Quesada, Eri Saikawa, Quiana Stone, Courtney Tieman, Denise Walker, Alison Waske, Jessie
  Watrous, and Andrew Willing




                                                                                            iii

                                                                                Exh. A - Page 7
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 40 of 225 PageID #: 50
                                   EXHIBIT 1


         Mold on the IUB Campus: A Review of Conditions, Procedures, and Impacts
               Indiana University School of Public and Environmental Affairs
                               V600 Mold Capstone Course

                                        Executive Summary

          The School of Public and Environmental Affairs’ V600 Mold Capstone course addresses
  the growth and presence of mold at Indiana University, Bloomington (IUB) and its impact on
  human health and issues of building integrity. The course also examines the current remediation
  procedures and administrative policies related to mold. The goal of the course is to generate a
  report for IUB policymakers that contains information and recommendations which may prove
  useful to the University community.
          The report establishes a scientific background on the characteristics of mold and mold
  growth, explores the conditions necessary for mold growth as are relevant to the IUB campus,
  and examines possible legal actions that may be taken against the University or on the
  University’s behalf. The report further connects the presence of mold to many detrimental health
  effects and assesses the current processes, resources, and responses used by the administration in
  addressing mold issues.
          With respect to the conditions for mold growth and the presence of mold on campus,
  many mold-related health impacts may be associated with a decline in building conditions. The
  report examines this possibility as a result of inadequate Repair and Rehabilitation (R & R)
  funding for buildings, including an exploration of the role of building managers and their
  experiences.
          With respect to the current administrative process, the report assesses roles, responses,
  and resources of the major, relevant University actors as they relate to the resolution of mold
  problems on campus. These offices include: the Chancellor’s Office, the Office of the President,
  the Office of Environmental, Health & Safety Management (EHS), Physical Plant, Human
  Resources, Risk Management, the Architect’s office, and Residential Programs and Services
  (RPS). Each of these offices are analyzed with respect to the extent of implemented training and
  training programs available, administrative response protocols, and the availability of dedicated
  financial resources.
          The report utilizes a statistical Monte Carlo simulation to analyze the financial impacts of
  mold at IUB. Using IUB demographic data, salary information, and information from relevant
  literature sources in an effort to reveal the underlying costs of mold in University buildings, this
  analysis projects lost productivity and health care costs. Included are numerous case studies of
  individuals within the University that illuminate the concerns and needs of sensitive individuals.
          The report concludes with recommendations that, if followed, will better enable the
  University to address any future issues of mold at IUB. In brief, these recommendations include
  exploring alternative avenues for funding, reassessing financial allocations regarding building
  integrity, improving building maintenance practices and materials, providing training for critical
  University employees, and implementing a more structured communication process among
  departments and administration.




                                                                                                     iv

                                                                                         Exh. A - Page 8
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 41 of 225 PageID #: 51
                                                      EXHIBIT 1




  I. Introduction
  I.A. Course Description and Project Goals

          The V600 Capstone Project is the culmination of learning for Master of Public Affairs
  and Master of Science in Environmental Science students at the School of Public and
  Environmental Affairs. This capstone was initiated by Professor Diane Henshel to provide
  students an opportunity to integrate policy and science in an interdisciplinary framework.
  Students created and developed this project to fully evaluate the mold problem at Indiana
  University Bloomington. Final products include this report, an informational website, and a
  series of presentations given to key IUB campus stakeholders.
          Indiana University has an acknowledged mold problem that has never been
  comprehensively evaluated. At this time, the University does not seem to have an encompassing
  strategy to address the current problems and how to prevent future problems. The goal of this
  project was to identify mold problems on campus and provide recommendations to IUB
  administrators on how best to address these issues.

  I.B. Introduction to Key Players

          Interim Chancellor Kenneth R.R. Gros Louis is responsible for implementing the
  academic mission of the Bloomington Campus. This responsibility is additionally shared by the
  Vice Chancellors and Deans, who oversee IUB’s academic, administrative support, and auxiliary
  support units. Please see the organizational chart of the IUB Chancellor’s Office provided in the
  appendix. (see Appendix B, Chart 1). Indiana University Bloomington’s academic units include
  12 schools and colleges, and other academic programs. Academic units report to the Vice
  Chancellor for Academic Affairs and Dean of Faculties, Ms. Jeanne Sept. Annual assessments
  on academic unit’s operating revenues fund administrative support units serving IUB. Auxiliary
  units report to the Vice Chancellor for Auxiliary Services, Mr. Bruce Jacobs. These auxiliary
  units are generally self-supporting and include, for example, Residential Program Services. The
  Vice Chancellor for Student Affairs and Dean of Students, Mr. Richard McKaig, oversees
  student support services, which includes the Student Health Center.1
          Mr. Terry Clapacs is the Vice President and Chief Administrative Officer of IUB and
  reports directly to the President of the University, Dr. Adam Herbert. The following
  Departments report to Mr. Clapacs: Intercollegiate Athletics, Bureau of Facilities Programming
  & Utilization, Facilities, Finance & Equal Employment Opportunity, Risk Management,
  University Architect’s Office, Office of Environmental Health and Safety Management (EHS),
  University Human Resource Services, University Police (IUPD), University Purchasing
  Department, University Real Estate & Economic Development, and University Travel
  Management Services. 2 A complete organizational chart of the Vice President and Chief
  Administrative Officer is located in Appendix B, Chart 2.
          The Physical Plant, directed by Mr. Hank Hewetson, is unique at IUB because they are
  held directly accountable to Mr. Clapacs in the Office of the Vice President and Chief

  1
    Interview with Mr. Jim Donges, Assistant Vice Chancellor for Budget, on 30 March 2005; IUB Summary Data for
  Financial Planning—FY 2004-2005, p. 16.
  2
    The Office of the Vice President and Chief Administrative Officer, Indiana University [on-line]; available from
  http://www.indiana.edu/~vpa/html/department.htm; Internet; accessed 23 April 2005.


                                                                                                                   1

                                                                                                      Exh. A - Page 9
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 42 of 225 PageID #: 52
                                                     EXHIBIT 1




  Administrative Officer, but the Chancellor’s Office controls the Physical Plant’s budget. Mr.
  Hewetson oversees the following departments within Physical Plant: Electronics, Training &
  Development, Maintenance, Facilities, Materials & Contracts, Utilities, and Building Services.
  He also participates in the oversight of the University Engineer and the Campus Division.3 The
  Physical Plant’s organizational chart is available in Appendix B, Chart 3.

  I.C. Paper Roadmap

         This paper contains seven major sections. The next section provides background
  information on the biology of mold. The third and fourth sections detail the presence of mold on
  the IUB campus and the IU administrative hierarchy relevant to the mold prevention and
  remediation process. Respectively, the fifth, sixth, and seventh sections analyze building
  maintenance budget shortcomings, mold-related health care costs, and the effectiveness of
  administrative policies regarding mold. The final section provides recommendations to address
  key issues discovered in the previous analyses.




  3
   The Department of Physical Plant, Indiana University, Bloomington [on-line]; available from
  http://www.indiana.edu/~phyplant/html; Internet; accessed 23 April 2005; Physical Plant flowchart [on-line];
  available from http://www.indiana.edu/~phyplant/html/body_organization_chart.html; Internet; accessed 23 April
  2005.


                                                                                                                   2

                                                                                                    Exh. A - Page 10
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 43 of 225 PageID #: 53
                                                      EXHIBIT 1




  II. Background on Mold
  II.A. What is Mold?

           Molds are a group of organisms that belong to the kingdom Fungi.4 Fungi are neither
  animals nor plants and are classified in a kingdom of their own. Fungi include molds, yeasts,
  mushrooms, and puffballs. There are over 20,000 species of mold. Some of the most commonly
  found indoor mold colonies include Aspergillus, Cladosporum, and Stachybotrus. Of these,
  Stachybotrus and Aspergillus are the two species most frequently linked to adverse health
  effects.
           Mold, like other fungi, play a key role in breaking down organic materials like plants,
  leaves, and other natural materials. They differ in size, shape, and color among species. They
  reproduce by releasing microscopic spores into the air, which can enter buildings and homes
  through windows, cracks, doors, and vents. Each spore that germinates can give rise to new mold
  growth, which in turn can produce millions of spores. Live spores act like seeds, forming new
  mold growths when they find the right conditions.
           When mold spores land they require moisture, nutrients, and a suitable place to thrive and
  grow. More specifically, mold growth will be accelerated where there is a lack of sunlight, and
  there is a lack of air movement. Mold growth on surfaces can often be seen in the form of
  discoloration that can range in color from orange to green to brown to black. There are thousands
  of types of mold that exist in the United States and a mixture of tiny mold particles is normally
  present in the air and settled dust of most indoor environments.

  II.B. Mold in Buildings

  II.B.1. Conditions for Mold Growth

         Mold requires four conditions for growth: 1) moisture above 50% relative humidity; 2)
  the presence of nutrients from organic material like cellulose; 3) subdued lighting; and 4)
  moderate temperatures (molds grow best between 68 and 86° F).5 These conditions exist in
  almost any building, and moisture is the most easily controlled variable. Given the above
  conditions, mold reproduces in 48 hours6 and multiplies exponentially.7

  II.B.2. Increased Mold Awareness

          The proliferation of mold problems in recent years is explained by the shift from
  traditional stone and brick construction to cellulose-based products after World War II, and the
  move to tighter, more energy–efficient buildings in the 1970s that do not allow moisture to

  4
    U.S. Environmental Protection Agency, Mold Remediation in Schools and Commercial Buildings, Appendix [on-
  line] available from: http://www.epa.gov/mold/append_a.html; Internet; accessed April 2005.
  5
    Leonard V. Zumpano, S. Hartley, and K. H. Johnson, "The Problem of Indoor Mold for Portfolio and Property
  Managers," Journal of Real Estate Portfolio Management 9, no. 2 (2003).
  6
    Vincent M. Torres and Richard L. Corsi, Potential Health and Safety Implications of the Texas Department of
  Insurance's Restructuring of Residential Property Insurance Policies. Texas Institute for the Indoor Environment,
  The University of Texas at Austin, 2002.
  7
    Rick Poppe and S. Charney, "Managing the Risk of Mold in the Construction of Buildings," Constructor 85, no. 5
  (2003).


                                                                                                                   3

                                                                                                     Exh. A - Page 11
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 44 of 225 PageID #: 54
                                                     EXHIBIT 1




  escape.8 In addition, new insulation and siding construction practices trap moisture and create
  conditions for mold growth.9

  II.B.3. Scope of the Problem

          Mold not only causes health problems, as discussed in the next section, but along with
  moisture, can damage floors, ceilings, and walls.10 The overall cost for mold repair and health-
  related lawsuit settlements in 2002 was $1.3 billion nationwide. 11 Many insurance experts
  believe that mold will become as big an environmental and legal issue as asbestos.12 Because of
  the potential liability issues, it is difficult for property owners to obtain insurance coverage for
  mold—any insurance plans now exclude mold problems.13

  II.B.4. Moisture and Mold Growth Prevention

          Eliminating moisture and providing an escape for any trapped water is the best way to
  prevent mold problems.14 A study by the Canada Mortgage and Housing Corporation found that
  90% of building leaks were at “interfaces” – windows cracks, wall-roof connections, balconies,
  etc.15 Several guidelines exist for preventing moisture leaks. Prevention measures include fixing
  leaks and cracks, insuring proper ventilation, removing carpet from bathrooms and kitchen areas,
  and replacing mold-damaged drywall with non-cellulose alternatives.16 Builders, architects, and
  owners should consider mold issues from the initial building design phase.17 A wall drainage
  hole known as a weep is one simple design element that allows trapped moisture to easily escape
  to the outside before it leads to mold problems.18 During construction, building materials should
  be covered with a tarp and activities sequenced so materials are exposed for the shortest possible
  time.19 A later section provides an in-depth analysis of design, prevention, and maintenance
  activities specific to the IUB campus.




  8
    Peter D. Baker and Chris B. Makepeace, "Adapting Persist for the Prevention of Water Accumulation in
  Residential Wood Frame Construction," in Buildings VII/Wall Design and Building Science - Practices (2002);
  Charles H Eccleston, "Toxic Mold: The Next Asbestos?" Environmental Quality Management 2004; Torres and
  Corsi.
  9
    Bob Aalberts and R. W. Hoyt, "Appraisers and Toxic Mold: Legal and Valuation Issues.," Journal of Real Estate
  Practice and Education 6, no. 2 (2003).
  10
     Ibid.
  11
     Jean A. Chapman, et al., "Toxic Mold: Phantom Risk Vs Science," Annals of Allergy, Asthma, & Immunology 91
  (2003).
  12
     Aalberts and Hoyt; Eccleston, "Toxic Mold: The Next Asbestos?" Evan Mills, "Climate Change, Insurance, and
  the Buildings Sector: Technological Synergisms between Adaptation and Mitigation," Building Research and
  Information 31, no. 3-4 (2003).
  13
     Patrick Wielinski, "'Toxic' Mold Part Iii.," Constructor 83, no. 12 (2001); Zumpano, Hartley, and Johnson.
  14
     Poppe and Charney, "Managing the Risk of Mold in the Construction of Buildings."
  15
     M. D Lawton, Reacting to Durability Problems with Vancouver Buildings, ed. M. A. Lacasse and D. J. Vanier,
  Durability of Building Materials and Components (Ottawa: Institute for Research in Construction., 1999).
  16
     Zumpano, Hartley, and Johnson.
  17
     Poppe and Charney, "Managing the Risk of Mold in the Construction of Buildings."
  18
     Ibid.
  19
     Michael F Dehmler, "'Toxic' Mold Part Ii," Constructor 83, no. 11 (2001).


                                                                                                                    4

                                                                                                    Exh. A - Page 12
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 45 of 225 PageID #: 55
                                                        EXHIBIT 1




  II.C. Mold and Health

          Exposure to mold can be detrimental to the health of susceptible individuals. 20 The
  health effects of mold exposure are influenced by a number of factors, including duration and
  frequency of exposure to mold, the potency (or strength) of the mold, and individuals’
  sensitivities.21 In addition, people may be co-exposed to multiple molds or molds and microbes
  and induce additive or synergistic health impacts.22 While ingestion of contaminated food can be
  a major pathway for mold exposure, this report will focus specifically on inhalation exposure
  because this is the pathway by which most IUB faculty, staff, and students will be exposed.23

  II.C.1. Types of Health Effects

           Storey et al. has categorized the health effects of mold into four groups: toxic reactions,
  infections, allergic or hypersensitivity reactions, and irritant reactions.24 Several studies have
  documented the relationship between mold and allergic and hypersensitivity reactions. As
  reported by the Institute of Medicine (IOM), mold exposure is most commonly associated with
  allergic reactions including hypersensitivity pneumonitis, allergic asthma, and allergic
  rhinitis/conjunctivitis.25 A Finnish study linked the risk of asthma to the “presence of visible
  mold and/or mold odor in the workplace,” whereas it found no association between water
  damage in homes and adult-onset asthma.26 The IOM supports this finding, arguing that there is
  “inadequate or insufficient evidence to determine whether an association… exits” between mold
  exposure and the onset of asthma. 27 After holding age, sex, region of residency, parents’
  education, and parental hypersensitivity to environmental allergens constant, Beate found an
  association between risk of allergic sensitization and the number of Cladosporium and
  Asperigullus spores in the air.28 In addition, Gent found that after controlling for socioeconomic
  status, mother’s asthma/allergy history, season, and specified housing characteristics, infants that
  20
     Redd, Stephen. State on the Science of Molds and Human Health. Centers for Disease Control and Prevention.
  accessed 25 January 2005 [on-line] available from: http://www.cdc.gov/nceh/airpollution/images/moldsci.pdf.
  21
     Eaton, David and Curtis D. Klaassen. 2003. Principles of Toxicology. Edited by Curtis D. Klaassen. Casarett &
  doull's essentials of toxicology. New York: McGraw-Hill Medical Publishing Division.
  22
     Eaton and Klaassen (2003) 11. (A synergistic effect is one where the effects of two agents combined are greater
  than the effect of each agent individually); Huttunen, Kati. 2004. Synergistic interaction in simultaneous exposure to
  streptomyces californicus and stachybotrys chartarum. Environmental Health Perspectives 112, no. 6.
  (Unfortunately, little is known about the synergistic effects of molds and other air-born pathogens. Additional
  research is needed in this area.)
  23
     Klaassen, Curtis D. 2001. Casarett & Doull's toxicology: The basic science of poisons. New York: McGraw-Hill
  Medical Publishing Division.; (For example, toxicological studies have shown the toxin aflatoxin B1 to be a potent
  carcinogen of the liver (Klaassen 1076)).
  24
     Storey, Eileen. 2004. Guidance for clinicians on the recognition and management of health effects related to mold
  exposure and moisture indoors. Farmington, CT: University of Connecticut Health Center, Center for Indoor
  Environments and Health.
  25
     Redd, Stephen. State on the Science of Molds and Human Health. Centers for Disease Control and Prevention.
  accessed 25 January 2005. [on-line] available from: http://www.cdc.gov/nceh/airpollution/images/moldsci.pdf., 3.
  26
     Jaakkola, Marrita S. 2002. "Indoor dampness and molds and development of adult-onset asthma: A population-
  based incident case-control study." Environmental Health Perspectives 110, no. 5: 543-548.
  27
     Storey, Eileen. 2004. Guidance for clinicians on the recognition and management of health effects related to mold
  exposure and moisture indoors. Farmington, CT: University of Connecticut Health Center, Center for Indoor
  Environments and Health.
  28
     Beat, Jacob. 2002. "Indoor exposure to molds and allergic sensitization." Environmental Health Perspectives 110,
  no. 7: 647-654.


                                                                                                                       5

                                                                                                         Exh. A - Page 13
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 46 of 225 PageID #: 56
                                                       EXHIBIT 1




  had at least one elder sibling with asthma and were exposed to large amounts of the mold
  Pennicilium are at risk of developing persistent coughs and/or wheezing.29
          Through the production of mycotoxins, molds can also trigger toxic responses. While
  allergens only affect people with allergic sensitivities, mycotoxins have the ability to affect
  almost all people that come in contact with them.30 Of particular concern are reports of Infant
  Pulmonary Hemorrhage (IPH) in children whose rooms possessed elevated levels of mold
  spores. Flappan et al. investigated a case of IPH in the Cleveland suburbs and found mold
  species in the home including Stachybotrys atra and Aspergillus Pennicillium.31 The Centers for
  Disease Control, however, has concluded that there is not enough evidence to suggest the
  association between Stachybotrys atra and IPH.32 In addition, fungal toxins can cause Organic
  Dust Toxic Syndrome (ODTS), which has flu-like symptoms such as fever and respiratory
  symptoms.33
          Irritant reactions are also associated with mold exposure. Molds create a variety of
  volatile organic compounds (VOCs), including aldehydes, esters, alcohols, and aromatic
  compounds. Volatile organic compounds give moldy areas their distinctive musty odor. If
  VOCs concentrations are high, they can promote irritation of the eyes, skin rashes, headache, and
  fatigue.34 Given that mold can negatively impact human health, it is necessary to minimize mold
  exposure indoors.

  II.D. Introduction to Legal Issues and Potential Liability

  II.D.1. Legal Issues at the University Level

          Recently, mold has received a good deal of attention in the media. High profile legal
  cases brought by Erin Brockovich and Ed McMahon, as well as rather large awards in several
  cases have raised public awareness about mold issues. For example, in 2002 a Texas jury in
  Ballard v. Fire Insurance Exchange, awarded the plaintiff homeowners more than $32 million35
  in compensatory and punitive damages. As a result of this kind of recent legal activity, several
  states passed laws about mold exposure, the insurance industry became rather alarmed, and
  people involved in any way with property found themselves potentially liable for injuries caused
  by mold.
          The majority of mold cases are filed against insurance companies. According to the
  Insurance Information Institute (III), the concern about mold was greatest from 2001 to 2002, but
  is not as great a concern now as it once was for the insurance industry as people have become
  more educated about mold and at least 39 states have approved mold exclusions.36 However, the

  29
     Gent, Janneane. 2002. "Levels of household mold associated with respiratory symptoms in the first year of life in
  cohort at risk for asthma." Environmental Health Perspectives 110, no. 12: 781781-786.
  30
     Storey, Eileen. 2004. Guidance for clinicians on the recognition and management of health effects related to mold
  exposure and moisture indoors.
  31
     Flappan, Suan M. 1999. "Infant pulmonary hemorrhage in a suburban home with water damage and mold,"
  Environmental Health Perspectives 107, no. 11: 927-931.
  32
     Redd, Stephen. State on the science of molds and human health. Centers for Disease Control and Prevention.. [on-
  line] available from: http://www.cdc.gov/nceh/airpollution/images/moldsci.pdf. Internet; accessed January 25, 2005.
  33
     Storey, Eileen. 2004. Guidance for clinicians on the recognition and management of health effects related to mold
  exposure and moisture indoors.
  34
     Ibid., 26.
  35
     Since reduced to $7.2 million.
  36
     Robert P. Hartwig, Mold and Insurance, Insurance Information Institute. (2003) 8, 18


                                                                                                                     6

                                                                                                       Exh. A - Page 14
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 47 of 225 PageID #: 57
                                                      EXHIBIT 1




  III predicts increased claims involving “apartments/condos/co-ops, office structures, schools, and
  municipal buildings.” 37 For example, in July 2003, United Airlines employees filed a class
  action suit against the Denver and the county in which it resides for breaching their “duty to
  maintain the airport in a reasonably safe condition” by “failing to correct the airport’s poor
  environmental conditions despite having knowledge of such problems.”38
          Indiana University is self-insured up to a limit, after which point Factory Mutual
  Insurance Company covers claims. The limit the University is responsible for was doubled
  within the last year to $2 million, therefore, the University should take special care to ensure it
  does not expose itself to liability. Additionally, the potential for a class-action suit is a concern as
  there are large and often organized groups of employees and students in a University setting.
  This section will outline current laws about mold in Indiana, and liability issues including:
  potential suits that could be brought against the University and potential legal action that the
  University could take against others.

  II.D.2. Mold-Related Federal and Indiana State Law

         At present, there is no accepted national regulatory standard for mold. In 2002, a bill was
  introduced in Congress entitled the United States Toxic Mold Safety and Protection Act, but died
  in committee. The proposed legislation would have:

       •   Required the Environmental Protection Agency, National Institute of Health, and the
           Centers for Disease Control and Prevention to collaborate in researching the health
           effects related to mold.
       •   Required the U.S. Department of Housing and Urban Development to study the impact of
           construction standards on mold growth.
       •   Forced EPA to publish national standards for mold inspection, remediation, toxicity, and
           protection of mold remediators.
       •   Required mold inspection before selling or leasing property, as well as restricting the
           federal government from making, insuring, or guaranteeing a mortgage without mold
           inspection.
       •   Created and mandated a licensing system for mold inspectors and remediators.39

          The question still remains as to what approach policymakers should use to regulate mold
  and Indoor Air Quality (IAQ). Available regulatory approaches include setting acceptable limits
  for mold and other IAQ pollutants. The regulatory framework is further complicated by the
  distinction between occupational and public health risk policies. Occupational standards involve
  assessing limits based on healthy adults exposed 8 hours a day, 40 hours a week, for 50 weeks of
  the year. In contrast, public health standards address exposures to the general population,
  including sensitive subgroups over long periods of time. Because of these complications,
  comprehensive federal and state legislation has not yet been developed for setting exposure
  limits for mold and IAQ pollution.


  37
     Ibid. 5, 13.
  38
     Ibid 6.
  39
     H.R. 1268. United States Toxic Mold Safety and Protection Act [on-line] available from:
  http://www.house.gov/conyers/Mold_Bill.pdf; Internet; accessed 24 March 2005.


                                                                                                             7

                                                                                               Exh. A - Page 15
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 48 of 225 PageID #: 58
                                                     EXHIBIT 1




          Currently, there are no Indiana state laws governing minimum standards for mold
  exposure. House Bill 1253 (2002) proposed mold standards and required the Indiana State
  Department of Health (ISDH) to offer regulations regarding toxic mold limits, but it failed to
  pass. However, in 2002, the Indiana General Assembly passed Senate Bill 407, which allows the
  ISDH to adopt rules establishing indoor air quality in schools’ inspection and evaluation
  programs to assist schools in developing plans to improve indoor air quality. It also established
  an advisory panel to work with the department to develop plans and best management practices
  for school air quality.40 However, none of the subsequent 2003 or 2004 mold bills passed, so
  there is currently no taskforce.
          According to the Indiana Environmental Institute, the direction of Indiana legislation is
  likely to focus on revising the Indiana building code in the future rather than trying to establish a
  “mold policy” or minimum threshold guidelines for mold.41 Indiana Code §§ 32-21-5-1--12 does
  require sellers of property containing 1-4 dwelling units to complete a Seller's Residential Real
  Estate Sales Disclosure form. Rules adopted under the law 42 establish the disclosure form, which
  requires sellers to disclose knowledge of hazardous conditions on the property, including radon
  gas and mold.43

  II.D.3. Liability

           To recover damages for mold related harm, plaintiffs generally must establish that the
  mold caused their harm. There are in fact, three causation issues in any toxic mold case.44 The
  first is the cause of the moisture filtration, because mold requires moisture to grow. The second
  issue is whether the moisture infiltration caused growth of a mold that is associated with human
  health effects. Finally, the plaintiff must show that the damages they are claiming were in fact
  caused by the mold. Once the causation elements are established, the plaintiff must show that
  some party is liable for the moisture problem. This is true whether the plaintiff is the University
  or if the plaintiff is a student or employee. The most vulnerable part of a plaintiff’s mold claim is
  the causal link between exposure to mold and the complaint of health problems because there is a
  lack of definitive scientific evidence linking mold exposure to serious health conditions.45
           There are multiple causes of action a plaintiff can pursue in a toxic mold case.
  Negligence is used most often. Breach of contract involves the construction of the buildings in
  question. Actions involving insurance can include: bad-faith breach of insurance contract; unfair
  and deceptive trade practice; consumer fraud; fraudulent misrepresentation; and negligent
  misrepresentation. Elements of landlord tenant law can be used, including: breach of implied
  warrant of habitability; breach of covenant to repair; failure to disclose; and constructive
  eviction. If there are any relevant state or federal laws, violations can result in legal action.
  40
     IN Code §§ 20-10.1-33-1; 21-2-15-4; Habegger and Seamands, Mold Litigation: Recent Developments in Indiana
  Continuing Legal Education Forum, Mold Litigation: The Problem Keeps Growing (2004). 8
  41
     E-mail correspondence with Mr. Bill Beranek, Executive Director, Indiana Environmental Institute, 31 March
  2005.
  42
     876 Indiana Admin. Code 1-4-1,2
  43
     Indiana Commission on Public Records; Seller’s Residential Real Estate Sales Disclosure [on-line]; available
  from: http://www.in.gov/icpr/webfile/formsdiv/46234.pdf; Internet; accessed March 2005.
  44
     Lawrence A Vanore, Legal Strategies and Techniques in Toxic Mold Litigation in Indiana Continuing Legal
  Education Forum, Mold Litigation: Issues Under the Microscope (2003) 6.
  45
     Randall L. Erickson, Esq. and Theresa C. Lopez, Esq. Crowell & Moring LLP; There’s A Fungus Among Us: The
  Current Epidemic of Toxic Mold Litigation (2003) [on-line]; available from:
  http://www.crowell.com/pdf/ConstructionUserQuarterly9_03.pdf; Internet; accessed April 2005.


                                                                                                                 8

                                                                                                   Exh. A - Page 16
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 49 of 225 PageID #: 59
                                                         EXHIBIT 1




  Additionally, people have sued for workers compensation and have even made constitutional
  claims. This section will address those causes of action most relevant to IUB, a public, self-
  insured institute of higher education. Therefore, this section provides a survey of cases that deal
  mainly with University, school, public property, or employer-employee cases where such law
  exists.

  II.D.4. Potential Actions Against the University

         If a University student or employee is the plaintiff (injured party), they must establish
  causation and show that the University (defendant) is liable for the mold problem. There are
  several causes of action a plaintiff could pursue to achieve this goal. The next sections will
  describe different kinds of cases plaintiffs could bring against the University.

  II.D.4.a. Negligence

         Negligence is the action most universally brought against targeted defendants in toxic
  mold litigation. To prove negligence in a toxic mold case, a plaintiff must show the following by
  a preponderance of the trial evidence: 46

       •   Defendant owed a duty of care to plaintiff.
       •   Defendant breached its duty by a failure to exercise ordinary or reasonable care that a
           person of ordinary prudence would use under similar circumstances.
       •   The breach was the proximate cause of injury damage or loss to plaintiff.
       •   Plaintiff suffered personal injury or property damage.

          A negligence case relevant to IUB is the Indiana case of Junita Martin in Coleman v.
  Charles Court.47 Ms. Martin was employed by a social services agency in Muncie from 1979
  through October 2000. In 1998, Martin was diagnosed with the fungal disease histoplasmosis,
  which initially infects the lungs. She filed her complaint against the agency claiming her disease
  was caused by hazardous airborne spores from bird droppings, high levels of carbon monoxide,
  mold, and inadequate ventilation. Martin died two years later. The Indiana Appellate court found
  that the case failed the third element of a negligence case: no evidence that the workplace
  exposure to mold and other contaminants proximately caused her disease or death.

  II.D.4.b. Intentional Tort

          Like IUB, the defendant in Leonard v. Board of Governors of Wayne State University48 is
  a public, four year educational institution. In this case, an employee unsuccessfully brought an
  action for intentional tort against the University for moldy conditions in her office. The court
  46
     Daniel J. Penofsky, J.D, Litigating Toxic Mold Cases 92 Amjur Trials 113 (2004); (Preponderance of evidence
  means the greater weight of the evidence required in a civil (non-criminal) lawsuit for the trier of fact to decide in
  favor of one side or the other. This preponderance is based on the more convincing evidence and its probable truth
  or accuracy, and not on the amount of evidence.) definition [on-line] available from: http://dictionary.law.com/
  Internet; accessed 2005.
  47
     Coleman v. Charles Court LLC et al., 2003 WL 22389867 (Ind. Ct. App. Oct. 16, 2003). See Also “Mold,
  Workplace did Not Cause Fungal Disease, Death” 2 Andrews Mold Litigation Reporter 3, (2003).
  48
     Leonard v. Board of Governors of Wayne State University (Mich.App.,2003)


                                                                                                                           9

                                                                                                           Exh. A - Page 17
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 50 of 225 PageID #: 60
                                                         EXHIBIT 1




  defined an intentional tort as existing “only when an employee is injured as a result of a
  deliberate act of the employer and the employer specifically intended an injury. An employer
  shall be deemed to have intended injury if the employer had actual knowledge that an injury was
  certain to occur and willfully disregarded that knowledge.” The court of appeals determined that
  the case turns on whether Wayne State knew that the plaintiff would suffer an injury if she was
  exposed to the moldy conditions in her office. Therefore, the plaintiff must show that the
  defendant had actual knowledge that she was unusually sensitive to aspergillus, and that her
  unusual sensitivity made it a certainty that she would become ill.49

  II.D.4.c. Action for a Civil Rights Violation

           Indiana University is a state actor and similar to a school district. In Greene v. Plano,
         50
  I.S.D. a school district employee filed a claim on behalf of herself and a representative putative
  class. She unsuccessfully argued the school district's actions in allowing her workplace to
  become contaminated with toxic mold violated her right to be free from state occasioned damage
  to a person's bodily integrity as protected by the substantive due process clause under the
  Fourteenth Amendment to the United States Constitution. Under "state created danger" theory of
  liability, the environment created by state actors must be dangerous, they must know it is
  dangerous, and, to be liable, they must have used their authority to create an opportunity that
  would not otherwise have existed for a third party's crime to occur. 51 The court found this
  argument unpersuasive as it has only been recognized in situations where the state has created or
  increased an individual's danger from third persons.

  II.D.4.d. Landlord-Tenant Laws

          The University serves as a landlord for many people utilizing on and off campus housing.
  Landlord-tenant laws are governed by state law. In Indiana, under IC 32-31-8-5, landlords have
  the following duties:

  Sec. 5. A landlord shall do the following:
             (1) Deliver the rental premises to a tenant in compliance with the rental agreement, and in a safe, clean,
  and habitable condition.
           (2) Comply with all health and housing codes applicable to the rental premises.
  (3) Make all reasonable efforts to keep common areas of a rental premise in a clean and proper
  condition.
  (4) Provide and maintain the following items in a rental premises in good and safe working condition, if
  provided on the premises at the time the rental agreement is entered into:

           (A) Electrical systems.
           (B) Plumbing systems sufficient to accommodate a reasonable supply of hot and cold running water
  at all times.
           (C) Sanitary systems.
           (D) Heating, ventilating, and air conditioning systems. A heating system must be sufficient to
  adequately supply heat at all times.
           (E) Elevators, if provided.
           (F) Appliances supplied as an inducement to the rental agreement.

  49
     Ibid. at 2.
  50
     Greene v. Plano, I.S.D., 227 F. Supp. 2d 615, 171 Ed. Law Rep. 760 (E.D. Tex. 2002).
  51
      42 U.S.C.A. § 1983


                                                                                                                          10

                                                                                                          Exh. A - Page 18
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 51 of 225 PageID #: 61
                                                        EXHIBIT 1




  A tenant has a right to bring an action against a landlord under Indiana Law if three conditions are met:

    (1) The tenant gives the landlord notice of the landlord's noncompliance with a provision of this chapter.
    (2) The landlord has been given a reasonable amount of time to make repairs or provide a remedy of the condition
  described in the tenant's notice. The tenant may not prevent the landlord from having access to the rental premises to
  make repairs or provide a remedy to the condition described in the tenant's notice.
    (3) The landlord fails or refuses to repair or remedy the condition described in the tenant's notice.

          The condition described in IC 32-31-8-5(1) is commonly known as the Implied Warranty
  of Habitability. If the University was notified of a mold problem that affected the habitability of
  the residence, and failed or refused to remedy the problem, the tenant could seek damages under
  this law. The lessee may argue that such conditions constitute a constructive eviction. The
  remedy sought may include the remediation of the contaminant problem. In addition, the lessee
  may withhold rent until the condition is fixed.
          In Mazza v. Schurtz, 52 a California jury awarded more than $2.7 million in damages to a
  family who sued the owner and property manager of their apartment for failing to properly
  maintain and repair the apartment after they had repeatedly complained about water intrusion
  and mold. The family alleged that the mold resulted in a number of health problems.

  II.D.4.e. Workers’ Compensation

           In Crossett School District v. Gourley,53 the Arkansas Court of Appeals heard a case
  brought by a teacher against her employer school district. A new heating and air-conditioning
  system was installed in Carolyn Gourley's classroom in the summer of 1989. Leaks in the
  system caused mold to develop, which irritated the teacher's pre-existing allergies. In her claim
  brought before the Workers' Compensation Commission, Gourley was compensated for the
  occupational disease she developed from exposure to mold. On appeal, the school district argued
  that appellee had not proven that her employment increased the risk of developing the
  occupational disease she contracted. The Arkansas Court of Appeals found otherwise, holding
  that even though the exposure to mold was not particular to the occupation of a teacher, in this
  case, it was apparent that her exposure to mold was due to her employment, thus increasing her
  risk.

  II.D.5. Potential Legal Action the University Could Take Against Others

           If the University is the plaintiff (injured party), they must establish causation and show
  that a third party such as a builder or contractor (defendant) is liable for the mold problem. There
  are several causes of action the University could pursue to recover against a third party. The next
  sections will describe different kinds of cases the University could bring against the defendants.




  52
     Habegger and Seamands, Mold Litigation: Recent Developments in Indiana Continuing Legal Education Forum,
  Mold Litigation: The Problem Keeps Growing (2004) 8 citing Mazza v. Schurtz, No. 00A S04795 (Cal. Super. Ct.,
  Sacramento County, Nov 2001).
  53
     Crossett School District v. Gourley, 50 Ark. App. 1, 899 S.W.2d 482 (Ark.App.,1995).


                                                                                                                     11

                                                                                                         Exh. A - Page 19
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 52 of 225 PageID #: 62
                                                    EXHIBIT 1




  II.D.5.a. Action for Breach of Contract

         If construction defects cause the University significant damages due to mold, the
  University may have a cause of action against that company. The elements of an action for
  breach of contract are as follows: 54

       •   A valid contract existed between the parties.
       •   Plaintiff complied with all terms, conditions, and performance obligations.
       •   Defendant failed to perform at least one material contractual term, condition, or
           obligation.
       •   There is no defense to, discharge, or exoneration of defendant's duty to perform.
       •   Plaintiff suffered a loss as a result of defendant's lack of performance.

          Actions for breach of contract in the toxic mold case may be brought against virtually any
  party, including a residential building owner or landlord, an insurer, general contractor, and
  remediation contractor. A plaintiff must prove the action by a preponderance of the trial
  evidence.
          The court in Centex-Rooney Const. Co., Inc. v. Martin County, 55 awarded $14 million in
  damages to a county courthouse. The county (1) proved that construction defects caused
  moisture problems in the buildings resulting in extensive mold growth, (2) established through
  expert testimony that because of this moisture, the buildings were infested with two highly
  unusual toxic molds, (3) several experts attested to the accepted scientific principle linking
  exposure to these two molds with health hazards, (4) the county established that the purpose of
  its remediation process was to remove the existing mold and prevent new mold growth, and (5)
  the defects expanded the scope of the remediation process thereby justifying the increased costs
  for redesign, repair, reconstruction, and relocation.

  II.D.5.b. Negligence

          The University could bring a negligence claim against various actors including
  contractors, design professionals, and manufactures of building components as long as they
  could prove the same elements of negligence outlined in the previous section.56 In Siman v.
  James Mock Inc, a group of homeowners sued a concrete subcontractor alleging that the concrete
  contained too much water, causing the concrete to be porous and permeable, which resulted in
  the transmission of water and thus mold growth. The homeowners received $2.1 million for the
  watery concrete.57




  54
     Ibid.
  55
     Centex-Rooney Const. Co., Inc. v. Martin County, 706 So. 2d 20 (Fla. Dist. Ct. App. 4th Dist. 1997).
  56
     See previous section, Negligence, II.D.4.a
  57
     Habegger and Seamands, Mold Litigation: Recent Developments at 4 in Indiana Continuing Legal Education
  Forum, Mold Litigation: The Problem Keeps Growing (2004) citing Siman v. James Mock Inc., No 778957 (Cal.
  Super. Ct., Orange County, June 2001).


                                                                                                              12

                                                                                                Exh. A - Page 20
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 53 of 225 PageID #: 63
                                   EXHIBIT 1


  II.D.5.c Legal Summary

           The following conclusion offered by Crowell & Moring LLP accurately and succinctly
  sums up the current legal situation surrounding mold: “Unless a causal link between toxic mold
  exposure and serious health problems is scientifically established, it does not appear that toxic
  mold will become the next asbestos. That being said, mold litigation still remains a significant
  issue facing insurers, property owners, developers and contractors. The very large judgments in
  mold cases have been primarily associated with bad faith claims against insurance companies.
  The old proverb ‘an ounce of prevention is worth a pound of cure’ sums up nicely the approach
  to be taken in addressing mold issues. If parties who potentially face mold claims – which could
  be virtually everyone - would establish protocols to quickly respond, inspect, test and remediate
  damage from water intrusion and mold, most mold problems would never advance to the
  litigation stage. Moreover, paying the relatively small cost to address the problem in the early
  stage is preferable to paying an enormous breach of contract and/or tort judgment later.”58




  58
    Randall L. Erickson, Esq. and Theresa C. Lopez, Esq. Crowell & Moring LLP; There’s A Fungus Among Us: The
  Current Epidemic of Toxic Mold Litigation (2003) [on-line]; available from:
  http://www.crowell.com/pdf/ConstructionUserQuarterly9_03.pdf; Internet; accessed 2005.


                                                                                                           13

                                                                                               Exh. A - Page 21
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 54 of 225 PageID #: 64
                                   EXHIBIT 1


  III. Mold at Indiana University, Bloomington
          An important aspect of assessing mold at IUB is recognizing that this is an issue that
  impacts the health and well-being of the University community. Not only are faculty and staff
  potentially exposed to favorable mold conditions in their office buildings, but students spending
  time in residence halls, classrooms, and common areas may also be exposed. Not everyone is
  negatively affected by mold or other adverse indoor air quality (IAQ) conditions, and of those
  who are affected, the degree of symptoms can vary greatly. Many health-related impacts of
  mold can be associated with declining building conditions – a result of limited funding for their
  rehabilitation and repair. Unfortunately, those who are adversely affected can rarely alter their
  daily routine to avoid suspect buildings.

  III.A. Current Status of Problem at IUB

  III.A.1. IU Bloomington Building Status

          The IUB campus includes 488 buildings with over 15 million square feet of space.59 Of
  these 488 buildings, roughly 71% have been under operation for at least 35 years, and by the
  University’s estimation, approximately 58% of its academic and administrative space is in need
  of remodeling.60 Bearing this in mind, building managers for each of these buildings should
  serve a pivotal role in preserving building integrity and operability.
          To better understand the extent of mold and its causal factors at IUB we began by
  investigating the role of formal and informal building managers from academic, non-academic,
  and residence hall buildings.61 On the IUB campus, building managers are the initial contacts for
  faculty, students, and staff to report any physical problems within a specific building (the
  building manager’s role within the University structure will be further explained in a later
  section). In actuality, the initial contact person is often an employee of the Physical Plant or the
  Office of Environmental Health and Safety Management simply because the building manager is
  overlooked. Nevertheless, formal and informal building managers play an integral role in
  maintaining campus buildings since they may have first hand knowledge of the building(s)
  within their care as well as any problems associated with the building(s) that might lead to mold
  growth.
          Given that we do not possess the necessary expertise to perform visual observations and
  sampling of potential mold growth within buildings, we created a Building Manager
  Questionnaire to obtain intimate information on past mold problems within buildings as well as
  current building conditions that could possibly lead to future mold growth. (see Appendix C,
  Building Manager Questionnaire).62 We initially determined that the buildings queried would be
  a representative sample of campus buildings based on age, size, and building purpose; however,
  the availability of information (i.e. lacking complete building manager contact information) was

  59
     Indiana University, FACTBOOK 2004-2005 [on-line]; available from
  http://factbook.indiana.edu/fbook04/facilities/funds.shtml; Internet; accessed 27 March 2005.
  60
     Ibid.
  61
     Academic building is defined here as a building that predominantly has classrooms used to instruct students (i.e.
  Woodburn). A non-academic building is defined here as a building that predominantly has support services (i.e.
  Franklin Hall). A residence hall building is defined here as a building where students reside (i.e. Teter).
  62
     All information pertaining to IUB building specifics and building managers, including the policy analysis section,
  references the information garnered from the questionnaire unless otherwise noted.


                                                                                                                    14

                                                                                                        Exh. A - Page 22
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 55 of 225 PageID #: 65
                                   EXHIBIT 1


  the driving force behind the decision regarding which building managers were actually solicited.
  Ultimately, 28 formal and informal building managers from different academic and non-
  academic buildings were contacted and sent the questionnaire (see Appendix C, Building
  Manager Questionnaire Contact List).63
          The response rate was 36% with 10 building managers out of the 28 responding to the
  questionnaire. These response numbers do not include residence hall buildings. We initially
  contacted several residence hall building managers to obtain information from a representative
  sample of buildings; however, they were not permitted to provide us any information regarding
  the current building conditions or past mold problems. We found it imperative to obtain this
  information since Residence Program Services (RPS), which operates the residence halls, has
  been reported to be very effective in handling mold problems compared to other operations of
  the University. As a result, we were able to obtain two responses to the questionnaire from RPS
  Facilities Management and the building manager of Teter Residence Hall.
          From the responses, we have learned the University has encountered mold problems in
  the past and is likely to face additional issues in the future. The next section will analyze the ten
  building manager responses, focusing on the current building practices contributing to the
  University’s potential mold problem.

  III.A.2. Materials Currently Used in IUB Buildings

           There are particular building materials that may become breeding grounds for mold if the
  precise conditions for moisture are present. The following are examples of known materials,
  structures, and systems used extensively on the IUB campus, which could contribute to moisture
  and/or mold problems. These include—but are not limited to—gypsum board (drywall), ceiling
  tiles, vinyl wallpaper, carpeting, low-quality air filters, a lack of insulation on pipes, drip catch-
  pans, rubber-sheeting with rock ballast roofing, and landscaping planters.
           Gypsum drywall and ceiling tiles are usually cellulose based and therefore provide
  conditions and nutrients that are conducive for mold growth and reproduction. Carpet, if not
  replaced and especially following water damage, can also provide a prime environment for mold
  growth. Low quality air filters, or quality air filters if changed infrequently, will be ineffective at
  preventing the spread of mold. In some cases, the filters and the air handling unit can actually
  contribute to the spread of mold. The water-based heating and cooling systems utilized by many
  older buildings on campus also have the potential for moisture build-up due to condensation
  from lack of insulation on the pipes, overflowing drip catch pans, and general leaking of the
  implements.
           Problems with leaks may arise due to the type of roofing material that many campus
  buildings employ, namely rubber sheeting with rock ballast. This rubber sheeting has the
  tendency to develop tiny holes, which allow water to seep under the roof, becoming trapped and
  thus creating a moist area without air movement. This creates an opportunity for water to
  continue to leak from the roof into lower parts of the building. Additionally, another source of
  moisture is landscaping planters that abut many of the buildings (e.g. SPEA) at IUB. The lining
  of the planters becomes compromised by punctures from gardening tools and the growth of plant
  roots, and consequently water seeps through the lining and into the adjoining building.


  63
    All information pertaining to IUB building specifics and building managers, including the policy analysis section,
  references the information garnered from the questionnaire unless otherwise noted.


                                                                                                                   15

                                                                                                       Exh. A - Page 23
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 56 of 225 PageID #: 66
                                                       EXHIBIT 1




  III.A.3. Problems of Primary Concern

          The responses from the Building Manager Questionnaire indicate that the most
  ubiquitous problem with campus buildings has been with leaking roofs (for a detailed list of
  building and mold conditions in campus buildings, see Appendix C, Building Manager
  Questionnaire Responses). This is due to poor construction, poor materials, the age of the roof in
  question, or the lack of repairs and maintenance. Of the ten responses we received, six of the
  buildings reported problems with roof leaks, currently and/or in the past.64
          Another common source for water damage arises from chronic leaking of plumbing pipes
  (bathrooms, laboratory sinks, etc.), burst pipes (water mains, bathroom plumbing), and the
  subsequent collection of water on the floors below the water source. These incidents obviously
  cannot be foreseen, and thus are difficult to prevent. Windows also have a tendency to leak due
  to ineffective seals, from inadvertently being left open over long weekends or breaks, or simply
  from old age. Other concerns for water leaks and damage are those from the condensate from
  water-based heating/cooling systems, moisture from landscaping planters, exterior walls seeping
  moisture, and the occasional incident of sprinkler systems being triggered.
          Building integrity problems are the number one issue to consider when addressing
  potential mold problems. Many building integrity problems, including the building envelope,
  exterior walls, windows, and the roof, will lead to water leaks and eventually create a prime
  environment for mold growth. Water leaks have become a large problem because an increased
  number of University buildings have roof leaks due to the lack of funding to fix them. 65

  III.B. Human Health Implications and the IUB Community

          The U.S. Environmental Protection Agency’s (EPA) studies of human exposure to air
  pollutants indicate that indoor levels of pollutants may be two to five times greater, and at times
  more than 100 times greater, than outdoor levels. These levels of indoor air pollutants are of
  great concern because it is estimated that people spend an average of 90% of their time indoors.
  Comparative risk studies performed by the EPA and its Science Advisory Board have
  consistently ranked indoor air pollution among the top five environmental health risks to the
  public.66
          At IUB, a failure to prevent indoor air problems, such as mold, or failure to respond to
  water leaks promptly, can have consequences such as:67

       •   Increasing potential for long-term and short-term health problems for students and staff.
       •   Impacting student and staff learning and working environment, comfort, and attendance.
       •   Reducing performance of faculty, and staff due to discomfort, sickness, or absenteeism.
       •   Accelerating building deterioration.

  64
     All information pertaining to IUB building specifics and building managers, including the policy analysis section,
  references the information garnered from the questionnaire unless otherwise noted.
  65
     Presentation by Mr. Hank Hewetson, the Director of Physical Plant, in SPEA 272 on 8 February 2005.
  66
     U.S. Environmental Protection Agency, IAQ Tools for Schools Kit - IAQ Backgrounder [on-line]; available from
  http://www.epa.gov/iedweb00/schools/tfs/iaqback.html#Why%20IAQ%20is%20Important%20to%20Your%20Scho
  ol; Internet; accessed 31 March 2005.
  67
     U.S. Environmental Protection Agency, IAQ Tools for Schools Kit - IAQ Backgrounder [on-line]; available from
  http://www.epa.gov/iedweb00/schools/tfs/iaqback.html#Why%20IAQ%20is%20Important%20to%20Your%20Scho
  ol; Internet; accessed 31 March 2005.


                                                                                                                   16

                                                                                                       Exh. A - Page 24
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 57 of 225 PageID #: 67
                                                    EXHIBIT 1




       •   Reducing efficiency of the Physical Plant work time and equipment.
       •   Increasing the potential that schools will have to be closed, or occupants temporarily
           relocated.
       •   Straining relationships among University administration, staff, and students.
       •   Creating negative publicity that could damage the University’s image and effectiveness,
           and creating potential liability problems.

           Indoor air problems, such as mold, can be subtle and do not always produce easily
  recognizable impacts on human health or general well-being. Air quality at public universities is
  of particular concern. Proper maintenance of indoor air is more than an issue of “quality;” it
  encompasses safety and stewardship of the public’s investment in the students, staff, and
  facilities.
           Building occupants in IUB include the faculty, staff, students, and others who spend
  extended periods of time in these buildings. The effects of IAQ problems on occupants are often
  non-specific symptoms, rather than clearly defined illnesses. Symptoms commonly attributed to
  IAQ problems include:68

       •   Headache, fatigue, and shortness of breath.
       •   Sinus congestion, cough, and sneezing.
       •   Eye, nose, throat, and skin irritation.
       •   Dizziness and nausea.

          Due to the varying sensitivity among individuals, one person may react severely to an
  IAQ problem such as mold, while surrounding occupants may not display any adverse effects.
  In other cases, symptoms may be widespread. In addition to different degrees of reaction, an
  indoor air pollutant or problem can trigger different types of reactions in different people.
          Based to these reasons, it is extremely important to try to prevent and address mold issues
  as quickly as possible. In addition, the expense and effort to prevent mold problems could be
  considerably less than the costs to solve mold problems after they develop. This comparison of
  costs is explored further in Section VI. A focus on educating IUB faculty, staff, and students on
  the issue and causes of mold can play an important role in the prevention and timely remediation
  of problems.

  III.B.1. IUB Community Case Studies

          Interestingly, when IUB individuals reportedly affected by mold were contacted, there
  was a great deal of concern regarding anonymity. Faculty and staff acknowledge that some of
  their peers are affected by mold, however when contacted, these individuals did not respond to
  inquiries or would speak only on the condition of anonymity. Some individuals revealed that
  they were concerned about their job security if they openly criticized the University’s handling
  of mold-related issues. The following case studies are included to emphasize the human
  dimension of the mold problem on the IUB campus.

  68
    U.S. Environmental Protection Agency, IAQ Tools for Schools Kit - IAQ Backgrounder [on-line]; available from
  http://www.epa.gov/iedweb00/schools/tfs/iaqback.html#Why%20IAQ%20is%20Important%20to%20Your%20Scho
  ol; Internet; accessed 31 March 2005.


                                                                                                             17

                                                                                                 Exh. A - Page 25
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 58 of 225 PageID #: 68
                                                     EXHIBIT 1




  CASE STUDY #1

          While cases of mold-related allergies often occur in isolation, in one of the offices on the
  IUB campus interviewed, multiple staff members suffer from allergy-like symptoms. Each of
  the individuals has worked for the University for numerous years, and all have had such
  symptoms for most of their employment in this office.
          The individuals experience increased sinus infections, sinus-like headaches and runny
  noses. These symptoms do not persist in the home setting, only in their office. All have seen
  allergists and several regularly take prescription medication to alleviate their discomfort. One
  had to cease regular treatments due to the costs of the treatment and the related time off work. In
  one attempt to mitigate the problem, indoor air quality filters were installed, but this ultimately
  created more problems than it helped.
          Several years ago, the staff members approached the building manager when they noticed
  their symptoms seemed somewhat correlated with rain events. Ceiling leaks were commonplace
  in the office, and the carpet and ceiling tiles were regularly saturated. The building manager
  took short-term actions to cleanup the water damage, and reportedly contacted a department
  faculty member, identified as the contact for EHS, to tell him of the staff’s situation. After
  reviewing the situation, EHS told the staff members that the study did not find unusually high
  levels of mold present, and that the levels in their office were insignificant compared to levels
  found in other offices around campus.
          Despite several recent changes to their office environment, their symptoms have not
  dissipated. EHS apparently has not followed up with the staff members, and some of the staff
  have become disheartened by the University’s perceived lack of attention to the problem in their
  office. The staff feel that the air recirculation system in the building, the poor construction and
  insulation of the walls, and the leaky window walls contribute to an environment that promotes
  mold growth.
          The staff were unaware of the resources available to them on the EHS website and had
  not been administered the “Occupant Interview Form” 69 or notified of the “Occupant Diary
  Form” 70 by EHS. There was some additional uncertainty as to the efficacy of the faculty
  member or the building manager contacting EHS to report ongoing problems. The staff
  members had not independently contacted EHS. Some staff believe that a more detailed study
  on the IAQ of their office should be conducted, in the hopes that a problem would be detected
  and legitimized. They also thought that an informational sheet about mold and the appropriate
  contacts would be helpful, however, they were skeptical that other staff or faculty would attend a
  training session “if nothing will be done (about the problem) anyways”. They implied that
  faculty and staff knowledge of mold is constrained by the perceived unwillingness of the
  University to permanently fix the mold-growth conditions in their workplace. The staff have
  resigned to living in discomfort in their office environment and continue to pay medical bills and
  miss workdays because of their persistent symptoms.




  69
     IU Office of Environmental, Health, and Safety Management, Occupant Interview Form [on-line]; available from
  http://www.epa.gov/iaq/largebldgs/graphics/occint.pdf; Internet; accessed 8 April 2005.
  70
     IU Office of Environmental, Health, and Safety Management, Occupant Diary Form [on-line]; available from
  http://www.epa.gov/iaq/largebldgs/graphics/occdiary.pdf; Internet; accessed 8 April 2005.


                                                                                                               18

                                                                                                   Exh. A - Page 26
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 59 of 225 PageID #: 69
                                                EXHIBIT 1




  CASE STUDY #2

           On the east side of Jordan Hall, which is considered the older section of the building, a
  female IUB employee regularly suffers from allergies to perfumes, some animals, and suspects
  allergies to molds as well. It is in this section of the building where her symptoms are the worst.
  Her symptoms include sneezing, watery and burning eyes, coughing, sinus problems and daily
  headaches. She additionally suffers from asthma and regularly takes prescription medication for
  her allergies.
           The interviewee explained that several years ago, the older section of Jordan Hall
  experienced a large-scale flood over a holiday break. She reported that the entire east side of
  building was under several inches of water. Consequently, the drywall and ceiling tiles became
  water damaged. To rectify the water damage problem, she stated that EHS responded by
  removing and replacing the bottom portion of the wallboard in some of the affected areas.
  However, she claims that EHS glued the old wallpaper back down instead of replacing it. In an
  affected lab, employees were able to convince the building supervisors to install air register
  filters to catch a black precipitate that was blowing out of the vents and causing contamination
  problems in their cultures. Unfortunately, the filters were not properly sized and the
  contamination persisted. The employee was additionally concerned when supervisors justified
  not changing the filters by asserting “the more stuff trapped in them, the better filter they will
  be”. The employee is especially concerned about the plans to join the science buildings by a
  tunnel because of the air and moisture that will pass between them.
           The interviewee stated that when she has reported problems in the past, she had been
  given materials on how to process complaints and requests. In addition to taking samples of the
  black precipitate at the air registers, she feels that a number of additional things could be done to
  create a more healthy work environment. Such activities could include regularly changing or
  cleaning the building’s primary filters and condensation pans; regularly cleaning the ductwork;
  properly installing or repair of leaky ductwork, and; installing mold-resistant ceiling tiles.
           She believes that the University should be proactive, rather than reactive, in combating
  mold problems on campus. She feels that the University has not made a sufficient effort to keep
  faculty and staff informed of building-related mold concerns. This IUB employee’s experience
  with mold is similar to the others in that she sees a need for increased attention to the issue.




                                                                                                     19

                                                                                         Exh. A - Page 27
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 60 of 225 PageID #: 70
                                               EXHIBIT 1




  CASE STUDY #3

          Similar to the employee’s experience in Case Study #2, Dr. José Bonner, IU Professor of
  Biology, first linked his allergy-like symptoms to mold after a flood in Jordan Hall. His
  symptoms began with constant exhaustion and throat-clearing, and progressed to the point that
  he is now unable to enter some buildings on campus because of the severity of his symptoms.
  Indoor air in mold-affected buildings or near compost piles exacerbates Dr. Bonner’s symptoms;
  when distanced from such conditions, his symptoms gradually lessen. His sensitivity to
  exposure has increased over time.
          In addition to the flooding incident mentioned above, Dr. Bonner notes that most IU air-
  handling systems induce his symptoms to some degree. This, he explains, is simply a function of
  the building materials used in air-conditioned, modern buildings. Many air-conditioning systems
  at IUB use un-insulated re-heat coils that condense atmospheric moisture. This condensate
  consequently drips onto cellulose-based ceiling tiles or paper-backed gypsum wallboard. The
  resulting conditions are excellent for mold growth.
          When asked about the University’s response to his problems, Dr. Bonner reports that the
  University responds to his air quality reports in a timely, state-of-the-art fashion in terms of
  monitoring and remediation work. He maintains that unfortunately, people who have become
  “hypersensitive” to IAQ concerns are generally thought not to be representative of the population
  overall. Dr. Bonner feels that the building industry tends to ignore the experiences and healthy
  work environment needs of hypersensitive individuals.
          Dr. Bonner was absent the second half of each of two semesters because he was either
  incapacitated by his symptoms and awaiting sinus surgery, or recovering from visits to the
  emergency room. During these absences, the University had to find alternates professors to
  teach his courses. This lost productivity cost is further considered in Section VI. Because of his
  health concerns, Dr. Bonner has been unable to continue work in his laboratory or Jordan Hall.
  He avoids the building as much as possible and now works mostly from home where his
  symptoms are not as extreme.




                                                                                                   20

                                                                                       Exh. A - Page 28
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 61 of 225 PageID #: 71
                                               EXHIBIT 1




  CASE STUDY #4

          The interviewee (who wishes to remain anonymous) has been working at the School of
  Public and Environmental Affairs (SPEA) for the past several years and has been experiencing
  allergic reactions to mold for the duration of this time. The interviewee was tested and formally
  diagnosed with mold allergies and asthma approximately one year ago. An ear, nose, and throat
  specialist and an immunologist concurred on the diagnosis. The interviewee’s symptoms include
  headaches, stuffiness, constant sinus pressure, migraines, burning sinuses, and eye irritation.
          The interviewee began to associate the symptoms with mold, in part because the
  employee in the position prior to him/her had experienced the same symptoms. Additionally,
  mold was found on the wall behind the employee’s desk and on the ceiling tiles in the office.
  Water leaks had occurred in the building’s hallways, which resulted from the outside sprinklers
  (which are no longer in use). The interviewee stated that her/his symptoms are worse when s/he
  is in SPEA.
          Several years ago, the interviewee, along with five other SPEA staff, contacted EHS
  about mold and related health problems. Physical Plant staff responded the next day and
  replaced the moldy ceiling tiles. The interviewee reported that EHS did not request that s/he and
  the other SPEA staff fill out a complaint form. Since the interviewee’s first request, s/he has had
  to file IAQ and mold complaints multiple times. For example, dust and particles were seen
  blowing out of the air vent in his/her office. This issue was brought to the attention of Chad
  Sweatman, the building manager, who vacuumed out the air vents. The interviewee received an
  air cleaning system for his/her office area, and was made responsible for replacing its filters.
          While the response that the interviewee received was prompt, s/he feels that the attitude
  concerning his/her chronic symptoms is that “allergies are your own problem.” The interviewee
  does not feel that the ultimate response was adequate because s/he, along with many other people
  in the building, is still experiencing severe allergic reactions to mold. Although the interviewee
  thought it would be helpful to have mold training, for faculty and staff, it is the primary
  recommendation of the interviewee that there be an outside organization, one not connected with
  the University, to address these issues.
          The interviewee’s reactions to mold have greatly affected his/her productivity at the
  University. S/he has already missed over ten days since the beginning of the 2004-2005 school
  year. Additionally, mold allergies have severely affected the employee’s family on a regular
  basis. Costs for medical visits, antibiotics, and treatments such as acupuncture, have taken a
  financial toll on the employee’s out-of-pocket health care expenses. The interviewee’s mold-
  related concerns now not only encompass health issues, but financial and job-related issues as
  well.




                                                                                                    21

                                                                                        Exh. A - Page 29
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 62 of 225 PageID #: 72
                                                EXHIBIT 1




  CASE STUDY #5

          Kim Shipley is an administrative staff member who works in the School of Public and
  Environmental Affairs (SPEA). Ms. Shipley began to notice allergy and asthma-like symptoms
  three years ago, about a year after she began working at SPEA. She did not experience allergy or
  asthma symptoms prior to her employment at SPEA. Her symptoms include asthma, sneezing,
  runny nose, eye irritation, and chronic sinus drainage. She has been diagnosed with allergies to
  mold through skin tests, and she is allergic to some foods, dust, grass, and some animals.
          After associating her symptoms as allergic reactions to mold, two years ago Ms. Shipley,
  along with other SPEA faculty and staff, contacted EHS about the problem of mold and indoor
  air quality. She reported numerous water leaks around SPEA, especially near the windows and
  staircases, and she noted that the faculty and staff lounge specifically smells of mildew. It is also
  important to note that EHS did not request or require Ms. Shipley to fill out any forms to
  document her complaint or request for inspection. EHS responded by testing the indoor air
  quality. However, EHS reported that the results of the tests indicated that that air quality was
  within building standards. Nevertheless, Ms. Shipley has continued to experience allergy and
  asthmatic symptoms on a daily basis, which tend to worsen throughout the workday. Similar to
  the other case study interviewees, her symptoms tend to subside once she leaves the building.




                                                                                                     22

                                                                                         Exh. A - Page 30
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 63 of 225 PageID #: 73
                                                      EXHIBIT 1




  IV. Administrative Hierarchy and Process at Indiana University
          As discussed, mold affects not only the health and well being of faculty, staff, and
  students, but also severely impairs the building integrity of University structures. The
  widespread implications of mold require numerous administrative departments’ involvement in
  mold policy and remediation. The Physical Plant, in addition to the Office of Environmental
  Health and Safety and Building Managers/Representatives, is one of the most active departments
  involved with mold issues and therefore, it is important to remember the Physical Plant’s unique
  relationship with both the Chancellor’s Office and the Office of the Vice President and Chief
  Administrative Officer.

  IV.A. Description of Relevant Offices

         Provided below is a description of the administrative roles and responsibilities of offices
  whose decisions impact mold policies and administrative procedures at IUB. This description
  includes: 1) the Chancellor’s Office, and two offices reporting to the Chancellor, the Office of
  Space Management and Residential Programs and Services; and 2) the Vice President/Chief
  Administrative Office, and three departments reporting to the Vice President, Environmental
  Health and Safety, Risk Management, and Physical Plant.

  IV.A.1. Chancellor’s Office

          The Chancellor’s Office is responsible for the administration of IUB expenses and
  revenues, totaling roughly $616 million in FY 2004-05. Of this budget, roughly one-third was
  revenue appropriated by the Indiana General Assembly. The remainder was raised through
  student fees generated by each academic unit71 (see Appendix D, Table 1).
          Vice Chancellor for Budgetary Affairs, Neil Theobald, is responsible for IUB financial
  planning and budget administration. He is supported by Associate Vice Chancellor, James
  Donges. Vice Chancellor Theobald was interviewed and provided a tour of campus buildings in
  order to assist this class in its information gathering. Associate Vice Chancellor, Jim Donges,
  provided our class with IUB budgetary information. Vice Chancellor Theobald chairs the
  Budgetary Affairs committee, which plays a major role in determining priorities and
  recommending budget allocations. Along with other budget and finance committees, the
  Budgetary Affairs Committee works with campus leadership to achieve agreed upon goals.72 An
  additionally important Chancellor’s Office finance committee is the Capital Priorities
  Committee; this committee sets the IUB’s priorities for capital improvement projects and makes
  recommendations to the Budgetary Affairs Committee. Robert Kravchuk, Ph.D., faculty
  member of the Budgetary Affairs Committee and Capital Affairs Committee, was additionally
  interviewed in regard to these committees’ roles. The implications of budgetary decision-making
  for mold growth on campus are more thoroughly discussed in Section V, Financial Analysis.


  71
     Interview with Mr. Neil Theobald, Vice Chancellor for Budgetary Affairs, on 22 February 2005.
  72
     Office of the Chancellor, Indiana University Bloomington, Budget Goals for the Coming Year, Sept. 30, 2004 [on-
  line]; available from http://www.iub-chancellor.indiana.edu/speeches/bfc2004.shtml; Internet; accessed 30 March
  2005.



                                                                                                                 23

                                                                                                     Exh. A - Page 31
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 64 of 225 PageID #: 74
                                                      EXHIBIT 1




  IV.A.1.i. Office of Space Management

          The Office of Space Management assists academic and administrative departments with
  their space, remodeling, and renovation needs in order to support the academic mission of the IU
  Bloomington campus. In addition, this office oversees the IU Warehouse and Mail Services
  Department. The Office of Space Management is staffed by two professional staff, the Director,
  and the Associate Director. The IUB Campus general fund supports this Office’s budget, with
  the exception of a portion of the Associate Director’s salary, which is supported by the IU
  warehouse account.
          Effective response to academic and administrative units’ remodeling and renovation
  needs is an important aspect of mold prevention, and at times, mold remediation. Coordinating
  this response is a primary function of the Office of Space Management. The academic and
  administrative units’ remodeling needs range from simple to complex.
          The Office of Space Management represents academic and administrative units in
  remodeling activities and insures that space change and use resulting from remodeling projects
  adheres to the “campus master plan”. In order to effectively accomplish this task, the office
  receives units’ remodeling and renovation requests, consults with users, determines priorities,
  oversees cost estimates, and identifies funding sources. This office additionally coordinates
  University Architect and Physical Plant project activities, while serving as a liaison to the
  administrative or academic units. The Office of Space Management often serves as a financial
  intermediary and administrator for remodeling and renovation projects.

  IV.A.1.ii. Residential Programs and Services (RPS)

          Vice Chancellor for Auxiliary Services, Bruce Jacobs is responsible for auxiliary service
  units, including RPS. Patrick Conner is the executive director of the Residential Programs and
  Services (RPS) department. RPS employs about 150 professional staff, excluding custodians and
  other staff. Residential Programs and Services (RPS) is responsible for housing approximately
  11,500 students in its eleven residential centers, not including its single-student and traditional
  apartment housing complexes. Each facility has its own unique design and setup making them
  attractive to meeting student needs.
          The residence halls and on-campus apartments are strategically arranged into four
  geographic locations, called Neighborhoods. Because each hall and apartment complex is
  designed differently (i.e., numbers, floors, buildings), each has their own unique facility
  concerns. In addition, RPS is responsible for all dining services and custodial staff. The mission
  of RPS is to bring the academic life of the University into the student’s living environment by
  providing a residential experience which best meets the educational and developmental goals of
  our residents outside the classroom, enabling them to succeed inside the classroom. 73 RPS
  believes that their buildings are the students’ homes, so if students are concerned about building
  issues, RPS attempts to mitigate those problems or concerns immediately. The Residential
  Operations staff track all work orders to be sure they have been completed. In addition,
  Residence Managers perform monthly audits to ensure work requests are completed and charged
  properly.74

  73
     Residential Program Services, Indiana University, Bloomington [on-line]; available from
  http://www.rps.indiana.edu/default.htm; Internet; accessed 29 March 2005.
  74
     Interview with Mr. Larry Isom, RPS Facilities Management Director.


                                                                                                           24

                                                                                               Exh. A - Page 32
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 65 of 225 PageID #: 75
                                                     EXHIBIT 1




           During the information gathering process, Steve Akers, Associate Director of
  Environmental Operations / Design, was formally interviewed in regards to water and mold
  related issues within RPS. Steve Akers oversees all custodial operations in the single housing
  centers.75 Environmental Operations has an average of 10-15 staff (i.e. custodians) per center
  and all are trained in proper cleaning procedures by EHS. The staff is responsible for the
  cleaning of all center areas. The average size of IUB residence halls is approximately 600 rooms,
  accommodating about 1000 residents. 76 Custodians at residence halls are trained in proper
  cleaning procedures by EHS.
           According to Larry Isom, Facilities Management Director, each residence hall has one
  person responsible for all local maintenance within the center. Larger maintenance tasks are
  performed by outside skilled laborers (e.g. Physical Plant staff). In addition, a sole RPS
  technician is responsible for the inspection and replacement of all filters in the dorms two to
  three times per year. Old filters can accumulate dust and become a source for mold growth.
           Currently mold issues are not a major concern within RPS. It was estimated that less
  than 1% of the department’s budget is associated with mold-related problems.77 However, Larry
  Isom and Steve Akers have stated that mold-related problems experienced by RPS are related to
  air ventilation systems or the lack of air ventilation. All the dormitories are linked to, or
  retrofitted to, the Energy Management System 78 which reduces the likelihood of moisture
  problems. However, the EMS is sometimes combated by those individuals who promote
  conditions suitable for mold growth. For instance, students may promote mold growth by
  inadvertently leaving the A/C on a low temperature during long spans of absence, thus, creating
  a condensation affect along aluminum window seals. The condensate along the window is a
  prime location for mold growth.
           Most recently, a center experienced minor mold problems in rooms when cool room air
  mixed with more humid hallway air. As a result, mold was found growing around nearby
  window frames. By ensuring that hallway ventilation systems operate at all times, problems
  such as these can be mitigated.79
           Another source of information was a class presentation by John Bruce, RPS Health and
  Safety Manager, during which he explained his job function and what mold related issues are
  common in his field of work at IUB. 80 Mr. Bruce is involved in all mold related problems,
  which entail addressing proper clean up and solutions. Mr. Bruce also currently provides all of
  the health and safety training for RPS employees, who include, but are not limited to residence
  managers, residence assistants, and student leaders that deal with cleaning.
           The major source of mold, Mr. Bruce explained, is from moisture, which may be a result
  of roof leaks and plumbing leaks; the former being the most prevalent. In addition, dead air or
  poor ventilation is another factor that creates a suitable environment for mold growth. Mr. Bruce
  also mentioned that fixing roof leaks expediently is a high priority and the most cost-effective
  way to prevent further mold growth and damage to buildings. An example of a key location for
  mold growth would be high storage areas in dorms, damp ceiling tiles and drywall, and in and
  around window seals. Ceiling tiles are a recurring problem because they are composed of

  75
     Interview with Mr. Steve Akers, RPS Associate Director of Environmental Operations/Design.
  76
     Interview with Isom.
  77
     Interview with Akers.
  78
     See infra, IV.B.3.iv.
  79
     Interview with Isom.
  80
     Presentation by Mr. John Bruce, Health and Safety Manager, RPS, on 1 February 2005.


                                                                                                              25

                                                                                                  Exh. A - Page 33
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 66 of 225 PageID #: 76
                                                       EXHIBIT 1




  cellulose, which is a primary nutrient utilized by mold to support growth. Also the ceiling tiles
  are almost always being saturated with water form leaking pipes. Note that mold on porous
  materials (e.g. ceiling tiles, drywall) cannot be remediated; instead, those materials must be
  removed and replaced.

  IV.A.2. Office of the Vice President and Chief Administrative Officer

          The Office of the Vice President and Chief Administrative Officer works to advance and
  support academic excellence throughout the entire Indiana University System by providing
  quality services through leadership and stewardship to the University community.81 The Office
  of the Vice President and Chief Administrative Officer oversees all six IU campuses, but has a
  unique relationship with the IUB campus. Unlike any of the other IU campuses, the Office of the
  Vice President and Chief Administrative Officer administers services to the IUB campus, in
  addition to its general oversight function.82

  IV.A.2.i. University Office of Environmental, Health, and Safety Management (EHS)

         Mr. Dan Derheimer is the Environmental Manager at EHS, and among other
  responsibilities, he is in charge of Indoor Air Quality (IAQ) at IUB. Mr. Derheimer reports to
  Ted Alexander, the University Environmental Health and Safety Department Director. This
  department then reports to Vice President and Chief Administrative Officer, Mr. Terry Clapacs.
  (see Appendix B, Chart 4)
         The mission of EHS is to augment the University academic mission by promoting and
  supporting a safe and healthy workplace and natural environment for Indiana University.83 The
  goals of the IAQ program are i) to diagnose problems and solve them as efficiently and quickly
  as possible and ii) to prevent future problems by maintaining systems properly.84 The main work
  done at EHS is investigative; no remediation work is involved. EHS recommends the level of
  remediation necessary to the Physical Plant or outside contractors.
         There is a lack of information for the Indoor Air Quality budget and expenditures at
  Department of Environmental Health and Safety Management (EHS). According to an interview
  conducted with Mr. Derheimer, it is costly and inefficient to do periodic air quality sampling to
  detect mold. Mr. Derheimer reported that he has observed Physical Plant’s decreased ability to
  maintain buildings, particularly air handling systems. This makes it difficult to proactively
  prevent mold issues on campus. He attributes this lack of maintenance to lack of state
  appropriated R & R funding.85


  81
     The Office of the Vice President and Chief Administrative Officer, Mission Statement [on-line]; available from
  http://www.indiana.edu/~vpa/html/vp___cao_mission_statement.html; Internet; accessed 23 April 2005.
  82
     Presentation by Dr. Edwardo Rhodes, Interim Associate Vice President for Student Development and Diversity
  and Professor of Public and Environmental Affairs at SPEA, on 20 January 2005.
  83
     Indiana University Office of Environmental Health and Safety Management, Mission Statement [on-line];
  available from http://www.ehs.indiana.edu/missionstatement.html; Internet; accessed 24 April 2005.
  84
     Indiana University Office of Environmental Health and Safety Management, Indoor Air Quality at IU-
  Bloomington [on-line]; available from http://www.ehs.indiana.edu/indoor_air.html; Internet; accessed 24 April
  2005.
  85
     Interview with Mr. Dan Derheimer, Environmental Manager, Office of Environmental Health and Safety
  Management, on 10 February 2005.


                                                                                                                      26

                                                                                                       Exh. A - Page 34
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 67 of 225 PageID #: 77
                                                     EXHIBIT 1




  IV.A.2.iii. Office of Risk Management

          Mr. Larry Stephens is the Director of the Office of Risk Management, which employs
  about 25 staff members, whose primary responsibilities include investigating and addressing
  insurance claims. This department reports to the Vice President and Chief Administrative
  Officer, Mr. Clapacs. Its operating budget is allocated by the IU President’s Office.
          The Office of Risk Management is responsible for purchasing Indiana University’s
  insurance (self-insurance fund), excluding life and health insurance. 86 This office is also
  responsible for loss prevention and loss control, related safety, emergency disaster planning, and
  adjustment of all related claims. The following classify as related claims: property and liability
  claims, workers compensation, auto claims, etc. Loss prevention is defined as preventing a loss
  before it actually happens. An example of a loss prevention measure would be proper health and
  sanitary conditions in and around the food facilities. On the other hand, loss control is the ability
  to control the amount of loss which occurs from a given situation. For example, designing and
  building roofs with longer life spans may prevent water damage related losses.

  IV.A.3. Physical Plant

          “The mission of the IUB Physical Plant is to operate and maintain a high-quality physical
  environment to enhance student learning, faculty teaching and research. [They] serve other non-
  academic departments, and [they] support the University’s service to the community and citizens
  of Indiana.”87 The Physical Plant strives to create the most productive and pleasant working
  environment and maintains the quality of the working spaces on campus. Mr. Hank Hewetson,
  the Director of the Physical Plant, works extremely hard to achieve the mission and goals of the
  Physical Plant and to provide the best quality service.88
          The Physical Plant provides numerous behind-the-scenes services to the University,
  including89:

  Classroom and office lighting maintenance                   Room temperature controls adjustment*
  Trash pickup                                                Roof repair and maintenance*
  Outdoor lighting maintenance                                Snow removal from walks and parking lots
  Office furniture rearrangement and transfer                 Swimming pool maintenance*
  Sign fabrication and installation                           Building door-lock and window repair*
  Restroom plumbing maintenance*                              Pest control
  Carpet care*                                                Window washing
  Hard floor care                                             Routine custodial care*
  Leaf removal*                                               Flower bed planting

  86
     Office of Risk Management, Indiana University [on-line]; available from http://www.indiana.edu/~riskmgmt;
  Internet; accessed 24 April 2005.
  87
     The Department of Physical Plant, Indiana University, Bloomington [on-line]; available from
  http://www.indiana.edu/~phyplant/html; Internet; accessed 23 April 2005.
  88
     Most of the information pertaining to the Physical Plant was obtained from Mr. Hank Hewetson’s class
  presentation on 8 February 2005, a follow-up interview with Mr. Hewetson on 24 February 2005, and through email
  correspondence.
  89
     Department of Physical Plant, Examples of Services We Provide [on-line]; available from
  http://www.indiana.edu/~phyplant/html/body_examples_of_services.html; Internet; accessed 23 April 2005.


                                                                                                               27

                                                                                                   Exh. A - Page 35
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 68 of 225 PageID #: 78
                                                        EXHIBIT 1




  Tree trimming                                                 Sidewalk maintenance and construction
  Street sweeping                                               Fire alarm and maintenance
  Lecture room PA system maintenance

  * Indicates services that may implicate mold issues

           Some of the Physical Plant’s main responsibilities are maintenance, repair and minor
  renovation of buildings and facilities; grounds care; utility distribution (water, heat, electricity,
  etc.); and custodial care.90
           The Physical Plant has approximately 750 full-time clerical, technical, service, and
  administrative employees. The custodial staff in the Building Services Division maintains nearly
  seven million square feet of space, the craft-workers service more than 250 buildings, the utilities
  staff maintains more than 180 miles of utility distribution systems, and the staff in the Campus
  Division is responsible for nearly 2000 acres of IUB landscaping, lawns, sidewalks, parking lots,
  and streets.
           The Physical Plant is housed in sixteen different buildings and has six Campus Division
  zones and six Building Maintenance zones located throughout the campus. 91 Each of the work
  zones operates fairly autonomously and does not interact or discuss problems specific to each
  zone very often.

  IV.A.3.i. Physical Plant Budget

          The Physical Plant General Fund is used primarily for maintenance and the general
  upkeep of existing non-auxiliary facilities, which includes cleaning and maintenance of academic
  buildings, campus grounds keeping and landscaping, facility operation, exterior campus lighting
  and all utility distribution systems except telephone and data. The Physical Plant is responsible
  for financing the upkeep and maintenance of building services, including: building structures and
  envelopes (e.g. permanent walls, roofs, floors, ceilings, windows); basic daily cleaning (e.g.
  public areas); weekly cleaning (e.g. private offices); bi-annual and annual cleaning; HVAC
  systems; plumbing; and building-wide distribution systems in support of research labs in addition
  to others.
          Individual departments are responsible for funding major renovation and remodeling
  project completed by the Physical Plant. This type of work is not covered under the Physical
  Plant’s general budget and “are funded through charge-backs to departmental accounts, based on
  hourly labor rates, for non-academic facility maintenance and other services.” Some examples
  of services billed to departmental account numbers include: departmental equipment (i.e.
  installation, modification, replacement or maintenance of furnishings and equipment which
  purpose is to serve a specific office) and renovation (e.g. architectural, mechanical, and electrical
  systems; abatement) (see Appendix E, Physical Plant Funding Responsibilities, Indiana
  University, Bloomington).
          The Chancellor’s Office controls the Physical Plant’s budget; in FY 2004 it was allocated
  approximately $52 million, 5.6% of IUB’s total operating expenses. The Physical Plant’s

  90
     Department of Physical Plant, About Physical Plant [on-line]; available from
  http://www.indiana.edu/~phyplant/html/body_about_physical_plant.html; Internet; accessed 23 April 2005.
  91
     Department of Physical Plant, About Physical Plant [on-line]; available from
  http://www.indiana.edu/~phyplant/html/body_about_physical_plant.html; Internet; accessed 23 April 2005.


                                                                                                               28

                                                                                                   Exh. A - Page 36
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 69 of 225 PageID #: 79
                                                      EXHIBIT 1




  expenditures include approximately $21 million for utilities and purchased fuel, $9 million for
  cleaning, $8 million for maintenance, $4 million for utility operations, and $2.4 million for
  ground care92 (see Appendix E, Table 1). In the past, Physical Plant received additional funding
  from state Repair and Rehabilitation (R & R), but in FY 2003, IUB received less than 1% of
  expected R & R and in FY 2004, IUB received 0% of the expected R & R (see Appendix E,
  Table 2).
          The Campus Care Program provided the Physical Plant with approximately $750,000
  additional funding this year, which is a separate source of funding that goes into the Physical
  Plant’s base budget. About $250,000 of this funding was earmarked for custodial work and the
  remainder is allocated to painting offices and classrooms. The Campus Care Program funding is
  not used to fund projects no longer receiving state R & R funding, but instead is targeted at
  projects such as classroom work. 93

  IV.A.3.ii. Physical Plant Training

         New Physical Plant employees must attend an orientation that covers all regulatory
  requirements, but nothing in this training addresses mold identification or associated health
  problems. They do receive some remediation training that is catered toward emphasizing that
  mold can not just be bleached, but that other adequate remediation steps must be taken. In
  general, however, the training is primarily focused on knowing whom to contact for different
  problems and for protective personal equipment.

  IV.A.3.iii. Physical Plant Mold Protocols

           When the Physical Plant began addressing mold growth, the generally accepted
  procedure was to scrape up the mold, wipe down the surface, and repaint the area with three
  times the amount of fungicidal paint. The Physical Plant, as well as other departments, has
  learned over the years through trial and error how to best attack mold problems. Although there
  are no strictly enforced mold procedures similar to those followed for asbestos clean up, there
  exists more loosely followed “best practices” for mold remediation.94 Extremely large mold
  problems, extremely large water problems, or those problems that are much more detrimental to
  a person’s health are contracted out to an abatement team.
           The Physical Plant encounters mold in the air handling units throughout the University.
  Older air handling units were insulated with organic matter, which encouraged mold growth
  throughout the unit. These air handling units have been replaced with double panel stainless
  steel air handling units, which are much less susceptible to mold growth, in approximately four
  to six new buildings, but most buildings still contain the old systems. The large air handling
  units are thoroughly cleaned about once a year during routine maintenance check-ups for motors,
  belts, etc. The air filters are changed twice a year and are checked quarterly.95




  92
     Interview with Mr. Hank Hewetson, Director of Physical Plant, at Physical Plant, on 24 February 2005.
  93
     Interview with Hewetson, 24 February 2005.
  94
     Presentation by Hewetson, 8 February 2005.
  95
     Interview with Hewetson, 24 February 2005.


                                                                                                                  29

                                                                                                      Exh. A - Page 37
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 70 of 225 PageID #: 80
                                                        EXHIBIT 1




  IV.A.3.iii. Working Relationships with Other Offices

          As explained by Mr. Hewetson, the Physical Plant will interact on a day-to-day basis with
  the Office of Environmental Health and Safety, the Architect’s Office, Building Managers, and
  the Chancellor’s Office. Mr. Hewetson meets with a representative from EHS, Risk
  Management, and the Deputy Vice President from Terry Clapac’s office every other week to
  discuss general problems.96
          Office of Environmental Health and Safety: Many of the Physical Plant’s
  responsibilities are fulfilled during the course of maintenance and therefore are not typically
  reported to the Office of Environmental Health and Safety. If the cause of mold is identifiable,
  then Physical Plant staff will remediate it without notifying EHS. If someone complains about
  flu-like symptoms then Mr. Derheimer, the Director of Indoor Air Quality at EHS, will become
  involved in the remediation process. The Physical Plant and EHS have a very good working
  relationship and are willing to take each other’s recommendations into consideration when
  determining the best course of action to remediate the problem.
          Architect’s Office: Mr. Hewetson works with Mr. Meadows, the IU Architect, to
  develop building standards that are designed to reduce recurring maintenance repairs.
  Compromises exist within many architectural designs, but initial design decisions can
  significantly impact the prevalence of mold growth in a building. Mr. Hewetson discovered that
  mold growth frequently occurred in the organic matter contained in air handling units and
  worked with the IU Architects to determine how best to address this problem. It is now a
  building standard that double panel stainless steel air handling units are installed in all new
  buildings. These new air handling units have proven to be less conducive to mold growth and
  indicate how problem solving strategies can be developed between different departments
  working together. The Physical Plant is working to better understand design implications and
  make recommendations to the Architect’s Office for specific materials or design decisions (e.g.
  decreasing the amount of bends in air handling units to decrease mold growth).
          Building Managers: The Physical Plant’s relationship with building managers and
  building representatives generally includes communication about maintenance and construction
  projects and procedures.97 Building managers report water leaks, mold growth, maintenance
  requests, and other activities directly to the Physical Plant. It is important that these problems be
  reported to the Physical Plant in a timely fashion so that repairs and/or remediation can begin as
  soon as practicable. The building managers provide a vital link because they have the
  responsibility for reporting any mold problems to the Physical Plant.

  IV.A.3.v. Remediation

          Mr. Hewetson estimates that about 61% of the current buildings on campus need some
  sort of building repair or renovation (see Appendix E, Table 3). There is a continuum of severity
  for mold problems and this requires the Physical Plant to have a number of different response
  tactics. If mold growth is located in a small and confined area then the Physical Plant may
  simply clean the area by washing with detergent or they may choose to cut out a section of the
  building material (e.g. drywall, ceiling tiles, carpet, insulation, etc.) that contains mold and
  replace it. The Physical Plant must respond within forty-eight hours of a water leak to ensure the

  96
       Presentation by Hewetson, 8 February 2005; Interview with Hewetson, 24 February 2005.
  97
       E-mail correspondence with Mr. Bruce Williams, Service Center Manager, Physical Plant, April 2005.


                                                                                                                  30

                                                                                                      Exh. A - Page 38
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 71 of 225 PageID #: 81
                                                     EXHIBIT 1




  prevention of mold growth. Many of the Physical Plant’s remediation actions also entail
  patching roof leaks, sealing leaking windows or pipes, and cleaning out air handling units and
  vents.
          If severe mold problems implicate health issues, an abatement team or a contractor may
  be called upon to address the situation. Currently, IU has an asbestos abatement group that has
  been trained on the proper health precautions and removal processes and may be called upon for
  extremely contaminated mold projects. In another instance, a pipe burst, an area became
  completely flooded, and the University decided to call in an outside contractor to assess and
  mitigate the problem.
          Historical buildings and new architectural design innovations pose a unique dilemma for
  Physical Plant remediation and renovation work. Historical buildings are governed by
  regulations that dictate the types of renovation work that can be performed. The Physical Plant
  is limited regarding the types of systems they can install because of these strict standards. New
  building designs pose difficulties for the Physical Plant because no precedent exists to illuminate
  what types of problems could potentially occur. Newer buildings are very different from
  traditional buildings on campus, and it therefore requires additional time to understand the
  implications and potential problems associated with these buildings. For example, there are
  more steel frame buildings being constructed on campus while the Physical Plant does not have
  any: ultimately, it is a learning process.98

  IV.A.3.vi. Preventative Maintenance

          The Physical Plant is working hard to develop more preventative maintenance strategies
  to address mold. The most visible improvement is with the new building standards for air
  handling units.99 They are also working to specify air handling units that are more serviceable,
  which will result in earlier detection of water leak and mold accumulation. In addition, the
  Physical Plant is experimenting with a black-light system in one air handling unit in an attempt
  to cut down on the amount of dirt that accumulates and in return spawns mold growth. Mr.
  Hewetson believes that the new air handling units contain significant improvements for the
  control of mold growth, temperature, and humidity.100
          The building automation system for heating and cooling also works to prevent moisture
  build up problems. Mr. Hewetson believes that the building automation system for heating and
  cooling is very effective and reliable. The Energy Management System (EMS) is a regulating
  system that monitors and controls all heating and cooling systems in order to use energy more
  efficiently and to monitor proper temperature and humidity. Large buildings communicate
  continuously with the system, and the staff operating the system can identify the temperature and
  humidity at a specific zone level supplied. This system is in excellent working condition and is
  well run by a very knowledgeable staff. They are quick to respond to situations that involve high
  humidity levels and are able to help prevent mold growth. Although the temperature of buildings
  and rooms is well managed, there have been some malfunctions which resulted in increased
  humidity levels. Mr. Hewetson is of the opinion that the heating and cooling system does not



  98
     Presentation by Hewetson, 8 February 2005; Interview with Hewetson, 24 February 2005.
  99
     See supra, Section IV.B.3.iii Architect’s Office.
  100
      Presentation by Hewetson, 8 February 2005.


                                                                                                         31

                                                                                             Exh. A - Page 39
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 72 of 225 PageID #: 82
                                                      EXHIBIT 1




  cause a large number of mold problems, but that mold growth is created primarily as a response
  to other factors. 101
          Although the Physical Plant is working to practice more preventative maintenance
  procedures, the focus has not yet been on the prevention of future mold problems when fixing
  small projects.102 For large renovation projects, on the other hand, the Physical Plant has a
  greater tendency to address mold-growth conditions and preventative maintenance.

  IV.B. Initial Mold Complaint and Response Protocol

          Mold related complaints can be filed in four different ways at IUB, which has the
  potential to cause ineffective response actions. Individuals can contact the Physical Plant
  directly for water leaks and general maintenance repairs and cleaning. After approval by
  numerous administrative offices, the Physical Plant also responds to academic and non-academic
  departments’ service requests for large-scale renovation and remodeling projects.
          Mold complaints may also be submitted directly to EHS. The Office of Environment,
  Health and Safety Management typically receives mold complaints from faculty of staff
  experiencing health effects they believe to be associated with their building environment.
  Building managers may also receive mold complaints from faculty and staff that they then
  forward to the Physical Plant. Lastly, students, residence hall staff, or RPS maintenance staff
  can file mold complaints directly to Residential Programs Services. Although these individual
  departments attempt to work together on mold related projects, in general each department
  addresses mold complaints autonomously, causing a breakdown in effective mold response
  actions.

  IV.B.1. Physical Plant

          A discussion with Mr. Bill Haines, the Physical Plant’s Manager of Building
  Maintenance, revealed that procedures to remediate mold are as follows: if “smaller” cases of
  mold are identified, the Physical Plant staff are to utilize the guidelines established by New York
  City Health Department to remediate the area. If “larger” cases of mold are identified,
  maintenance staff is advised to contact EHS to either remediate the problem or secure a
  contractor for the remediation work. However, it is apparent that compliance with these
  guidelines and procedures is difficult to monitor or ensure.103
          The Physical Plant typically becomes involved in mold remediation or response actions
  through either in-house maintenance service requests or academic/non-academic departmental
  service requests for renovation and remodeling projects (see Appendix F, Request for Service
  Form). The Physical Plant receives service requests from building managers and representatives,
  typically for services such as remodeling, moving and set-ups, special event services, department
  equipment repair, laboratory equipment repair, key and lock changes, and fabrication or
  installation of special items. The Physical Plant recommends that such routine services be
  conveyed to Building Representatives/Managers, the liaison between the department(s) and


  101
      Presentation by Hewetson, 8 February 2005; Interview with Hewetson, 24 February 2005.
  102
      Presentation by Hewetson, 8 February 2005.
  103
      Interview with Mr. Bill Haines, Manager of Building Maintenance, IUB Physical Plant, 1 April 2005; See Figure
  1. IAQ Flowchart below.


                                                                                                                 32

                                                                                                     Exh. A - Page 40
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 73 of 225 PageID #: 83
                                                     EXHIBIT 1




  Physical Plant. 104 The Physical Plant responds to and funds these maintenance-specific and
  general service requests.
           Mr. Hewetson also receives service requests from the Architect’s Office, detailing major
  renovation and remodeling projects for specific departments. Each department is responsible for
  initiating a service request and obtaining approval from the Campus Administrative Officer in
  the Chancellor’s Office. Once the Chancellor’s Office approves the project, it is forwarded to
  the Vice President and Chief Administrative Officer. Finally, after it has been approved by the
  Vice President and Chief Administrative Officer, the service request is assigned a project number
  and sent to the Architect’s Office. The Architect’s Office details the renovation and remodeling
  work to be completed by the Physical Plant.105 These projects are fully funded by the individual
  department requesting the service.

  IV.B.2. EHS

         EHS addresses mold issues based on complaints primarily from the faculty and staff.
  Consequently, issues are investigated only when there are indoor air quality complaints. When
  the complaint is made, based on the occupant interview form, EHS inquires about the person’s
  symptoms and the correlation of symptoms to the amount of time spent in a building (see
  Appendix F, Occupant Interview Form). 106 The process for addressing mold complaints is
  shown in Figure 1. EHS attempts to take action to remediate the problem in a timely manner.
  When significant capital expenditures are needed, the problem will be prioritized by its risk and
  remediated as funds become available. Risk is based on the number of people reporting
  complaints and the severity of their symptoms.

                                         Figure 1. IAQ Flow Chart




  104
      Department of Physical Plant, How to Request Service [on-line]; available from
  http://www.indiana.edu/~phyplant/html/body_how_to_request_services.html; Internet; accessed 23 April 2005.
  105
      E-mail correspondence with Mr. Tom Swafford, Director of Space Management, Chancellor’s Office, 19 April
  2005.
  106
      U.S. Environmental Protection Agency, Occupant Interview Form [on-line]; Internet; available from
  http://www.epa.gov/iaq/largebldgs/graphics/occint.pdf; Internet; accessed 23 April 24, 2005.


                                                                                                                 33

                                                                                                  Exh. A - Page 41
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 74 of 225 PageID #: 84
                                                    EXHIBIT 1




          Once the complaint reaches EHS and is verified to be a health issue, an EHS staff person
  will check for mold by conducting air sampling in the building. If mold is found, the Physical
  Plant will be contacted and asked to investigate the HVAC system of the building. After the
  investigation, EHS proposes options for remediation. The Physical Plant normally accepts the
  proposed remediation strategies suggested, but ultimately it is the Physical Plant’s decision as to
  how to address the situation.

  IV.B.3. RPS

           The mold complaint process can be initiated in three distinct ways at RPS: (1) students
  can report the complaint to a resident assistant (RA), (2) the student can fill out a maintenance
  request form at the central desk in the hall or online via e-mail, or (3) the student or RA can
  bring the complaint to the attention of the custodial staff in the dorm. Visiting parents have also
  identified mold problems and reported them to the proper authority.
           Once the mold complaint is reported, the problem is ameliorated in one of two ways
  depending on the scale of the mold problem. In-house RPS maintenance workers can remediate
  small-scale mold problems. RPS officials stated that the standard response to mold is for
  Environmental Operations staff to clean the mold surfaces with High-Efficiency Particulate Air
  (HEPA) filtered vacuums and cleaning chemicals to destroy the mold spores. For example, mold
  growth on aluminum window seals can be remediated using household cleaning products to
  eliminate the mold.
           On the other hand, large-scale mold problems require the additional support of other
  departments at IUB, including the Physical Plant and EHS. The Office of Environment, Health,
  and Safety Management inspects the area to determine the cause of the mold and suggest
  solutions. During these procedures, residents are informed of the problem and are moved to other
  accommodations if necessary. For instance, mold growth on porous material or large-scale mold
  contamination caused by water damage requires assessment by Dan Derheimer for health-related
  consequences.
           Following the EHS assessment, the Physical Plant can remediate the problem with its
  trained workers. While the trained workers are usually familiar with asbestos abatement, New
  York City and the Environmental Protection Agency (EPA) guidelines are used as a primary
  reference for mold remediation. 107 These include guidelines regarding the size of mold
  contamination and the use of personal protective equipment (PPE). Following remediation, RPS
  maintenance staff follows up to ensure the problem has been resolved. Monitoring inspections
  are regularly conducted during extended breaks. If a mold problem persists following
  remediation, an engineer from the IU engineering services department is called in to assess the
  situation and solve the problem by identifying the source of mold growth (e.g., source of
  moisture). The engineer is also responsible for inspecting any structural damage that may have
  occurred from excess water damage. Moisture can deteriorate construction materials to a point
  where the structural integrity of the building is compromised. If continued remediation attempts
  fail, a private contractor is called in to assess and solve the problem.


  107
     U.S. Environmental Protection Agency, A Brief Guide to Mold, Moisture, and Your Home [on-line]; available
  from http://www.epa.gov/iaq/molds/moldguide.html; Internet; accessed 2 February 2005; New York City
  Department of Health, Guidelines on Assessment and Remediation of Fungi in Indoor Environments [on-line];
  http://www.lchd.org/environhealth/aq/pdfs/NYC%20DOH%20Guidelines.pdf; Internet; accessed 2 February 2005.


                                                                                                             34

                                                                                                 Exh. A - Page 42
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 75 of 225 PageID #: 85
                                              EXHIBIT 1




  IV.B.4. Building Managers

          Mold can be reported by any person within academic or non-academic buildings. As
  noted above, when mold problems are encountered, the Physical Plant or EHS are notified.
  Occasionally, building managers will follow-up on maintenance-related problems. While
  building managers do not have any scheduled monitoring inspections, but will inspect from time
  to time.
          Most academic and non-academic buildings lack mold-related protocols with the
  exception of a few buildings, such as Morrison Hall, which has established its own procedure for
  handling mold because of their archive storage.
          In contrast to RPS, the other academic and non-academic buildings do not have their own
  environmental operations and maintenance units and therefore must depend on Physical Plant for
  maintenance and EHS for mold-prevention. Since these two departments operate with such
  autonomy, this segmented structure makes it very difficult to establish consistent and integrated
  mold-prevention guidelines for the IU-Bloomington campus.




                                                                                                  35

                                                                                      Exh. A - Page 43
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 76 of 225 PageID #: 86
                                                     EXHIBIT 1




  V. Financial Analysis
          Resource commitment is essential to effective implementation of IUB policy and
  procedures to address and prevent mold on IUB campus. The following describes the key players
  impacted by revenue shortfalls traditionally relied upon to address the major repairs and
  renovations needed to prevent building deterioration and mold growth on campus. This section
  describes these key players’ budget limitations, responses to this revenue shortfall, and the
  budgetary incentives which exist for current decision-making practices. When appropriate,
  alternate financing options are discussed.

  V.A. Repair and Rehabilitation Funding (R & R)

          Indiana University has traditionally relied upon Repair and Rehabilitation (R & R)
  funding, appropriated by the Indiana General Assembly, as a significant source of revenue for
  remodeling and repair of buildings on its seven campuses. State Repair and Rehabilitation
  funding includes “Building R & R” and “Infrastructure R & R”. Building R & R is determined
  using a formula which includes in part, the current age of buildings and square footage of space.
  Infrastructure R & R is determined based on 2% annual replacement cost value. R & R is
  appropriated by the Indiana General Assembly bi-annually and funding is allocated annually.
  The Indiana Commission for Higher Education is the agency responsible for making
  recommendations to the Indiana General Assembly for R & R funding appropriation levels.
  These recommendations are based on the condition, utilization, and value of physical facilities
  on campuses. This information is summarized in the Commission’s “Facilities Inventory and
  Space Utilization Study.108 According to Mr. Baumgarten, the IU Vice President’s Department
  of Facilities maintains and provides this information to the Commission for Higher Education.109
          R & R funding has not been provided to IU at levels expected in the past two biennium’s
  (2001-2005). Table 7 “R & R Funding History” summarizes the history of R & R funding
  appropriated and allocated to Bloomington campus over the last decade (see Appendix G).
  Figure 1 in Appendix G, “IUB Repair and Rehabilitation Funding” demonstrates the trend of an
  increasing difference between the amounts of R & R due based on funding formulas and
  appropriated amounts. Since budgets years 1999-2001, R & R funding has declined
  precipitously. In the 2003-2005 period, R & R was appropriated at 25% of its expected level, but
  due to Governor O’Bannan-Kernan’s “Deficit Management Plan” introduced in June 2003, the
  Bloomington Chancellor’s office reports that only 0.34% of the R & R due to IUB (based on
  formula calculations) was actually received in FY 2003. No R & R funding has thus far been
  received for FY 2004.110
          As a result of IU President Adam Herbert’s budget request to the Indiana House Ways
  and Means Committee in January 2005, 2005-2007 R & R funding is optimistic. In a recent
  presentation by President Herbert, he listed “resumption of full funding for campus repair and

  108
      Indiana Commission for Higher Education, Physical Facilities of Indiana Public Higher Education: Their
  Location, Value, Condition and Utilization, Fall2003 (May 3, 2004). Provided by Michael Baumgartner, Associate
  Commissioner for Facilities and Financial Affairs.
  109
      Interview with Mr. Michael Baumgarten, Associate Commissioner for Facilities and Financial Affairs, 30 March
  2005.
  110
      Bloomington Interest Income FY 2003-04 Sources and Uses, Document was drafted for class use. Provided by
  Associate Vice Chancellor Donges, 30 March 2005.


                                                                                                                36

                                                                                                    Exh. A - Page 44
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 77 of 225 PageID #: 87
                                                     EXHIBIT 1




  rehabilitation projects” as one of his two top priorities.111 As of the writing of this report, the
  Indiana Budget Committee had not reconciled the Indiana House and Senate versions of the
  higher education funding bills.112
          The result of this R & R appropriation legislation primarily impacts the IUB campus,
  relative to the other IU campuses. In the 2005-2007 period, approximately 66% of the
  approximately $47 million due should have been allocated to IUB. Much of the remainder was
  due to IUPUI (25% of the total). These percentages are not unlike past years; between 1999 and
  2003, IUB’s share of expected R & R was 60-70% of the IU total. IUB has the greatest amount
  of building square footage of greatest age, each significant components of R & R funding
  formula (see Appendix E, Table 3; Appendix G, Table 1).113

  V.B. Missing R&R Funding: Impact and Strategic Responses

  V.B.1. Chancellor’s Office

          Once R & R funds are allocated to the IUB campus, these funds are accessed through a
  process of negotiated decision-making. R & R funds have traditionally been allocated by the
  Chancellor’s Office, which acts on the recommendations of the Budgetary Affairs Committee.
  These funds have traditionally been allocated to the Office of Space Management and the
  Physical Plant to administer. The Office of Space Management used these funds to provide
  supplemental funding to academic and non-academic units undertaking remodeling and major
  repair projects. According to Tom Swafford, Director of Space Management, without R & R
  funding, remodeling projects of less than $100,000 are generally 100% funded by the academic
  or non-academic unit directly benefiting from the remodeling/ rehabilitation project.114 However,
  it is important to note that according to interviews with the fiscal officers for two IUB schools,
  no expenses for repair and renovation are planned for in these schools’ operating budgets.115
          In a meeting with Vice Chancellor Theobald, he explained that investment in
  rehabilitation and repair by the Chancellor’s Office has been severely constrained due to the lack
  of R & R funding. Therefore, the costs and benefits of each major repair and rehabilitation
  project are thoroughly considered. Highest prioritized repairs are those that are deemed critical
  or emergency situations. Emergency repairs are generally defined as life threatening. An
  example of a life threatening necessary repair is a unsecured shingle. Vice Chancellor Theobald
  additionally explained that when considering how to use very limited IUB campus funds, an
  additional criterion for evaluating major renovation and repair projects is the degree to which it
  furthers the academic mission of the University. The example provided was the planned
  renovations to Kirkwood Hall, beginning in summer of 2006. Its total expected cost is $4
  million. The goal of this project is to condense IUB’s 82 language departments into one central
  location. This project presents advantages over other projects because it is expected to create

  111
      Indiana University, Media Relations, IU President Adam W. Herbert presents budget request to House Ways and
  Means Committee (Jan. 11, 2005) [on-line]; available from http://newsinfo.iu.edu/news/page/normal/1809.html;
  Internet; accessed 30 March 2005.
  112
      Interview with Mr. John Grew, IU Legislative Affairs, on 20 March 2005.
  113
      Indiana Commission for Higher Education, Physical Facilities of Indiana Public Higher Education: Their
  Location, Value, Condition and Utilization, Fall2003 (May 3, 2004), p. 7, 13.
  114
      Interview with Mr. Tom Swafford, Director of Space Management: on 16 March 2005 and 30 March 2005;
  Presentation by Swafford on 17 February 2005.
  115
      Interview with Mr. Brad Thomas, SPEA and Mr. Chris Pucket, College of Arts and Sciences.


                                                                                                               37

                                                                                                   Exh. A - Page 45
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 78 of 225 PageID #: 88
                                                        EXHIBIT 1




  significant value to the entire IUB campus. This value includes showcasing an area of major
  academic strength and the creation of significantly more classroom space. The project’s cost-
  effectiveness in regard to addressing critical building repairs is a final criterion. For example,
  Kirkwood Hall renovations will include its roof. This repair is high priority because of its
  extremely deteriorated state, but it alone will cost $850,000. This repair would very likely need
  to be made regardless of the plans for major renovation to the whole building. Therefore, the
  benefits of this project significantly outweigh its costs.116
          Between 2003 and 2004, the IUB Chancellor’s Office was able to provide funding for
  remodeling and repair projects by using accumulated interest income on campus investments.117
  These funds provided academic units with about $2.3 million and academic (administrative)
  units with $700,000 in renovated space. Accumulated interest income is now exhausted, and
  Assoc. Vice Chancellor Donges estimates that 2005-06 interest income might provide $1.5
  million for similar types of remodeling projects.118 According to Vice Chancellor Theobald, the
  campus has also accumulated $16 million in debt due to funding provided for repairs and
  rehabilitation.
          Tom Swafford proposed that an alternative option for the Chancellor’s Office is to ask
  the IU trustees for authority to sell bonds in order to fund major R & R projects. Currently, under
  IC 20-12-6-1, it is the duty of the trustees of Indiana University to maintain buildings. Pursuant
  to the above law and IC 20-12-6-6, several Indiana universities have requested the authority to
  issue bonds to pay for new construction.119 IC 20-12-6-6 gives Indiana Universities the authority
  to issue and sell such bonds (see Appendix G, IC 20-12-6-1.). To date, Purdue West Lafayette,
  Purdue Fort Wayne, Indiana State, Ivy Tech, Indiana University Indianapolis, University of
  Southern Indiana, Indiana University East Campus, IUPUI, Indiana University Bloomington,
  Vincennes, and Ball State have all used this bonding authority for various projects. If the
  Remodeling and Renovation budget continues to encounter a shortfall, a request to issue and sell
  bonds may be a viable option to complete necessary repairs.

  V.B.2. Physical Plant

         According to interviews with Mr. Hewetson, budget constraints are significantly
  impinging the Physical Plant’s ability to effectively and efficiently fulfill its mission. Mr.
  Hewetson estimated that deferred maintenance, due to lack of R & R funding, could potentially
  implicate future mold problems for the University. Mr. Hewetson is not yet able to predict if
  deferred maintenance is currently having a direct impact on mold problems, but he believes that
  inadequate funding has caused the overall quality of IUB buildings to decrease. According to Mr.
  Hewetson, decreased building quality has caused an increase in moisture related problems. He is
  additionally concerned about the future expense of addressing building integrity due to currently
  deferred maintenance.120

  116
      Interview Theobald, 22 February 2005.
  117
      Interview Theobald, 22 February 2005; Associate Vice Chancellor Donges, Bloomington Interest Income FY
  2003-04 Sources and Uses, 30 March 2005.
  118
      Interview Donges, 30 March 2005.
  119
      For example, in 1997, the trustees of Indiana University were authorized to issue and sell bonds under IC 20-12-
  6, subject to the approvals required by IC 20-12-5.5, for the purpose of constructing, remodeling, renovating,
  furnishing, and equipping the law school-Herron art school project at Indianapolis, if the sum of the principal costs
  of the bonds issued is not more than $19 million.
  120
      Interview Hewetson, 24 February 2005.


                                                                                                                     38

                                                                                                         Exh. A - Page 46
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 79 of 225 PageID #: 89
                                                     EXHIBIT 1




          Mr. Hewetson reports that he has seen a “shift in [Physical Plant] effort from permanent
  repairs to expedient repairs due to a lack of funding”. 121 Mr. Hewetson estimated that the
  Physical Plant’s mold-related expenses between 2000-2004 were as follows:122

        •   Approximately $80,400 on miscellaneous mold related expenses. These expenses
            include, for example, cleaning associated with mold remediation.
        •   Large-scale remediation projects cost $248,800 between 2000 and 2004.
        •   Average annual preventive maintenance cost $150,000. These maintenance costs include,
            for example, regularly scheduled air-handler cleaning and filter replacement. In addition,
            $100,000 was spent on average annual exterior wall repair (i.e. tuck pointing).123

  Projects likely to implicate future moisture problems, and consequently mold growth, and which
  remain un-repaired include, but are not limited to:124

        •   Exterior: tuck pointing, window replacement, exterior caulking, planter membrane repair.
        •   Mechanical: air conditioning renovation, HVAC replacement, replace air handlers.
        •   Roof repair & replacement: new roofs, repair of damaged roofs.
        •   Steam: replace condensate piping.

           These repairs are included in the Physical Plant’s running “wish list” of projects. Projects
  on this list are considered pressing needs, but have not been addressed due to budget constraints.
  This “wish list” totals $25 million. 125 Of the projects described on this list, more than half
  pertain to building envelope maintenance.
           Building envelope maintenance includes the following types of necessary repairs and
  totals the following amounts: approximately $7 million in roof repair/replacement, $14 million in
  widow repair/replacement, and $3.7 million in exterior wall repairs for a total of approximately
  $25 million.126 Mr. Hewetson has submitted this list to the IUB Capital Affairs and Budgetary
  Affairs Committees for their consideration in determining IUB’s priorities for capital
  investments.

  V.B.3. Academic/Non-academic Units

         According to the Physical Plant’s expenditure responsibility guidelines, academic and
  non-academic units are responsible for expenditures related to the renovation of architectural,
  mechanical and electrical systems, and associated abatement. Additionally, the Physical Plant is
  responsible for maintenance and general upkeep of the “basic building system”127 (see Appendix
  E, Physical Plant Funding Responsibilities Indiana University Bloomington).

  121
      E-mail correspondence with Mr. Hank Hewetson , 18 April 2005.
  122
      Bloomington Academic Buildings Mold Remediation and Building Integrity Costs, Document provided by Hank
  Hewetson.
  123
      This does not include R & R funded repairs.
  124
      Interview Hewetson 24 February 2005; 2003-2005 R & R Working List, document provided by Mr. Hewetson.
  125
      Ibid.
  126
      Deferred over a ten-year period. Mold and Building Integrity Cost table, document provided by Hank Hewetson.
  127
      Building Maintenance, Physical Plant Funding Responsibilities Indiana University - Bloomington Campus,
  (Updated Oct. 2004) [on-line]; available from http://www.indiana.edu/~phyplant/html/building_maintenance.html;
  Internet; accessed 31 March 2005; Interview Hewetson 24 February 2005.


                                                                                                               39

                                                                                                   Exh. A - Page 47
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 80 of 225 PageID #: 90
                                                    EXHIBIT 1




           Without the R & R funding provided through the Chancellor’s Office or Physical Plant,
  incentive exists for academic and non-academic units to delay major projects. The logical result
  of delaying renovation that addresses moisture related damage is increased need for minor
  repairs to academic/ non academic buildings across the IUB campus. Thus, the immediate direct
  expense of delayed repairs is largely incurred by the Physical Plant.
           A primary reason for this delay strategy may be the school Dean’s and non-academic unit
  Director’s hope that R & R funding will be provided in the future. The Physical Plant’s current
  guidelines regarding their responsibility for renovation appears to conflict with past practices. In
  fact, the continued existence of a “wish list” maintained by the Physical Plant implies that the
  Physical Plant will eventually fund major repairs and necessary renovations. A secondary reason
  may be that academic and non-academic unit administrators are unaware of their expenditure
  responsibilities. SPEA Dean, Kurt Zorn, Ph.D. was unaware such a policy regarding renovation
  responsibility existed. 128 In an interview with the SPEA Fiscal Officer, Brad Thomas, he
  indicated that SPEA’s approach to addressing repairs and rehabilitation has been to request that
  repairs be added to Physical Plant’s “wish list”.129 As previously noted, there are no planned
  repair and renovation expenses shown in the College of Arts and Sciences and School of Public
  and Environmental Affairs FY 2004-05 budgets. 130 Dean Kurt Zorn noted that a renovation
  completed in summer 2004, which addressed SPEA’s space needs more than major necessary
  repairs, utilized funds generated through an earned income source. It is not known how common
  it is for other schools to rely upon alternate types of funding sources, not shown in operating
  budgets.
           As demonstrated previously in this study, delayed investment in major repair and
  renovation has the potential to increase health problems and property damage, and therefore
  liability. In addition to the reasons provided for renovation and repair delays provided thus far,
  increased liability, property insurance, and workers compensation expenses are not directly or
  immediately incurred by academic and non-academic units. IU insurance schemes do not relate
  units’ building investments, or lack there of, to potentially increased insurance expenses.131
           The IU insurance coverage structure, pools increased health, property or liability risk
  across the IU system. Any potential increase in expenses related to increased liability, workers
  compensation, and property insurance is thus shared by all system campuses.132 These pooled
  expenses are “passed-on” to each IU campus by the Vice President through the University Tax
  assessment. The University Tax funds much of the VP departmental services, including IU’s
  property, liability and workers compensation insurance. The University Tax assessment is
  determined based upon units’ income (such as student fees) and expenses (such as faculty and
  staff salaries); unlike the other IUB assessment on academic units, the University Tax excludes
  square footage of space occupied.133
           This analysis additionally demonstrates that if increased risk occurs as a result of unit’s
  delayed investment in major repairs and renovation, the associated expense is “subsidized” by

  128
      Interview Dr. Kurt Zorn, SPEA Associate Dean for Academic Affairs, on 13 April 2005.
  129
      See supra, section V.B.2
  130
      Interview Thomas, and Pucket.
  131
      E-mail correspondence with Mr. Jim Donges 20 April 2005; 4/5/05 Interview with Mr. Lynn Sinn, Risk
  Management on 5 April 2005; Interview with Mr. Brad Thomas, Fiscal Affairs Officer, SPEA, on 5 April 2005;
  Interview Zorn 28 March 2005; Interview Donges, 30 March 2005.
  132
      Interview with Mr. Daryl Brawthen, Director of Financial Affairs, Risk Management on 5 April 2005.
  133
      E-mail from Donges, 20 April 2005.


                                                                                                               40

                                                                                                  Exh. A - Page 48
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 81 of 225 PageID #: 91
                                                      EXHIBIT 1




  the entire Indiana University system. This is deemed a subsidy because risk associated with
  delayed repair and renovation is not shared equally in the IU system. Increased risk is
  disproportionately attributable to older campuses, such as IUB, where building deterioration is
  greatest (see Appendix G, Table 1).
          Student health care costs are borne entirely by students, either through their use of the
  IUB Health Center or other health care services. Additionally, the IUB Health Center is a self-
  supporting auxiliary unit, which relies upon student fees and charges for service for their revenue
  generation. 134 Therefore, an additional incentive exists for delayed renovation and repair
  investments, since expenses related to decreased student health due not accrue to any academic
  or non-academic unit.
          An alternative strategy is to use private donor funding (maintained in IU Foundation
  account) for renovation and repair projects. Private donor fundraising might be enhanced by
  undertaking a campaign to raise funds from other private sources, such as corporations or alumni
  donors. The School of Heath, Physical Education and Recreation (HPER) has undertaken such a
  campaign in order to renovate its courtyard. This may a preferred option for IUB schools and
  colleges with higher alumni donor revenue potential.135

  V.C. Responsibility Centered Management

          In 1990, Indiana University implemented a budgeting system termed Responsibility
  Centered Management (RCM). RCM was initiated by President Thomas Ehrlich in order to
  decentralize the budgeting system at IU. “President Ehrlich's goal was to develop a system
  guided by three basic principles: all costs and income attributable to each school and other
  academic unit should be assigned to that unit; appropriate incentives should exist for each
  academic unit to increase income and reduce costs to further a clear set of academic priorities;
  and all costs of other units [non-academic] should be allocated to the academic units.”136 The
  core philosophy of this approach is that expenditures are attributed to the same unit responsible
  for generating the expense.
          This report demonstrates that the basic RCM accounting principle is not fully applied to
  the direct and indirect expenses of maintaining building integrity.




  134
      FY 2004 IU Health Center Consolidated Budget Report provided by Assoc. Vice Chancellor, Jim Donges
  135
      Interview Theobald 22 February 2005.
  136
      Budgetary Administration and Planning, Office of the Chancellor, Indiana University Bloomington, Report of the
  RCM Review Committee Responsibility Centered Management at Indiana University Bloomington 1990-2000 (May,
  2000) p. 2. [on-line]; available from http://www.indiana.edu/~obap/; Internet; accessed 30 March 2005. (Second
  Assessment of RCM in 10 year period)


                                                                                                                 41

                                                                                                     Exh. A - Page 49
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 82 of 225 PageID #: 92
                                               EXHIBIT 1




  VI. Estimating the Costs of Health Care and Lost Productivity Due to
  Mold
          IU Bloomington does not currently monitor and compile all mold-related costs. Beyond
  remediation and prevention expenses, there are other costs associated with mold in buildings
  including lost productivity, and health care expenses. In the absence of specific data, we
  developed a model that utilizes IUB demographic data and information from applicable literature
  to assign probability distributions to each relevant variable. The model gives the total present
  value of the costs over 25 years. The results reveal the hidden costs of mold in buildings that
  should be considered in the building repairs and maintenance budgeting process. Note that this
  cost analysis only incorporates costs associated with health care and lost productivity; it does not
  include costs associated with the remediation process itself, building materials, etc.

  VI.A. Methods

          We used SAS statistical software to develop a Monte Carlo simulation model. Variables
  are assigned probability distributions and then the simulation runs thousands of times to produce
  a frequency distribution for predicted outcomes. The predictive power of the Monte Carlo
  simulation depends on the robustness of the assumptions, which are summarized in Table 1 and
  described in Appendix H.

  Table 1: Summary of Model Assumptions and Information Sources

       Variable                    Value           Distribution            Information Source
                        Mean: 7.24%
    Discount Rate                                     Normal      Office of Management and Budget
                        St. Dev.: 2.24%
                        Res. Student: 22,544
                                                                  Indiana University Fact Book
                        Non-Res. Student: 15,277
    IUB population                                         NA     http://factbook.indiana.edu/fbook04/in
                        Faculty: 1,877
                                                                  dex.shtml
                        Staff: 5,199
  Population Growth     Mean: .727% per year
                                                      Normal      Indiana University Fact Book
        Rate            St. Dev: 1.57%
                        Res. Student: 4760
  Exposure Duration
                        Non-Res. Student: 510
     (Time in IUB                                          NA     Assumption – see description below
                        Faculty: 2000
   buildings, hrs/yr)
                        Staff: 2000
                        Res. Student: $4-5                        Assumption
                        Non-Res. Student: $4-5                    Assumption
  Opportunity Costs
                        Faculty: $48.65                    NA     Indiana University Fact Book
       ($/hr)
                        Staff: $15.65                             IU Bloomington Human Resource
                                                                  Services
                        ξ: 7
     Health Costs                                  Log Normal     Case Studies
                        φ: 1.13
                        ξ: .5                                     Milton, DK, Glencross, P, Walters,
      Days Lost                                    Log Normal
                        φ: 1                                      MD. 2000
                        Mean: 10.65%
  Sensitivity to Mold                                 Normal      American Lung Association
                        St Dev: 2.29%
  Chance of Exposure    10-30%                       Uniform      Assumption


                                                                                                     42

                                                                                         Exh. A - Page 50
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 83 of 225 PageID #: 93
                                               EXHIBIT 1




  VI.B. Results

           The total estimated present value over 25 years of health care costs and days lost to mold-
  related illness at IUB is $9.9 million. Annualized over the 25 years at a 7% rate, the total mold-
  related health care and lost productivity costs are $851,521 per year. Table 2 summarizes the
  results of the model. This estimate shows the extent of the costs of mold at IUB, beyond mold
  remediation and regular building maintenance. IU administration officials should take these
  costs into account when considering preventative maintenance or new building construction. For
  the full details of the model, refer to Appendix H.

  Table 2: Summary of Model Results

                     Mean (PV from 25 years)                  $9,923,274

                          Annualized Costs
                                                               $851,521
                        (for 25 years at 7%)

                         Standard Deviation                   $3,332,186


                        Upper Bound (95%)                    $15.728,804

                         Lower Bound (5%)                     $6,011,126




                                                                                                     43

                                                                                         Exh. A - Page 51
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 84 of 225 PageID #: 94
                                                       EXHIBIT 1




  VII. Policy Analysis
  VII.A. Mold Policy

           Problems with indoor air quality (IAQ) in residences, offices, schools and other buildings
  are becoming increasingly recognized as a serious environmental risk to human health.
  Although mold is gaining more attention as a potential threat to human health, much uncertainty
  exists about the direct causal link between IAQ and health problems such as upper respiratory
  infections, asthma attacks, headaches, nausea, dizziness, coughing, mood changes, depression,
  anxiety, and fatigue. Many of these symptoms can also be caused by a variety of factors other
  than IAQ. Additionally, quantifying these potential health effects into enforceable standards is a
  critical prerequisite for developing IAQ regulations. However, characterizing the health effects
  and establishing clear causal links is complicated by the existence of multiple pollutants, sources,
  building environments, exposure scenarios, endpoints and other varying compounding factors.
  Mold is one specific aspect of IAQ that has received recent attention and has been targeted for
  potential regulation.
           Mold is ubiquitous in the natural environment, both indoors and out, and it is not
  practical to entirely avoid exposure. Numerous reports in the press about the health effects of
  mold have highlighted the general public’s concern about the risks of exposure to mold growth
  in office buildings and homes. The available science addressing these issues is incomplete and
  sometimes controversial. Communicating risks associated with mold becomes complicated
  without clearly established consensus for scientific evaluation.
           Even without federal and state regulations, most experts agree that the prevention of
  active mold growth is necessary to prevent potential negative health effects. Also, as mentioned
  previously, mold related litigation is on the rise. In recent years, reports regarding health
  problems attributed to mold on college and University campuses across the country have been on
  the arise. These cases focus not only on students, but faculty and staff. The threat of potential
  legal liability and the need to ensure the health and safety of students and staff have compelled
  colleges and universities to respond with guidelines for mold remediation and suggestions for
  prevention. For example, in early 2004 the University of Virginia adopted a mold policy.137
  However, the policy only acknowledges the potential health problems associated with mold. It
  also notes that the available science addressing these issues is incomplete and sometimes
  controversial. It then suggests a system for notification and remediation. The policy is rather
  incomplete, but reflects much of what exists on campuses across the country.
           The University of North Carolina at Pembroke (UNCP) also addresses mold. UNCP has
  a facilities planning and construction policy that seeks to prevent the formation of mold, outlines
  measures to attempt detection of mold early in its growth stages and specific remediation
  guidelines. Specifically, the policy requires the UNCP Physical Plant to conduct:

        •   Preventative maintenance on air-handling units, including monthly filter changes,
            application of biocide tablets in condensation pans, ensuring chilled water temperatures
            to coils of 45 degrees or less, and monitoring handling units for proper air flow.
        •   Preventative roof maintenance and requiring periodic building inspections.
  137
    University of Virginia Office of Environmental Health and Safety; University of Virginia Mold Management
  Policy [on-line]; available from: http://keats.admin.virginia.edu/polproc/XIVT1.html; Internet; accessed 24 March
  2005.


                                                                                                                  44

                                                                                                      Exh. A - Page 52
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 85 of 225 PageID #: 95
                                                     EXHIBIT 1




        •   Preventative maintenance on toilets, water fountains, and laundry rooms.
        •   Monthly building mold inspections.138

          The UNCP plan also requires Physical Plant, UNCP Safety Officer, and Building
  Coordinators to conduct monthly visual inspections of buildings. Also, it requires that Physical
  Plant annually contract an industrial hygienist to test the mold spore counts in each air
  conditioning zone and communicating the results to the occupants of each area. Remediation
  practices are also suggested for a variety of mold situations ranging by area from less than 10
  feet to more than 100 feet. The UNCP guidelines list clean-up steps, types of professional
  personal equipment to protect workers, and approaches to containment for affected areas. The
  tasks charged to the UNCP Physical Plant may be realistic on a campus of less than 6,000
  students faculty and staff and maintaining less than 50 buildings. Larger campuses on the other
  hand have adopted similar guidelines, but do not require monthly inspections. Most policies
  merely reference the remediation guidelines suggested by the EPA and New York City
  Department of Health.
          Many colleges and universities have adopted guidelines for addressing mold problems,
  but there is little evidence of a comprehensive policy that adequately addresses mold prevention
  through using greener building materials, stressing the importance of funding preventative
  building maintenance, and outreach education for students, faculty and staff.

  VII.B. Administrative Policy Analysis

          Mr. Hewetson commented that “never before have there been so many people having a
  problem being in a space”. 139 Originally, people were skeptical about indoor air quality
  complaints, but now people understand the health implications of mold. Mr. Hewetson knows
  that water in buildings is directly correlated to mold growth and he knows that there is more
  water in buildings, but he is not able to definitively say that the lack of water repair projects will
  directly cause an increase in mold related problems. The Physical Plant is not yet to the point
  where they question if “they are preventing future mold problems” when they address small
  repair projects.140
          The Physical Plant currently faces two major difficulties, 1) adequately addressing
  current problems and 2) implementing preventative maintenance procedures. Both of these
  problems are primarily caused by a lack of funding141 although communication, training, and
  documentation also have significant impacts.
          Under the current situation, many large-scale water and mold-related problems are not
  being addressed and those that are, are being remediated inadequately. Small water leaks and
  easy, cheap mold clean-ups are performed by the Physical Plant consistently. Major problems
  such as leaking roofs and windows and exterior building envelope integrity issues have long term
  cost and health implications and are currently receiving “band-aid” approaches as opposed to
  adequate repair.

  138
      The University of North Carolina at Pembroke, Office for Business Affairs; UNC Pembroke Mold Prevention,
  Assessment, and Remediation Plan [on-line]; available from: http://www.uncp.edu/ba/policies/fpc/fp1103.htm;
  Internet; accessed 24 March 2005.
  139
      Interview Hewetson 24 February 2005.
  140
      Ibid.
  141
      See Missing R & R Funding, Administrative Response, Physical Plant, supra section V.B.2.


                                                                                                                 45

                                                                                                  Exh. A - Page 53
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 86 of 225 PageID #: 96
                                               EXHIBIT 1




  VII.B.1. Communication

           Internally, the Physical Plant needs to work to keep up communication, specifically on
  water and mold related problems across different work areas on campus. Physical Plant staff are
  divided by zone areas across campus and do not communicate among each other or within the
  Physical Plant. Increased communication within the Physical Plant’s zones needs to occur on a
  regular basis to ensure consistent actions across campus. Increased communication would also
  facilitate sharing information regarding the most effective and efficient remediation techniques.
           Although Mr. Hewetson agrees that the key players who address mold problems at IUB
  need to do a better job of communicating, he does not necessarily believe that creating a board of
  representatives from each department will more effectively address the communication
  problems. Environmental Health and Safety has one person specifically designated for Indoor
  Air Quality, Mr. Dan Derheimer, but the Physical Plant staff is broken down by specific work
  areas.
           Mr. Hewetson values the separation of EHS from the Physical Plant because EHS is
  responsible for the health of the University and too much overlap between the two departments
  could bias EHS’s decision making. EHS and Physical Plant need to bridge the gap between
  water and mold related service requests and EHS health related complaints. It is imperative that
  these two departments continue to communicate when new problems are discovered and older
  problems are remediated so that the issues are most effectively and efficiently resolved.
           Mr. Derheimer expects to see more communication with Physical Plant. In the past, he
  informally proposed that different departments, particularly EHS and Physical Plant, share
  copies of complaint forms, but the proposal was not supported or implemented. In addition, Mr.
  Derheimer also feels that central tracking system would be beneficial to check which buildings
  have been visited most often due to complaints. At the moment, EHS has to search the entire
  system on a regular basis to find this kind of information, but once the new Maintenance
  Management System (MMS) system is in place, a central tracking system could be possible. This
  system would make compiling the number of annual complaints for mold and other concerns
  much easier. Currently, EHS is the only department utilizing this system, but the Physical Plant
  and the Architect’s Office could use this system as well. Such a system would clarify how much
  was spent on what, how often recurring problems occur, and what improvements were made in
  which buildings.
           The University needs to facilitate a more formal building manager system that is fully
  integrated with the Physical Plant. Currently, increased communication is difficult because there
  is no structured system in place for building managers, and many designated informal building
  managers do not have the incentive to coordinate and communicate with the Physical Plant on a
  regular basis. It is imperative that building managers inform the Physical Plant of water damages
  and mold growth immediately, which requires a structured communication system.
           The Architect’s Office also needs to keep the Physical Plant in the loop when
  determining design decisions. The Physical Plant has the most hands-on experience when it
  comes to understanding the effectiveness of building materials and systems and this knowledge
  needs to be utilized. The Architect’s Office should increase the level of consulting with the
  Physical Plant to better understand how materials and systems are currently functioning and to
  inquire about the potential for better systems. The Architect’s Office worked with the Physical
  Plant to develop building standards for double panel stainless steel air handling units and this



                                                                                                   46

                                                                                       Exh. A - Page 54
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 87 of 225 PageID #: 97
                                                          EXHIBIT 1




  resulted in a reduction of mold growth within air handling units. This type of teamwork and
  communication needs to be increased.

  VII.B.2. Training

          Currently, a select number of Physical Plant staff are trained annually by Mr. Derheimer,
  EHS Environmental Manager, on the procedures of mold remediation. Some of the Physical
  Plant staff have the attitude that mold growth is not a serious problem because they have been
  working in mold infested environments for thirty years, perhaps without any health affects. To
  them it is difficult to understand how some people have severe sensitivities to mold. The
  Physical Plant staff needs to receive training on: the proper way to protect themselves when
  dealing with mold; the proper way to remediate/eliminate mold; how to identify mold and the
  potential for future mold growth; and the serious health implications of mold growth.
          Mr. Hewetson acknowledges that they may not be doing the best they can in terms of
  training and that it would be beneficial to talk to the Physical Plant staff about Indoor Air
  Quality, with an emphasis on the causes of mold, particularly water leaks. He feels that mold
  problems are not from a malfunction of the HVAC system, but that typically something else is
  occurring in the system that causes mold growth, perhaps a small leak that does not affect the
  operating system, but creates an environment for mold growth. “Knowing that something is not
  functioning properly is very good, but it does not always tell you the whole story.”142 Currently,
  there is a large possibility that the Physical Plant staff is overlooking potential problems because
  they are only looking for dirt and therefore they do not notice the little pool of water that should
  not be there. These types of problems are not currently flagged for follow up.

  VII.B.3. Documentation

          In order to learn about the intricacies of the current information management system for
  work order and service requests, IUB Physical Plant’s Associate Director of Administrative
  Services, Linda Michael, and Scott Knapp, the Maintenance Management System (MMS)
  Administrator were consulted. Since 1999, IUB’s Physical Plant has used the Maximus Facility
  Focus database system to record work orders and service requests. In addition, this database is a
  statewide system utilized or accessible to the Bureau of Facilities, Programming, and Utilization
  (which oversees property computer-aided design (CAD) blueprints), Architect’s Office, RPS, the
  Vice President of Administrative Contracts, EHS, and Building Representatives. However, it is
  important to note that EHS just started using this database within the past six months; it does not
  appear to be used to track all work orders. The use of different information systems has hindered
  communication among departments.143
          Mold related expenditures are not currently documented as such and there is no problem
  code specific to mold projects within the Physical Plant’s software system. The Physical Plant
  does not actively monitor the recurrence of mold that has been cleaned up and remediated and
  this kind of monitoring is not within the Physical Plant’s standard protocol. Mr. Hewetson wants
  to be able to track mold related remediation and abatement projects. The documentation of these
  projects and their financial costs would provide a significant source of bargaining power with the


  142
        Interview Hewetson 24 February 2005.
  143
        Interview with Michael and Knapp, 1 April 2005.


                                                                                                     47

                                                                                         Exh. A - Page 55
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 88 of 225 PageID #: 98
                                               EXHIBIT 1




  state and the University, as well as provide key evidence of the cost implications of postponing
  replacement projects, specifically roof replacement.
          The Physical Plant and EHS need to be able to easily share information regarding mold
  complaints and remediation to get an overall understanding of the entire problem. Each time that
  EHS or Physical Plant addresses a mold complaint or water leak, the other department should be
  notified. Access to this information would allow Mr. Derheimer to tract persistent problems that
  may cause health effects for some people. Easy access to mold related complaints and water
  related damage repairs between the Physical Plant and EHS will allow these two departments to
  work together more cohesively and eliminate mold problems more effectively.
          Another shortcoming of the current building manager role at the University is the absence
  of a uniform system for documenting both mold-specific remediation projects and maintenance
  responses to mold-related concerns (i.e. water leak repair). The absence of a consistent
  documentation system hinders accountability, but more importantly, forces newly assigned
  building managers to begin their duties without a formal mechanism for learning about the
  history of their building and its problems. The learning curve for new building managers could
  dramatically improve if a documentation system for maintenance and remediation responses was
  available and readily accessible.

  VII.C Building Management Policy Analysis

          Through the analysis of building management at the ground level it is evident that the
  prevalence of full-time building managers across campus is sporadic at best. It is first important
  to note that when initial contact was made with 28 different buildings on campus, the work
  focused on contacting individuals most likely to be either a building manager or best able to
  direct us to the building manager if one existed. As a result, there can be only speculation
  regarding the existence and role of building managers at buildings for which there was no
  response. That said, information was obtained directly from 10 individuals retaining some level
  of responsibility for the building in which they work. From this information, several observations
  emerged:

     •   The term “building manager” has numerous interpretations ranging from “the individual
         that people bring complaints to,” to a full-time employee that serves as a knowledgeable
         first responder to concerns with building operations.
     •   More than half of the individuals that responded to our information requests were full-
         time employees of the University in a position other than building manager (i.e. Informal
         building manager).
     •   Building managers are hired or assigned by the school/department residing within the
         facility.
     •   For those individuals not explicitly employed as building managers, their building
         management role generally consists of simply contacting the University’s Physical Plant
         when someone identifies a building problem.
     •   Knowledge of individual building histories, their problems, and standard responses to
         their problems is greatly limited in buildings without full-time building managers.
     •   Buildings that contain multiple academic departments tend to have the least formal form
         of building manager or no manager at all.



                                                                                                   48

                                                                                       Exh. A - Page 56
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 89 of 225 PageID #: 99
                                               EXHIBIT 1




     •   Regardless of employment status, building managers do not receive formal training on
         mold awareness.
     •   There is no formal communication network among building managers, Physical Plant and
         EHS.
     •   There is no feedback system by which the building managers are informed about building
         maintenance practices (i.e. ventilation filter changes, responses to called-in problems).

          These observations represent broad problems that exist under the current conditions at the
  University and are meant to demonstrate the disconnect between building occupants and those
  individuals in charge of responding to the needs of building occupants. A consequence of the
  University having no uniform policy requiring full-time building managers is the existing lag in
  both problem identification and response time, which ultimately exacerbates the University’s
  struggle to meet its basic spatial demands. The current practice of relying on Physical Plant and
  the on EH&S to maintain safe, healthy and efficient working environments for 488 buildings
  without trained building managers onsite to assess problems is unrealistic and inefficient.
  Furthermore, with the University nearing breaking points with the viability of using some
  buildings in their current conditions, it appears even more advantageous to have individuals on
  location to continuously monitor the facilities. This may allow the University to avoid having
  what could have been a minor problem become a major one only because the problem was
  identified too late.




                                                                                                   49

                                                                                       Exh. A - Page 57
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 90 of 225 PageID #: 100
                                                 EXHIBIT 1




   VIII. Recommendations
   VIII.A. Policy and Administrative Protocols

           In general, the administration as a whole needs to devise a more effective working
   relationship through open and frequent communication. Without the full support and
   cooperation of the entire University administration, the Physical Plant and the Office of
   Environmental Health and Safety will not be able to adequately and effectively combat mold.

   VIII.A.1. Physical Plant

            The air-handling units need to be inspected and cleaned at least twice a year, with more
   focus on older air handling units that still contain organic insulation. These old systems need to
   be replaced as soon as possible or brought up to the same standards as the new double panel
   stainless steel air handling units that are installed during new construction.
            When the air-handling units are inspected, the Physical Plant staff needs to be trained to
   identify potential mold environments. This includes knowing to look for water leaks, even small
   ones, when inspecting the units and not just going in to clean them without thinking about mold
   implications. Mr. Hewetson suggests that this type of education should allow the staff to “look a
   little farther into the problem with a little different eye.”144 The Physical Plant should train their
   staff how to correctly prevent, abate, and mitigate mold growth, with an emphasis on preventing
   moisture build up and eliminating environments for mold to grow.
            The Physical Plant needs to continue working with the Architect’s Office and the
   Engineering Department to inform them of current building materials and systems problem with
   regards to mold growth. The Architect’s Office needs to seriously consider Mr. Hewetson’s
   recommendations during the design phase. Mr. Hewetson has the most hands on knowledge
   regarding the types of systems and materials that promote or encourage mold growth and the
   Architect’s Office should take advantage of that expertise.
            The University needs to create a structured communication procedure between building
   managers and Physical Plant. In addition, it is recommended that the Physical Plant institute
   monthly meetings to discuss current practices, projects, and difficulties experienced within the
   different zone areas.
            A mold project identification code should also be established in the Physical Plant’s
   software system so that mold can be appropriately tracked in terms of repairs completed and
   their expenditures. A code specific to mold remediation will allow the Physical Plant and the
   University to get a holistic and realistic picture of mold problems.
            Lastly, the Physical Plant needs to focus more on preventative maintenance. The current
   budget constraints make this very difficult, particularly with such a long list of necessary repairs,
   but a preventative view point will save time and money in the future. Fixing the problem now
   will alleviate more future problems.

   VIII.A.2. IAQ & Mold Reporting

          It is critical that IUB provide a consistent reporting system regarding IAQ and mold
   problems. Faculty, staff, and students need to be aware of this system and have easy access to it
   144
         Interview Hewetson 24 February 2005.


                                                                                                       50

                                                                                           Exh. A - Page 58
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 91 of 225 PageID #: 101
                                                      EXHIBIT 1




   through online sources or via telephone. IUPUI has a thorough IAQ questionnaire that is used
   for user-friendly reporting of mold problems.145
            In addition, IUPUI provides the following reporting procedures for faculty, students, and
   staff (see “Mold Reporting Procedures” Box below146). This increases awareness about the issue
   and provides people within the University an easy and efficient means of communicating
   problems with the appropriate departments. It is our recommendation that these reports be
   received by both EHS and by the Physical Plant.


     Mold Reporting Procedures
     When water leaks, overflows, or condenses on building materials, it can damage the building
     or lead to mold growth. Mold can cause allergic reactions in sensitive individuals and lead to
     costly, disruptive clean-up. To prevent building damage and mold growth, prompt clean-up is
     necessary. As a building occupant, you can help minimize interruptions by contacting
     Campus Facility Services as soon as possible. During regular hours (Monday-Friday 7:30 a.m.
     to 4:00 p.m.) call your Zone Operations trouble line. If you don't know the zone you're in,
     please check our Facility Operations Map. For all emergencies after 4:00 p.m. M-F or on
     weekends call 278-1900.

         Zone One 278-1420                              Zone Four 278-1800
         Zone Two 278-1620                              Zone Five 278-3900
         Zone Three 278-1940                            Grounds 274-3816

     If mold or any suspected mold-like material is discovered in a University building, call IUPUI
     Environmental Health & Safety (EHS) at 274-2005 as soon as possible to report the problem.
     DO NOT handle materials or attempt to clean up the area. If the mold infestation appears
     extensive, isolate the area and keep people out until EHS staff can make an assessment.

   VIII.A.3. Communication with Staff, Students and the Public

           Communication with building occupants is essential for successful mold remediation.
   Some occupants will understandably be concerned about mold growth in their building and the
   potential health impacts. Occupants’ perceptions of the health risk may increase if they perceive
   that information is being withheld from them. The status of the building investigation and
   remediation should be openly communicated and include information on any known or suspected
   health risks.
           Because indoor air problems can jeopardize the health of students and staff, the public
   may react strongly to reports of poor indoor air quality. Therefore, it is recommended that an
   IAQ Coordinator establish uniform communication guidelines, so that the public will not become
   alarmed by conflicting or wrong information and will have a consistent and complete source of
   information regarding the quality of the indoor air at IUB.

   145
       IUPUI, Environmental Health & Safety Services & Fire Protection Services, Programs > Indoor Air Quality
   Questionnaire [on-line]; available from http://www.ehs.iupui.edu/ehs/prog_IAQQuestionnaire.asp; Internet; 31
   March 2005.
   146
       IUPUI, Environmental Health & Safety Services & Fire Protection Services, Programs > Mold Information [on-
   line]; available from http://www.ehs.iupui.edu/ehs/prog_molinfo.asp; Internet; accessed 31 March 2005.


                                                                                                               51

                                                                                                   Exh. A - Page 59
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 92 of 225 PageID #: 102
                                                      EXHIBIT 1




          In addition, IUPUI provides information specific to mold on their Environmental Health
   and Safety Website. 147 The website provides faculty, staff, and students with background
   information on mold, health effects of mold exposure, regulations and legislation regarding
   mold, preventing mold, and mold reporting procedure. We recommend that IUB’s EHS
   department use this as a template to provide similar online and pamphlet resources to all
   University building occupants.

   VIII.A.4. Database Management

           Currently, IUB’s Physical Plant and EHS departments have different database systems to
   track work orders and maintenance requests. At present, the IUB Physical Plant utilizes an
   Oracle database called Facility Focus and produced by Maximus. Physical Plant and a few other
   IUB departments are in the process of transitioning software to a web-based Maximus
   database.148 It is recommended that this web-based database be adopted by all IUB maintenance
   departments, utilizing the same work and problem coding systems, so as to better promote
   communication and tracking of mold-related problems and maintenance.
           Physical Plant staff is optimistic that the transition to the web-based system will promote
   a more integrated maintenance system among IUB departments. The current system is not a live
   system; it is updated on a daily basis and is inquiry-based. One area of significant concern is that
   within Physical Plant and other departments, work and problem codes are not being regularly
   utilized. (For clarification, problem codes are a means to break down work codes.) When
   running reports to track the frequency of specific problems, such as mold, many maintenance
   requests are not accounted for and room locations cannot be tracked.149
   In addition, all departments are utilizing different work and problem codes, none of them contain
   codes specific for work requests related to mold complaints. Although EHS does have a work
   code, there needs to be a distinction between the departments handling a service request. It is
   recommended that all departments begin utilizing the same work and coding and that there be
   work and problem codes established for mold complaints.150
           Despite these recommendations, Physical Plant is to be commended for its preventative
   maintenance efforts, especially at a time when budgets are extremely tight. These efforts include
   specialized inventory maintenance records on over 2000 pieces of significant equipment such as
   cooling towers, air handlers, backflow preventors, elevators, and escalators. In addition, there
   are also set daily, weekly, and monthly inspections of specific equipment such as HVAC filters,
   belts, and bearings.151

   VIII.B. Building Management Policy Recommendations

          An integral part in the prevention and remediation of mold at the IU Bloomington
   campus is the integration of the building manager position into the administrative hierarchy. The
   following points describe possibilities by which this may be achieved:

   147
       IUPUI, Environmental Health & Safety Services & Fire Protection Services, Programs > Mold Information [on-
   line]; available from http://www.ehs.iupui.edu/ehs/prog_molinfo.asp; Internet; accessed 31 March 2005.
   148
       Interview with Ms. Linda Michael, Associate Director of Administrative Services, IUB Physical Plant, and Mr.
   Scott Knapp, Maintenance Management System Administrator, 1 April 2005.
   149
       Interview with Michael and Knapp, 1 April 2005.
   150
       Interview with Michael and Knapp, 1 April 2005.
   151
       Interview with Michael and Knapp, 1 April 2005.


                                                                                                                 52

                                                                                                     Exh. A - Page 60
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 93 of 225 PageID #: 103
                                               EXHIBIT 1




      •   Increase the campus-wide awareness of building managers—even if some are unofficial
          building managers—in order to facilitate communication between faculty, staff, and the
          building manager.
      •   Establish a single, permanent contact through which all maintenance requests are routed
          to improve efficiency and establish responsibility. Building managers should be
          established as the primary contact for maintenance requests from faculty and staff.
          Building managers also need a consistent contact within either EHS or Physical Plant to
          whom they will direct their concerns.
      •   Create an inclusive system for recordkeeping. A system that cross-references related
          topics like “mold” and “IAQ” is necessary to avoid misrepresenting the causes of a
          problem or the numbers of that type of problems. Additionally, a method that permits
          any interested party easy access to the records should be utilized to allow easier
          dissemination of information. Building managers need to be informed—or have the
          ability to inform themselves at their own discretion—when maintenance is being
          performed on their buildings.
      •   Develop a full-time, official building manager position. For some of the larger buildings,
          and for those buildings housing more than one department, an official University-
          sponsored building manager position should be implemented to handle the increased
          concerns of a large building or to eliminate possible interdepartmental inefficiencies.
      •   Whether or not an official position is created, training should be provided to educate
          current building managers about mold and its causal factors. The goal is not to enable
          building managers to remediate mold; the goal is to raise their awareness so issues do not
          worsen while unnoticed. While training could be extended to all faculty and staff to
          increase the overall observation possibilities, it would be more efficient to train one
          dedicated individual, an official building manager for example, to be responsible for
          observing the causal factors of mold.

           Following one or more of the above suggestions should improve the effectiveness and
   responsibility of building managers not only in dealing with mold issues, but through the
   creation of a solid foundation for handling all building-related problems.

   VIII.C. Training Programs & Materials

           Education of the IUB community regarding mold and IAQ is critical. If people are
   provided information about the sources and effects of contaminants to which they could be
   exposed (i.e. proper functioning of ventilation systems or allergy-like symptoms), they will
   better understand their indoor environment. Increased awareness can assist individuals to
   identify ways to reduce their personal exposure.           The following sections include
   recommendations regarding education and training for IUB Physical Plant employees, building
   managers, RPS staff, the student community and IUB faculty and staff.

   VIII.C.1. Physical Plant & Maintenance Staff

          EPA has created detailed mold remediation guidelines that could be used as a training
   resource for IUB Physical Plant and building maintenance staff. The document, “Mold


                                                                                                   53

                                                                                       Exh. A - Page 61
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 94 of 225 PageID #: 104
                                                     EXHIBIT 1




   Remediation in Schools and Commercial Buildings” describes how to investigate and evaluate
   moisture and mold problems in educational facilities. It also presents key steps for implementing
   a remediation plan and provides a checklist for conducting mold remediation efforts along with a
   resource list of helpful organizations and governmental agencies. Appendices of the EPA
   documents contain a glossary, an educational section on molds, and an explanation of how
   communication with building occupants aids in mold eradication efforts.152 Regular use of such
   materials can assist in the long-term education of staff who combat these problems.

   VIII.C.2. Building Managers

            Training for full-time building mangers should parallel the recommendations for Physical
   Plant and maintenance staff training. Building managers perform similar roles, and these
   training programs would benefit building managers and the IUB campus immensely.
   Additionally, this recommendation eliminates the cost of designing and implementing a new
   training program.
            Part-time building managers would benefit from the same training as their full-time
   counterparts. Therefore, another recommendation is for part-time building managers to receive
   additional periodic training. As professionals outside the field of building management, staff
   with limited time and resources tend to focus on primary duties. While this is reasonable, one
   fear is that it may detract from important building manager obligations. This report recommends
   that brief, periodic trainings which focus on single issues be administered quarterly. A brief
   training on mold identification and remediation should be administered at least annually. A
   monthly training offers both an opportunity to revisit various skills and an opportunity to gather
   with colleagues. This gathering reinforces the fact that there are others on campus responsible
   for the same building manager duties on top of their already heavy workload. The camaraderie
   built by these interactions will further reinforce the importance of the building manager position.

   VIII.C.3. RPS Staff

           John Bruce, Health and Safety Manager for RPS, currently provides all of the health and
   safety training for RPS employees (which include, but are not limited residence managers,
   residence assistants, and student leaders that deal with cleaning). Training of resident assistants
   and managers on the detection of mold and mold-growth conditions will be beneficial to the
   buildings’ long-term indoor air quality. Quicker detection of problems will often lead to more
   efficient remediation. To incorporate mold awareness into existing training, the following
   measures should be implemented:

         •   Include links to mold resources on the RPS website, http://www.rps.indiana.edu.
         •   Include a mold awareness section in the student housing guide, “Residence Living 2005:
             Your Neighborhood from A to Z”.
         •   Develop informational pamphlets to be exhibited at the Student Health Center and
             available through resident managers.



   152
      U.S. Environmental Protection Agency, Mold Remediation in Schools and Commercial Buildings [on-line];
   available from http://www.epa.gov/iaq/molds/images/moldremediation.pdf; Internet; accessed 31 March 2005.


                                                                                                               54

                                                                                                   Exh. A - Page 62
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 95 of 225 PageID #: 105
                                                       EXHIBIT 1




   VIII.C.4. Students

           In Section VI, it is estimated that resident students spend an average of 20 hours per day
   in buildings on campus. As such, students are a critical group of individuals whose increased
   knowledge of mold awareness and education is essential to the health of the campus community.
   Certainly, the extent of training recommended above for those University personnel involved in
   mold-related issues is unnecessary for students. However, some awareness and education is
   necessary and would be relatively simple to implement under the auspices of the current training
   and educational materials to which students are regularly exposed.
           The orientation session facilitated by RPS staff at the beginning of the school year is a
   perfect opportunity to reach out to students regarding mold awareness. It is important for the
   student “training” that materials be kept informational, straightforward and brief. Under the
   coordination of John Bruce, resident managers could develop an under five-minute presentation
   which addresses what mold is, how to spot it in buildings, what conditions lead to mold growth,
   how mold can affect health, and who to contact with concerns. Role-playing could be used to
   further engage students to listen to the information presented.
           As mentioned above, students live in RPS “Neighborhoods,” and are provided with
   guidebooks that contain relevant information regarding neighborhood policies and procedures.
   At the orientation session, the neighborhood guide would be referenced as a source of additional
   information on mold topics. Students seeking more heath-related information would be directed
   to the resident managers or the student health center where a newly developed pamphlet on mold
   and IAQ would be available.
           Given the amount of time students spend in their residence halls, classrooms, and public
   buildings, teaching them how leaky pipes and poor ventilation systems can lead to mold growth
   and ultimately health effects is very important. Through this lens, IUB could have over 25,000
   inspectors at their disposal to assist in the mold identification and remediation on campus.

   VIII.C.5. IUB Faculty and Staff

           Training for IUB faculty and staff is critical to improving the awareness of mold-related
   issues on campus. Especially in buildings prone to water leaks and poor ventilation, personnel
   must be educated on the conditions favorable to mold growth for better reporting and
   remediation of the problems. Similarly, better awareness will allow for those individuals prone
   to allergic reactions to mold to more quickly identify plausible causes for their symptoms.
   Indoor air quality has a direct effect on working conditions and should therefore be taken
   seriously by those spending a majority of their working day indoors.
           However, serving the training needs of a campus community as large as IUB’s can be a
   daunting task. For example, The University of Michigan’s Office of Occupational Safety and
   Environmental Health has nine different programmatic areas and a staff of over sixty.153 To
   broaden the scope of training for IUB faculty and staff, a further recommendation is that EHS
   incorporate mold awareness and education into existing training programs. These items should
   include:



   153
      University of Michigan Office of Occupational Safety and Environmental Health, OSEH Staff [on-line]; available
   from http://www.oseh.umich.edu/osehstaff.html; Internet; accessed 31 March 2005.


                                                                                                                 55

                                                                                                     Exh. A - Page 63
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 96 of 225 PageID #: 106
                                                       EXHIBIT 1




         •   The addition of a hyperlink entitled “Indoor Air Quality Awareness” to the Occupational
             Safety Section of the Publications and Policies Page.154 This document could be
             formatted around information found at the OSHA Indoor Air Quality website.155
         •   The addition of an “Indoor Air Quality” section to the “Safety Initiatives Program
             Training Needs Survey” administered by the Training Coordinator to gauge employee
             interest and needs.156
         •   The organization of informational seminars on indoor air quality and mold-related topics
             to be held once per semester.

           Not only will it be necessary to educate individuals on mold-growth conditions and
   health effects, it is necessary to inform them of the chain of reporting and communication. (The
   codification of reporting and communication is discussed elsewhere in this report.) For example,
   on the EHS website, visitors are instructed to direct questions relating to such problems as
   humidity, air “stuffiness,” and visible mold growth to the Physical Plant, but questions about
   symptoms or noxious odors should be directed to EHS. 157 The revised flowchart of
   communications will help to guide the formation of this contact and informational sheet.
   Additional recommendations include:

         •   The addition of an informational page on indoor air quality to the faculty and staff
             handbook as a way to make reporting more efficient and effective.
         •   The support of the IU Workers Union to initiate training requests and track IAQ
             complaints by employees to ensure their resolution.

   VIII.D. Building Materials

           The following materials are believed to be useful in preventing mold problems inside
   buildings: protective fungicidal coating, Ultraviolet lighting systems, high efficiency air filters,
   dehumidifiers, concrete board, green board, drain pans, anti-mold paint, latex paint, and mold-
   resistant ceiling panels. Using such materials in the construction of new buildings or in the
   maintenance of old buildings on-campus may help prevent future mold problems and reduce
   long-term maintenance and repair costs for University buildings. For example, installing more
   efficient air filters would improve indoor air quality at minimal cost to the University. However,
   the University’s level of funding received from the State of Indiana for Repair and Rehabilitation
   will significantly impact the University’s ability to thoroughly address future mold problems that
   may arise in campus buildings.
           Listed below is a more in-depth description of building materials useful to the prevention
   of mold growth:


   154
       IU Office of Environment, Health, and Safety Management, Publications and Policies [on-line]; available from
   http://www.ehs.indiana.edu/publications.html; Internet; accessed 31 March 2005.
   155
       U.S. Department of Labor, Occupational Safety and Health Administration, Health and Safety Topics: Indoor Air
   Quality [on-line]; available from http://www.osha.gov/SLTC/indoorairquality/; Internet; accessed 31 March 2005.
   156
       IU Office of Environment, Health, and Safety Management, Safety Initiatives Program Training Needs Survey
   [on-line]; available from http://www.ehs.indiana.edu/training/Survey%20form.doc; Internet; accessed 31 March
   2005.
   157
       IU Office of Environment, Health, and Safety Management, Indoor Air Quality at IU-Bloomington [on-line];
   available from http://www.ehs.indiana.edu/indoor_air.html; Internet; accessed 31 March 2005.


                                                                                                                 56

                                                                                                     Exh. A - Page 64
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 97 of 225 PageID #: 107
                                                       EXHIBIT 1




         •   Protective fungicidal coating
                o EPA-registered fungicides should be sprayed on all cellulose-based building
                    materials, such as drywall, plasterboard and plywood substitutes.158
                o Should apply at least two wet sprayings and one coating of an EPA-registered
                    protective fungicide.
                o Coatings can protect materials from moisture and related mold damage.

         •   Ultraviolet (UV) lighting systems (air purifier)159
                o Install in return air ducts.
                o UV light possesses just the right amount of energy to break organic molecular
                    bonds (i.e. micro mold particles) in the HVAC systems.
                o As micro mold particles in the air handling units pass by the light, the UV rays
                    break up the molecules and destroy the mold.

         •   High-quality rubber water barrier
                o A high-quality rubber water barrier beneath the roof shingles or tiles can keep rain
                   from entering the building.

         •   High Efficiency Particulate Air (HEPA) filters in the HVAC system
                o A replaceable HEPA filter or a top-rated electronic air cleaner removes airborne
                   mold spores from the circulating air.
                o HEPA filters inhibit the passage of large mold spores into the HVAC unit.
                o Filters should be made of synthetic materials instead of cardboard, cotton or other
                   organic elements in order to eliminate a potential food source for the mold.
                o Recommend 3M filters™ 3 Month Allergen Reduction Filter that contains
                   electrostatic fibers that can capture micro mold particles in the HVAC system160

         •   Programmable dehumidifier in the HVAC system
                o A programmable dehumidifier in the HVAC systems can reduce indoor humidity
                   and discourage mold growth by 30 to 40%.
                o A humidistat-controlled exhaust fan in any crawl space area is required to keep
                   the humidity level low in the area.
                o Exhaust fans should be installed in bathrooms and kitchens and vent directly
                   outdoors.

         •   Concrete floor (or ceramic tile)
               o Carpeting is a great place for mold to multiply especially after it has had water
                   damage.
               o Concrete floors or ceramic tiles contain a waterproofing compound that does not
                   easily allow mold to grow.

   158
       Health & Energy, DangerBusters Describes How To Build A Mold-Safe Home Or Commercial Building [on-
   line]; available from http://healthandenergy.com/mold-safe_construction.htm; Internet; accessed 27 March 2005.
   159
       Division of Indoor Purification Systems, Inc., About UV Light Air Purification, [on-line]; available from
   http://www.surroundair.com/uv-light.htm; Internet; accessed 4 April 2005.
   160
       Presentation by Mr. Dan Derheimer, Environmental Manager, Office of Environmental Health and Safety, in
   SPEA 272 on 3 February 2005.


                                                                                                                    57

                                                                                                      Exh. A - Page 65
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 98 of 225 PageID #: 108
                                                         EXHIBIT 1




                o For wood floors, vinyl tile or linoleum should be installed.
                o Concrete floors may contain a three-inch lip at the border that effectively creates a
                  boundary to prevent water movement

         •   Green board161
                o Most drywall installed at IUB campus is made with gypsum-based drywall that is
                   very strong when dry. Typically, the drywall panels have a thick paper wrapping
                   that protects the gypsum core from impact and abrasion damage.
                o When the paper absorbs water and transmits it to the gypsum inside the panel, the
                   panel loses its rigidity and either falls apart or becomes very mushy.
                o Water-resistant drywall, also called green board, is a great product when used as
                   designed, but its use is not appropriate for areas that are exposed to constant
                   moisture.
                o The water-resistant green board is also sensitive to stud spacing. In areas of rooms
                   that will get heavy concentrations of water, a waterproof wall material is
                   recommended.
                o The green board drywall is water-resistant, not waterproof.

         •   Waterproof wall panel with hot-dipped galvanized fasteners and SS nails and
             screws
                o Waterproof wall panels should be used behind tile and in any location where
                    water is expected to be regularly splashed onto a wall surface.
                o Hot-dipped galvanized fasteners or even stainless steel (SS) nails and screws to
                    fasten the wall panels to the wall studs and ceiling supports are recommended.

         •   Anti-mold paint
                o Several coats of high-quality paint will keep moisture from penetrating drywall,
                   but this is not always the best strategy. If water gets behind the paint where the
                   paint stops and a sink top or cabinet edge begins, damage to the drywall may start.

         •   Closed Cell Foam insulation162
                o It is an elastomeric material that provides for low water vapor permeability and
                   will not support moisture absorption. It should be used exclusively in the HVAC
                   equipment.
                o The surface of which is smooth, durable to impact, and resistant against damage
                   does not allow potential for nutrients for mold, such as dust, to adhere on the
                   surface.
                o Acts as its own vapor barrier
                o The lining meets the requirements for ASTM G-21, which is the most widely
                   adopted standard test method to evaluate a product's resistance to mold growth.163

   161
       Tim Carter, ‘Green board’ drywall is resistant to moisture [on-line]; available from Indy Star Online,
   http://www2.indystar.com/articles/4/230197-8214-053.html; Internet; accessed 27 March 2005.
   162
       David Lingrey. White Paper: Reducing Mold Growth in HVAC Equipment [on-line]; available from
   Environmental Technologies, Inc., http://www.enviro-tec.com; Internet; accessed March 2005.
   163
       Today’s Facility Manager, Reducing Mold Concerns [on-line]; available from
   http://www.facilitycity.com/tfm/tfm_04_02_news1.asp; Internet; accessed March 2005.


                                                                                                                      58

                                                                                                          Exh. A - Page 66
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 99 of 225 PageID #: 109
                                                    EXHIBIT 1




         •   IAQ Drain Pan164
               o The drain pan should be sloped toward the drain connection to allow for positive
                  drainage.
               o The drain pan should be made from stainless steel for corrosion protection and
                  cleanliness.
               o The pan must be externally lined with closed cell insulation to prevent surface
                  condensation.
               o The drain connection should be located on the bottom of the pan to facilitate
                  drainage of condensation.
               o To prevent drain line blockage and condensate standing water or overflow, a drain
                  connection comprised of an easily removable, large diameter P-trap for cleaning
                  and service should be used.
               o To prevent overflow, a low-energy heating coil may be attached to facilitate
                  evaporation.
               o Fungicidal tablets can be placed in the drain pan to prevent mold growth.

         •   Flat latex paint instead of vinyl wallpaper
                o Use latex paint as a bare minimum on walls or a permeable wallpaper
                o Non-permeable vinyl wallpaper is not recommended because it can trap moisture,
                     whether coming from outdoors or a water leak, and lead to outbreaks of mold
                     beneath the wall covering on the surface of the gypsum wallboard165

         •   EuroFoam Ceiling Panels166
                o Mold and mildew resistant
                o Free from off-gassing and do not shed fiber as they age
                o 87% light reflectance to optimize lighting efficiency

           This list of 13 building material suggestions does not represent a comprehensive list of
   materials that can be utilized by the University to improve the mold-resistance capabilities of
   buildings on campus. However, these suggestions are intended to provide the University with
   clear examples for how some minor upgrades in materials used to construct as well as repair and
   maintain University buildings can produce greater long-term benefits in respect to combating
   environments within buildings that foster mold growth. In short, by investing a little more in the
   materials used to construct new buildings or repair old ones, the University can heighten the
   ability of these buildings to maintain a safe and healthy environment for the staff, students and
   visitors that occupy them each day.




   164
       David Lingrey. White Paper: Reducing Mold Growth in HVAC Equipment [on-line]; available from
   Environmental Technologies, Inc., http://www.enviro-tec.com; Internet; accessed March 2005.
   165
       Philip Fairey, Subrato Chandra and Neil Moyer. Managing Mold in Your Florida Home: A Consumer Guide [on-
   line]; available from http://www.fsec.ucf.edu/bldg/science/mold/; Internet; accessed March 2005.
   166
       Building Design & Construction. Green Products: A sneak peak at the Top 10 Green Products [on-line];
   available from Dow Jones & Reuters, http://global.factiva.com; Internet; accessed 1 Marsh 2005.


                                                                                                             59

                                                                                                 Exh. A - Page 67
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 100 of 225 PageID #: 110
                                                EXHIBIT 1




   VIII.E. Administrative Structure and Budgeting

           A very real scenario on the horizon is that Repair and Remediation (R & R) state
   appropriated funding continues to be an unstable source of funding for IUB’s major repairs and
   renovation. As it is, there is a strong incentive for academic units to continue to delay investment
   in repairs and renovation, and an increase demand for “expedient” repairs to result. Without R &
   R funding, Physical Plant and the Chancellor’s Office of Space Management will continue to be
   hampered in their ability to address the need for investment in renovation and repair. IUB must
   respond to this shortfall by developing short and long-term strategies to fund R & R. Regardless
   of whether R & R funding is appropriated by the Generally Assembly in for the 2005-07
   Biennium strategizing must be led by the IUB Chancellor’s Office. This strategizing must plan
   for continued instability.
           The first recommendation is for the Chancellor’s Office to clarify and publicize
   guidelines regarding expenditure responsibility for renovation and major repairs, addressing
   whether academic units are responsible for this expense. The second recommendation is to
   strengthen the practices of responsibility centered management by asking the IU President to
   require that the Risk Management Department assess the risk associated with specific renovation
   and repairs currently delayed, and then communicate results of this assessment to the IUB
   Budgetary Affairs Committee, Capital Priorities Committee, and most importantly, academic and
   non-academic units, in order to provide them with information on how their actions influence
   assessment expenditures.
           The issues identified and addressed in this report regarding communication and training
   reflect a lack of Physical Plant accountability to the academic units who pay for these services.
   Increasing Physical Plant’s accountability to the academic units through the Chancellor’s Office
   administrative structure is the most effective way to assure that these training and
   communication issues are addresses. Therefore, a third recommendation is to change the current
   system of administrative accountability, so that the Physical Plant reports to the IUB
   Chancellor’s Office.
           Short term and long term strategies for the IUB Chancellor’s Office to consider include:

      •   Issuing Bonds. Currently new construction is financed through the sale of bonds. It is a
          viable option to finance major repair and renovation expenses through a similar process.
      •   Increase private donor fundraising though IU Foundation.
      •   Require a portion of assessments on academic units set-aside for renovation and repair.
      •   Conduct an audit of physical plant operations in order to determine the feasibility of
          undertaking many of the recommendations proposed in this report, intended to increase
          responsiveness to academic and non-academic maintenance needs.




                                                                                                      60

                                                                                          Exh. A - Page 68
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 101 of 225 PageID #: 111
                                            EXHIBIT 1




   IX. Overview of Primary Recommendations

      •   Increase Professional and Awareness Training
      •   Promote Use of Mold-Resistant Materials and Design
      •   Create Full-time Official BM Position for Buildings
      •   Improve Data Management System
      •   Increase Communication & Cooperation among VP’s Departments (EHS & Physical
          Plant), and Academic Units (building managers)
      •   Improve Communication with Faculty, Staff, Students & Public
      •   Increase University Tax Transparency, Improve Implementation of RCM Principles
      •   Restructure Physical Plant under IUB Administration




                                                                                             61

                                                                                 Exh. A - Page 69
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 102 of 225 PageID #: 112
                                                EXHIBIT 1




   X. Next Steps
           Given that this project was constrained to one semester, a full cost-effectiveness analysis
   was not feasible. The next steps in this project would include a full cost-effectiveness analysis
   that would detail the effects of the suggested recommendations, if implemented. This analysis
   would enable a clear comparison between our suggestions and the current administrative mold
   policy to determine the most beneficial solution.




                                                                                                     62

                                                                                         Exh. A - Page 70
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 103 of 225 PageID #: 113
                                      EXHIBIT 1




                                   Appendices




                                                                                    1

                                                                      Exh. A - Page 71
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 104 of 225 PageID #: 114
                                             EXHIBIT 1
   APPENDIX A


   Guidelines for Moisture Prevention
   US Environmental Protection Agency.
   Indoor air—mold/moisture.
        Mold Resources: A Brief Guide on Mold, Moisture and Your Home: Mold Remediation in
        Schools and Commercial Buildings.

   Occupational Safety and Health Administration, US Department of Labor.
   Indoor air quality investigation.
        OSHA Technical Manual. Section III, chap 2.

   American Conference of Governmental Industrial Hygienists Inc.
       Janet Macher, editor. Bioaerosols: Assessment and Control. ISBN: 1-882417–29-1. 1999,
       322 pages.

   Canadian Construction Association.
       Mold Guidelines for the Canadian Construction Industry. Standard Construction Document
       CCA 82. 2004.

   USACHPPM
   Army Facilities Management Information Document on Mold Remediation Issues. TG 277.
   2002.




                                                                                               1

                                                                                 Exh. A - Page 72
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 105 of 225 PageID #: 115
                                                        EXHIBIT 1
   APPENDIX A


   IAQA Guidelines for Indoor Environments

                                    Quick Reference Guide to IAQA 01-2000
                                Recommended Guidelines for Indoor Environments

    IAQA 01
                              Parameter                    Limit/Range                    References
    Section#
    Physical Parameters
                                                   Summer 73-79 F; Winter
    1.1          Temperature                                                    ASHRAE 55
                                                   68-74.5 F
    1.2          Relative Humidity                 30%-65%                      Florida Dept. Man. Ser.
    1.3          Air Movement                      0.8 ft/s or 0.25 m/s         WHO
    2.0          Ventilation (Carbon Dioxide)      650 over ambient             ASHRAE 62
                                                   25%-30% Dust Spot
    3.0          Filtration                                                     ASHRAE 52.1
                                                   Efficiency
                                                                                Florida Solar Energy Center;
    4.0          Pressurization                    1-5 Pascals &/or + Press
                                                                                Lstiburek
                                                                                State of California, Air
    5.1          Respirable Particulate            50 mg/m3
                                                                                Resources Board
                 Particulate in Cleaned HVAC
    5.2                                            1.0 mg/100 cm2               NADCA 1992-01
                 Systems

    Chemical Parameters
                                                                      EPA - National Ambient Air Quality
    6.1 Carbon Monoxide                      9 ppm
                                                                      Standard
    6.2 Radon                                 4 picoCuries/liter      EPA
    6.3 Ozone                                0.05 ppm                 WHO
          Total Volatile Organic
    7.1                                      3 mg/m3 (0.64 ppm)       Molhave, 1990
          Compounds
                                             0.06 mg/m3 (0.05
    7.2 Formaldehyde                                                  Health & Welfare Canada
                                             ppm)

    Biological Parameters
           Fungal Bioaerosols             300 CFU/m3 total; 50 CFU/m3 individual (excepting      Robertson,
    8.1
           (culturable)                   Cladosporium)                                          1997
           Bacterial Bioaerosols
    8.2                                   500 CFU/m3 total; dominated by gram + organisms        WHO
           (culturable)




                                                                                                                  2

                                                                                                    Exh. A - Page 73
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 106 of 225 PageID #: 116
                                                  EXHIBIT 1
   APPENDIX A


   NYC Remediation Guidelines

   In all situations, the underlying cause of water accumulation must be rectified or fungal growth
   will recur. Any initial water infiltration should be stopped and cleaned immediately. An
   immediate response (within 24 to 48 hours) and thorough clean up, drying, and/or removal of
   water damaged materials will prevent or limit mold growth. If the source of water is elevated
   humidity, relative humidity should be maintained at levels below 60% to inhibit mold growth.31
   Emphasis should be on ensuring proper repairs of the building infrastructure, so that water
   damage and moisture buildup does not recur.

   Five different levels of abatement are described below. The size of the area impacted by fungal
   contamination primarily determines the type of remediation. The sizing levels below are based
   on professional judgment and practicality; currently there is not adequate data to relate the extent
   of contamination to frequency or severity of health effects. The goal of remediation is to remove
   or clean contaminated materials in a way that prevents the emission of fungi and dust
   contaminated with fungi from leaving a work area and entering an occupied or non-abatement
   area, while protecting the health of workers performing the abatement. The listed remediation
   methods were designed to achieve this goal, however, due to the general nature of these methods
   it is the responsibility of the people conducting remediation to ensure the methods enacted are
   adequate. The listed remediation methods are not meant to exclude other similarly effective
   methods. Any changes to the remediation methods listed in these guidelines, however, should be
   carefully considered prior to implementation.

   Non-porous (e.g., metals, glass, and hard plastics) and semi-porous (e.g., wood, and concrete)
   materials that are structurally sound and are visibly moldy can be cleaned and reused. Cleaning
   should be done using a detergent solution. Porous materials such as ceiling tiles and insulation,
   and wallboards with more than a small area of contamination should be removed and discarded.
   Porous materials (e.g., wallboard, and fabrics) that can be cleaned, can be reused, but should be
   discarded if possible. A professional restoration consultant should be contacted when restoring
   porous materials with more than a small area of fungal contamination. All materials to be reused
   should be dry and visibly free from mold. Routine inspections should be conducted to confirm
   the effectiveness of remediation work.

   The use of gaseous ozone or chlorine dioxide for remedial purposes is not recommended. Both
   compounds are highly toxic and contamination of occupied space may pose a health threat.
   Furthermore, the effectiveness of these treatments is unproven. For additional information on the
   use of biocides for remedial purposes, refer to the American Conference of Governmental
   Industrial Hygienists' document, "Bioaerosols: Assessment and Control."

          3.1 Level I: Small Isolated Areas (10 sq. ft or less) - e.g., ceiling tiles, small areas on
          walls

              a. Remediation can be conducted by regular building maintenance staff. Such
                 persons should receive training on proper clean up methods, personal protection,
                 and potential health hazards. This training can be performed as part of a program




                                                                                                           3

                                                                                             Exh. A - Page 74
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 107 of 225 PageID #: 117
                                               EXHIBIT 1
   APPENDIX A

                to comply with the requirements of the OSHA Hazard Communication Standard
                (29 CFR 1910.1200).

            b. Respiratory protection (e.g., N95 disposable respirator), in accordance with the
               OSHA respiratory protection standard (29 CFR 1910.134), is recommended.
               Gloves and eye protection should be worn.

            c. The work area should be unoccupied. Vacating people from spaces adjacent to the
               work area is not necessary but is recommended in the presence of infants (less
               than 12 months old), persons recovering from recent surgery, immune suppressed
               people, or people with chronic inflammatory lung diseases (e.g., asthma,
               hypersensitivity pneumonitis, and severe allergies).

            d. Containment of the work area is not necessary. Dust suppression methods, such as
               misting (not soaking) surfaces prior to remediation, are recommended.

            e. Contaminated materials that cannot be cleaned should be removed from the
               building in a sealed plastic bag. There are no special requirements for the disposal
               of moldy materials.

            f. The work area and areas used by remedial workers for egress should be cleaned
               with a damp cloth and/or mop and a detergent solution.

            g. All areas should be left dry and visibly free from contamination and debris.

         3.2 Level II: Mid-Sized Isolated Areas (10 - 30 sq. ft.) - e.g., individual wallboard panels.

            h. Remediation can be conducted by regular building maintenance staff. Such
               persons should receive training on proper clean up methods, personal protection,
               and potential health hazards. This training can be performed as part of a program
               to comply with the requirements of the OSHA Hazard Communication Standard
               (29 CFR 1910.1200).

            i. Respiratory protection (e.g., N95 disposable respirator), in accordance with the
               OSHA respiratory protection standard (29 CFR 1910.134), is recommended.
               Gloves and eye protection should be worn.

            j. The work area should be unoccupied. Vacating people from spaces adjacent to the
               work area is not necessary but is recommended in the presence of infants (less
               than 12 months old), persons having undergone recent surgery, immune
               suppressed people, or people with chronic inflammatory lung diseases (e.g.,
               asthma, hypersensitivity pneumonitis, and severe allergies).

            k. The work area should be covered with a plastic sheet(s) and sealed with tape
               before remediation, to contain dust/debris.

            l. Dust suppression methods, such as misting (not soaking) surfaces prior to
               remediation, are recommended.


                                                                                                       4

                                                                                         Exh. A - Page 75
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 108 of 225 PageID #: 118
                                               EXHIBIT 1
   APPENDIX A

            m. Contaminated materials that cannot be cleaned should be removed from the
               building in sealed plastic bags. There are no special requirements for the disposal
               of moldy materials.

            n. The work area and areas used by remedial workers for egress should be HEPA
               vacuumed (a vacuum equipped with a High-Efficiency Particulate Air filter) and
               cleaned with a damp cloth and/or mop and a detergent solution.

            o. All areas should be left dry and visibly free from contamination and debris.

         3.3 Level III: Large Isolated Areas (30 - 100 square feet) - e.g., several wallboard panels.

         A health and safety professional with experience performing microbial investigations
         should be consulted prior to remediation activities to provide oversight for the project.

         The following procedures at a minimum are recommended:

            p. Personnel trained in the handling of hazardous materials and equipped with
               respiratory protection, (e.g., N95 disposable respirator), in accordance with the
               OSHA respiratory protection standard (29 CFR 1910.134), is recommended.
               Gloves and eye protection should be worn.

            q. The work area and areas directly adjacent should be covered with a plastic
               sheet(s) and taped before remediation, to contain dust/debris.

            r. Seal ventilation ducts/grills in the work area and areas directly adjacent with
               plastic sheeting.

            s. The work area and areas directly adjacent should be unoccupied. Further vacating
               of people from spaces near the work area is recommended in the presence of
               infants (less than 12 months old), persons having undergone recent surgery,
               immune suppressed people, or people with chronic inflammatory lung diseases
               (e.g., asthma, hypersensitivity pneumonitis, and severe allergies).

            t. Dust suppression methods, such as misting (not soaking) surfaces prior to
               remediation, are recommended.

            u. Contaminated materials that cannot be cleaned should be removed from the
               building in sealed plastic bags. There are no special requirements for the disposal
               of moldy materials.

            v. The work area and surrounding areas should be HEPA vacuumed and cleaned
               with a damp cloth and/or mop and a detergent solution.

            w. All areas should be left dry and visibly free from contamination and debris.

         If abatement procedures are expected to generate a lot of dust (e.g., abrasive cleaning of
         contaminated surfaces, demolition of plaster walls) or the visible concentration of the


                                                                                                       5

                                                                                         Exh. A - Page 76
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 109 of 225 PageID #: 119
                                               EXHIBIT 1
   APPENDIX A

         fungi is heavy (blanket coverage as opposed to patchy), then it is recommended that the
         remediation procedures for Level IV are followed.

         3.4 Level IV: Extensive Contamination (greater than 100 contiguous square feet in an
         area)

         A health and safety professional with experience performing microbial investigations
         should be consulted prior to remediation activities to provide oversight for the project.
         The following procedures are recommended:

            x. Personnel trained in the handling of hazardous materials equipped with:

                   i.   Full-face respirators with high efficiency particulate air (HEPA) cartridges
                  ii.   Disposable protective clothing covering both head and shoes
                 iii.   Gloves

            y. Containment of the affected area:

                   i.   Complete isolation of work area from occupied spaces using plastic
                        sheeting sealed with duct tape (including ventilation ducts/grills, fixtures,
                        and any other openings)
                  ii.   The use of an exhaust fan with a HEPA filter to generate negative
                        pressurization
                 iii.   Airlocks and decontamination room

            z. Vacating people from spaces adjacent to the work area is not necessary but is
               recommended in the presence of infants (less than 12 months old), persons having
               undergone recent surgery, immune suppressed people, or people with chronic
               inflammatory lung diseases (e.g., asthma, hypersensitivity pneumonitis, and
               severe allergies).

            aa. Contaminated materials that cannot be cleaned should be removed from the
                building in sealed plastic bags. The outside of the bags should be cleaned with a
                damp cloth and a detergent solution or HEPA vacuumed in the decontamination
                chamber prior to their transport to uncontaminated areas of the building. There are
                no special requirements for the disposal of moldy materials.

            bb. The contained area and decontamination room should be HEPA vacuumed and
                cleaned with a damp cloth and/or mop with a detergent solution and be visibly
                clean prior to the removal of isolation barriers.

            cc. Air monitoring should be conducted prior to occupancy to determine if the area is
                fit to reoccupy.

         3.5 Level V: Remediation of HVAC Systems

         3.5.1 A Small Isolated Area of Contamination (<10 square feet) in the HVAC System


                                                                                                        6

                                                                                         Exh. A - Page 77
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 110 of 225 PageID #: 120
                                              EXHIBIT 1
   APPENDIX A


            dd. Remediation can be conducted by regular building maintenance staff. Such
                persons should receive training on proper clean up methods, personal protection,
                and potential health hazards. This training can be performed as part of a program
                to comply with the requirements of the OSHA Hazard Communication Standard
                (29 CFR 1910.1200).

            ee. Respiratory protection (e.g., N95 disposable respirator), in accordance with the
                OSHA respiratory protection standard (29 CFR 1910.134), is recommended.
                Gloves and eye protection should be worn.

            ff. The HVAC system should be shut down prior to any remedial activities.

            gg. The work area should be covered with a plastic sheet(s) and sealed with tape
                before remediation, to contain dust/debris.

            hh. Dust suppression methods, such as misting (not soaking) surfaces prior to
                remediation, are recommended.

            ii. Growth supporting materials that are contaminated, such as the paper on the
                insulation of interior lined ducts and filters, should be removed. Other
                contaminated materials that cannot be cleaned should be removed in sealed plastic
                bags. There are no special requirements for the disposal of moldy materials.

            jj. The work area and areas immediately surrounding the work area should be HEPA
                vacuumed and cleaned with a damp cloth and/or mop and a detergent solution.

            kk. All areas should be left dry and visibly free from contamination and debris.

            ll. A variety of biocides are recommended by HVAC manufacturers for use with
                HVAC components, such as, cooling coils and condensation pans. HVAC
                manufacturers should be consulted for the products they recommend for use in
                their systems.

         3.5.2 Areas of Contamination (>10 square feet) in the HVAC System

         A health and safety professional with experience performing microbial investigations
         should be consulted prior to remediation activities to provide oversight for remediation
         projects involving more than a small isolated area in an HVAC system. The following
         procedures are recommended:

            mm.         Personnel trained in the handling of hazardous materials equipped with:

                   i.   Respiratory protection (e.g., N95 disposable respirator), in accordance
                        with the OSHA respiratory protection standard (29 CFR 1910.134), is
                        recommended.
                  ii.   Gloves and eye protection




                                                                                                     7

                                                                                       Exh. A - Page 78
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 111 of 225 PageID #: 121
                                             EXHIBIT 1
   APPENDIX A

                iii.   Full-face respirators with HEPA cartridges and disposable protective
                       clothing covering both head and shoes should be worn if contamination is
                       greater than 30 square feet.

            nn. The HVAC system should be shut down prior to any remedial activities.

            oo. Containment of the affected area:

                  i.   Complete isolation of work area from the other areas of the HVAC system
                       using plastic sheeting sealed with duct tape.
                 ii.   The use of an exhaust fan with a HEPA filter to generate negative
                       pressurization.
                iii.   Airlocks and decontamination room if contamination is greater than 30
                       square feet.

            pp. Growth supporting materials that are contaminated, such as the paper on the
                insulation of interior lined ducts and filters, should be removed. Other
                contaminated materials that cannot be cleaned should be removed in sealed plastic
                bags. When a decontamination chamber is present, the outside of the bags should
                be cleaned with a damp cloth and a detergent solution or HEPA vacuumed prior
                to their transport to uncontaminated areas of the building. There are no special
                requirements for the disposal of moldy materials.

            qq. The contained area and decontamination room should be HEPA vacuumed and
                cleaned with a damp cloth and/or mop and a detergent solution prior to the
                removal of isolation barriers.

            rr. All areas should be left dry and visibly free from contamination and debris.

            ss. Air monitoring should be conducted prior to re-occupancy with the HVAC system
                in operation to determine if the area(s) served by the system are fit to reoccupy.

            tt. A variety of biocides are recommended by HVAC manufacturers for use with
                HVAC components, such as, cooling coils and condensation pans. HVAC
                manufacturers should be consulted for the products they recommend for use in
                their systems.




                                                                                                    8

                                                                                      Exh. A - Page 79
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 112 of 225 PageID #: 122
                                                         EXHIBIT 1
   APPENDIX B


   Chart 1. Office of the Chancellor – Organizational Chart

                                                       Office of the Chancellor
                                                  Kenneth R.R. Gros Louis- Chancellor



    Vice Chancellor
      for Student
      Affairs and       Vice Chancellor
        Dean of          for Academic
       Students            Support &           Vice Chancellor for
                                                Academic Affairs         Vice Chancellor for        Vice Chancellor
    Richard McKaig          Diversity
                        Edwardo Rhodes,           and Dean of            Auxiliary Services          for Budgetary
                             PH.D                   Faculties               Bruce Jacobs                 Affairs
                                                    Jean Sept                                        Neil Theobald




                       Academic           Continuing     Bookstore and
                        Support            Studies          Student      Associate Vice   Office of the      Office of
    Health Center
                        Centers                            Services      Chancellor for     Bursar            Space
                                       Dual Career
      Career
                                                            Group           Financial     Susan Cotes      Management
                                        Network                           Planning and
    Development         African         Program                                                            Tom Swafford-
                                                               IU           Budgetary
      Center           American
                                                                         Administration
                                                                                                             Director
                      Arts Institute                       Auditorium
                                       Instructional                      James Donges
    Student Legal                        Support              IMU
       Services         African          Services
                       American                             Transp.
      Student          Cultural          Summer             Services
      Activities        Center         Sessions and
                        Library           Special             RPS
                                        Programs

                                       12 colleges/
                                        academic
                                        units and
                                          other
                                        academic
                                          units




                                                         Building
                                                  Managers/Representatives




                                                                                                                9

                                                                                                  Exh. A - Page 80
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 113 of 225 PageID #: 123
                                                                   EXHIBIT 1
   APPENDIX B


   Chart 2. Office of the President – Organizational Chart

                                                                    IU President
                                                                 Adam Herbert, PH.D


            Office of the Vice President and Chief
                    Administrative Officer
       Terry Clapacs – Vice President and Chief Administrative


                                                                                         University Human Resource Services
                                                                                         Dan Rives – Associate Vice President



                                                                                 Facilities Operation and Bloomington Physical Plant
                 Chancellor’s Office                                                   Hank Hewetson – Director of Physical Plant



                                                                                             University Architect’s Office
                                                                                      Robert Meadows – Assistant Vice President &
                                                                                                 University Architect


                                                                                                   Risk Management
                                                                                                Larry Stephens - Director



                                                                                      University Environmental Health and Safety
                                                                                                      Department
                                                                                                Ted Alexander - Director


                                                                                      University Environmental Health and Safety
                                                                                                      Department
                                                                                        Dan Derheimer – Environmental Manager


                                                                                          University Purchasing Department
                                                                                               Guy DeStefano - Director



                                                                                  University Real Estate and Economic Development
                                                                                        Lynne Coyne – Assistant Vice President



                                                                                  Bureau of Facilities Programming and Utilization
                                                                                              Patrick Murray - Director



                                                                                                      Facilities
                                                                                               Michael Crowe - Director



                                                                                               Engineering Department
                                                                                      Jeff Kaden – Director of Engineering Services

                                                                                                                              10

                                                                                                                 Exh. A - Page 81
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 114 of 225 PageID #: 124
                                             EXHIBIT 1
   APPENDIX B


   Chart 3. Physical Plant – Organizational Chart




   Available at: http://www.indiana.edu/~phyplant/html/body_organization_chart.html


                                                                                                  11

                                                                                      Exh. A - Page 82
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 115 of 225 PageID #: 125
                                                                                   EXHIBIT 1
   APPENDIX B


   Chart 4.                 Office of Environmental Health and Safety Management
                            Organization Chart

                                                                   l'U   Pmlﬂent

                                                                   Myles Brand
                                                                               |



                                                           Vice          Pluﬂcm ﬁor

                                                             Wilma
                                                            J.     Terry (Japan

                                                                               |



                          Mniniﬂnﬁle                        llniveuity Dir.           0f                             Radiation Safety


                            Small                         Mn.             I-ﬂlh.    & Saﬁly                                Oﬁm
                     S.   Cbndm‘g ss or                     '1‘.
                                                                   Alanin- nus                                        G.   Cmuxh mus

                         G Barns 8m                         Amcim mum
                                                                               |                                                  [



                                                                                                                                      Wu
                                                                                                                                      5mg
                         “““““““““““““““                      C.       Pylyyu mus
                     f
      31mm
      m&          sail,
                                                                               I
                                                                                                                                 S.   HUM Pall
                                            I                      r




              mPUI
                                     Emrimn. mill.    Oumﬁoml                              Elvimnm'hl          La'hminry


              w _ E,"           &    MU Wt            Sam; &           I-nﬁ.                Management              SM
        m_Knlmm                  S.   Ganinnnul      B.   Baum mu                      nnerlninmnu            C.   Knhbnnul

      m _N"ﬂlml                 T.   hauling mu      R.   Baden Pm                         bl.   Jonson M12

                                                     P.Meira1fmn                           EHowardml
      m_swﬂlnﬂ
       l'lJ   - Snuﬂlcst
                                                                                           s’    Ry”!   SM




                                                                                                                                                       12

                                                                                                                                           Exh. A - Page 83
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 116 of 225 PageID #: 126
                                                EXHIBIT 1
   APPENDIX C


   Building Manager Questionnaire
   1. How long have you been the building manager?
   2. Are you the building manager for any other buildings?
   3. How many people take care of this building, how many people are on your maintenance staff
       for this building?
   4. Who comes to you with building complaints & concerns (faculty, staff, students,
       custodians)? To whom do you relay those complaints and concerns?
   5. When was this building built?
   6. Have there been any renovations since this building was built?
   7. What kind of problems do you have regarding water leaks?
       Condensation?
       Floods?
       Any other water damage?
       (sprinkler system being set off, emergency showers in labs, pipe bursts)
   8. How do you and your staff respond to the above mentioned issues?
   9. Are there large planters either inside or outside the building?
   10. Do any parts of the building have vinyl wallpaper?
   11. Do you know when the last time carpet was replaced in this building?
   12. Have there been any problems with the ventilation system?
   13. Do you know how often air filters are changed?
   14. What type of heating and cooling system does this building have?
   15. How is the roof constructed and does it have any problems with leaking?
   16. Have there been any significant mold problems in this building? (requiring more than just
       wiping it up with solvent)?
   17. If there has been mold problems in the past, do you or your staff periodically monitor the
       area that was affected to make sure the problem isn’t re-emerging?
   18. Have you or your staff ever clean mold up yourselves?
   19. How quickly does the physical plant respond to notices of leaks and or mold?
   20. Have you notice anything staff or students do that could possibly lead to mold growth (i.e.
       leaving a window cracked allowing moisture in the building for extended periods?
   21. Does faculty, staff, students, or custodians ever come to you complaining of health issues
       regarding indoor air quality (i.e. troubled breathing)? How do you address such complaints?
   22. Have you done anything special for certain individuals, such as set up an air purifier that has
       not been done for the whole building?
   23. When a work order is placed with the physical plant regarding a building maintenance issue,
       do you or your staff have a system set up to keep track of all your work orders?
   24. Do you follow-up on the work orders to make sure they were completed?
   25. Do you receive any training from IU in regards to mold identification?
   26. Do you think mold identification training would be helpful to you and your staff?
   27. If you could fix any part of this building, regarding water leaks and moisture) what would be
       your number one priority?




                                                                                                     13

                                                                                         Exh. A - Page 84
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 117 of 225 PageID #: 127
                                            EXHIBIT 1
   APPENDIX C



    Building Manager Questionnaire Contact List

   IU Bloomington Academic and Non-Academic Buildings

      1. Alumni Center                                  15. Morrison Hall*
      2. Ballantine Hall                                16. Myers Hall
      3. Bryan Hall*                                    17. Neal-Marshall
      4. Business-Undergraduate*                        18. Poplars Building
      5. Ernie Pyle Hall                                19. Psychology
      6. Franklin Hall*                                 20. Rawles Hall*
      7. HPER                                           21. School of Optometry
      8. Indiana Memorial Union                         22. Simon Center
      9. Informatics Building                           23. SPEA*
      10. Jordan Hall                                   24. SRSC
      11. Kirkwood Hall*                                25. Student Building
      12. Law                                           26. Swain Hall Library
      13. Lindley Hall*                                 27. Sycamore Hall
      14. Main Library*                                 28. Woodburn Hall*

   IU Bloomington Residence Halls

      1.   Ashton                                       10. McNutt
      2.   Briscoe                                      11. Read
      3.   Campus View                                  12. Redbud
      4.   Collins                                      13. Teter*
      5.   Eigenmman                                    14. Tulip Tree
      6.   Everman                                      15. University East & West
      7.   Forest                                       16. Wilkie
      8.   Foster                                       17. Wright
      9.   Hillcrest

   RPS Facilities Management*



   * Responded to Building Manager Questionnaire




                                                                                                 14

                                                                                     Exh. A - Page 85
                              Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 118 of 225 PageID #: 128
                                                                                                  EXHIBIT 1
APPENDIX C

Building Manager Questionnaire Responses
Building Manager Questionnaire                             Lindley Hall                                       Kelley Business School
1. How long have you been the bldg mgr?                                                                       10 years
2. Are you the building manager for any other
buildings?                                                                                                    Kelley school of business buildings only

3. How many people take care of this building, how
many people are on your maintenance staff for this                                                            I have 2 hourly students that help me directly. The custodial staff and physical plant are
building?                                                                                                     not under my direct control. Hank Hewetson could answer these questions.

4. Who comes to you with building complaints &
concerns (faculty, staff, custodians, students)? To                                                           All of the above. Maintenance-physical plant. Custodial-bldg services. Outdoor facilities-
whom do you relay those complaints & concerns?                                                                grounds crew. Parking-parking operations.
5. When was the building built?                            1902                                               undergrad: 1966, graduate: 2002

                                                                                                              Largest renovation was in 1982 for the 1966 bldg. Individual classroom renovations,
                                                                                                              especially for technology began in 1988 & continued through about 2000. BU 200, 202,
6. Have there been any renovations since this building                                                        425, 219, & 223 have had air handling improvements as well as new carpeting, tables and
was built?                                                 yes, major renovation in 1991                      chairs.

                                                           since 1993: broken water main & flood of
                                                           basement, ice dam in gutters causing water to
7. What kind of problems do you have regarding water       back up into building a couple of times,
leaks? Condensation? Floods? Any other water               clogged drain in chilled water units a couple of   Condensation-yes. No natural flooding. Roof leaks, plumbing leaks. Sprinkler system has
damage?                                                    times.                                             been set off & there have been pipe bursts.
8. How do you and your staff respond to the above                                                             Call physical plant, call bldg services, do what we can do to contain the damage until one
mentioned issues?                                                                                             of them arrives.

9. Are there large planters either inside or outside the
building?                                                  Not that I know of.

                                                           Yes, there is quite a bit of wallpaper and I
10. Do any parts of the building have vinyl wallpaper?     suspect it is all vinyl.                           yes

11. Do you know when the last time carpet was                                                                 In the undergrad bldg 1982 with the exception of the above mentioned rooms that
replaced in this building?                                 1991                                               received classroom renovations.

12. Have there been any problems with the ventilation
system?                                                    Yes, there have been mold problems.                yes

13. Do you know how often the air filters are changed?     no, don't know                                     contact physical plant
14. What type of heating and cooling system does this
building have?                                             don't know                                         contact physical plant




                                                                                                                                                                                                     15

                                                                                                                                                                                  Exh. A - Page 86
                              Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 119 of 225 PageID #: 129
                                                                                                    EXHIBIT 1
APPENDIX C

                                                             Lindley Hall                                       Kelley Business School
15. How is the roof constructed and does it have any         Slate roof and I'm not aware of any leaks
problems with leaking?                                       since the renovation in 1991.                      Rubber sheet with rock ballast, yes.
16. Have there been any significant mold problems in         Yes. I don't know all the details but there has
this building? (requiring more than just wiping it up with   been significant work recently to remove
solvent)                                                     mold.                                              P101K East wall
17. If there has been mold problems in the past, do you
or your staff periodically monitor the area that was
affected to make sure the problem isn't re-emerging?         don't know                                         the source of moisture was removed so, no, we don't check it
                                                              There are times when little pieces of mold will
18. Have you or your staff ever cleaned up mold              come out of the ventilation system and we
yourselves?                                                  have cleaned that off of tables and computers.     no

19. How quickly does the physical plant respond to           Don’t know about the mold, but they seem           Depends on how severe the leak. Generally in a timely fashion unless a severe leak,
notices of leaks and mold?                                   quick to respond to leaks.\                        which requires immediate response, which we generally get when needed.
20. Have you noticed anything staff or students do that
could possibly lead to mold growth (i.e. leaving window
cracked allowing moisture in the building for extended       I have seen people leaving windows open. I
periods)?                                                    don't know how widespread the practice is.         no
21. Do faculty, staff, students or custodians ever come
to you complaining of health issues regarding indoor air     I know at least one person has. Don't know         Yes, with a doctor’s statement concerning allergies, the school provides room HEPA filters
quality (i.e. trouble breathing)? How do you address         all the details but they were working from         that we maintain. Also, risk mgmt has a dept. that can measure air quality; they can work
such complaints?                                             home for a while.                                  w/ the physical plant to work on problems.
22. Have you done anything special for certain
individuals, such as set up an air purifier that has not     As noted above, one person worked from
been done for the whole building?                            home for a while.                                  see above
23. When a work order is placed with the physical plant
regarding a building maintenance issue, do you or your
staff have system set up to keep track of all of your
work orders?                                                                                                    yes

24. Do you follow-up on the work orders to make sure
they were completed?                                                                                            yes
25. Do you receive any training from IU in regards to
mold identification?                                                                                            no
                                                                                                                Perhaps where mold would be obvious, however the physical plant personnel are in
26. Do you think mold identification training would be                                                          places that we generally don't go that are more likely to have these problems, i.e.
helpful to you and your staff?                                                                                  mechanical rooms, bathroom chase areas & other areas hidden from view.
                                                                                                                Where ever there is water, leaks do & will occur without warning. They seldom happen
                                                                                                                when you are expecting them or seldom do you see the problem coming. However, in the
                                                                                                                1966 bldg, I am concerned about the 39 year old pipes that are no doubt corroding form
                                                                                                                the inside out. We were hoping to have a major renovation in the near future. With the
                                                                                                                current state budget problems, we are probably not going to see that in the near future.
27. If you could fix any part of this building, regarding                                                       the physical plant will continue to be called upon to do more with less, to maintain an
water leaks and moisture, what would be your #1                                                                 aging bldg. even the 1966 bldg. is newer than a vast majority of the buildings on campus,
priority?                                                                                                       so the job is a big one.




                                                                                                                                                                                                       16

                                                                                                                                                                                    Exh. A - Page 87
                              Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 120 of 225 PageID #: 130
                                                                                                   EXHIBIT 1
APPENDIX C

Building Manager
Questionnaire                                  SPEA                                                                  Morrison Hall
1. How long have you been the building
manager?                                       3 years as bldg manager, but have worked here 17years                 nearly one year
2. Are you the building manager for any
other buildings?                               no                                                                    no
3. How many people take care of this           IU Bldg Services has assigned 1 day person and 3 custodians at
building, how many people are on your          night to service our bldg. Many other IU employees work on bldg       I have no idea, it is not my maintenance staff; I deal only with the supervisor when I
maintenance staff for this building?           issues from time to time.                                             submit my requests

                                                                                                                     Typically I just handle requests from my own dept. the Kinsey institute is upstairs
                                                                                                                     and they tend to handle their own concerns and operate fairly independently. I have
4. Who comes to you with building              I field complaints from all of the above. Depending upon the          twice received requests from faculty who teach in one or 2 of the classrooms. I
complaints & concerns (faculty, staff,         situation I may take care of the issue myself, report it to the       usually pass this information on to the physical plant through email and someone
custodians, students)? To whom do you          Physical plant for service, or seek guidance from the Dean's          there passes the request on to the appropriate dept. If I know the particular dept
relay those complaints & concerns?             office                                                                and supervisor, I would go directly to him/her.
5. When was the building built?                1982                                                                  1906, but I'm not 100% sure
6. Have there been any renovations since
this building was built?                       yes, a few areas have                                                 yes, at several points; it was originally a dorm
                                                                                                                     Most of our problems are with leaks. It is an old bldg & has trouble w/ pipes, leaky
                                                                                                                     terraces & even the walls seep moisture. There has been at least 1 major flood in
                                               Yes, in the open plenums around limestone edge. Planter leaks,        the last 5 years that was very dangerous to our collection. At this point, 1 of the 2
                                               water or steam lines bursting, leaking interior gutters or windows    public restrooms in the bldg has been permanently closed b/c of the plumbing. Also,
7. What kind of problems do you have           and overflowing catch pans in penthouse machine room.                 there is a terrace that perpetually leaks. I’ve been told by some that it has leaked
regarding water leaks? Condensation?           Concrete/Limestone damage from freezing and thawing of                for over 20 years. The outside walls also seep, bubbling & crumbling the plaster
Floods? Any other water damage?                moisture. Folks in labs defrosting freezers.                          molding in our museum space.
                                               Look at the situation first hand and report the problems to the       I'm sure it depends on the severity. We keep our own emergency supplies to handle
8. How do you and your staff respond to        physical plant for them to fix. After reporting the problem, I        water leaks before someone from physical plant can get here. If it is a water leak, I
the above mentioned issues?                    concentrate on how I can help those affected by the problem.          always call the physical plant's emergency line, which operates 24 hours/day.

9. Are there large planters either inside or   yes, we also have folks that grow their own plants inside the         There are not any planters on the ground floor. The Kinsey institute has some
outside the building?                          bldg.                                                                 planters on a terrace on the 3rd floor.
10. Do any parts of the building have vinyl                                                                          Yes, there is some very dreadful wallpaper in the women's restroom. It is mostly
wallpaper?                                     yes                                                                   peeling off the wall

                                                                                                                     I did speak w/ someone about our carpet a few months ago. He said he'd been the
11. Do you know when the last time carpet                                                                            one to originally lay the carpet and it'd been 20 or so years. Again, I don't know
was replaced in this building?                 Some areas have been replaced: 80% is original.                       anything about the carpet in the Kinsey institute.
12. Have there been any problems with
the ventilation system?                        yes                                                                   not since I've been here
                                                                                                                     I don't, and this has been one of my failed missions. I've continually asked to have
                                                                                                                     them changed and to be updated on it, but I usually don't hear anything back and
13. Do you know how often the air filters      I think they are on a 6 month cycle. Physical plant is in charge of   never know if they were changed or not. I've been told that the physical plant does
are changed?                                   schedule and performing maintenance.                                  not routinely change the filters, but only does so when it is requested.




                                                                                                                                                                                                        17

                                                                                                                                                                                     Exh. A - Page 88
                             Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 121 of 225 PageID #: 131
                                                                                                   EXHIBIT 1
APPENDIX C

                                              SPEA                                                                   Morrison Hall
14. What type of heating and cooling
system does this building have?               Steam heat/chilled water from IU utilities.                            we have radiator sand ceiling units
15. How is the roof constructed and does it                                                                          I don't know. The Kinsey institute takes up the top portion of the bldg and I don’t
have any problems with leaking?               Roof is the original membrane type and it leaks from time to time.     have any information about roof leaks
                                                                                                                     we do have a history of mold problems, mostly associated with the leaky overhead
                                                                                                                     forced water cooling systems, and also in the ceiling tiles when there have been
                                                                                                                     slow leaks in the ;plumbing and cooling systems that have slowly saturated the
                                                                                                                     porous tiles. About 3 years ago we had a staff member experiencing symptoms
                                                                                                                     from this and had some of the mold tested by a local biologist. We aren't supposed
                                                                                                                     to touch the mold ourselves, but have before, before we knew we shouldn't, and
                                                                                                                     other times when it seemed urgent to take immediate action. In addition to this, we
16. Have there been any significant mold                                                                             have several archival storage spaces in the bldg, both in the archives and upstairs
problems in this building? (requiring more                                                                           in Kinsey. Mold is a major concern with us so we have our own procedures for
than just wiping it up with solvent)          some would say yes                                                     handling mold in our collections. This is separate from the normal bldg services.
17. If there has been mold problems in the
past, do you or your staff periodically
monitor the area that was affected to make                                                                           I believe we are always on the look out for mold. The frequent leaks & danger of
sure the problem isn't re-emerging?           not often as some areas are not easily accessible                      having mold in an archive makes it important to monitor
                                                                                                                     Yes, I'm sure we have. Occasionally we have mold problems on materials in the
18. Have you or your staff ever cleaned up                                                                           archives and that is handled according to archival standards. If it was on the bldg
mold yourselves?                              I'm sure we have at times                                              generally, I would call physical plant to handle it.
                                              It depends on many factors. As for bldg leaks they respond
                                              pretty well to anything but leaks from the planters. Mold issues
19. How quickly does the physical plant       are more difficult as EH&S has to identify a problem first, prior to
respond to notices of leaks and mold?         them implementing a solution                                           They are very good about coming out if you indicate that it is a serious problem.
20. Have you noticed anything staff or
students do that could possibly lead to
mold growth (i.e. leaving a window
cracked allowing moisture in the building     Folks do quite often leave windows open and leave food items in        occasionally there is a window open in one of the classrooms, but that hardly
for extended periods)?                        lockers for extended periods.                                          compares to frequent leaks in the bldg
21. Do faculty/staff/students/custodians
ever complain to you of health issues
regarding indoor air quality? How do you      Yes, I forward them to EH&S and make our own personnel office          We’ve had some complain of breathing problems, but that was prior to my coming
address such complaints?                      aware of the situation.                                                here.
22. Have you done anything special for
certain individuals, such as set up an air
purifier that has not been done for the
whole building?                               I have                                                                 no
23. When a work order is placed with the
physical plant regarding a building
maintenance issue, do you or your staff
have system set up to keep track of all of
your work orders?                             there is the MMS system in place that I can track orders               absolutely
24. Do you follow-up on the work orders to                                                                           Yes, sometimes the physical plant will inform you of the status, but other times you
make sure they were completed?                Most of the time they are completed but need some follow up.           have to be persistent and call for answers and updates.
25. Do you receive any training from IU in
regards to mold identification?               no, but I defer to scientists in the bldg when help is needed          no




                                                                                                                                                                                                         18

                                                                                                                                                                                     Exh. A - Page 89
                                Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 122 of 225 PageID #: 132
                                                                              EXHIBIT 1
APPENDIX C

                                                  SPEA                                    Morrison Hall
26. Do you think mold identification
training would be helpful to you and your
staff?                                            no                                      I'm not sure
                                                                                          For me, it would definitely be the leaking terrace that drips into our downstairs work
                                                                                          area. It seems unbelievable that this leak has persisted for 20 years without a
                                                                                          known cure & that our staff sometimes has to work in an environment w/ plastic on
27. If you could fix any part of this building,                                           the floor and 1/2 a dozen garbage cans catching drips. There must be a way of
regarding water leaks and moisture, what                                                  sealing off the problem. Having water in a sound archives is very dangerous to the
would be your #1 priority?                        a new bldg, planter leaks               collections.




                                                                                                                                                                             19

                                                                                                                                                          Exh. A - Page 90
                             Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 123 of 225 PageID #: 133
                                                                                                  EXHIBIT 1
APPENDIX C

Building Manager Questionnaire                         Franklin Hall                                                              Kirkwood Hall
                                                       I’ve been the Associate Bursar for 13 years, located in the Bursar
1. How long have you been the building manager?        Office (basement of Franklin Hall)                                         just this past year
2. Are you the building manager for any other
buildings?                                                                                                                        no

3. How many people take care of this building, how
many people are on your maintenance staff for this
building?                                                                                                                         Building maintenance is handled by bldg services, physical plant.
4. Who comes to you with building complaints &
concerns (faculty, staff, custodians, students)? To                                                                               complaints/concerns from Kirkwood college staff comes to Lynn
whom do you relay those complaints & concerns?         Relay complaints to physical plant, Dale Lisby, EH&S                       Keller and she contacts physical plant

5. When was the building built?                                                                                                   1894
                                                                                                                                  I don't know the history of renovations on the bldg. Sewer pipes
                                                                                                                                  had to be replaced perhaps 10 years ago when sewage was
                                                                                                                                  backing up in the restrooms. I remember some kind of chemical
                                                                                                                                  treatment that was used was making staff sick in the basement. It
                                                       Renovation over the last year; perpetual construction, 8 years ago         was a real inconvenience since we couldn't use the restrooms
                                                       construction on the south side of building to shore up moisture in         while they were replacing the pipes. The fire escape was rusting
6. Have there been any renovations since this          planters. Still having moisture problems; although it has been better      for years & was finally treated about a year ago. Several offices
building was built?                                    since the renovation.                                                      have been remodeled over the years.
                                                                                                                                  I know of 1 instance in either the late 80's or early 90's when a
7. What kind of problems do you have regarding                                                                                    pipe burst on the 3rd floor during Christmas break & water flooded
water leaks? Condensation? Floods? Any other                                                                                      down into the 2nd & 1st floor, including the dean's office,
water damage?                                          East side of building: windows collect water                               damaging walls, ceilings, carpet and wallpaper.
                                                       Contact Physical Plant for moisture problems; go directly to Dale Lisby
                                                       for problems to speed up the process. They don’t bother with zone
                                                       managers; it is the physical plant’s responsibility. Takes a lot of brow
                                                       beating to get something done. The biggest problem in handling
                                                       these problems is people continually handing the problem off and the
8. How do you and your staff respond to the above      lack of budget money for remediation. Who do we go to with this
mentioned issues?                                      problem and how is it paid for?                                            we would immediately call bldg services
9. Are there large planters either inside or outside
the building?                                          yes                                                                        a couple on the west entrance, I think
10. Do any parts of the building have vinyl
wallpaper?                                                                                                                        yes, KH104 definitely has it
11. Do you know when the last time carpet was          There was mold in the carpet, replaced in the past few years in the        Don’t know about the whole bldg. Some offices have been re-
replaced in this building?                             bursar’s office                                                            carpeted
                                                                                                                                   For years the 2 mens' bathrooms had no ventilation. It's only been
12. Have there been any problems with the              Yes, in the past they call when problems with the air system are           in the last year or so that an air conditioner was installed in 1 and I
ventilation system?                                    suspected                                                                  believe a ceiling fan in the other.
13. Do you know how often the air filters are
changed?                                               Not sure of filter changing schedule.                                      no




                                                                                                                                                                                                            20

                                                                                                                                                                                     Exh. A - Page 91
                              Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 124 of 225 PageID #: 134
                                                                                                 EXHIBIT 1
APPENDIX C

                                                        Franklin Hall                                                          Kirkwood Hall
                                                                                                                               Very old system: no central air & steam heat, which sometimes
                                                                                                                               causes clanky, noisy radiators. We have window air conditioners
14. What type of heating and cooling system does                                                                               only in offices & some bathrooms. Hallways are quite hot & stuffy
this building have?                                                                                                            in the summer.
15. How is the roof constructed and does it have
any problems with leaking?                                                                                                     don't know
16. Have there been any significant mold problems
in this building? (requiring more than just wiping it   Yes, in the bursar’s office; In room 230A, there was mold in the air   yes, several rooms have needed extensive cleaning/painting/re-
up with solvent)                                        diffuser→ windows didn’t close all the way                             flooring to eliminate the mold problem- 202 &207 to mention 2

17. If there has been mold problems in the past, do
you or your staff periodically monitor the area that
was affected to make sure the problem isn't re-         No, we just keep calling and complaining, there are no scheduled
emerging?                                               inspections now that mold history has been established.                no, we rely on staff members to report any problems
18. Have you or your staff ever cleaned up mold
yourselves?                                                                                                                    not me
19. How quickly does the physical plant respond to
notices of leaks and mold?                                                                                                     quickly with an assessment, not so quick with the fix

20. Have you noticed anything staff or students do
that could possibly lead to mold growth (i.e. leaving
a window cracked allowing moisture in the building      Windows are sealed in the basement and cannot be opened, vents         Water has been left on in a sink in a custodial closet within 207.
for extended periods)?                                  are ceiling vents; Don’t know if there have been problems upstairs     Windows leaking in 001 causing flooding down the walls & floors.

21. Do faculty, staff, students or custodians ever
come to you complaining of health issues regarding
indoor air quality (i.e. trouble breathing)? How do                                                                            Yes, several staff have reported chronic respiratory problems
you address such complaints?                            Yes.                                                                   attributed to mold.
22. Have you done anything special for certain
individuals, such as set up an air purifier that has    One person with severe respiratory problems was moved to a different   not beyond completely re-doing the paint and carpeting in rooms,
not been done for the whole building?                   part of the building, not much of a solution.                          no.
23. When a work order is placed with the physical
plant regarding a building maintenance issue, do
you or your staff have system set up to keep track                                                                             I print off a copy of the work order and keep it in a pending file until
of all of your work orders?                                                                                                    it's completed.
24. Do you follow-up on the work orders to make
sure they were completed?                               yes                                                                    yes
25. Do you receive any training from IU in regards
to mold identification?                                                                                                        none
26. Do you think mold identification training would                                                                            No, don't we have physical plant people who already know this
be helpful to you and your staff?                                                                                              stuff?
27. If you could fix any part of this building,                                                                                Re-seal windows, or open them up but make them tight when they
regarding water leaks and moisture, what would be                                                                              are closed. Also, some of the air vents have let in rodents- those
your #1 priority?                                       Would like to see more preventative measures regarding moisture.       could/should be secured.




                                                                                                                                                                                                          21

                                                                                                                                                                                   Exh. A - Page 92
                             Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 125 of 225 PageID #: 135
                                                                                                EXHIBIT 1
APPENDIX C

Building Manager Questionnaire                  Woodburn Hall                       Bryan Hall                     Main Library                      Rawles Hall
1. How long have you been the building                                                                                                               Only informally      "building    manager",   no     date
manager?                                        5 years                             20+ years                      21 months                         assigned duty.
2. Are you the building manager for any other
buildings?                                      no                                  no                             no                                no
                                                                                    Physical plant provides
                                                                                    maintenance to this bldg.
                                                                                    We have 1 day janitor
                                                                                    who also takes care of 2       No maintenance staff reports
3. How many people take care of this                                                other buildings at night.      to me. All maintenance work
building, how many people are on your           Unknown; maintenance staff          Offices are cleaned once       is conducted by the physical
maintenance staff for this building?            works through the physical plant.   a week.                        plant.                            physical plant does maintenance

4. Who comes to you with building               Anyone who is in the bldg. And      Most are faculty & staff
complaints & concerns (faculty, staff,          sees    problems;      they   are   who works in the bldg.
custodians, students)? To whom do you relay     forwarded to physical plant         Issues are reported to                                           If there are concerns, then Dr. Hoff would contact
those complaints & concerns?                    operations or bldg. Services.       physical plant.                physical plant                    Physical plant.

5. When was the building built?                 don't know                          1936                           1969
                                                                                    yes, but mostly a room by
6. Have there been any renovations since                                            room as needs change,
this building was built?                        yes, but not sure when              nothing major for the bldg.    only minor renovations            crescent renovations in early 1990's
                                                                                                                                                     Major problem with the flat portions of the roof
                                                                                                                                                     above the buildings stairwells. When it rains, water
                                                                                                                                                     leaks behind the walls & has caused the plaster to
                                                                                                                                                     weaken & crumble numerous times. Physical plant
                                                                                                                   Some condensation around          has responded to this problem by fixing the plaster
                                                                                                                   uninsulated vents during high     & repainting the damaged areas. As far as I know,
                                                                                                                   humidity    levels   in   the     there has been no inspection of the damage w/n
                                                                                                                   summer. No flooding from          the walls caused by these water leaks. Dr. Hoff also
7. What kind of problems do you have                                                                               natural    elements.    Minor     noted that because the roof is slate tile, it is
regarding water leaks? Condensation?                                                                               damage during a pipe break        extremely expensive to fix, so the plaster fix is an
Floods? Any other water damage?                 we've had some roof leaks           a few roof leaks               in the sub basement               extremely cheap alternative.

8. How do you and your staff respond to the                                         all issues are reported to
above mentioned issues?                         report them to physical plant       the physical plant             we contact physical plant         Physical plant is called in to fix it.
9. Are there large planters either inside or
outside the building?                           not as I recall                     no                             outside
                                                                                    Yes, nothing new for
10. Do any parts of the building have vinyl     not sure what the wall coverings    several years. Most have
wallpaper?                                      are made of                         been painted over              yes

                                                                                    Last year carpet in room
                                                                                    103 was replaced. Carpet
11. Do you know when the last time carpet                                           is replaced as needed;         some areas are brand new,
was replaced in this building?                  some in 1999 perhaps                nothing for the entire bldg.   others are original to the bldg




                                                                                                                                                                                                           22

                                                                                                                                                                                       Exh. A - Page 93
                              Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 126 of 225 PageID #: 136
                                                                                                    EXHIBIT 1
APPENDIX C

                                                  Woodburn Hall                         Bryan Hall                     Main Library                     Rawles Hall
12. Have there been any problems with the                                               Nothing      major;      old
ventilation system?                               No that I'm aware of.                 bldg/old system.               no                               not that he is aware of

                                                                                        Not sure as physical plant
                                                                                        maintenance staff takes
13. Do you know how often the air filters are                                           care of this; a guess
changed?                                          no, that's physical plant again       would be twice/year.           quarterly

                                                                                        Heat is from IU power
                                                                                        plant, steam & cooling is
14. What type of heating and cooling system                                             from the central chilled
does this building have?                          Unknown.                              water plant.                   not water and chilled water
15. How is the roof constructed and does it       unknown, some leaks (though           no major problems with         Rubber      membrane      with   slate tile roof, mostly slanted, but flat above
have any problems with leaking?                   few of late)                          leaks                          ballast. No active leaks.        stairwells- leaks are a problem (see Q#7)
16. Have there been any significant mold                                                                               Some mold from past roof         Not aware of any significant problems, but suspects
problems in this building? (requiring more                                                                             problems, mostly isolated to     mold issues behind walls in stairwells because of
than just wiping it up with solvent)              not that I know of                    no                             5 west.                          excessive water damage.

17. If there has been mold problems in the
past, do you or your staff periodically monitor
the area that was affected to make sure the                                                                            only visual monitoring for
problem isn't re-emerging?                                                              no                             roof leaks
18. Have you or your staff ever cleaned up        not the POLS staff, but that
mold yourselves?                                  wouldn't be our responsibility        no                             no
                                                                                                                       Physical plant responds in a
                                                                                                                       reasonable time. In my
                                                                                                                       limited amount of time here,
19. How quickly does the physical plant                                                                                I've not used them to clean
respond to notices of leaks and mold?             don't know                            most time within hours         up mold.

20. Have you noticed anything staff or
students do that could possibly lead to mold
growth (i.e. leaving a window cracked
allowing moisture in the building for extended
periods)?                                         no                                    no                             no

21. Do faculty, staff, students or custodians     1 complaint when fumes from                                          Only minor issues, especially
ever come to you complaining of health            solvent were brought through                                         if a strange odor appears. I
issues regarding indoor air quality (i.e.         ventilation system; reported it and                                  usually go directly to the
trouble breathing)? How do you address            it was addressed by physical                                         areas     to  evaluate   the     No- and Dr. Hoff stated that if there were concerns,
such complaints?                                  plant and EH&S.                       very few                       complaint.                       people would come to him to address the concern.

                                                                                        Yes,         we      have
22. Have you done anything special for                                                  recommended       an   air
certain individuals, such as set up an air                                              purifier for a few people.
purifier that has not been done for the whole                                           Their dept. purchased
building?                                         no                                    them working w/ EH&S.          no                               no




                                                                                                                                                                                                        23

                                                                                                                                                                                     Exh. A - Page 94
                              Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 127 of 225 PageID #: 137
                                                                                                  EXHIBIT 1
APPENDIX C

                                                  Woodburn Hall                        Bryan Hall                   Main Library                     Rawles Hall
23. When a work order is placed with the
physical   plant   regarding   a    building                                           Yes,    as   a    building
maintenance issue, do you or your staff have                                           manager. Physical plant
system set up to keep track of all of your                                             will check w/ us, most of    I track work orders I submit
work orders?                                      No                                   the time.                    and monitor their progress
24. Do you follow-up on the work orders to        Only if complaints are received or                                yes, by inspecting the site to
make sure they were completed?                    problem is urgent.                   yes                          determine if the work is done
25. Do you receive any training from IU in
regards to mold identification?                   no                                   no                           no

                                                  given that we don't patrol/monitor
                                                  the bldg, probably not; any
                                                  problems are reported to physical
                                                  plant, who have the responsibility
26. Do you think mold identification training     & training to address such
would be helpful to you and your staff?           problems                             no                           yes

27. If you could fix any part of this building,   Our concerns in that regard have                                  At this time, we have no
regarding water leaks/moisture, what would        been addressed through roof          I would     install   new    leaks and moisture is not my
be your #1 priority?                              repair and tuck pointing.            windows.                     biggest problem.                 The stairwells- roof issues
                                                                                                                                                     Dr. Hoff thinks there definitely should be someone
                                                                                                                                                     that serves exclusively as the building manager for
                                                                                                                                                     Rawles Hall.       He noted that the physical
                                                                                                                                                     maintenance and general implementation of IU
                                                                                                                                                     guidelines for items such as commercial
                                                                                                                                                     advertisement and solicitation as well as other
                                                                                                                                                     aspects largely goes uncontrolled because there is
N.B.                                                                                                                                                 no one assigned explicitly to perform these duties.




                                                                                                                                                                                                      24

                                                                                                                                                                                   Exh. A - Page 95
                              Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 128 of 225 PageID #: 138
                                                                                                    EXHIBIT 1
APPENDIX C

Building                 Manager
Questionnaire                           RPS Facilities Management
1. How many people take care of
each residence hall, how many
people are on your maintenance
staff for each building? (Please give       Each residence hall has one maintenance person who is responsible for all local maintenance within the center. This would be
us a sense of average sizes by          maintenance that can be performed by one person locally. “larger” maintenance items are performed by outside skilled craft staff.
building     types:    dorms     and    Environmental Operations staff (Custodians) has an average of 10-15 staff per center. These staff is responsible for cleaning of all
apartments)                             center areas. The average size of our residence halls: accommodates 1000 residents, approximately 600 rooms.

2. What kind of mold-related
maintenance problems have you                Mold related problems that we have had have been related to air ventilation system or the lack of air ventilation. Most recently,
had? What is the most common            a center experienced some minor mold problems in rooms when cool room air mixed with more humid hallway air. The result was
problem/cause in residence halls?       mold around window frames. The solution was to insure hallway ventilation was operating at all times.
                                        The standard response when mold is discovered is for Environmental Operations to clean the mold surfaces with heap filtered
                                        vacuums and cleaning chemicals to destroy the mold spores. At the same time as cleaning occurs, maintenance staff and staff from
                                        Environmental Health and Safety inspect the area to determine the cause of the mold and to determine solutions. During these
3. How do you and your staff            procedures, residents are informed of the problem and are moved to other accommodations if necessary. Later on, maintenance
respond to the above-mentioned          staff follows up to insure the solution to the problem has been successful.
issues?
4. Are there large planters either      None inside. We have periodically had some planters installed seasonally outside our halls. One example would be around Wright
inside or outside residence halls?      Quad during orientation housing. Any planters inside our buildings hold artificial plants

5. Do any parts of buildings have       Yes, we have some vinyl wallpaper in                    some     of   our    dining   areas    and    some     large   public   spaces.
vinyl wallpaper?                        There is no vinyl wallpaper in residential rooms.

6. Do you know any (potential)          We have not had any mold problems occur with “old” carpeting. The hall way carpeting in our centers is on a seven year rotation.
mold problems caused by old             So, at least every seven years, hallway carpeting is totally replaced as a general rule. When we have carpeting in student rooms
carpets? Do you know how often          get wet from broken plumbing, the sectional piece is replaced or if is wall to wall carpet, the carpet is dried, cleaned and all water is
carpets are replaced in residence       extracted.
halls?
                                        Our ventilation systems have been virtually problem free. In the past few years we have added on some mechanical parts to some
7. Have there been any problems         hall ventilation systems that warm the air so the air is dried out before it mixes with room air conditioned air. The drier the air, the
with the ventilation system?            less chance for mold spores to form and grow.
8. Do you know how often air filters    Air filters for public areas are changed 2 – 3 times per year. Air filters for room air conditioning units in our centers where air
are changed?                            conditioning is available are changed 2 – 3 times per year.

9. What type of heating and cooling
system do residence halls have?         The heating systems in our centers are primarily steam heat. The cooling systems are chilled water systems.
10. How is the roof constructed and     The majority of the center roofs are a rubber membranes type with Styrofoam insulation. We have had occasional leaks as a result
does it have any problems with          of roof damage and the leaks are promptly repaired. This was one of the prime reasons why we have closed our sundeck areas in
leaking?                                centers. Traffic on the sundecks caused damage to our roof areas which in some cases caused leaks.




                                                                                                                                                                                                       25

                                                                                                                                                                                    Exh. A - Page 96
                              Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 129 of 225 PageID #: 139
                                                                                                   EXHIBIT 1
APPENDIX C

                                        RPS Facilities Management
11. Do you or your staff periodically
monitor the area that was affected
by mold problems to make sure the
problem isn’t re-emerging?              Yes, as mentioned in #3 above, follow up is a priority to insure problems do not re-occur.
12. Have you or your staff ever         Yes, our Environmental Operations staff cleans up mold when it is encountered and is trained in proper cleaning procedures by
cleaned mold up by yourselves?          Environmental Health and Safety

13. How quickly does the physical
plant respond to notices of leaks       When we encounter leaks or mold, our expectation for Physical Plant staff is to address the area the day it is discovered. Our halls
and or mold?                            are the homes of residents and so keeping their environment clean and safe is our top priority.
14. Have you noticed anything staff
or students do that could possibly      In some cases when residents have windows open in a room with air conditioned air and it mixes with warm humid air, the potential
lead to mold growth (i.e. leaving       for mold growth is greater. This only occurs in the early fall if the humidity is high. So our center staff communicate to residents,
window cracked allowing moisture        when the ac is on, your windows are to be closed. We have had some students set up dryer racks in their rooms to dry towels or
in the building for extended            wet clothing. This can be a source of excessive moisture introduced to a room. Also, some students have placed humidifiers in
periods?)                               rooms, also introducing in some cases excessive moisture.
15. Have you done anything special
for certain individuals, such as set    No. Many residents purchase their own air purification systems locally. We have occasionally installed dehumidification units in
up an air purifier that has not been    hallways where mold problems have occurred. The solution in these cases have been that the building ventilation system was not
done for the whole building?            operating consistently, i.e. system was off due to a power failure, etc.
16. When a work order is placed
with the physical plant regarding a
building maintenance issue, do you
or your staff have a system set up      Yes. Our center Residential Operations staff track all work orders to be sure they have been completed. In addition, Residence
to keep track of all your work          Managers perform monthly audits to insure work requests are completed and charged properly.
orders?
17. Do you follow-up on the work
orders to make sure they were
completed?                              As stated above, being sure that all work requests are completed is essential.
18. What kind of mold prevention        In the design or renovation of centers, being sure the most current HVAC systems are installed by the builder. Part of these HVAC
options has been considered during      system would be dehumidification systems built into the system.
the past building renovations?
                                        the ceiling tile installed is mold resistant.
                                        b. Use of green boards – green boards have been used in new construction like Willkie as a method to cover walls and will not
                                        absorb moisture and retain moisture.
                                        c. No wall paper – we are getting away from wallpaper as we renovate.
                                        d. Mold resistant paint – all paint being used currently is mold resistant.
                                        e. Use of catch pans under water pipes – there are catch pans within room air conditioning units and these pans are cleaned on the
                                        same schedule as air filter replacement.
                                        f. Positive pressure of the building (if the building has negative pressure) – with all new construction like Willkie and soon Ashton,
 Is there a plan to consider the        tempered air is introduced into public spaces. This air is conditioned to be cool and dry so when it mixes with other air from rooms,
following mold-prevention options?      the possibility of mold occurring is reduced from excessive moisture.
Or were they already implemented?       g. Etc.?




                                                                                                                                                                                                    26

                                                                                                                                                                                 Exh. A - Page 97
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 130 of 225 PageID #: 140
                                                             EXHIBIT 1
APPENDIX D


Table 1. 2004-05 General Fund Budget by Responsibility Center
                                              Indirect
                             Student Fee        Cost         Other                              State
Campus and Center              Income        Recovery       Income          Subtotal        Appropriations    Assessment         Total

BLOOMINGTON
Arts & Sciences              $181,226,454    $8,000,000     $529,000      $189,755,454       $80,277,654     ($109,906,270)   $160,126,838
Health Sciences                $2,668,707            $0              $0     $2,668,707          $691,915       ($1,758,828)     $1,601,794
Journalism                     $3,918,133            $0      $71,800        $3,989,933         $2,476,116      ($2,268,430)     $4,197,619
School of Business            $55,350,953      $32,500       $88,000       $55,471,453       $16,081,288      ($24,248,119)    $47,304,622
School of Education           $24,209,964     $612,500       $22,400       $24,844,864       $11,013,119      ($13,340,992)    $22,516,991
School of HPER                $23,777,177     $190,000       $62,000       $24,029,177       $13,627,275      ($19,420,258)    $18,236,194
School of Law                 $12,197,014            $0       $4,000       $12,201,014         $9,584,188      ($6,502,880)    $15,282,322
Library and Info Science       $3,413,791      $38,000        $7,300        $3,459,091         $1,619,786      ($1,473,268)     $3,605,609
School of Music               $22,316,213            $0      $73,300       $22,389,513       $22,543,042      ($15,782,533)    $29,150,022
School of Optometry            $6,485,976     $333,125     $3,317,020      $10,136,121         $2,676,046      ($3,505,001)     $9,307,166
Other Academic Programs       $19,421,476            $0              $0    $19,421,476         $1,413,391      ($2,282,075)    $18,552,792
Public and Environ Affairs    $13,986,658     $750,000      $141,912       $14,878,570         $5,708,638      ($7,078,689)    $13,508,519
Informatics                    $1,839,141       $5,000       $15,100        $1,859,241         $8,688,950      ($1,568,610)     $8,979,581

 Subtotal, Academic          $370,811,657    $9,961,125    $4,331,832     $385,104,614      $176,401,408     ($209,135,953)   $352,370,069

Dean of Faculties               $744,188             $0      $15,000         $759,188                  $0      $15,394,813     $16,154,001
Research & Univ Grad Sch        $584,584     $2,000,000         $500        $2,585,084                 $0      $16,125,304     $18,710,388
Academic Computing             $7,084,604            $0     $237,000        $7,321,604                 $0       $9,317,908     $16,639,512
Library                               $0        $2,910      $407,585         $410,495          $2,157,328      $24,444,774     $27,012,597
Student Support                       $0             $0              $0                $0              $0       $2,475,913      $2,475,913
Vice Pres-General Admin               $0             $0       $3,000            $3,000                 $0       $2,888,378      $2,891,378
Vice Pres-Acad Affairs                $0             $0     $362,000         $362,000          $8,325,115       $8,357,949     $17,045,064
Enrollment Services            $1,391,706            $0    $1,223,544       $2,615,250                 $0      $28,904,754     $31,520,004
Diversity & Acad. Sppt.               $0       $36,000       $90,618         $126,618                  $0       $6,555,046      $6,681,664
Dean of Budget-Stdnt Sup       $1,490,100            $0    $1,801,500       $3,291,600                 $0       $8,375,230     $11,666,830
Dean of Budget-Gen
Admin                                 $0             $0    $1,831,460       $1,831,460                 $0       $6,724,251      $8,555,711
Physical Plant                        $0             $0     $437,050         $437,050                  $0      $50,665,498     $51,102,548
Intercampus Transfers                 $0             $0              $0                $0      $3,432,696      $28,906,135     $32,338,831

 Subtotal, Support            $11,295,182    $2,038,910    $6,409,257      $19,743,349       $13,915,139      $209,135,953    $242,794,441

Facilities Debt Service               $0             $0              $0                $0    $21,237,515                $0     $21,237,515

Total                        $382,106,839   $12,000,035   $10,741,089     $404,847,963      $211,554,062                $0    $616,402,025




                                                                                                                                27

                                                                                                                    Exh. A - Page 98
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 131 of 225 PageID #: 141
                                                         EXHIBIT 1
   APPENDIX E



                            Physical Plant Funding Responsibilities
                               Indiana University Bloomington
   Physical Plant’s mission is to operate and maintain a high-quality physical environment to enhance student
   learning, faculty teaching and research.
   We provide facilities maintenance, operation and improvements and other types of services.
   Physical Plant currently employs a staff of 660 who provide facilities maintenance, renovation and other services for
   over 14 million square feet of building space in 300 buildings located on 2000 acres of land.
   PHYSICAL PLANT FUNDING RESPONSIBILITY
   The Physical Plant General Fund is used for maintenance and general upkeep of existing non-auxiliary facilities.
   This includes cleaning and maintenance of academic buildings, campus grounds keeping and landscaping, facility
   operation, exterior campus lighting and all utility distribution systems except telephone and data. Physical Plant
   generates steam and chilled water and manages campus utility usage (electric, gas, water and sewer). Also provided
   are Engineering services, energy management and equipment monitoring.

   Basic building systems include:
       • Building Structures and Envelopes (permanent fixed walls, roofs, floors, ceilings, windows, doors, locks,
           paint, basic daily cleaning (public areas), weekly cleaning (private offices), bi-annual and annual cleaning,
           recycling and trash removal, pest control…)
       • HVAC (heat, ventilation and air conditionings systems…)
       • Plumbing (restrooms, drinking fountains, fire safety, utilities to laboratories…)
       • Electric and Natural Gas Distribution Systems (general building power systems, lights, elevators, building
           safety and security systems, fire alarms, central clocks, emergency generators…)
       • Classrooms and Teaching Labs (furniture, audio visual screens, chalkboards, whiteboards…)
       • Building-wide Distribution Systems In Support Of Research Labs (compressed air, distilled water, gas and
           nitrogen piping up to, and including, shut off valves supporting departmental equipment; exhaust fans and
           ductwork down to, but not including departmental exhaust hoods…)
       • Basic Signage (standard exterior building identification signs, standard room location signs.)

   DEPARTMENT FUNDING RESPONSIBILITY
   All other services are funded through charge-back to departmental accounts, based on hourly labor rates, for non-
   academic facility maintenance and other services.

   Examples of services billed to departmental account numbers:
      • Departmental Equipment (installation, modification, replacement or maintenance of furnishings and
          equipment which purpose is to serve a specific office, research or program activity or to meet special
          environments or unique departmental requirements. Examples are: office furnishings and partitions,
          computers and peripherals, electronic classroom technology, and research lab equipment such as
          autoclaves, freezers, cage washers, dish washers, ice machines, dust collection systems, lab chillers, lab air
          compressors, exhaust hoods, lab benches and fixtures, built-in or free-standing walk-in environmental
          chambers, nitrogen generators, specialized electronic equipment…)
      • Renovation (architectural, mechanical and electrical systems, associated abatement, new environmental
          systems, key and lock changes, special signs, special equipment and technology…)
      • Moving and Setups (moving departmental furnishings and equipment, event setup…)
      • Special Services (excess refuse removal, special custodial services, special event support services, after-
          hours call-outs for non-maintenance requests…)
      • Other Services in support of program revenue funded operations (Auxiliaries)

   These are general guidelines. There may be some variation for individual facilities. Please contact your Building
   Representative or the Physical Plant Service Center at 855-8728 or phypltbl@indiana.edu for questions or
   comments.



                                                                                                                       28

                                                                                                          Exh. A - Page 99
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 132 of 225 PageID #: 142
                                                           EXHIBIT 1
   APPENDIX E


   Updated October 2004
   Table 1. Physical Plant’s Mold Remediation & Building Integrity Costs
            Updated October 2004

    Actual Expenditures, 2000-2004

             Misc. Mold related service requests                        $80,400

         service requests identifying cleaning repair and
                   remediation related to mold problems


                 Large scale remediation projects                      $248,800

    Annual Expenditures, 2000-2004

      Average Annual Preventative Maintenance                          $150,000

            regular scheduled PM of air handling equipment.
              Includes airhandler cleaning/filter replacement




           Average Annual Exterior Wall Repair                         $100,000
             e.g., Tuck pointing. Does not include R&R
                                         funded repairs


    Building Envelope Deferred Maintenance
    (estimated backlog of repairs eligible for R&R funding)

                            Roof repair/replacement              $6,983,000
                                        Includes 6-8 roofs


                       Window repair/replacement                $14,009,000

                                  Exterior wall repair           $3,670,000




                                                                                               29

                                                                                  Exh. A - Page 100
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 133 of 225 PageID #: 143
                                             EXHIBIT 1
   APPENDIX E


    Table 2. Physical Plant Functional Expenses

                                       2004-05          2003-04        2002-03          1996-97
    Instruction                                    $298,643,679   $273,165,537
    Research                                        $81,713,388    $67,880,426
    Public Service                                  $57,895,699    $55,184,765
    Academic Support                                $59,131,657    $49,040,151
    Student Services                                $38,294,310    $32,623,332
    Institutional Support                           $94,584,055    $72,726,243
    Physical Plant                 $52,000,000      $54,422,460    $52,100,429     $39,900,000
    Scholarships & Fellowships                      $49,243,164    $42,496,610
    Auxiliary Enterprises                          $143,326,654   $146,306,847
    Depreciation                                    $53,551,775    $56,260,757
    Total Operating Expenses                       $930,806,842   $847,785,097

   Source: http://factbook.indiana.edu/fbook03/expend03.html




                                                                                              30

                                                                                 Exh. A - Page 101
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 134 of 225 PageID #: 144
                                                   EXHIBIT 1
   APPENDIX E


   Table 3. Facilities Condition Summary:
            Buildings Containing Academic/Administrative Space

                                                                                                        Percent
                                                 Under                                                 Terminate/
                                Satisfactory   Construction    Remodel      Terminate     Total         Remodel

    2001
                Bloomington     $1,664,703        $162,833     $2,819,851    $143,978   $4,791,365             62%

    Indiana University System   $3,700,892        $347,470     $5,099,358    $329,414   $9,477,134              57%
       Percent to Bloomington         45%             47%            55%         44%          51%              196%

    2003
                Bloomington     $1,914,255                     $2,863,809    $124,372   $4,902,436             61%
                        East     $122,648                         $48,719                 $171,367             28%
                    Kokomo       $199,256                         $93,294                 $292,550             32%
                  Northwest        $98,376         $63,955      $263,838      $37,688    $463,857              65%
                South Bend       $214,602                        $296,583     $21,116     $532,301             60%
                  Southeast        $11,750                       $231,177                 $342,927             67%
                      IUPUI     $1,284,138        $197,133     $1,398,802    $155,767   $3,035,840             51%

    Indiana University System   $3,945,025        $261,088     $5,099,358    $338,943   $9,741,278             56%
       Percent to Bloomington         49%              0%            56%         37%          50%

   Conditions of Space Reported by institutions utilizing the following criteria:
      a) Satisfactory- suitable for continued use with moral maintenance
      b) Remodel- planned for remodeling space within the next 10 years
      c) Terminate- scheduled for sale, demolition, or relinquishment within ten years

   Source: Physical Facilities of Indiana Public Higher Education: Their Location, Value, Condition
   and Utilization, Fall 2001, p.9; Physical Facilities of Indiana Public Higher Education: Their
   Location, Value, Condition and Utilization, Fall 2003, p.9




                                                                                                        31

                                                                                           Exh. A - Page 102
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 135 of 225 PageID #: 145
                                                  EXHIBIT 1
 APPENDIX F

                                 REQUEST FOR SERVICES
                                         Indiana University

          Office of the Vice President & Chief Administrative Officer
                            Forward completed form to the Department of Facilities
                    Service Building BL421, 700 N. Walnut Grove, Bloomington, IN 47405

 Campus______________           User Department/Office __________________________________________

 User Representative __________________________Telephone_______________ E-mail

 Project Location: Please specify address, building, and room numbers (attachment as required)

 Project Description: (include approximate gross square footage)

 _________________________________________________________________________________________

 Project Funding: Account Number and Title_____________________________________________________

 Statement of need and required timing: _______________________________________________________

 Types of Services Requested:
 Enter numbers for services desired: ___/___/___/___/___/___/___/___/      (for services listing, see below)
 For “other” services, describe briefly:
 _______________________________________________________________________________________


                                                 Services
 1. Feasibility or Evaluation Study                           10. Engineering – Electrical
 2. Programming Assistance                                    11. Landscape
 3. Preliminary Design                                        12. Interiors
 4. Preliminary Cost Estimate                                 13. General Plant Operations
 5. Contract Documents                                        14. Grounds Maintenance
 6. Capital or Major Repair Request                           15. Building Services
    Preparation                                               16. Training
 7. OSHA Advice/Inspection                                    17. Roof Testing & Analysis
 8. Architectural                                             18. Roofing – Contract Documents
 9. Engineering – Mechanical                                  19. Other – please specify




                                                                                                                32

                                                                                            Exh. A - Page 103
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 136 of 225 PageID #: 146
                                                                EXHIBIT 1
      APPENDIX F

                                                           Signature                                            Date

      Departmental Administrative Officer:                 _________________________                            _______________

      Campus Plant Director:                               _________________________                            _______________

      Campus Administrative Officer:                       _________________________                            _______________

      Campus Vice President / Chancellor:                  _________________________                            _______________

      Vice President & Chief Administrative Officer        _________________________                            _______________

      To be completed by Office of the Vice President & Chief Administrative Officer—Department of Facilities

      Project Name: ___________________________________________________________________________

      Project Number:_______________________________
                                                                                                                 Revised: 12-11-02




                                                                                                                       Exh. A - Page 104
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 137 of 225 PageID #: 147
                                                       EXHIBIT 1
      APPENDIX F


       Occupant Interview Form

      Occupant Interview Page 1 of 2
      Indoor Air Quality Forms 185
      Building Name: ____________________________________________________ File Number:
      _______________________
      Address:
      ______________________________________________________________________________________
      ______
      Occupant Name: ______________________________________ Work Location:
      __________________________________
      Completed by:_____________________________________ Title: ________________________
      Date:_______________
      Sections 4 discusses collecting and interpreting information from occupants.
      SYMPTOM PATTERNS
      What kind of symptoms or discomfort are you experiencing?
      Are you aware of other people with similar symptoms or concerns? Yes ___________ No ___________
      If so, what are their names and locations?
      __________________________________________________________________
      Do you have any health conditions that may make you particularly susceptible to environmental problems?
      - contact lenses q chronic cardiovascular disease q undergoing chemotherapy or radiation therapy
      - allergies q chronic respiratory disease q immune system suppressed by disease or
      other causes
      - chronic neurological problems
      TIMING PATTERNS
      When did your symptoms start?
      When are they generally worst?
      Do they go away? If so, when?
      Have you noticed any other events (such as weather events, temperature or humidity changes, or activities
      in the building) that tend to occur around the same time as your symptoms?


      Occupant Interview Page 2 of 2
      SPATIAL PATTERNS
      Where are you when you experience symptoms or discomfort?
      Where do you spend most of your time in the building?
      ADDITIONAL INFORMATION
      Do you have any observations about building conditions that might need attention or might help explain your
      symptoms (e.g., temperature, humidity, drafts, stagnant air, odors)?
      Have you sought medical attention for your symptoms?
      Do you have any other comments?
      Indoor Air Quality Forms 186

      Available at: http://www.epa.gov/iaq/largebldgs/graphics/occint.pdf




                                                                                                     Exh. A - Page 105
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 138 of 225 PageID #: 148
                                                                                      EXHIBIT 1
   APPENDIX G


   Table 1. Preliminary R & R Amounts

                                                     Cummission                for Higher Educatiun
                                                            2003          Fall   Term An alys'rs

                                              Preliminary    R       8:   R Amoums.     20E—5-D? Biennium



                                                                                       Annual                                  Biennial


                                                  General R S. R                    Infrastructule      Combined              Com bined
                                                   Formula (1::                       Formula               Formula            Formula
     INDIANA UNIVERSITY
            Bloomingtnn                              $10.?2D.5ET                      $4.639234             S15.3EB.ED‘I       $30.?2Tﬂﬂ‘l
            East                                             6E-.425                     113.E'J4               194.1   [IQ        393,21?
            Kokomo                                          144.2?2                        DO.56 I              234.430            4E3£5EI
            Northwest                                       312.223                      130.34?                493.530            921150
            Souih Hand                                      2?E.2E1                      133. 162               4GB.423            612,84?
            Southeast                                       444.693                      223.53?                6ﬂ3£30            1.326.461
            IUFUI                                         5.034.325                    1.033.433              5.111216          12225.53?
     |'.J   Tutal                                    $1?,|J1D.T-'QB                   56.433595             523,423,291        $43,966.32

     FURD'JE UNIVERSITY
       West Lafayaﬂe                                 $10.1?B.6E—2                     $5.41   BIB?          515597.539         $31 .195.1T6
            Calumet                                         65   1   .T-‘E-B             SFQ. 34 1            1.030.942          2.031.335
            Nolth Central                                   1?1.T-'E'r3                  126.392                293.455            596.911
            IUFU FortWaynE                                  ﬁQE-2EQ                      4015-96              1.1E-3.ED5         2.2E-Tﬂ‘ll2l

     PU      Tulal                                   $1 1.698.422                     56.332210             $18,020,392        $33,061.84

     INDIANA STATE UNIVERSITY                             2.??E-ﬂ-4vﬁ                  1.4?5.299              4.251 .545         3.563.291


     UNIV        OF SOUTHERN INDIANA                        568.305                      381.214                QED.E-1Q          1.939ﬁ35

     BALL STATE UNIVERSITY                                4.D?E.TI B                   LQEBJZOD               E-JZIE-DJB        12.019435

     VINCENNES UNIVERSITY                                 1,E1F.6[}5                     480.036              2.09?.ED1          4.195.332


     IVY        TECH STATE COLLEGE
            1    Norﬂ'mest [Galy]                           115.584                        23.236               143.952            29?,9ﬂ4
            2 Norlh Cemral iSouth Bend)                      ??.594                         5.929                24.523             1EQ.C46
            3    Norhaas1    [Fort   Wayne}                  55.525                        19. ITS               HIDE:              149.416
            4 Lafayelle                                      92.699                           3.?40              9?.439             194,9?5
            5    Knknmo                                     BEAST                             5.?33             126.240            2T2.4B‘|
            5 East Ceniral [Muncie]                          ?2.425                        21.272                94.?D?             129.415
            T Terre Haule                                    61.520                        21.2?9               103.399            ZE‘BJ’D?
            B Central Indiana [|ndpl5.]                     591.321                         3. 145              594.466           1.193.931
            9 'NhitEwa1E-r (Richmond)                        6|}.642                          ?.ET2              EB.E-14            1T5.C-2T
            10 Columbus                                      14.492                           5.234              21 .226            42.E5‘|
            11   Suutheasthadisun}                           2?.3E'r5                         3.152              EELE-ﬁ'             E1,E-33
            12   Southwem     {Evansville}                  101629                         13.345               121 .EF4           243.246
            13 Su.CE-ntra| [Sellersberg]                     32.629                           4.255              43.01-4-           EELS?"
            14 Hluominglon                                   2?.103                        1?.E1D                44.913             99,926
     ITSC        Total                                    1.515.245                      133.E?5              1.6?B.QZD          2.357.940


     STATE TOTAL                                     $3939.49?                       311232.39              556.521   .E-Fﬁ   $1 13.043.   1   52


     NOTE:
                 [1)   Using January 2D04 Markel Index.




                                                                                                                                                    Exh. A - Page 106
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 139 of 225 PageID #: 149
                                                 EXHIBIT 1
   APPENDIX G


    Law IC 20-12-6-1, Re. Trustee Responsibility
   Sec. 1. The trustees of Indiana University, the trustees of Purdue University, the Ball State
   University board of trustees, the Indiana State University board of trustees, the board of trustees
   for Vincennes University, the University of Southern Indiana board of trustees, and the trustees
   of Ivy Tech State College (sometimes referred to in this chapter collectively as "corporations" or
   respectively as "corporation") are respectively authorized, from time to time as they find the
   necessity exists, to acquire, erect, construct, reconstruct, improve, rehabilitate, remodel, repair,
   complete, extend, enlarge, equip, furnish, and operate:
   (1) any buildings, structures, improvements, or facilities;
   (2) any utilities, other services, and appurtenances related to an item described in subdivision (1)
   (including, but not limited to, facilities for the production and transmission of heat, light, water
   and power, sewage disposal facilities, streets and walks, and parking facilities); and
   (3) the land required for items described in subdivision (1) or (2);

   as the governing boards of the corporations from time to time deem necessary for carrying on the
   educational research, the public service programs, or the statutory responsibilities of the
   educational institutions and various divisions of the institutions under the jurisdiction of the
   corporations respectively, or for the management, operation, or servicing of the institutions, (the
   buildings, structures, improvements, facilities, utilities, services, appurtenances, and land being
   sometimes referred to in this chapter collectively as "building facilities" or respectively as
   "building facility"). The building facilities may be located at any place within Indiana at which
   the governing board of the corporation determines the need exists for the building facilities.




                                                                                         Exh. A - Page 107
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 140 of 225 PageID #: 150
                                                    EXHIBIT 1
   APPENDIX G


    Background on Responsibility Centered Budgeting (RCM)
   Indiana University implemented a budgeting system termed Responsibility Centered Budgeting
   (RCM) in 1990. RCM was initiated by President Thomas Ehrlich in order to decentralize the
   budgeting system at IU. “President Ehrlich's goal was to develop a system guided by three basic
   principles:
           •   all costs and income attributable to each school and other academic unit should be
               assigned to that unit;
           •   appropriate incentives should exist for each academic unit to increase income and
               reduce costs to further a clear set of academic priorities; and
           •   all costs of other units should be allocated to the academic units.”

   In the fall of 1999 a Committee was appointed by Vice President and Chancellor Kenneth Gros
   Louis to review the policies and procedures of the financial planning, budgeting, and financial
   administration system known as Responsibility Centered Management.167




   167
      Report of the RCM Review Committee Responsibility Centered Management at Indiana University
   Bloomington, May, 2000. p. 2. Retrieved 3/30/05 from http://www.indiana.edu/~obap/ (Second Assessment of RCM
   in 10 year period)




                                                                                                Exh. A - Page 108
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 141 of 225 PageID #: 151
                                        EXHIBIT 1
   APPENDIX G


    Table 2. Bloomington Interest Income FY 2003-2004:
             Sources and Uses


    Academic Labs/Classrooms
                     Chemistry      $552,833
                       Geology      $359,887
                   Social Work        $5,363
                     Swain Hall     $618,497
                    Jordan Hall     $537,201
                   Law School       $208,115
                      Fine Arts       $5,000
                                  $2,286,896

    Administrative Renovations/Maintenance
                    Maxwell Hall     $177,766
             Chancellor's House       $98,729
                    Franklin Hall     $80,056
         Hoosier Courts Nursery
                         School      $285,787
                     Radio & TV        $2,456
          Information Commons         $25,000
                     Eigenmann        $47,750
                                     $717,544




                                                                     Exh. A - Page 109
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 142 of 225 PageID #: 152
                                                                  EXHIBIT 1
 APPENDIX G


 Table 3. 2004-05 Operating Budget as of July 1, All Funds Budgeted
          Expenditures by Responsibility Center
                                                                                                                                     Memo Item:
                              General Fund                                      Contracts &                                           Service
   Campus and Center             Total         Designated       Restricted        Grants          Auxiliary           Total          Accounts*

 BLOOMINGTON
 Arts & Sciences              $160,126,838      $2,148,177      $1,443,230      $57,041,835         $732,536       $221,492,616           $811,818
 Health Sciences                $1,601,794               $0              $0         $63,808                   $0     $1,665,602                   $0
 Journalism                     $4,197,619        $169,795        $563,487         $136,533       $2,015,335         $7,082,769                   $0
 School of Business            $47,304,622      $1,173,007      $2,144,017       $2,150,469         $133,050        $52,905,165                   $0
 School of Education           $22,516,991        $282,832         $93,685       $9,722,125       $2,782,625        $35,398,258           $505,000
 School of HPER                $18,236,194      $4,621,919         $66,082       $4,588,445       $2,188,393        $29,701,033                   $0
 School of Law                 $15,282,322         $37,990      $1,235,671          $56,877                   $0    $16,612,860                   $0
 Library and Info Science       $3,605,609               $0              $0        $265,367                   $0     $3,870,976                   $0
 School of Music               $29,150,022      $2,566,636        $225,938          $18,669                   $0    $31,961,265           $400,000
 School of Optometry            $9,307,166        $456,716        $129,000       $1,323,341                   $0    $11,216,223                   $0
 Other Academic
 Programs                      $18,552,792               $0              $0             $569                  $0    $18,553,361                   $0
 Public and Environ
 Affairs                       $13,508,519        $109,394               $0      $9,526,879          $15,000        $23,159,792                   $0
 Informatics                    $8,979,581         $35,076               $0        $165,529                   $0     $9,180,186                   $0

  Subtotal, Academic          $352,370,069     $11,601,542      $5,901,110      $85,060,446       $7,866,939       $462,800,106         $1,716,818

 Dean of Faculties             $16,154,001        $688,500         $99,462         $155,480                   $0    $17,097,443                   $0
 Research & Univ Grad
 Sch                           $18,710,388      $2,070,814      $7,206,392      $24,622,182       $2,724,780        $55,334,556        $11,184,681
 Academic Computing            $16,639,512               $0              $0               $0                  $0    $16,639,512         $1,591,010
 Library                       $27,012,597               $0       $847,539         $342,009                   $0    $28,202,145                   $0
 Student Support                $2,475,913      $1,159,914        $356,070          $41,502      $11,147,082        $15,180,481                   $0
 Vice Pres-General Admin        $2,891,378        $190,469               $0         $46,126       $1,087,447         $4,215,420                   $0
 Vice Pres-Acad Affairs        $17,045,064        $621,500      $1,413,843       $1,986,687                   $0    $21,067,094                   $0
 Enrollment Services           $31,520,004        $745,000               $0               $0                  $0    $32,265,004                   $0
 Diversity & Academic
 Sppt.                          $6,681,664         $17,180               $0      $1,245,568                   $0     $7,944,412                   $0
 Dean of Budget-Stdnt
 Sup                           $11,666,830        $170,000               $0               $0                  $0    $11,836,830                   $0
 Dean of Budget-Gen
 Admin                          $8,555,711        $546,056               $0               $0    $121,101,138       $130,202,905         $7,227,589
 Physical Plant                $51,102,548               $0              $0               $0                  $0    $51,102,548        $26,797,298
 Intercampus Transfers         $32,338,831               $0              $0               $0                  $0    $32,338,831                   $0

  Subtotal, Support           $242,794,441      $6,209,433      $9,923,306      $28,439,554     $136,060,447       $423,427,181        $46,800,578

 Facilities Debt Service       $21,237,515                                                                          $21,237,515

 Total                        $616,402,025     $17,810,975     $15,824,416     $113,500,000     $143,927,386       $907,464,802        $48,517,396


 * Beginning with the 2004-05 fiscal year, budgets for service accounts are not reflected in the total budget since their revenue sources are other
 University funds.




                                                                                                                         Exh. A - Page 110
                             Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 143 of 225 PageID #: 153
                                                                                                                                                                      EXHIBIT 1
APPENDIX G



Table 4. 2004-05 Operating Budget Assessment Revenue

  II}
   HI:                                                                                                                                              Indiana University     BIM'n ngwn
                                                                                                                                             2004—05 Operating Budget
  l'mm'm'm'
                                                                                                                                               Assessment Raven ue

   1|                                                                     Dean of             Rsrrh       &   Univ        Sudan                            Enmllment                       Bikersnd         Dean Budget            Dean Budget               Physical         Lhivasty
                       RC       U TS            Library               Fawkes                  Glad Szhno                  Aﬁairs             EhmE          Servizes          EXM‘          Acac:    mt       SILI       Eppt        Eenala]                      Flam               Tax            Taa
   .ug'ww




                 R&S         [4.84D.513‘.     £14,183EED]            [8.7433362]                [?.5EEJ45] {1.344.551}                     01.098240:-     -1EBZEZ1B       I:1.4BE_D15]     45mm             I24.094.4352I          €325.55!) [23388213] [15.050532] IleBBDE-ZTU‘.
                 Mede          IjIDB.DBE—‘.     230.595:-                      WAQQ]                 [102.23]              [21.2E3‘.          IjiSﬂDﬁjI      -2T4126          [14.4431         696D?                IIﬁ1.ﬁQ?II          I   7.551)               [5515-25)         [146.929]     [1.758.523]
  fugmiwqul



                 Jaur          {136.952}        £3011     1 1:-           [1mm]                      [£1154]               [32.1521           -:Bs.a?2:-     3525-19          [3.2.009]        am-             -:1      13.9533         .   3.3151               [33.73051         [23.465]      [ammo]
                 KSDE        [I.HDﬁT‘Z‘,                             [1.748.155]                [2.D40_EGE]              (32?,321‘,        {1,154,819}      385021?          (336.3%:        {THESE          iLUQSﬁDB}                [534.8243         -:4.4E-.7,E.74:I      [3.413.545]       [24.2%.119‘,

                 Educ          {595,550}                             [1   .256.‘HD]             [I   .40' E30]           {16?}???           €519,441:-      -1   ?30853      [226.456]       414-592           -:ﬁ:iﬁ.51D:I           533,931)          -:   1   £08, 33)
                                                                                                                                                                                                                                                                      1       [2.302290]        {13,340,932}
 Human“
                 I-FER         -:537.925-‘.                          [anmzn]                         [mama]              awake:             -:513.2?3:-     44mm:            [154.533]       {34040            -:a?s.253:-            [422.5353         qualms)               [1.721205]        .j19.42c-.253‘.

                 Law           canaem‘.         -:165.a23:-               [156.551]             [1   375-240]              [55.1421         1338.235:-       -1sza?2         [100.033]         $54?            -:4as.sn5:-            [143.1543         quieraey              [1   .mmua]        [5.5015301

  :A-J'
                 SLIS           -:34.17e-‘.       453.055:-               Ij          e411]          .j   A433]            [13.7541           camsny             54893        .2343:           4347.!          {113.1113               -:5s.?2ﬁ                  [21.7.0953        [2.71.005]    [1.473223]

                 MJsic:                        21.149.84DI-          [1.344.715]                [1.348.040]              II12T.D!5‘.        {339.3102-      -134H?B          [195.571]       431955!           {493.8112-             -1533.1332-       {5&45253)             [1.D?3.45?]       |:15.?52.53'3‘.


   E‘rJ-rrJrJv
                 0mm           {2203253.          493.325:-               [235434]                   [4.73102]             [29.02:          {25.0353-            mass         [Faint           45292           {193.1493-             [1219131                   [326.3191         [501292]      [3.505.001]

                 0 Am           [55320:         {419.9693                      [-21   249]                r1532]           [31552:            raggsny        502595           [24.0251       —1    ursza-      -:   1   01.4?93        -:     ?as;               [491.533]         [244F341
                 SPEA          IIQFDBTC".       {135.51     1]            [ECOJ 53]                  [544.929]             [95.5511         {2953872-       -1   092513      III2D.123‘.     £54551            {354.5313              [220.   1   53)    [1      .DE-LEZQ]    [1.311.913]

                 nro            (37.300:        -:144.4n    1   :-             [£3264]               [107.421]             I;
                                                                                                                                14.nf4‘.    -:1   13.5m-     -1roass          [34.5w           41305:               (45335:-           -:46.5341                 [355.3391         [352.753]     [1.552.510]

                 DCF                    III                IJ        1-.        944913                           ﬂ                    O               D               IJ             0                 O                       D                   D                      D                ﬂ     15.394.513

                 RUSS                   III                D                            D       16.125304                             O               D               IJ             0                 O                       D                   D                      D                ﬂ     16.12.5304

                 U _S         9.317.9DE                    D                            D                        ﬂ                    O               D               IJ             0                 0                       D                   D                      D                ﬂ      9.3 17.333

                 Liblan'                CI    24.444574                                 D                        ﬂ                    O               D               IJ             0                 0                       D                   D                      D                ﬂ    24:144.?“


                 m
                 SNFH

                 EMAS
                                        '2'




                                        '2'




                                        III
                                                           D

                                                           D

                                                           D
                                                                                        D

                                                                                        D

                                                                                        D
                                                                                                                 U

                                                                                                                 U

                                                                                                                 U
                                                                                                                         2.475.913

                                                                                                                                      O
                                                                                                                                      0    S,3&?.949
                                                                                                                                                      D

                                                                                                                                                      D
                                                                                                                                                                      U

                                                                                                                                                                      U

                                                                                                                                                                      D
                                                                                                                                                                                     0
                                                                                                                                                                            2.BE-E.3?E

                                                                                                                                                                                     0
                                                                                                                                                                                                       0
                                                                                                                                                                                                       0
                                                                                                                                                                                                       O
                                                                                                                                                                                                                               D

                                                                                                                                                                                                                               D

                                                                                                                                                                                                                               D
                                                                                                                                                                                                                                                   D

                                                                                                                                                                                                                                                   D

                                                                                                                                                                                                                                                   D
                                                                                                                                                                                                                                                                          D

                                                                                                                                                                                                                                                                          D

                                                                                                                                                                                                                                                                          D
                                                                                                                                                                                                                                                                                           U

                                                                                                                                                                                                                                                                                           U

                                                                                                                                                                                                                                                                                           U
                                                                                                                                                                                                                                                                                                  2.475.913

                                                                                                                                                                                                                                                                                                  2.35-8.33

                                                                                                                                                                                                                                                                                                  5,35’349
                 OES                    III                D                            D                        U                    0               D     28904.754                0                 O                       D                   D                      D                U    25.931354
                 ASD'u'                 CI                 D                            D                        ﬂ                    O               D               D              0       $555M                             D                   D                      D                ﬂ      6.555346
                 Bud-ES                 CI                 D                            D                            D                O               D               D              0                 O      9.3?5230                             D                      D                ﬂ      5.375.230

                 BUD—GA                 CI                 D                            D                        ﬂ                    0               D               IJ             ﬂ                 0                       D     3.724.251                            D                ﬂ      3.?2425-1

                 Phys P nt              CI                 D                            D                                             0               D               IJ             0                 0                       D                   D    5035.498                           ﬂ    50.335428
                 UTA)"                  III                D                            D                                             O               D               IJ             ﬂ                 O                       D                   D                      D   2233.125          25.QDi-.135


  na'unl


                 Mt                     III                D                            D                        ﬂ                    O               D               D              0                 D                       D                   D                      D                ﬂ                ﬂ


   91
                 SDLI'CE: University   Bmget    Ofﬁce.




                                                                                                                                                                                                                                                                                                                  Exh. A - Page 111
                Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 144 of 225 PageID #: 154
                                                                                EXHIBIT 1
APPENDIX G

Table 5. Support Center Assessment Revenue


                                    1989-90         1990-91          1991-92          1992-93        1993-94        1994-95        1995-96        1996-97
Dean of Faculties                     $3,157,415      $7,844,085      $11,695,332      $12,121,419    $12,381,230    $11,837,084    $12,419,070    $13,127,139
RUGS                                 $10,294,300      $9,982,934       $9,517,329       $9,732,393     $9,907,386    $10,566,836    $11,166,159    $11,618,355
UITS                                  $6,889,594      $7,269,514       $7,245,960       $7,271,408     $7,133,645     $7,112,320     $7,355,833     $7,706,604
Library                              $13,407,868     $14,866,368      $15,016,802      $15,561,079    $15,955,003    $16,583,468    $17,322,592    $18,012,273
Student Support                         $653,131        $697,281       $1,488,588       $1,451,295     $1,454,072     $1,567,775     $1,595,980     $1,646,284
Undergraduate Life                    $5,038,245      $5,458,053
Vice Pres- General Admin              $3,582,449      $3,903,539       $3,809,470       $3,865,404     $3,786,451     $3,988,982     $4,252,358     $4,393,403
Vice Pres- Academic Affairs           $8,118,633      $6,840,665       $7,305,803       $6,337,156     $6,121,759     $7,271,309     $9,161,418     $9,605,438
Enrollment Services
Diversity Academic Support
Dean Budget Student Support           $6,544,401      $6,563,824       $9,997,825      $10,430,848    $10,663,595    $11,261,381    $11,856,132    $12,270,641
Dean Budget - General Admin           $2,792,520      $4,951,329       $4,729,902       $4,358,356     $5,792,062     $5,092,337     $4,873,657     $4,757,496
Physical Plant                       $33,498,291     $34,215,261      $34,634,922      $35,318,883    $35,579,746    $36,409,000    $36,738,616    $38,364,394
President's Office                   $16,664,127     $17,172,977      $13,249,083      $12,693,296    $12,947,162    $13,344,371    $14,734,879    $16,486,208
TOTAL                               $110,640,974    $119,765,830     $118,691,016     $119,141,537   $121,722,111   $125,034,863   $131,476,694   $137,988,235
Percent change from previous year                          8.2%             -0.9%            0.4%           2.2%           2.7%           5.2%           5.0%



                                                                                                                                                       Percent
                                                                                                                                                       Change,
                                                                                                                                                       1989-
                                    1997-98        1998-99         1999-00      2000-01         2001-02      2002-03       2003-04       2004-05       2005
Dean of Faculties                     13517518       14019588        13663465     13694873        14248738     14746430      14955300      15394813        388%
RUGS                                  12010630       12447625        12560663     12880118        14839423     15498028      15789578      16125304         57%
UITS                                   7901359        8016046         8298837      8406334         8811668      9013991       9205597       9317908         35%
Library                               18535770       18910283        19820255     20290507        21734322     22538996      24081773      24444774         82%
Student Support                        1697093        1760086         1825478      1872849         2113457      2187629       2332294       2475913        279%
Undergraduate Life                                                                                                                                        -100%
Vice Pres- General Admin               4605597       4957158         5430001          5339929      2584570      2665059       2715447       2888378        -19%
Vice Pres- Academic Affairs           10064307      21355808         7771323          9197448      9032751      9787087      11529469       8357949          3%
Enrollment Services                                                 15196607         17089849     21299170     23550015      27861466      28904754
Diversity Academic Support                                           4085107          4417526      4624280      4911403       5814628       6555046
Dean Budget Student Support           16004807       9868464        10664183         10279707      8321892      8670213       7902396       8375230         28%
Dean Budget - General Admin            4260293       5766649         6068063          5448834      5240214      6163287       6938820       6724251        141%
Physical Plant                        39538371      40647647        41282329         42090485     43124985     47246077      50023781      50665498         51%
President's Office                    17468333      18523317        20069377         21502372     26227144     27187235      28074235      28906135         73%
TOTAL                                145604078     156272671       166735688        172510831    182202614    194165450     207224784     209135953         89%
Percent change from previous year          6%            7%              7%               3%           6%           7%            7%            1%




                                                                                                                                                       Exh. A - Page 112
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 145 of 225 PageID #: 155
                                                    EXHIBIT 1
 APPENDIX G

 Table 6. IUB Assessments, 1989-2005

                                Health
 Assessments      COAS         Sciences     Journalism    Business      Education       HPER           Law
 1989-90        $67,879,011            NA   $1,385,287   $10,827,937    $7,114,556    $5,247,167     $2,083,534
 1990-91        $74,290,682    $1,186,700   $1,411,164   $10,887,692    $7,869,165    $6,194,875     $2,462,076
 1991-92        $73,262,741    $1,207,749   $1,493,517   $10,812,049    $7,917,052    $5,613,607     $2,596,858
 1992-93        $72,816,585    $1,297,024   $1,449,284   $10,546,096    $7,940,874    $5,662,682     $3,212,089
 1993-94        $73,283,626    $1,312,240   $1,543,527   $10,537,861    $8,487,022    $6,342,604     $3,170,189
 1994-95        $74,987,542    $1,356,599   $1,591,739   $10,720,484    $8,937,546    $6,756,282     $3,190,360
 1995-96        $77,988,566    $1,436,853   $1,652,523   $11,552,574    $9,523,047    $7,256,557     $3,497,555
 1996-97        $81,217,819    $1,538,805   $1,747,657   $12,610,957   $10,025,035    $7,643,725     $3,669,663
 1997-98        $85,639,509    $1,629,431   $1,973,509   $13,624,906   $10,156,889    $7,660,439     $3,952,012
 1998-99        $90,209,818    $1,655,801   $1,990,689   $15,640,690   $10,770,074    $9,752,090     $4,061,953
 1999-2000      $93,092,174    $1,904,586   $2,090,971   $18,210,252   $11,491,046   $10,862,191     $4,565,774
 2000-01        $96,290,335    $1,768,837   $2,201,929   $19,226,340   $11,760,624   $11,395,037     $4,566,025
 2001-02        $99,645,522    $1,681,228   $2,173,179   $21,372,638   $12,424,529   $12,056,494     $4,955,502
 2002-03       $106,494,374    $1,809,816   $2,244,322   $23,086,171   $13,621,657   $12,587,660     $5,169,315
 2003-04       $114,467,717    $1,778,877   $2,307,784   $24,159,509   $14,544,844   $13,484,987     $5,214,241
 2004-05       $109,906,270    $1,758,828   $2,268,430   $24,248,119   $13,340,992   $19,420,258     $6,502,880


                                                            Other
 Assessments       SLIS          Music      Optometry     Academic        SPEA       Informatics      Total
 1989-90         $1,140,113    $8,502,962   $1,656,426    $1,891,221    $2,882,760            NA   $110,610,974
 1990-91         $1,278,348    $8,751,486   $1,829,343      $649,972    $2,954,327            NA   $119,765,830
 1991-92         $1,303,308    $8,924,089   $1,925,789      $623,545    $3,010,712            NA   $118,691,016
 1992-93         $1,331,257    $8,913,164   $2,231,721      $567,677    $3,173,084            NA   $119,141,537
 1993-94         $1,491,949    $9,201,951   $2,256,846      $713,221    $3,381,075            NA   $121,722,111
 1994-95         $1,523,713    $9,402,895   $2,520,160      $761,231    $3,556,312            NA   $125,304,863
 1995-96         $1,610,245    $9,988,501   $2,396,534      $804,273    $3,769,466            NA   $131,476,694
 1996-97         $1,660,793   $10,514,272   $2,539,261      $820,076    $4,000,172            NA   $137,988,235
 1997-98         $1,732,448   $11,750,596   $2,511,282      $899,751    $4,073,306            NA   $145,604,078
 1998-99         $1,679,555   $12,556,736   $2,553,186      $910,224    $4,491,855            NA   $156,272,671
 1999-2000       $1,841,559   $13,621,496   $2,879,523    $1,158,092    $5,018,024            NA   $166,735,688
 2000-01         $1,828,160   $13,759,460   $3,030,900    $1,276,582    $5,406,602            NA   $172,510,831
 2001-02         $1,826,041   $14,853,584   $3,402,918    $1,502,384    $6,118,684      $189,911   $182,202,614
 2002-03         $1,912,555   $15,185,414   $3,709,294    $1,637,137    $6,348,821      $358,914   $194,165,450
 2003-04         $2,153,310   $15,861,690   $4,041,698    $1,788,421    $6,635,321      $786,385   $207,224,784
 2004-05         $1,473,268   $15,782,533   $3,505,001    $2,282,075    $7,078,689    $1,568,610   $209,135,953




                                                                                               Exh. A - Page 113
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 146 of 225 PageID #: 156
                                                      EXHIBIT 1
      APPENDIX G


      Table 7. Bloomington R & R History

       Biennium             1995-1997       1997-1999            1999-2001        2001-2003       2003-2005       2005-2007

       R & R Funding Expected (based on formula)
                 Building   $16,065,154    $17,976,362        $17,793,330        $19,208,972      $18,938,036    $21,459,134
           Infrastructure    $4,611,763     $5,364,504         $5,520,340         $6,145,280        $788,934      $9,278,467
       Total                $20,676,917    $23,340,866        $23,313,670        $25,354,252      $26,821,970    $30,737,601

       R & R Funding Appropriated
                 Building   $16,065,154    $17,976,362        $17,793,330        $13,344,998       $4,734,509
           Infrastructure                   $2,011,689         $4,140,255         $4,140,255       $1,970,984
       Total                $16,065,154    $19,988,051        $21,933,585        $17,485,253       $6,705,493

       Percent
       Appropriated                 78%               86%                  94%             69%           25%               N/A



      Figure 1. IUB Repair and Rehabilitation Funding

                                                Bloomington R& R History

                                           Formula Expected                 Appropriated
        $35,000,000



        $30,000,000



        $25,000,000



        $20,000,000



        $15,000,000



        $10,000,000



         $5,000,000



                $0
                      1995-1997     1997-1999        1999-2001       2001-2003        2003-2005     2005-2007




      Source: Physical Facilities of Indiana Public Higher Education: Their Location, Value,
      Condition and Utilization, Fall 2003, p.9




                                                                                                       Exh. A - Page 114
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 147 of 225 PageID #: 157
                                                      EXHIBIT 1
   APPENDIX H


   Estimating the Costs of Health Care and Lost Productivity: Data
   Sources and Assumptions

   Discount Rate
   The discount rate follows a normal distribution with a mean and variance calculated from
   historical rates (1980 to 2005) used by the Office of Management and Budget.168

   IUB Student, Faculty, and Staff Population
   The Indiana University Fact Book 2004-2005 provided the current IU Bloomington resident,
   non-resident student, faculty, and staff populations. We used historical trends to calculate a mean
   and variance for population growth rates and assumed a normal distribution for the growth rate.

   Exposure Duration
   Resident students were assumed to be in campus buildings for 34 weeks a year (two semesters of
   17 weeks), 7 days a week and 20 hours per day. Non-resident students were assumed to be in
   campus buildings 34 weeks a year and 15 hours per week. We assumed the standard 40 hours per
   week for 50 weeks for IUB faculty and staff. All these numbers were divided by the total hours
   in a year to produce a fraction of time on campus for each group.

   Faculty and Staff Salaries
   Average faculty salary was taken from the Indiana University Fact Book 2004-2005.169 We
   computed the mean and variance of the salaries and assumed a normal distribution. The Indiana
   University Human Resource Services website170 lists the staff salary pay schedule. Once again,
   we assumed a normal distribution for staff salary and computed the mean and variance.

   Health Care Costs
   A log-normal distribution was used to represent average health effects in sensitive populations.
   This distribution was created by assuming the health care costs from case studies of asthmatics
   with mold sensitivities as a high-end for distribution. Populations without mold sensitivities
   were assumed to have no health care costs.

   Days Lost
   Information regarding days lost attributed to mold were based on research conducted by William
   Fisk, head of the Indoor Environment Department at Lawrence Berkeley National Laboratory,
   and his colleagues. Fisk has shown that productivity can be affected between 0.5 and 5 percent
   annually as a result of issues of Indoor Air Quality including mold. However, the actual 1.2 –
   1.9 days lost per year is derived from an evaluation by Glenross and Walters that studied 3720
   employees in 40 buildings, using sick leave data of office workers as a measure to evaluate




   168
       OMB Circular A-94
   169
       Indiana University; Indiana University Fact Book [on-line]; available from
   http://factbook.indiana.edu/fbook04/index.shtml; Internet; accessed March 2005.
   170
       IU Human Resource Services; Pay Guidelines and Schedules [on-line]; available from
   http://www.indiana.edu/~hrm/salary/alleepay.html; Internet; accessed March 2005.




                                                                                            Exh. A - Page 115
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 148 of 225 PageID #: 158
                                                       EXHIBIT 1
   APPENDIX H

   indoor air quality.171 The results showed an association between varying indoor air quality and
   short-term sick leave. Specifically, in spaces with lower ventilation rates, an additional increase
   of 1.2 to 1.9 days of sick leave per person per year, depending on age and gender, was found.
   This is then assumed to be a relevant proxy for sick days experienced among full time Indiana
   University employees spending 40 hours a week 50 weeks per year in University buildings and
   offices. This number would refer to employees with no reported allergies or sensitivities to
   mold. We used this empirical data and assumed a log normal distribution to construct a
   probability distribution.

   Sensitivity to Mold
   Since accurate estimates of the proportion of Americans that are affected negatively by mold
   were not obtainable, the asthma prevalence rate was used as a proxy. Prevalence rates (per 1000
   people) for 2002 were obtained from the American Lung Association study, "Trends in Asthma
   Morbidity and Mortality." While the asthma prevalence rate may not exactly replicate the mold
   sensitivity rate, we assumed that these rates would be similar since mold exposure can trigger
   responses in asthmatics.

   Chance of Exposure
   There is no data on the prevalence of mold in IUB Buildings. Therefore, we assumed that
   between 10 and 30% of buildings on campus had mold levels high enough to trigger a negative
   health effect.




   171
      Milton, DK, Glencross, P, Walters, MD. 2000. Risk of sick leave associated with outdoor air supply rate,
   humidification and occupant complaints. Indoor Air - International Journal of Indoor Air Quality and Climate 10
   (4): 212-221.




                                                                                                      Exh. A - Page 116
   Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 149 of 225 PageID #: 159
                                                                         EXHIBIT 2
Humid summer    leaves Teter   Quad with mold problem   -   Indiana Daily Student




       STUDENT        LIFE


       Humid summer leaves Teter
       Quad with mold problem
       BY CHRISTINA WINFREY
            .
                                                                                                                                                Share
       Published Oct 25, 2016 8:33             pm




       Students    move    into their    assigned dorms Monday             at   Teter Residence Center.   RACHEL MEERT           and   RACHEL
       MEERT Buy        Photos



       TeterQuad resident Sarah Harbert                              said she hasn’t had a lounge                     room on her      floor since

       she moved in.

       When Harbert and the                  other students living on her ﬂoor heard               some    girls          were moved   to the   lounge


https://www.idsncws.com/anicIc/20 6/ O/humid-summcr-Icavcs-lctcr-quad-with-mold-problcm[ 0/25/20 l 8
                                     l   l                                                     I          4:   1   5:37   PM]



                                                                                                                                  Exh.   A- Page 117
    Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 150 of 225 PageID #: 160
               ‘w                                                                        §EXH|BIT 2
H    d                xT‘t‘       -
                                   d   ‘t                       --1         'r
                                                                                 'Dv‘    k1        ~t
Hﬂﬁ‘ld ‘sﬂﬁ’l'ﬁé'lﬁ‘éé‘sﬁt‘err 8361a W1: $235           ‘5?)   5%   . 1‘3   112%:   D%r 5&1     Terri:




       from     their   rooms due                t0 a    mold problem, they checked their own rooms. They found mold                                                            in   every
       one,    [s:%:p]Harbert     said.



       Mold     has been found in                  all     buildings 0f Teter due to a hot,                               humid summer. While                       the levels of mold

       vary, maintenance workers havc started cleaning thc air conditioning units in                                                                         all   rooms of Tctcr,         said

       [s:EEDan     Derheimer, director 0f environmental health and safety.


       “They’re assuming they                       all        have mold issues,” he                        said.   “Cleaning the units                 is   something that needed
       to   be done.”


       The     units will     be wiped down with soap and water                                             to    remove    the mold,        and        interior ﬁberglass parts

       of thc unit will bc rcplaccd with foam, which                                               is    casicr t0 clcan should this               problem occur again,
       Derheimer         said.



       Mold grows           in    high moisture places, he                              said.      From      here,   it   can spread t0 places like the carpet and
       walls.    Many rooms              in the          Wissler building                     in   Teter had this issue, so students were removed and

       temporarily placed in lounges.


       Derheimer said something as simple as a window                                                      left   open with the    AC turned off could cause mold
       to   grow. In       this case,        it   may          take only a few days for the                          mold    to develop.



       Harbert said students were given a                                   {sEpjpaper        during move-in that instructed them t0 leave their
       windows closed and                    air   conditioning constantly running. Dehumidiﬁers were also placed on her

       ﬂoor     at the     beginning 0f the year.


       She said she believes students should have been notiﬁed when mold was ﬁrst found                                                                               in the residence

       hall.



       “Wc wcrc         not told that this was a problem before,”                                            [s:EEHarbcrt said.



       This    may become              a risk for students, like Harbert’s                                   roommate, who have an allergy                            to mold.       And
       another      girl   on the ﬂoor has asthma,                               [s:%:p]Harbert          said.



       “With mold, the                risk is usually associated with the allergic response, s0 if they                                                       have a mold allergy
       0r if they’re asthmatic they can have a reaction,” Derheimer said.


       Before their         air   conditioning unit                     was         cleaned, Harbert’s               roommate      often felt sick. She had

       symptoms          like a sore throat                    and congestion, Which was especially difﬁcult for her because she                                                      is   a

       musical theater major                     who       often uses her voice, Harbert said.


       “You’re not going                t0       be able t0 work t0 your                           full potential if       you’re sick            all   the time,” Harbert said.



Impszl/wwwAidsncws.com/ar1ic]c/201 6/ O/humid—summcr-Icavcs-[ctcr—quad-with—mold-problcm[ 1 0/25/20] 8
                                             I                                                                                    4:   l   5:37   PM]



                                                                                                                                                                      Exh.   A- Page 118
  Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 151 of 225 PageID #: 161
                                                                          EXHIBIT 2
Humig summer   caves Tctcr               molg promcm
                                                         -   Ingiana Daiiy Stu cm
Huml summer    eaves Teter   8m
                              ua
                                   wit
                                   w1t   mo    pm em     -   In lana Dal y Stu ent




      Derheimer said they are                 at   work t0 ﬁx         this issue but        it   may take some   time because of how     many
      rooms        arc in Tctcr. Students With                 symptoms       or a medical condition arc often           bumped   to thc front     0f
      the line, he said.


      In addition to cleaning the                  rooms and replacing               air   conditioning unit components, Derheimer said

      they are also doing an engineering study to see if there are any systemic issues within Teter. The
      study will 100k at air             ﬂow       and   if the air    conditioning units can adequately keep up and dehumidify

      the   air.



      “Our goal       is   t0   have n0 mold next summer,” Derheimer                              said.



       Like what you're reading? Support independent, award-winning college journalism 0n                                                this site.

      Donate       here.




https://www‘idsncws‘com/aniclc/ZO16/1 O/humid-summcr-lcavcs-tctcr-quad-with-moId—pmblcm[10/25/2018 4: 5:37   I     PM]



                                                                                                                              Exh.   A- Page 119
   Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 152 of 225 PageID #: 162
                                                                                              EXHIBIT 2
HHS $33 [$3333 $33? 8323 W                      $313 8533123            I   E33222 BEE; EEQSEE



           More          in   Student Life

          NEWS STUDENT
                     |
                                              LIFE
          FAFSA event to                  help families          fill       out forms Sunday

           19 hours ago


          NEWS STUDENT
                     |
                                              LIFE
          Natural hair club creates space for                                    women        of color

          20 hours ago


          NEWS STUDENT LIFE
                     |




          Operation Walnut: Saving IU's squirrels one nut at a time

          Oct 24, 2018 2:15                pm

          NEWS STUDENT
                     |
                                              LIFE
          Delta Zeta sorority raises awareness of alcohol problems with mocktail event

          Oct23, 2018 11:10                   pm




       E Indiana Daily Student
       GENERAL INFO
       Contact Us         |
                              Employment           |
                                                       Policies     |
                                                                            Advertising       |
                                                                                                   Print Edition




       PUBLICATIONS

       Arbutus Yearbook              |
                                          Orienter         New   Student's Guide                   |
                                                                                                       Parent Survival Guide         |
                                                                                                                                         Source   Visitor's   Guide        |




       International Student               Guide       |
                                                           Big 10 Preview            |
                                                                                          Housing         &   Living   Guide   |
                                                                                                                                   IU Basketball    Guide     |
                                                                                                                                                                  Little       500 Race Guide   |




       The Media School's 812 Magazine



       SECTIONS
       News    |
                   Sports      |
                                   Arts   &   Entertainment                 |
                                                                                Opinion   |
                                                                                              In       Depth & Features    |
                                                                                                                               Multimedia




https://www.idsnews.com/article/ZO 1 6/ 1 O/humid-summer—leaves—teter-quad—with-mold—problem[ 10/25/201 8 4: 1 5 :37                               PM]



                                                                                                                                                                      Exh.       A - Page 120
  Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 153 of 225 PageID #: 163
                                                                              EXHIBIT 2
Humig summer   caves Tctcr                 molg promcm
                                                            -   Ingiana Daiiy Stu cm
Huml summer    eaves Teter   8m
                              ua
                                    wit
                                    w1t    mo       pm em   -   In lana Dal y Stu ent




       MARKETPLACE
       Housing   |
                     Events   |
                                  Religious     |
                                                    Health      |
                                                                    Classifieds




      SOCIAL MEDIA

        EEEE
         SUBSCRIBE

      Get email updates with              daily headlines           and weekly recaps.



       Powered by       ®WORKS                  Solutions by          The State                 AII   Content   © 2018   Indiana Daily Student

       News.




https://www‘idsncws‘com/aniclc/ZO16/1 O/humid-summcr-lcavcs-tctcr-quad-with-moId—pmblcm[10/25/2018 4: 5:37
                                                                                                      I      PM]



                                                                                                                          Exh.   A - Page   121
   Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 154 of 225 PageID #: 164
                                                                                   EXHIBIT 3
McNutt   residents complain about   mold   -   Indiana Daily Student




         McNutt residents complain
         about mold
         BY EMILY BERRYMAN
                                                                                                                                                            Share
         Published Jan 26, 2017 9:27               pm



       After a routine          maintenance inspection, 0n Jan. 20 McNutt Quad residents received a
         surprising email.


         “Maintenance has spotted mold                              in   McNutt," Shelley Arroyo, McNutt residence manager,
         said   in   the email.         “All     of our convector units are scheduled to                                  be cleaned within three
       weeks’ time — units                     will   be cleaned, encapsulated and re-insulated.”

         “Wait, what?” Trevor Walker, a                         McNutt          resident, said.         “The email was kind of scary, but                         we
         haven‘t had any                more      information, though, so for                   now         it’s   business as usual.”


         Rumors about the mold had spread through the quad. Many students have heard                                                                   of   it,   but
         no one seemed to know anyone who had problems.

       Walker said he doesn’t know how bad the problem                                            is,       but one student, Jessica Monberg,
         had a mold problem before the                           incident.       As    of 9 a.m.        Thursday morning maintenance had
         cleaned the room.               Now Monberg                    is   staying   in    the Indiana Memorial Union hotel.


         “Last semester             |   was      sick   all   the time," Monberg, a McNutt resident, said.                              ”I
                                                                                                                                             went      to the

         Health Center, and they gave                          me        an   inhaler, but the      problem persisted, and                   |   had   to visit      a
         doctor's office.       |       came      to realize        |   was    only sick      when was  |            in   my   dorm.”


         Monberg       said she received a report of mold                               in   the building and discovered she had
         suffered moderate levels 0f exposure to                                 it.




         “My    mom was freaking                    out,”     she       said. "She’s        emailed practically every director                      like   seven
       times."




https://www‘idsncws‘com/aniclc/ZO17/0l/mcnutt—rcsidans-cumplain-about-m01d[10/25/2018 4:14: 1 0                    PM]



                                                                                                                                             Exh.   A - Page   122
   Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 155 of 225 PageID #: 165
                                                                                    EXHIBIT 3
McNutt   rcsidcnts complain about   mold      -   Indiana Daily Student



         Meanwhile, Walker said he                            is   not too concerned about the mold                                           because   it   is   out of his
         control    and he       feels safe.                 He does       not think IU      is   trying to put students in danger, although

         this is not the first            time McNutt has                  shown     its    charm, he said sarcastically.

         “I
              appreciate being kept                     in   the loop, but they are giving us a very broad                                           window            to clean out

         the heaters,” Walker said.


         It   took Monberg a              week and a               half to     have the mold             in       her           filter   cleaned, and hers                is   not the
         only    one coated          in       it.




         The email       to students projected                       work on the heating                 units to begin                         sometime          in   the next
         three weeks. However,                         Walked       said three       weeks         is   a long time, and cleaning and
         reinsulating units              is       an involved process, so              it   may be                a while longer before the mold                               is fully

         dealt with.


         In   the email from Arroyo residents                             were advised            to    keep               their     windows shut and remove
         any items around                their heating units to prevent the                             mold from becoming airborne and
         lingering after the units are cleaned.


         Walker said he             is   grateful for those working                    on the issue though he remains skeptical as                                                    to

         the viability of the plan suggested                              in   the email.    From a business                                  perspective, he said, this               is

         a Band-Aid        fix to        a bigger problem, and he                     is    worried about the                             logistics.



         Monberg        said she          was happy                that her      room was cleaned but was annoyed by the length                                                       of

         the process        in   general.


         “Practically      everyone on                   floor is sick,        and we have             to live with this for three                           more weeks,”
         Monberg        said.


         Like what you're reading? Support independent, award-winning college journalism on                                                                                       this

         site.   Donate here.




         More
         COLUMN: Combat fake news                                   with education

         Teaching students                    to think       and question          critically is        necessary                        in   navigating an era of false
         information.




https:/'/www.idsncws‘com/anicIC/ZO1 7/0 1 /'mcnutt-rcsidcnts-complain-about-mold[ 1 0/25/20 1 8 4:            1   4:   l   0   PM]



                                                                                                                                                              Exh.     A - Page 123
   Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 156 of 225 PageID #: 166
                                                                          EXHIBIT 3
McNutt   residents complain about   mold   -   Indiana Daily Student



                                                                 EDITORIAL: Suggestive Indianapolis rabbit mural
                                                                 should not have been removed
                        ”\           /'/
                                               ,f   n



                               44¢                  xi           Removing the                      was
            g
           C§€         9::    >14,         cm]
                                                                                rabbit mural

                                                                 and free speech.
                                                                                                          regressive   in    regards to         art




                                                                 News you need      to   know for Thursday,           Oct. 25

                                                                 Everything you need to     know        for   Thursday, Oct. 25.




https://www‘idsncws‘com/aniclc/ZO17/0l/mcnutt—rcsidans-complain-about-m01d[10/25/2018 4:14: 1 0   PM]



                                                                                                                            Exh.   A - Page   124
   Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 157 of 225 PageID #: 167
                                                                                                     EXHIBIT 3
McNutt residents complain about mold             -
                                                     Indiana Daily Student




          More

          OPINION COLUMN   |




          COLUMN: Combat fake news with education
          6 hours ago


          OPINION
          EDITORIAL: Suggestive Indianapolis rabbit mural should not have been removed

          6 hours ago


          NEWS
          News you need                   to   know for Thursday,               Oct. 25

          8 hours ago




       EH Indiana Daily Student
       GENERAL INFO
       Contact Us      |
                               Employment            |
                                                         Policies   |
                                                                        Advertising       |
                                                                                               Print Edition




       PUBLICATIONS

       Arbutus Yearbook               |
                                           Orienter          New Student's Guide               |
                                                                                                   Parent Survival Guide        |
                                                                                                                                    Source   Visitor's   Guide        |




       International Student                   Guide     |
                                                             Big 1O Preview       |
                                                                                      Housing & Living Guide              |
                                                                                                                              IU Basketball    Guide     |
                                                                                                                                                             Little       500 Race Guide   |




       The Media School's 812 Magazine



       SECTIONS
       News    |
                   Sports       |
                                    Arts   &    Entertainment           |
                                                                            Opinion   |
                                                                                          In       Depth & Features   |
                                                                                                                          Multimedia




       MARKETPLACE


https://www.idsnews.com/article/201 7/01/mcnutt—residents-complain—about—mold[10/25/201 8 4: 14: 10                            PM]



                                                                                                                                                                  Exh.      A - Page 125
   Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 158 of 225 PageID #: 168
                                                                                  EXHIBIT 3
McNutt   residents complain about    mold   -   Indiana Daily Student


         Housing   |
                       Events   |
                                    Religious      |
                                                       Health   |
                                                                    Classifieds




         SOCIAL MEDIA

          EEEE
          SUBSCRIBE

         Get email updates with         daily headlines             and weekly recaps.



         Powered by       ®WORKS                   Solutions by       The State                     AII   Content   © 2018   Indiana Daily Student

         News.




https://www‘idsncws‘com/aniclc/ZO17/0l/mcnutt—rcsidans-complain-about-m01d[10/25/2018 4:14: 1 0   PM]



                                                                                                                              Exh.   A - Page 126
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 159 of 225 PageID #: 169
 Indiana University Environmental Health & EXHIBIT 4
 Safety
 Mr. Dan Derheimer
 2427 E. 2nd street
 Bloomington, IN 47401 USA
 (812) 855-6316




 Approved by:
                                                          Dates of Analysis:
                                                          MoldReport Spore trap: 10-22-2018




     Technical Manager
     Ariunaa Jalsrai


 Service SOPs:
 MoldReport Spore trap (EM-MY-S-1038)†

 †AIHA-LAP, LLC accredited service, Lab ID #103005

 All samples were received in acceptable condition unless noted in the Report Comments portion in the body of the
 report. Due to the nature of the analyses performed, field blank correction of results is not applied. The results
 relate only to the items tested.

 EMLab P&K ("the Company") shall have no liability to the client or the client's customer with respect to decisions
 or recommendations made, actions taken or courses of conduct implemented by either the client or the client's
 customer as a result of or based upon the Test Results. In no event shall the Company be liable to the client with
 respect to the Test Results except for the Company's own willful misconduct or gross negligence nor shall the
 Company be liable for incidental or consequential damages or lost profits or revenues to the fullest extent such
 liability may be disclaimed by law, even if the Company has been advised of the possibility of such damages, lost
 profits or lost revenues. In no event shall the Company's liability with respect to the Test Results exceed the
 amount paid to the Company by the client therefor.


 EMLab P&K, LLC                                                                               EMLab ID: 2026826, Page 1 of 27



                                                                                                   Exh. A - Page 127
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 160 of 225 PageID #: 170
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                           EMLab P & K
 Project: Foster Martin-HEPA                                                                     3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                    (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018

                                                                  Table of Contents
 Thank you for choosing MoldREPORT™ from EMLab P&K. Our mission is to provide industry
 leadership for the assessment of mold in the home indoor environment.

 Your MoldREPORT™ is designed and intended for use by professional inspectors in office and residential home
 inspections to help in the assessment of mold growth in the living areas sampled by professional inspectors. Our
 laboratory analysis is based on the samples submitted to EMLab P&K. Please read the entire report to fully
 understand the complete MoldREPORT™ process. The following is a summary of the report sections:

 1. Detailed Results of Sample Analysis - Laboratory results from the samples collected at the site.

 2. Understanding Your Sample Analysis Results - Detailed summary of how to understand the analytical results
 from the air samples and/or surface samples including interpretive guidelines.

 3. Important Information, Terms and Conditions - General information to help you understand and interpret your
 MoldREPORT™, including important terms, conditions and applicable legal provision relating to this report.

 4. Scope and Limitations - Important information regarding the scope of the MoldREPORT™ system, and
 limitations
 of mold inspection, air sampling, and surface sampling.

 5. Glossary - Definitions and descriptions of frequently used terms and commonly found mold.

 6. References and Resources - Literature, websites, and other materials that can provide more in-depth information
 about mold and indoor air quality.




 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                              EMLab ID: 2026826, Page 2 of 27



                                                                                                                                    Exh. A - Page 128
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 161 of 225 PageID #: 171
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                           EMLab P & K
 Project: Foster Martin-HEPA                                                                     3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                    (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018

                                               Summary of Sample Analysis Results
 Do not take any action based on the results of this report until you have read the entire report.

 Air Sample Summary:
 The MoldSCORE™ was in the HIGH range for the following area(s): 2834708, 2834713, 2834715, 2834703, 2834719. A
 high MoldSCORE™ indicates a high likelihood of mold growth in the area tested at the time of the inspection. If mold
 growth is in fact present, it should be cleaned or physically removed using appropriate controls and precautions by a
 trained professional and any associated water source that led to the problem should also be corrected.

 The MoldSCORE™ was in the MODERATE range for the following area(s): 2834704, 2834707, 2834700, 2834710. A
 moderate MoldSCORE™ means that the results are inconclusive, and suggests that a more detailed inspection by a trained
 professional may make sense if there are any other reasons to believe that mold growth could be a problem in this room.

 The MoldSCORE™ was in the LOW range for the following area(s): 2834699, 2834714, 2834718. A low MoldSCORE™
 indicates the air sample did not detect, relative to the outside air, the presence of indoor mold growth in this room at the
 time of sampling.

 Please see the sections titled "Detailed Results of the Air Sample Analysis" and "Understanding Your Air Sample Analysis
 Results" for important additional information.
 Location                                                    MoldSCORE™                                                 Exposure Level
                                                 Lower                      Higher    Mold       Lower                              Higher Location  Outside
 2834704: Martin 313 #1                          <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
  * see p. 5 for details                                                               189                                                    1,000       3,700
                                                 Lower                      Higher    Mold       Lower                              Higher Location  Outside
 2834707: Martin 313 #2                          <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
  * see p. 6 for details                                                               150                                                     540        3,700
                                                 Lower                      Higher    Mold       Lower                              Higher Location  Outside
 2834699: Martin 313 #3                          <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
  * see p. 7 for details                                                               112                                                     330        3,700
                                                 Lower                      Higher    Mold       Lower                              Higher Location  Outside
 2834708: Martin 302 #1                          <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
  * see p. 8 for details                                                               300                                                    3,900       3,700
                                                 Lower                      Higher    Mold       Lower                              Higher Location  Outside
 2834713: Martin 302 #2                          <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
  * see p. 9 for details                                                               268                                                    1,800       3,700
                                                 Lower                      Higher    Mold       Lower                              Higher Location  Outside
 2834715: Martin 302 #3                          <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
  * see p. 10 for details                                                              254                                                    1,600       3,700
                                                 Lower                      Higher    Mold       Lower                              Higher Location  Outside
 2834703: Martin 121 #1                          <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
  * see p. 11 for details                                                              294                                                    3,000       3,700
                                                 Lower                      Higher    Mold       Lower                              Higher Location  Outside
 2834700: Martin 121 #2                          <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
  * see p. 12 for details                                                              163                                                    1,100       3,700
                                                 Lower                      Higher    Mold       Lower                              Higher Location  Outside
 2834714: Martin 121 #3                          <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
  * see p. 13 for details                                                              141                                                     540        3,700



 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                              EMLab ID: 2026826, Page 3 of 27



                                                                                                                                    Exh. A - Page 129
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 162 of 225 PageID #: 172
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                           EMLab P & K
 Project: Foster Martin-HEPA                                                                     3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                    (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018

                                               Summary of Sample Analysis Results
                                                 Lower                      Higher    Mold       Lower                              Higher Location  Outside
 2834719: Martin 209 #1                          <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
  * see p. 14 for details                                                              273                                                    2,300       3,700
                                                 Lower                      Higher    Mold       Lower                              Higher Location  Outside
 2834710: Martin 209 #2                          <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
  * see p. 15 for details                                                              176                                                    1,000       3,700
                                                 Lower                      Higher    Mold       Lower                              Higher Location  Outside
 2834718: Martin 209 #3                          <110           200            300    Score      <200          1K            10K     >70K spores/m3 spores/m3
  * see p. 16 for details                                                              141                                                     700        3,700




 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                              EMLab ID: 2026826, Page 4 of 27



                                                                                                                                    Exh. A - Page 130
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 163 of 225 PageID #: 173
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                                  EMLab P & K
 Project: Foster Martin-HEPA                                                                            3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                           (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018
                                                Detailed Results of the Air Sample Analysis
           Location                                        Overall Mold Source Assessment*                     Overall Exposure Level                         Outside
                                                          (Likelihood spores originated inside)                (Shown on a log scale)                      ‡9562379-1
  Lab ID-version:‡ 9562380-1                             Lower               Higher Mold            Lower                  Higher     Location               2834712
 2834704: Martin 313 #1                                  <110       200         300 Score           <200    1K         10K >70K spores/m3 raw ct        spores/m3 raw ct

                                                                                              189                                  1,000      20        3,700       69
 Indicators of Mold Growth
 Indoors                                                  Indicator Mold Source Assessment*                           Indicator Exposure Level
                                                          (Likelihood spores originated inside)                        (Shown on a log scale)
                                                         Lower               Higher Mold            Lower                  Higher     Location               Outside
 A) Penicillium/Aspergillus types**                      <110       200         300 Score           <200    1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
                                                                                              189                                   590       11         < 13       0
 B) Cladosporium species spores                                                               100                                   < 13       0         640        12
 C) Basidiospores                                                                             100                                   110        2        1,400       26
 D) "Marker" spore types***                                                                   121                                    13        1         < 13       0
     1) Chaetomium

 E) "Other" spore types***,****                                                               135                                   159        3         806        15
     1) Curvularia         2) Epicoccum            3) Smuts, Periconia, Myxomycetes

 Other Sample Information                                                                                    Other "normal trapping" spores***
                                                                                                                           Exposure Level
 Sample clarity & visibility                                                                                     (Highly unlikely to be from indoors)
               Good       Moderate     Poor                                                         Lower                  Higher       Location             Outside
 Location                    X                                                                      <200    1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
 Outside                     X                                                                                                      163        3         853        16
 "Good" = background debris is light enough to pose no difficulty in analyzing air samples.
 "Poor" = background debris so heavy that it poses a significant difficulty in analyzing the air                                              Location Outside
 sample accurately. Results are most likely lower limits.
                                                                                                    Sample volume (liters)                      75       75
 Comments
 Location None
 Outside None
 * Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
 of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
 250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
 ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

 ** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
 characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
 undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
 Aspergillus.

 *** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
 may be different than the mold types represented by the counts for the outside sample. The totals shown are the summation of the rounded values for the spores
 types in the category and may contain more than two significant figures.

 **** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
 are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
 grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
 result if the spores are smuts, not myxomycetes.




 ‡A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the value
 of "x".
 Total spores/m3 has been rounded to two significant figures to reflect analytical precision.
 The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
 multiplied by the sample volume (in liters) divided by 1000 liters.
 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                                 EMLab ID: 2026826, Page 5 of 27



                                                                                                                                       Exh. A - Page 131
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 164 of 225 PageID #: 174
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                                  EMLab P & K
 Project: Foster Martin-HEPA                                                                            3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                           (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018
                                                Detailed Results of the Air Sample Analysis
           Location                                        Overall Mold Source Assessment*                     Overall Exposure Level                         Outside
                                                          (Likelihood spores originated inside)                (Shown on a log scale)                      ‡9562379-1
  Lab ID-version:‡ 9562381-1                             Lower               Higher Mold            Lower                  Higher     Location               2834712
 2834707: Martin 313 #2                                  <110       200         300 Score           <200    1K         10K >70K spores/m3 raw ct        spores/m3 raw ct

                                                                                              150                                   540       10        3,700       69
 Indicators of Mold Growth
 Indoors                                                  Indicator Mold Source Assessment*                           Indicator Exposure Level
                                                          (Likelihood spores originated inside)                        (Shown on a log scale)
                                                         Lower               Higher Mold            Lower                  Higher     Location               Outside
 A) Penicillium/Aspergillus types**                      <110       200         300 Score           <200    1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
                                                                                              150                                   320        6         < 13       0
 B) Cladosporium species spores                                                               100                                   < 13       0         640        12
 C) Basidiospores                                                                             100                                    53        1        1,400       26
 D) "Marker" spore types***                                                                   100                                   < 13       0         < 13       0

 E) "Other" spore types***,****                                                               105                                   110        2         806        15
     1) Smuts, Periconia, Myxomycetes

 Other Sample Information                                                                                    Other "normal trapping" spores***
                                                                                                                           Exposure Level
 Sample clarity & visibility                                                                                     (Highly unlikely to be from indoors)
               Good       Moderate     Poor                                                         Lower                  Higher       Location             Outside
 Location                    X                                                                      <200    1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
 Outside                     X                                                                                                       53        1         853        16
 "Good" = background debris is light enough to pose no difficulty in analyzing air samples.
 "Poor" = background debris so heavy that it poses a significant difficulty in analyzing the air                                              Location Outside
 sample accurately. Results are most likely lower limits.
                                                                                                    Sample volume (liters)                      75       75
 Comments
 Location None
 Outside None
 * Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
 of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
 250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
 ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

 ** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
 characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
 undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
 Aspergillus.

 *** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
 may be different than the mold types represented by the counts for the outside sample. The totals shown are the summation of the rounded values for the spores
 types in the category and may contain more than two significant figures.

 **** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
 are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
 grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
 result if the spores are smuts, not myxomycetes.




 ‡A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the value
 of "x".
 Total spores/m3 has been rounded to two significant figures to reflect analytical precision.
 The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
 multiplied by the sample volume (in liters) divided by 1000 liters.
 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                                 EMLab ID: 2026826, Page 6 of 27



                                                                                                                                       Exh. A - Page 132
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 165 of 225 PageID #: 175
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                                  EMLab P & K
 Project: Foster Martin-HEPA                                                                            3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                           (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018
                                                Detailed Results of the Air Sample Analysis
           Location                                        Overall Mold Source Assessment*                     Overall Exposure Level                         Outside
                                                          (Likelihood spores originated inside)                (Shown on a log scale)                      ‡9562379-1
  Lab ID-version:‡ 9562382-1                             Lower               Higher Mold            Lower                  Higher     Location               2834712
 2834699: Martin 313 #3                                  <110       200         300 Score           <200    1K         10K >70K spores/m3 raw ct        spores/m3 raw ct

                                                                                              112                                   330        6        3,700       69
 Indicators of Mold Growth
 Indoors                                                  Indicator Mold Source Assessment*                           Indicator Exposure Level
                                                          (Likelihood spores originated inside)                        (Shown on a log scale)
                                                         Lower               Higher Mold            Lower                  Higher     Location               Outside
 A) Penicillium/Aspergillus types**                      <110       200         300 Score           <200    1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
                                                                                              100                                   < 13       0         < 13       0
 B) Cladosporium species spores                                                               100                                   < 13       0         640        12
 C) Basidiospores                                                                             100                                   110        2        1,400       26
 D) "Marker" spore types***                                                                   100                                   < 13       0         < 13       0

 E) "Other" spore types***,****                                                               112                                   110        2         806        15
     1) Smuts, Periconia, Myxomycetes

 Other Sample Information                                                                                    Other "normal trapping" spores***
                                                                                                                           Exposure Level
 Sample clarity & visibility                                                                                     (Highly unlikely to be from indoors)
               Good       Moderate     Poor                                                         Lower                  Higher       Location             Outside
 Location                    X                                                                      <200    1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
 Outside                     X                                                                                                      110        2         853        16
 "Good" = background debris is light enough to pose no difficulty in analyzing air samples.
 "Poor" = background debris so heavy that it poses a significant difficulty in analyzing the air                                              Location Outside
 sample accurately. Results are most likely lower limits.
                                                                                                    Sample volume (liters)                      75       75
 Comments
 Location None
 Outside None
 * Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
 of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
 250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
 ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

 ** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
 characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
 undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
 Aspergillus.

 *** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
 may be different than the mold types represented by the counts for the outside sample. The totals shown are the summation of the rounded values for the spores
 types in the category and may contain more than two significant figures.

 **** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
 are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
 grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
 result if the spores are smuts, not myxomycetes.




 ‡A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the value
 of "x".
 Total spores/m3 has been rounded to two significant figures to reflect analytical precision.
 The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
 multiplied by the sample volume (in liters) divided by 1000 liters.
 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                                 EMLab ID: 2026826, Page 7 of 27



                                                                                                                                       Exh. A - Page 133
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 166 of 225 PageID #: 176
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                                  EMLab P & K
 Project: Foster Martin-HEPA                                                                            3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                           (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018
                                                Detailed Results of the Air Sample Analysis
           Location                                        Overall Mold Source Assessment*                      Overall Exposure Level                            Outside
                                                          (Likelihood spores originated inside)                 (Shown on a log scale)                         ‡9562379-1
  Lab ID-version:‡ 9562383-1                             Lower               Higher Mold            Lower                   Higher     Location                  2834712
 2834708: Martin 302 #1                                  <110       200         300 Score           <200     1K         10K >70K spores/m3 raw ct           spores/m3 raw ct

                                                                                              300                                      3,900      74        3,700       69
 Indicators of Mold Growth
 Indoors                                                  Indicator Mold Source Assessment*                               Indicator Exposure Level
                                                          (Likelihood spores originated inside)                            (Shown on a log scale)
                                                         Lower               Higher Mold            Lower                      Higher     Location               Outside
 A) Penicillium/Aspergillus types**                      <110       200         300 Score           <200     1K           10K >70K spores/m3 raw ct         spores/m3 raw ct
                                                                                              300                                      3,400      64         < 13       0
 B) Cladosporium species spores                                                               100                                       < 13       0         640        12
 C) Basidiospores                                                                             100                                        53        1        1,400       26
 D) "Marker" spore types***                                                                   100                                       < 13       0         < 13       0

 E) "Other" spore types***,****                                                               121                                       376        7         806        15
     1) Smuts, Periconia, Myxomycetes                      2) Nigrospora           3) Other brown    4) Pithomyces

 Other Sample Information                                                                                     Other "normal trapping" spores***
                                                                                                                               Exposure Level
 Sample clarity & visibility                                                                                         (Highly unlikely to be from indoors)
               Good       Moderate     Poor                                                         Lower                      Higher       Location             Outside
 Location                    X                                                                      <200     1K           10K >70K spores/m3 raw ct         spores/m3 raw ct
 Outside                     X                                                                                                          106        2         853        16
 "Good" = background debris is light enough to pose no difficulty in analyzing air samples.
 "Poor" = background debris so heavy that it poses a significant difficulty in analyzing the air                                                  Location Outside
 sample accurately. Results are most likely lower limits.
                                                                                                    Sample volume (liters)                          75       75
 Comments
 Location None
 Outside None
 * Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
 of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
 250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
 ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

 ** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
 characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
 undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
 Aspergillus.

 *** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
 may be different than the mold types represented by the counts for the outside sample. The totals shown are the summation of the rounded values for the spores
 types in the category and may contain more than two significant figures.

 **** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
 are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
 grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
 result if the spores are smuts, not myxomycetes.




 ‡A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the value
 of "x".
 Total spores/m3 has been rounded to two significant figures to reflect analytical precision.
 The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
 multiplied by the sample volume (in liters) divided by 1000 liters.
 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                                     EMLab ID: 2026826, Page 8 of 27



                                                                                                                                           Exh. A - Page 134
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 167 of 225 PageID #: 177
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                                  EMLab P & K
 Project: Foster Martin-HEPA                                                                            3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                           (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018
                                                Detailed Results of the Air Sample Analysis
           Location                                        Overall Mold Source Assessment*                     Overall Exposure Level                         Outside
                                                          (Likelihood spores originated inside)                (Shown on a log scale)                      ‡9562379-1
  Lab ID-version:‡ 9562384-1                             Lower               Higher Mold            Lower                  Higher     Location               2834712
 2834713: Martin 302 #2                                  <110       200         300 Score           <200    1K         10K >70K spores/m3 raw ct        spores/m3 raw ct

                                                                                              268                                  1,800      34        3,700       69
 Indicators of Mold Growth
 Indoors                                                  Indicator Mold Source Assessment*                           Indicator Exposure Level
                                                          (Likelihood spores originated inside)                        (Shown on a log scale)
                                                         Lower               Higher Mold            Lower                  Higher     Location               Outside
 A) Penicillium/Aspergillus types**                      <110       200         300 Score           <200    1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
                                                                                              268                                  1,400      26         < 13       0
 B) Cladosporium species spores                                                               100                                   < 13       0         640        12
 C) Basidiospores                                                                             100                                   110        2        1,400       26
 D) "Marker" spore types***                                                                   100                                   < 13       0         < 13       0

 E) "Other" spore types***,****                                                               131                                   216        4         806        15
     1) Smuts, Periconia, Myxomycetes                      2) Curvularia         3) Epicoccum

 Other Sample Information                                                                                    Other "normal trapping" spores***
                                                                                                                           Exposure Level
 Sample clarity & visibility                                                                                     (Highly unlikely to be from indoors)
               Good       Moderate     Poor                                                         Lower                  Higher       Location             Outside
 Location                    X                                                                      <200    1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
 Outside                     X                                                                                                      110        2         853        16
 "Good" = background debris is light enough to pose no difficulty in analyzing air samples.
 "Poor" = background debris so heavy that it poses a significant difficulty in analyzing the air                                              Location Outside
 sample accurately. Results are most likely lower limits.
                                                                                                    Sample volume (liters)                      75       75
 Comments
 Location None
 Outside None
 * Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
 of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
 250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
 ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

 ** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
 characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
 undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
 Aspergillus.

 *** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
 may be different than the mold types represented by the counts for the outside sample. The totals shown are the summation of the rounded values for the spores
 types in the category and may contain more than two significant figures.

 **** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
 are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
 grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
 result if the spores are smuts, not myxomycetes.




 ‡A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the value
 of "x".
 Total spores/m3 has been rounded to two significant figures to reflect analytical precision.
 The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
 multiplied by the sample volume (in liters) divided by 1000 liters.
 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                                 EMLab ID: 2026826, Page 9 of 27



                                                                                                                                       Exh. A - Page 135
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 168 of 225 PageID #: 178
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                                  EMLab P & K
 Project: Foster Martin-HEPA                                                                            3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                           (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018
                                                Detailed Results of the Air Sample Analysis
           Location                                        Overall Mold Source Assessment*                     Overall Exposure Level                         Outside
                                                          (Likelihood spores originated inside)                (Shown on a log scale)                      ‡9562379-1
  Lab ID-version:‡ 9562385-1                             Lower               Higher Mold            Lower                  Higher     Location               2834712
 2834715: Martin 302 #3                                  <110       200         300 Score           <200    1K         10K >70K spores/m3 raw ct        spores/m3 raw ct

                                                                                              254                                  1,600      31        3,700       69
 Indicators of Mold Growth
 Indoors                                                  Indicator Mold Source Assessment*                           Indicator Exposure Level
                                                          (Likelihood spores originated inside)                        (Shown on a log scale)
                                                         Lower               Higher Mold            Lower                  Higher     Location               Outside
 A) Penicillium/Aspergillus types**                      <110       200         300 Score           <200    1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
                                                                                              254                                  1,200      22         < 13       0
 B) Cladosporium species spores                                                               100                                   < 13       0         640        12
 C) Basidiospores                                                                             100                                   160        3        1,400       26
 D) "Marker" spore types***                                                                   121                                    13        1         < 13       0
     1) Chaetomium

 E) "Other" spore types***,****                                                               152                                   273        5         806        15
     1) Pithomyces           2) Smuts, Periconia, Myxomycetes                      3) Curvularia

 Other Sample Information                                                                                    Other "normal trapping" spores***
                                                                                                                           Exposure Level
 Sample clarity & visibility                                                                                     (Highly unlikely to be from indoors)
               Good       Moderate     Poor                                                         Lower                  Higher       Location             Outside
 Location                    X                                                                      <200    1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
 Outside                     X                                                                                                      < 13       0         853        16
 "Good" = background debris is light enough to pose no difficulty in analyzing air samples.
 "Poor" = background debris so heavy that it poses a significant difficulty in analyzing the air                                              Location Outside
 sample accurately. Results are most likely lower limits.
                                                                                                    Sample volume (liters)                      75       75
 Comments
 Location None
 Outside None
 * Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
 of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
 250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
 ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

 ** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
 characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
 undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
 Aspergillus.

 *** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
 may be different than the mold types represented by the counts for the outside sample. The totals shown are the summation of the rounded values for the spores
 types in the category and may contain more than two significant figures.

 **** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
 are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
 grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
 result if the spores are smuts, not myxomycetes.




 ‡A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the value
 of "x".
 Total spores/m3 has been rounded to two significant figures to reflect analytical precision.
 The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
 multiplied by the sample volume (in liters) divided by 1000 liters.
 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                                EMLab ID: 2026826, Page 10 of 27



                                                                                                                                       Exh. A - Page 136
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 169 of 225 PageID #: 179
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                                   EMLab P & K
 Project: Foster Martin-HEPA                                                                             3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                            (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018
                                                Detailed Results of the Air Sample Analysis
           Location                                        Overall Mold Source Assessment*                       Overall Exposure Level                         Outside
                                                          (Likelihood spores originated inside)                  (Shown on a log scale)                      ‡9562379-1
  Lab ID-version:‡ 9562386-1                             Lower               Higher Mold            Lower                    Higher     Location               2834712
 2834703: Martin 121 #1                                  <110       200         300 Score           <200      1K         10K >70K spores/m3 raw ct        spores/m3 raw ct

                                                                                              294                                    3,000      57        3,700       69
 Indicators of Mold Growth
 Indoors                                                  Indicator Mold Source Assessment*                             Indicator Exposure Level
                                                          (Likelihood spores originated inside)                          (Shown on a log scale)
                                                         Lower               Higher Mold            Lower                    Higher     Location               Outside
 A) Penicillium/Aspergillus types**                      <110       200         300 Score           <200      1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
                                                                                              294                                    2,200      42         < 13       0
 B) Cladosporium species spores                                                               100                                     < 13       0         640        12
 C) Basidiospores                                                                             100                                      53        1        1,400       26
 D) "Marker" spore types***                                                                   100                                     < 13       0         < 13       0

 E) "Other" spore types***,****                                                               207                                     636       12         806        15
     1) Smuts, Periconia, Myxomycetes                      2) Curvularia         3) Pithomyces      4) Bipolaris/Drechslera group       5) Epicoccum

 Other Sample Information                                                                                      Other "normal trapping" spores***
                                                                                                                             Exposure Level
 Sample clarity & visibility                                                                                       (Highly unlikely to be from indoors)
               Good       Moderate     Poor                                                         Lower                    Higher       Location             Outside
 Location                    X                                                                      <200      1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
 Outside                     X                                                                                                        110        2         853        16
 "Good" = background debris is light enough to pose no difficulty in analyzing air samples.
 "Poor" = background debris so heavy that it poses a significant difficulty in analyzing the air                                                Location Outside
 sample accurately. Results are most likely lower limits.
                                                                                                    Sample volume (liters)                        75       75
 Comments
 Location None
 Outside None
 * Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
 of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
 250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
 ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

 ** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
 characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
 undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
 Aspergillus.

 *** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
 may be different than the mold types represented by the counts for the outside sample. The totals shown are the summation of the rounded values for the spores
 types in the category and may contain more than two significant figures.

 **** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
 are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
 grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
 result if the spores are smuts, not myxomycetes.




 ‡A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the value
 of "x".
 Total spores/m3 has been rounded to two significant figures to reflect analytical precision.
 The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
 multiplied by the sample volume (in liters) divided by 1000 liters.
 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                                  EMLab ID: 2026826, Page 11 of 27



                                                                                                                                         Exh. A - Page 137
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 170 of 225 PageID #: 180
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                                  EMLab P & K
 Project: Foster Martin-HEPA                                                                            3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                           (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018
                                                Detailed Results of the Air Sample Analysis
           Location                                        Overall Mold Source Assessment*                     Overall Exposure Level                         Outside
                                                          (Likelihood spores originated inside)                (Shown on a log scale)                      ‡9562379-1
  Lab ID-version:‡ 9562387-1                             Lower               Higher Mold            Lower                  Higher     Location               2834712
 2834700: Martin 121 #2                                  <110       200         300 Score           <200    1K         10K >70K spores/m3 raw ct        spores/m3 raw ct

                                                                                              163                                  1,100      20        3,700       69
 Indicators of Mold Growth
 Indoors                                                  Indicator Mold Source Assessment*                           Indicator Exposure Level
                                                          (Likelihood spores originated inside)                        (Shown on a log scale)
                                                         Lower               Higher Mold            Lower                  Higher     Location               Outside
 A) Penicillium/Aspergillus types**                      <110       200         300 Score           <200    1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
                                                                                              143                                   270        5         < 13       0
 B) Cladosporium species spores                                                               100                                   < 13       0         640        12
 C) Basidiospores                                                                             100                                   110        2        1,400       26
 D) "Marker" spore types***                                                                   100                                   < 13       0         < 13       0

 E) "Other" spore types***,****                                                               163                                   373        7         806        15
     1) Pithomyces           2) Smuts, Periconia, Myxomycetes                      3) Nigrospora

 Other Sample Information                                                                                    Other "normal trapping" spores***
                                                                                                                           Exposure Level
 Sample clarity & visibility                                                                                     (Highly unlikely to be from indoors)
               Good       Moderate     Poor                                                         Lower                  Higher       Location             Outside
 Location                    X                                                                      <200    1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
 Outside                     X                                                                                                      323        6         853        16
 "Good" = background debris is light enough to pose no difficulty in analyzing air samples.
 "Poor" = background debris so heavy that it poses a significant difficulty in analyzing the air                                              Location Outside
 sample accurately. Results are most likely lower limits.
                                                                                                    Sample volume (liters)                      75       75
 Comments
 Location None
 Outside None
 * Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
 of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
 250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
 ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

 ** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
 characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
 undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
 Aspergillus.

 *** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
 may be different than the mold types represented by the counts for the outside sample. The totals shown are the summation of the rounded values for the spores
 types in the category and may contain more than two significant figures.

 **** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
 are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
 grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
 result if the spores are smuts, not myxomycetes.




 ‡A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the value
 of "x".
 Total spores/m3 has been rounded to two significant figures to reflect analytical precision.
 The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
 multiplied by the sample volume (in liters) divided by 1000 liters.
 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                                EMLab ID: 2026826, Page 12 of 27



                                                                                                                                       Exh. A - Page 138
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 171 of 225 PageID #: 181
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                                  EMLab P & K
 Project: Foster Martin-HEPA                                                                            3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                           (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018
                                                Detailed Results of the Air Sample Analysis
           Location                                        Overall Mold Source Assessment*                     Overall Exposure Level                         Outside
                                                          (Likelihood spores originated inside)                (Shown on a log scale)                      ‡9562379-1
  Lab ID-version:‡ 9562388-1                             Lower               Higher Mold            Lower                  Higher     Location               2834712
 2834714: Martin 121 #3                                  <110       200         300 Score           <200    1K         10K >70K spores/m3 raw ct        spores/m3 raw ct

                                                                                              141                                   540       10        3,700       69
 Indicators of Mold Growth
 Indoors                                                  Indicator Mold Source Assessment*                           Indicator Exposure Level
                                                          (Likelihood spores originated inside)                        (Shown on a log scale)
                                                         Lower               Higher Mold            Lower                  Higher     Location               Outside
 A) Penicillium/Aspergillus types**                      <110       200         300 Score           <200    1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
                                                                                              100                                   < 13       0         < 13       0
 B) Cladosporium species spores                                                               100                                   < 13       0         640        12
 C) Basidiospores                                                                             100                                   110        2        1,400       26
 D) "Marker" spore types***                                                                   100                                   < 13       0         < 13       0

 E) "Other" spore types***,****                                                               141                                   216        4         806        15
     1) Smuts, Periconia, Myxomycetes                      2) Curvularia         3) Epicoccum

 Other Sample Information                                                                                    Other "normal trapping" spores***
                                                                                                                           Exposure Level
 Sample clarity & visibility                                                                                     (Highly unlikely to be from indoors)
               Good       Moderate     Poor                                                         Lower                  Higher       Location             Outside
 Location                    X                                                                      <200    1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
 Outside                     X                                                                                                      213        4         853        16
 "Good" = background debris is light enough to pose no difficulty in analyzing air samples.
 "Poor" = background debris so heavy that it poses a significant difficulty in analyzing the air                                              Location Outside
 sample accurately. Results are most likely lower limits.
                                                                                                    Sample volume (liters)                      75       75
 Comments
 Location None
 Outside None
 * Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
 of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
 250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
 ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

 ** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
 characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
 undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
 Aspergillus.

 *** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
 may be different than the mold types represented by the counts for the outside sample. The totals shown are the summation of the rounded values for the spores
 types in the category and may contain more than two significant figures.

 **** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
 are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
 grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
 result if the spores are smuts, not myxomycetes.




 ‡A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the value
 of "x".
 Total spores/m3 has been rounded to two significant figures to reflect analytical precision.
 The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
 multiplied by the sample volume (in liters) divided by 1000 liters.
 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                                EMLab ID: 2026826, Page 13 of 27



                                                                                                                                       Exh. A - Page 139
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 172 of 225 PageID #: 182
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                                        EMLab P & K
 Project: Foster Martin-HEPA                                                                                  3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                                 (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018
                                                Detailed Results of the Air Sample Analysis
           Location                                        Overall Mold Source Assessment*                            Overall Exposure Level                         Outside
                                                          (Likelihood spores originated inside)                       (Shown on a log scale)                      ‡9562379-1
  Lab ID-version:‡ 9562389-1                             Lower               Higher Mold                 Lower                    Higher     Location               2834712
 2834719: Martin 209 #1                                  <110       200         300 Score                <200      1K         10K >70K spores/m3 raw ct        spores/m3 raw ct

                                                                                              273                                         2,300      45        3,700       69
 Indicators of Mold Growth
 Indoors                                                  Indicator Mold Source Assessment*                                  Indicator Exposure Level
                                                          (Likelihood spores originated inside)                               (Shown on a log scale)
                                                         Lower               Higher Mold                 Lower                    Higher     Location               Outside
 A) Penicillium/Aspergillus types**                      <110       200         300 Score                <200      1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
                                                                                              273                                         1,500      29         < 13       0
 B) Cladosporium species spores                                                               100                                          < 13       0         640        12
 C) Basidiospores                                                                             100                                          210        4        1,400       26
 D) "Marker" spore types***                                                                   121                                           13        1         < 13       0
     1) Chaetomium

 E) "Other" spore types***,****                                                               184                                          372        7         806        15
     1) Pithomyces           2) Alternaria         3) Curvularia         4) Epicoccum              5) Smuts, Periconia, Myxomycetes

 Other Sample Information                                                                                           Other "normal trapping" spores***
                                                                                                                                  Exposure Level
 Sample clarity & visibility                                                                                            (Highly unlikely to be from indoors)
               Good       Moderate     Poor                                                              Lower                    Higher       Location             Outside
 Location                               X                                                                <200      1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
 Outside                     X                                                                                                             213        4         853        16
 "Good" = background debris is light enough to pose no difficulty in analyzing air samples.
 "Poor" = background debris so heavy that it poses a significant difficulty in analyzing the air                                                     Location Outside
 sample accurately. Results are most likely lower limits.
                                                                                                         Sample volume (liters)                        75       75
 Comments
 Location None
 Outside None
 * Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
 of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
 250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
 ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

 ** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
 characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
 undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
 Aspergillus.

 *** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
 may be different than the mold types represented by the counts for the outside sample. The totals shown are the summation of the rounded values for the spores
 types in the category and may contain more than two significant figures.

 **** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
 are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
 grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
 result if the spores are smuts, not myxomycetes.




 ‡A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the value
 of "x".
 Total spores/m3 has been rounded to two significant figures to reflect analytical precision.
 The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
 multiplied by the sample volume (in liters) divided by 1000 liters.
 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                                       EMLab ID: 2026826, Page 14 of 27



                                                                                                                                              Exh. A - Page 140
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 173 of 225 PageID #: 183
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                                  EMLab P & K
 Project: Foster Martin-HEPA                                                                            3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                           (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018
                                                Detailed Results of the Air Sample Analysis
           Location                                        Overall Mold Source Assessment*                     Overall Exposure Level                         Outside
                                                          (Likelihood spores originated inside)                (Shown on a log scale)                      ‡9562379-1
  Lab ID-version:‡ 9562390-1                             Lower               Higher Mold            Lower                  Higher     Location               2834712
 2834710: Martin 209 #2                                  <110       200         300 Score           <200    1K         10K >70K spores/m3 raw ct        spores/m3 raw ct

                                                                                              176                                  1,000      19        3,700       69
 Indicators of Mold Growth
 Indoors                                                  Indicator Mold Source Assessment*                           Indicator Exposure Level
                                                          (Likelihood spores originated inside)                        (Shown on a log scale)
                                                         Lower               Higher Mold            Lower                  Higher     Location               Outside
 A) Penicillium/Aspergillus types**                      <110       200         300 Score           <200    1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
                                                                                              100                                   < 13       0         < 13       0
 B) Cladosporium species spores                                                               100                                   < 13       0         640        12
 C) Basidiospores                                                                             100                                   110        2        1,400       26
 D) "Marker" spore types***                                                                   100                                   < 13       0         < 13       0

 E) "Other" spore types***,****                                                               176                                   533       10         806        15
     1) Smuts, Periconia, Myxomycetes                      2) Bipolaris/Drechslera group

 Other Sample Information                                                                                    Other "normal trapping" spores***
                                                                                                                           Exposure Level
 Sample clarity & visibility                                                                                     (Highly unlikely to be from indoors)
               Good       Moderate     Poor                                                         Lower                  Higher       Location             Outside
 Location                    X                                                                      <200    1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
 Outside                     X                                                                                                      376        7         853        16
 "Good" = background debris is light enough to pose no difficulty in analyzing air samples.
 "Poor" = background debris so heavy that it poses a significant difficulty in analyzing the air                                              Location Outside
 sample accurately. Results are most likely lower limits.
                                                                                                    Sample volume (liters)                      75       75
 Comments
 Location None
 Outside None
 * Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
 of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
 250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
 ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

 ** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
 characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
 undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
 Aspergillus.

 *** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
 may be different than the mold types represented by the counts for the outside sample. The totals shown are the summation of the rounded values for the spores
 types in the category and may contain more than two significant figures.

 **** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
 are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
 grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
 result if the spores are smuts, not myxomycetes.




 ‡A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the value
 of "x".
 Total spores/m3 has been rounded to two significant figures to reflect analytical precision.
 The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
 multiplied by the sample volume (in liters) divided by 1000 liters.
 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                                EMLab ID: 2026826, Page 15 of 27



                                                                                                                                       Exh. A - Page 141
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 174 of 225 PageID #: 184
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                                  EMLab P & K
 Project: Foster Martin-HEPA                                                                            3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                           (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018
                                                Detailed Results of the Air Sample Analysis
           Location                                        Overall Mold Source Assessment*                     Overall Exposure Level                         Outside
                                                          (Likelihood spores originated inside)                (Shown on a log scale)                      ‡9562379-1
  Lab ID-version:‡ 9562391-1                             Lower               Higher Mold            Lower                  Higher     Location               2834712
 2834718: Martin 209 #3                                  <110       200         300 Score           <200    1K         10K >70K spores/m3 raw ct        spores/m3 raw ct

                                                                                              141                                   700       13        3,700       69
 Indicators of Mold Growth
 Indoors                                                  Indicator Mold Source Assessment*                           Indicator Exposure Level
                                                          (Likelihood spores originated inside)                        (Shown on a log scale)
                                                         Lower               Higher Mold            Lower                  Higher     Location               Outside
 A) Penicillium/Aspergillus types**                      <110       200         300 Score           <200    1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
                                                                                              100                                   < 13       0         < 13       0
 B) Cladosporium species spores                                                               100                                   < 13       0         640        12
 C) Basidiospores                                                                             100                                   110        2        1,400       26
 D) "Marker" spore types***                                                                   100                                   < 13       0         < 13       0

 E) "Other" spore types***,****                                                               141                                   266        5         806        15
     1) Smuts, Periconia, Myxomycetes                      2) Epicoccum            3) Pithomyces

 Other Sample Information                                                                                    Other "normal trapping" spores***
                                                                                                                           Exposure Level
 Sample clarity & visibility                                                                                     (Highly unlikely to be from indoors)
               Good       Moderate     Poor                                                         Lower                  Higher       Location             Outside
 Location                    X                                                                      <200    1K        10K >70K spores/m3 raw ct         spores/m3 raw ct
 Outside                     X                                                                                                      320        6         853        16
 "Good" = background debris is light enough to pose no difficulty in analyzing air samples.
 "Poor" = background debris so heavy that it poses a significant difficulty in analyzing the air                                              Location Outside
 sample accurately. Results are most likely lower limits.
                                                                                                    Sample volume (liters)                      75       75
 Comments
 Location None
 Outside None
 * Rated on a scale from low to high. A MoldSCORE™ rating of <150 is low and indicates a low probability of spores originating inside. A MoldSCORE™ rating
 of >250 is high and indicates a high probability that the spores originated from inside, presumably from indoor mold growth. A MoldSCORE™ between 150 and
 250 indicates a moderate likelihood of indoor fungal growth. EMLab P&K's MoldSCORE™ analysis is NOT intended for wall cavity samples. It is intended for
 ambient air samples in residences. Using the MoldSCORE™ analysis on other samples (like wall cavity samples) will lead to misleading results.

 ** The spores of Penicillium and Aspergillus (and others such as Acremonium and Paecilomyces) are small and round with very few distinguishing
 characteristics. They cannot be differentiated by spore trap sampling methods. Also some species with very small spores are easily missed, and may be
 undercounted. The Penicillium/Aspergillus indicator operates on the assumption that the majority of the spores in this category are, in fact, Penicillium or
 Aspergillus.

 *** The spores reported in this category come from many different mold types. As a result, the mold types represented by the counts for the "Location" sample
 may be different than the mold types represented by the counts for the outside sample. The totals shown are the summation of the rounded values for the spores
 types in the category and may contain more than two significant figures.

 **** The spores of smuts, Periconia, and myxomycetes look similar and cannot generally be distinguished by spore trap analysis. Smuts are plant pathogens and
 are not likely to be on indoor surfaces. Periconia is rarely found growing indoors. However, myxomycetes, the spores of which look similar, can occasionally
 grow indoors. Because there is a small probability of indoor sources, these spore types are indicated in the "other" spore types category. False positives may
 result if the spores are smuts, not myxomycetes.




 ‡A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the value
 of "x".
 Total spores/m3 has been rounded to two significant figures to reflect analytical precision.
 The analytical sensitivity is the spores/m^3 divided by the raw count, expressed in spores/m^3. The limit of detection is the analytical sensitivity (in spores/m^3)
 multiplied by the sample volume (in liters) divided by 1000 liters.
 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                                EMLab ID: 2026826, Page 16 of 27



                                                                                                                                       Exh. A - Page 142
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 175 of 225 PageID #: 185
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                           EMLab P & K
 Project: Foster Martin-HEPA                                                                     3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                    (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018

                                    Understanding Your Air Sample Analysis Results
 Description of the Air MoldREPORT™ Analysis
 Mold spores are present in virtually all environments, both indoors and outdoors, with a few notable exceptions such
 as industrial clean rooms and hospital organ transplant rooms. Generally, in "normal" or "clean" indoor
 environments, indoor spore levels are lower, on average, than outdoor levels. However, even the most simple rules
 (such as "inside/outside" ratios) are not always appropriate for determining whether there is a source of mold growth
 indoors, and may provide false or misleading results. One reason these simple methods do not always work is
 because both outdoor and indoor spores levels vary widely due to factors such as weather conditions and activity
 levels within the room. For example, even in a "normal" home, spore levels can be higher than outdoors at certain
 times, such as after vacuuming (when airborne indoor levels could be unusually high) or after a heavy snow (when
 outdoor levels could be unusually low).

 MoldREPORT™ is designed and intended to provide an easily understood report for residential home inspections to
 help in the assessment of mold growth in the living areas sampled. MoldREPORT™ relies on non-invasive and non-
 destructive tests, so it cannot guarantee that hidden mold problems will be detected and reported. MoldREPORT™
 results apply only to the rooms or areas tested, at the time of sampling. Factors taken into consideration include, but
 are not limited to, the distribution of spore types, absolute levels inside and outside, relative levels inside and outside,
 the range and variation of spore levels that normally occur outside, and the types of spores present.

 Providing you with a helpful, understandable and top quality interpretation requires special expertise. EMLab P&K
 recognizes this and has taken the following steps to provide the best possible interpretation of your air sampling
 results.

 1. Your samples were analyzed by EMLab P&K,

 2. We utilize the proprietary MoldREPORT™ analysis system, which was developed by a team including leading
 professionals in the indoor air quality (IAQ) industry.

 MoldSCORE™
 The MoldSCORE™ indicates the likelihood, based upon the air sample laboratory data, that there is unusual or
 excessive mold growth in the properly sampled indoor area(s). It is calculated using EMLab P&K's proprietary
 MoldREPORT™ system, based upon the indicator scores described in the following paragraphs. When the on-site
 inspection and sampling are done properly, MoldREPORT™ is less likely to give false results than other, simpler
 methods of interpretation often employed for routine home inspections, such as ratio analysis. It is important to bear
 in mind that any analytical method, findings, and interpretation should be used with a degree of caution and common
 sense. Any decisions related to health should be made in consultation with a medical doctor, and nothing in this
 report is intended to provide medical advice or indicate whether a medical or safety problem exists.

 Descriptions of the indicators:

 Quantity and concentration of Penicillium/Aspergillus spore types
 This score indicates the likelihood that spores of Penicillium or Aspergillus present in the indoor sample originated
 from indoor sources. A high score suggests that there is a high probability that Penicillium or Aspergillus is
 originating indoors, such as from active mold growth. A low score indicates that the spores present are more likely to
 have originated from outdoor sources and come inside through doors and windows, carried in on people's clothing,
 or similar methods. Penicillium and Aspergillus are among the most common molds found growing indoors and are
 one of the more commonly found molds outside as well. Their spores are frequently present in both outdoor and
 indoor air, even in relatively clean, mold-growth-free, indoor environments. Additionally, their levels vary
 significantly based upon activity levels, dustiness, weather conditions, outside air exchange rates, and other factors.



 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                            EMLab ID: 2026826, Page 17 of 27



                                                                                                                                    Exh. A - Page 143
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 176 of 225 PageID #: 186
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                           EMLab P & K
 Project: Foster Martin-HEPA                                                                     3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                    (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018

                         Understanding Your Air Sample Analysis Results (continued)
 Quantity and concentration of Cladosporium spores
 This score indicates the likelihood that spores of Cladosporium present in the indoor sample originated from indoor
 sources. A high rating indicates that there is probably a source of Cladosporium spores in this location.
 Cladosporium is one of the most commonly found molds outdoors and is also frequently found growing indoors. Even
 more so than Penicillium and Aspergillus, spores from Cladosporium are generally present in outdoor and indoor air,
 even in relatively clean, mold-growth-free, indoor environments. Its levels also vary based upon activity levels,
 weather conditions, dustiness, outside air exchange rates, and other factors.

 Quantity and concentration of basidiospores
 This score indicates the likelihood that basidiospores present in the indoor sample originated from indoor sources.
 Basidiospores are extremely common outdoors and originate from fungi in gardens, forests, and woodlands. It is rare
 for the source of basidiospores to be indoors because basidiospores are produced by a group of fungi that includes
 mushrooms and other "macrofungi" (and are not technically molds). Their concentrations can be extremely high
 outdoors during wet conditions such as rain. Nevertheless, in certain conditions basidiospores can be produced
 indoors, and a high rating indicates that there is probably a source of basidiospores indoors. One reason
 basidiospores are important is that they can be an indicator of wood decay (e.g. "dry rot"), a condition that can
 dramatically reduce the structural integrity of a building.

 Quantity and concentration of "marker" spore types
 This score indicates the likelihood that certain distinctive types of mold present in the indoor sample originated from
 indoor sources. Certain types of mold are generally found in very low numbers outdoors. Consequently, their
 presence indoors, even in relatively low numbers compared to Penicillium, for example, is often an indication that
 these molds are originating from growth indoors. When present, these mold types are often the clearest indicator of a
 mold problem. Note, however, that the absence of marker spore types does not mean that a mold problem does not
 exist in a house; it just means that if a problem is present, it either involves types of mold that are more commonly
 found both indoors and outdoors, or that the spores from these molds were not airborne at the time of sampling.

 Quantity and concentration of "other" spore types
 This score indicates the likelihood that other types of mold present in the indoor sample originated from indoor
 sources. This score includes a heterogeneous group of genera that are not covered by any of the scores discussed
 above, and so it is difficult to make generalizations about this group. Molds in the "other" category are generally
 found outdoors in moderate numbers, and are therefore not considered markers of indoor growth. They are frequently
 found indoors but in lower numbers compared to Cladosporium and Penicillium/Aspergillus spores.

 Other Sample Information:

 Sample clarity and visibility
 Air samples collect dirt and debris in addition to mold spores. Higher levels of debris make analysis more difficult,
 because they obscure the analyst's view of spores and can therefore lead to undercounting of the mold spores present.
 When sample clarity and visibility is rated "poor", the analytical results should be regarded as minimal and actual
 counts may be higher than reported.

 Other "normal trapping" spores
 Some molds do not grow on wet building materials and, consequently, are not usually indicative of building problems,
 or growth on building surfaces. Strict plant pathogens, for example, even if present in high numbers indoors, are not
 an indication of a building leak or mold growth on a wall or carpet. This section of the report focuses on the exposure
 level that may be due to these spore types.




 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                            EMLab ID: 2026826, Page 18 of 27



                                                                                                                                    Exh. A - Page 144
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 177 of 225 PageID #: 187
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                           EMLab P & K
 Project: Foster Martin-HEPA                                                                     3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                    (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018

                         Understanding Your Air Sample Analysis Results (continued)
 Sample volume
 The "sample volume" indicates the volume of air sampled and is reported in liters. A high volume indicates a greater
 sensitivity, but is more likely to result in poor sample clarity and visibility. A low volume is more likely to have good
 sample clarity and visibility, but has less sensitivity.

 Comments
 This is where analysts can comment on unusual details or add additional information that is not captured by the other
 areas of the air sampling report.




 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                            EMLab ID: 2026826, Page 19 of 27



                                                                                                                                    Exh. A - Page 145
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 178 of 225 PageID #: 188
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                           EMLab P & K
 Project: Foster Martin-HEPA                                                                     3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                    (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018

                                    Interpretive Guidelines to MoldSCORE™ Levels
 MoldSCORE™ Level: LOW
 A low MoldSCORE™ indicates the air sample did not detect, relative to the outside air, the presence of indoor mold growth in
 this room at the time of sampling. This result, by itself, is evidence for, but does not prove, the absence of indoor mold growth in
 the location sampled.

 Mold is a living organism that can grow very rapidly under certain conditions. If any portion of the room tested is, or has been,
 damp for an extended period since the time of testing, the likelihood of mold growth may have increased substantially since the
 time of the inspection.

 MoldSCORE™ Level: MODERATE
 The air sampling MoldSCORE™ indicated the possibility of mold growth indoors. Generally, a MODERATE level means that the
 results are inconclusive, and suggests that a more detailed inspection may make sense if there are any other reasons to believe
 that mold growth could be a problem in this location. Indoor mold growth is a possibility, but was not confirmed in the areas
 sampled at the time of the inspection. Factors such as recent cleaning, HVAC cycles, high winds, rain, or other indoor or outdoor
 conditions could have contributed to a MODERATE result in the absence of indoor mold growth. If mold growth is found,
 regardless of the magnitude of the growth, it is recommended that the growth be physically removed using appropriate controls
 and precautions. If mold has been located and removed, it is also important to identify and correct the source of moisture or
 dampness that allowed the mold to grow. If the affected area becomes moist again, mold growth will occur again. We recommend
 that you consult a professional if you are not familiar with how to locate and safely remove mold growth or how to identify and
 correct moisture problems that may exist.

 Mold is a living organism that can grow very rapidly under certain conditions. If any portion of the room tested is, or has been,
 damp for an extended period since the time of testing, the likelihood of mold growth may have increased substantially since the
 time of the inspection.

 MoldSCORE™ Level: HIGH
 The air sampling MoldSCORE™ indicated a high likelihood of mold growth in the area tested at the time of the inspection. This
 result is NOT necessarily an indication that any such mold growth was extensive. If mold growth is found, regardless of the
 magnitude of the growth, it is recommended that the growth be physically removed using appropriate controls and precautions. If
 mold has been located and removed, it is also important to identify and correct the source of moisture or dampness that allowed
 the mold to grow. If the affected area becomes moist again, mold growth will occur again. We recommend that you consult a
 professional if you are not familiar with how to locate and safely remove mold growth or how to identify and correct moisture
 problems that may exist.

 Health concerns
 Neither this report nor any MoldSCORE™ rating is intended to provide medical advice, nor shall it be interpreted as an
 indicator of potential medical or safety problems. If you have concerns or questions relating to your health, please contact your
 physician for advice.




 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                            EMLab ID: 2026826, Page 20 of 27



                                                                                                                                    Exh. A - Page 146
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 179 of 225 PageID #: 189
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                           EMLab P & K
 Project: Foster Martin-HEPA                                                                     3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                    (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018

      Important Information, Terms and Conditions Relating to your MoldREPORT™
 The study and understanding of molds is a progressing science. Because different methods of sampling, collection and analysis
 exist within the indoor air quality industry, different inspectors or analysts may not always agree on the mold concentrations
 present in a given environment. Additionally, the airborne levels of mold change frequently and by large amounts due to many
 factors including activity levels, weather, air exchange rates (indoors), and disturbance of growth sites. It is possible for report
 interpretations and ranges of accuracy to vary since comprehensive, generally accepted industry standards do not currently exist
 for indoor air quality inspections of mold in residential indoor environments. MoldREPORT™ is intended to provide an analysis
 based upon samples taken at the site at the time of the inspection. Mold levels can and do change rapidly, especially if home
 building materials or contents remain wet for more than 24 hours, or if they are wet frequently. MoldREPORT™ is not intended
 to provide medical or healthcare advice. All allergy or medical-related questions and concerns, including health concerns
 relating to possible mold exposure, should be directed to a qualified physician. If this report indicates scores that are higher than
 in typical indoor living spaces relative to the outdoor environment, or indicates any findings that are of concern to you, further
 evaluation by a trained mold professional or a Certified Industrial Hygienist (CIH) may be advisable.

 Warranties, legal disclaimers and limitations
 MoldREPORT™ is designed and intended for use only in residential home inspections to help in the assessment of mold growth
 in the living areas sampled. Our laboratory analysis and report are based on the samples submitted to EMLab P&K. The
 inspection(s) and sampling should be performed only by a licensed and professional home inspector, environmental mold
 specialist, industrial hygienist or residential appraiser trained and qualified to conduct mold inspections in residential buildings.
 Client agrees to these conditions for the on-site project inspection.

 This MoldREPORT™ is generated by EMLab P&K at the request of, and for the exclusive use of, the EMLab P&K client named
 on this report. The analysis of the test samples is performed by EMLab P&K. EMLab P&K's policy is that reports and test results
 will not be released to any third party without prior written consent from EMLab P&K's client. This report applies only to the
 samples taken at the time, place and location referenced in the report and received by EMLab P&K, and to the property and
 weather conditions existing at that time only. Please be aware, however, that property conditions, inspection findings and
 laboratory results can and do change over time relative to the original sampling due to changing conditions, the normal
 fluctuation of airborne mold, and many other factors. Client and reader are advised that EMLab P&K does not furnish, and has
 no responsibility for, the inspector or inspection service that performs the inspection or collects the test samples. It is the
 responsibility of the end-user of this report to select a properly trained professional to conduct the inspection and collect
 appropriate samples for analysis and interpretation by MoldREPORT™. None of EMLab P&K, EMLab P&K or their affiliates,
 subsidiaries, suppliers, employees, agents, contractors and attorneys (each an "EMLab P&K-related party") are able to make
 and do not make any determinations as to the safety or health condition of a property in this report. The client and client's
 customer are solely responsible for the use of, and any determinations made from, this report, and no EMLab P&K-related party
 shall have any liability with respect to decisions or recommendations made or actions taken by either the client or the client's
 customer based on the report.

 Except as expressly provided for hereunder, each EMLab P&K-related party hereby expressly disclaims any and all
 representations and warranties of any kind or nature, whether express, implied or statutory, related to the testing services or this
 report. Additionally, neither this report nor any EMLab P&K-related party make any express or implied warranty or guarantee
 regarding the inspection or sampling done by the inspector, the qualifications, training or sampling methodology used by the
 inspector performing the sampling and inspection reported herein, or the accuracy of any information provided to any EMLab
 P&K-related party serving as a basis for this report. EMLab P&K reserves the right to change its scoring method at any time
 without notice. EMLab P&K reserves the right to dispose of samples two weeks after analysis unless otherwise specified by the
 client. If the client chooses to have EMLab P&K continue to retain the samples after this two week period, the client must provide
 written notification to EMLab P&K of this request. EMLab P&K reserves the right to charge for the additional sample storage.

 In no event will any EMLab P&K-related party be liable for any special, indirect, incidental, punitive, or consequential damages
 of any kind regardless of the form of action whether in contract, tort (including negligence), strict product liability or otherwise,
 arising from or related to the testing services or this report. The aggregate liability of the EMLab P&K-related parties related to
 or arising from this report, whether under contract law, tort law, warranty or otherwise, shall be limited to direct damages not to
 exceed the fees actually received by EMLab P&K from the client for the report.

 The invalidity or unenforceability, in whole or in part, of any provision, term or condition herein shall not invalidate or otherwise
 affect the enforceability of the remainder of these provisions, terms and conditions.


 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                            EMLab ID: 2026826, Page 21 of 27



                                                                                                                                    Exh. A - Page 147
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 180 of 225 PageID #: 190
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                           EMLab P & K
 Project: Foster Martin-HEPA                                                                     3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                    (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018

                                       Scope and Limitations of Report and Analysis
 The scope of the MoldREPORT™ system is limited to EMLab P&K's proprietary MoldSCORE™ analysis of the air and surface
 samples taken at the time of the inspection. EMLab P&K cannot be liable, in any form of action, for any items that are not
 included within the scope of the MoldREPORT™ system.

 MoldREPORT™ Inspection Limitations
 MoldREPORT™ results are based upon mold air and surface samples. Mold surface samples are useful for confirming and
 identifying mold growth while air samples measure airborne mold levels.

 This report provided by EMLab P&K is based upon the assumption that the information provided by the inspector is true and
 correct, that a sufficient number of mold and air samples were collected at all the appropriate locations following proper
 inspection and sampling protocols, and that the mold samples collected represent normal conditions at the site sampled. EMLab
 P&K is not able to, and cannot, guarantee the skill level or experience of the inspector performing the MoldREPORT™
 inspection, nor can it guarantee that the samples have been properly collected at the site or are representative of normal
 conditions since many factors outside of EMLab P&K's (and the inspector's) control can and do substantially affect mold levels.
 Consequently, EMLab P&K cannot guarantee the accuracy of the interpretation provided herein. It is the responsibility of the
 inspector to insure that the mold samples were collected properly. MoldREPORT™ relies on non-invasive and non-destructive
 tests, so it cannot guarantee that hidden mold problems will be detected and reported. MoldREPORT™ results apply only to the
 rooms sampled, not to the entire building or any other rooms. It is the responsibility of the property owner, potential purchaser or
 other end-user of this report to select a properly trained and qualified inspector.

 About Air Sample Sampling and Analysis
 EMLab P&K requires at least one outdoor air sample and one indoor air sample in order to make indoor/outdoor comparisons
 and assessments of airborne mold levels, which are an integral part of the EMLab P&K MoldREPORT™ system. The indoor air
 samples taken can be representative of the airborne mold present in the area sampled. The analysis and interpretation of these air
 samples is proprietary and is based upon: relative levels of spores present, quantities and concentration of Penicillium/
 Aspergillus type spores, quantity and concentration of Cladosporium spores, quantity and concentration of basidiospores,
 quantity and concentration of "marker" spore types, quantity and concentration of "other" spore types, and the distribution of
 mold spore types. Spore identification is performed visually by trained analysts according to industry norms. Using visual
 identification, most mold spores lack sufficient distinguishing characteristics to allow for species identification, so the
 MoldREPORT™ analysis is generally performed at the genus level. Currently there are no generally-accepted protocols or
 regulations regarding air sampling for molds, in large part due to the inability of any single technique to provide a complete
 analysis of all mold spores and mold growth in an area. Air sampling for MoldREPORT™ can be performed using any standard
 "spore trap" method, which are also called "non-viable air sampling methods" because spore traps do not require the
 germination and growth of the spores before identification. Commonly used spore trap equipment for performing air sampling for
 mold includes Zefon Air-O-Cell™ Cassettes, Burkard™ samplers, and Allergenco™ samplers.

 About Surface Sampling and Analysis
 Surface sampling can be useful for differentiating between mold growth and stains, for identifying the type of mold growth
 present (if present), and, in some cases, identifying signs of mold growth in the vicinity. Although not required, surface sampling
 can improve the accuracy of the results and interpretation of the inspected environment if sampled correctly. EMLab P&K
 accepts surface samples in the form of swabs, tapes, or bulks in order to perform a direct examination of a specific location. The
 MoldREPORT™ analysis system uses the direct examination data in addition to the MoldREPORT™ air sample analysis.




 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                            EMLab ID: 2026826, Page 22 of 27



                                                                                                                                    Exh. A - Page 148
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 181 of 225 PageID #: 191
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                           EMLab P & K
 Project: Foster Martin-HEPA                                                                     3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                    (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018

                                                                          Glossary
 Background Debris - Material(s) found on the air sample other than mold spore(s) or mycelia. Examples include skin
 cells, insect parts, and fibers.

 False Positive - A test result that incorrectly indicates mold growth, when in reality there is none. For example, an air
 sample test result indicating indoor mold growth, when no mold growth is actually present is a "False Positive."

 False Negative - A test result that shows no mold growth, when in reality mold growth is present. For example, an air
 sample test result indicating no indoor mold growth, when mold growth is actually present.

 Fungi - A kingdom that includes yeasts, molds, smuts, and mushrooms. Fungi are not animals, plants or bacteria, but
 their own kingdom.

 HVAC - Heating, Ventilation, and Air Conditioning (HVAC) systems are possible reservoirs for mold growth.

 IAQ - Indoor Air Quality (IAQ) is the main focus of EMLab P&K and the majority of its customers.

 Industrial Hygienist - A professional who monitors exposure to environmental factors that can affect human health.
 Examples of environmental factors include chemicals, heat, asbestos, noise, radiation, and biological hazards.

 Marker Spores - Spore types, such as Chaetomium and Stachybotrys, that when found indoors, even in moderate
 numbers are an indication of indoor mold growth.

 Note: This glossary is intended to provide general information about commonly occurring molds, and is not intended
 to be a complete source.

 Alternaria:
 Distribution: Alternaria is one of the most common molds and is abundant worldwide. This genus contains around
 40 to 50 different species, only a few of which are commonly found indoors.
 How it is spread: Alternaria spores are easily dispersed through the air by wind.
 Where it is found outdoors: Alternaria is common outdoors in soil, dead organic debris, foodstuffs, and textiles. It is
 also a plant pathogen and is frequently found on dead or weakened plants.
 Where it is found indoors: Alternaria can grow on a variety of substrates indoors when moisture is present.

 Acremonium:
 Distribution: Acremonium is a common mold, including about 80 to 90 different species.
 How it is spread: Acremonium produces wet slimy spores and is normally dispersed through water flow or droplets,
 or by insects. Old dry Acremonium spores can sometimes be dispersed through the air by wind.
 Where it is found outdoors: Acremonium is found in soil, on dead organic material and debris, hay, and foodstuffs.
 Where it is found indoors: Acremonium can be found anywhere indoors, but requires very wet conditions in order to
 proliferate. The spores probably require active disturbance for release.

 Aspergillus: (see Penicillium/Aspergillus)




 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                            EMLab ID: 2026826, Page 23 of 27



                                                                                                                                    Exh. A - Page 149
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 182 of 225 PageID #: 192
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                           EMLab P & K
 Project: Foster Martin-HEPA                                                                     3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                    (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018

                                                               Glossary (continued)
 Basidiospores:
 Distribution: Basidiospores are produced by a very large and diverse group of fungi called basidiomycetes, which
 contains over 1000 different genera. This group includes many well-known macrofungi, such as mushrooms.
 Basidiospores are often abundant in outdoor air and sometimes in indoor air.
 How they are spread: Many types of basidiospores are actively released into the air during periods of high humidity
 or rain. Once the spores are expelled into the air, they are dispersed easily by wind.
 Where they are found outdoors: Basidiomycetes are very common outdoors and can be found in gardens, forests,
 grasslands, and anywhere there is a substantial amount of dead organic material. They are also found on or near
 plants and some are known to be plant pathogens.
 Where they are found indoors: Basidiospores found indoors typically come from outdoor sources and are carried
 inside by airflow or on clothing. Certain kinds of basidiomycetes can grow indoors, such as those that cause "dry
 rot", which can cause structural damage to wood. Occasionally, other basidiomycetes such as mushrooms can be
 found indoors, but this is not common. Generally, basiodiomycetes require wet conditions for prolonged periods in
 order to grow indoors.

 Bipolaris / Dreschlera:
 Distribution: Bipolaris and Dreschlera are two separate genera of molds that are so visually similar that they are
 commonly discussed together as a group. Both genera include around 30 - 40 different species.
 How they are spread: Bipolaris / Dreschlera spores are easily dispersed through the air by wind.
 Where they are found outdoors: Bipolaris / Dreschlera type spores are most abundant in tropical or subtropical
 climates. They can grow in soils, on plant debris and grasses, and are known to be plant pathogens.
 Where they are found indoors: Bipolaris / Dreschlera can grow on a variety of indoor substrates when moisture is
 present.

 Ceratocystis / Ophiostoma:
 Distribution: Ceratocystis / Ophiostoma are two separate genera of molds that are so visually similar that they are
 commonly discussed together as a group. These genera contain around 50 to 60 different species.
 How they are spread: Ceratocystis / Ophiostoma produce wet slimy spores and are normally dispersed through
 water flow, droplets, or by insects. These spores are rarely identified in air samples.
 Where they are found outdoors: Ceratocystis / Ophiostoma are very common in commercial lumberyards and
 forests.
 Where they are found indoors Ceratocystis / Ophiostoma are abundant on wood framing material in the home,
 although the spores are rarely found in air samples. This mold is sometimes called "lumber mold".

 Chaetomium:
 Distribution: Chaetomium is a common mold worldwide. This genus contains around 80 - 90 different species.
 How it is spread: Chaetomium spores are formed inside fruiting bodies. The spores are released by being forced out
 through a small opening in the fruiting body. The spores are then dispersed by wind, water drops, or insects.
 Where it is found outdoors: Chaetomium can be found in soil, on various seeds, cellulose substrates, dung, woody
 materials and straw.
 Where it is found indoors: Chaetomium can grow in a variety of areas indoors, but is usually found on cellulose-
 based or woody materials in the home. It is very common on sheetrock paper that is or has been wet.




 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                            EMLab ID: 2026826, Page 24 of 27



                                                                                                                                    Exh. A - Page 150
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 183 of 225 PageID #: 193
                                                EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                           EMLab P & K
 Project: Foster Martin-HEPA                                                                     3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                    (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018

                                                               Glossary (continued)
 Cladosporium:
 Distribution: Cladosporium is an abundant mold worldwide and is normally one of the most abundant spore types
 present in both indoor or outdoor air samples. This genus contains around 20 - 30 different species.
 How it is spread: Cladosporium produces dry spores that are formed in branching chains. Spores are released by
 twisting of the spore-bearing hyphae as they dry. Thus, the spores are most abundant in dry weather.
 Where it is found outdoors: Cladosporium is found in a wide variety of soils, in plant litter, and on old and decaying
 plants and leaves. Some species are plant pathogens
 Where it is found indoors: Cladosporium can be found anywhere indoors, including textiles, bathroom tiles, wood,
 moist windowsills, and any wet areas in a home. Some species of Cladosporium grow at temperatures near or below
 0(C) / 32(F) and can often be found on refrigerated foodstuffs and even frozen meat.

 Curvularia:
 Distribution: Curvularia is a cosmopolitan fungus and includes approximately 30 different species.
 How it is spread: Curvularia produces dry spores that are formed in fragile chains and is very easily dispersed
 through the air by wind.
 Where it is found outdoors: Curvularia is most common in tropical or subtropical regions. It is found in soil and on
 debris of tropical plants.
 Where it is found indoors: Curvularia can be found growing on a variety of substrates indoors.

 Epicoccum:
 Distribution: Epicoccum is a cosmopolitan mold that includes only two species.
 How it is spread: Epicoccum produces large dry spores that are easily dispersed through the air by wind.
 Where it is found outdoors: Epicoccum can be found in soils or on plant debris.
 Where it is found indoors: Epicoccum is commonly found on many different substrates indoors including paper,
 textiles, and insects.

 Memnoniella:
 Distribution: Memnoniella is a cosmopolitan mold genus that includes approximately five species. It is frequently
 found in conjunction with Stachybotrys species due to its similar ecological preferences.
 How it is spread: Memnoniella produces dry spores that are easily dispersed through the air by wind.
 Where it is found outdoors: Memnoniella can be found outdoors in soil, in plant debris or litter, and as pathogens
 on some types of living plants.
 Where it is found indoors: Memnoniella can grow on a variety of substrates indoors, but mainly can be found on
 wet cellulose-based materials, such as wallboard, jute, wicker, straw baskets, paper and other wood by-products.

 Paecilomyces:
 Distribution: Paecilomyces is ubiquitous in nature and includes between 9 and 30 different species, depending on the
 taxonomic system used. Its spores are visually similar to Penicillium / Aspergillus types of spores.
 How it is spread: Paecilomyces produce dry spores that are easily dispersed through the air by wind.
 Where it is found outdoors: Paecilomyces is found outdoors in soils and decaying plant matter, composting
 processes, legumes and cottonseeds. Some species parasitize insects.
 Where it is found indoors: Paecilomyces can be found on a number of materials indoors. It has been isolated from
 jute fibers, papers, PVC, timber, optical lenses, leather, photographic paper, cigar tobacco, harvested grapes, bottled
 fruit, and fruit juice undergoing pasteurization.




 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                            EMLab ID: 2026826, Page 25 of 27



                                                                                                                                    Exh. A - Page 151
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 184 of 225 PageID #: 194
                                                                         EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                                                                                   MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                           EMLab P & K
 Project: Foster Martin-HEPA                                                                     3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                    (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018

                                                               Glossary (continued)
 Penicillium / Aspergillus:
 Distribution: Penicillium / Aspergillus are two separate genera of molds that are so visually similar that they are
 commonly discussed together as a group. Together, there are approximately 400 different species of Penicillium /
 Aspergillus.
 How it is spread: Penicillium / Aspergillus produce dry spore types that are easily dispersed through the air by wind.
 These fungi serve as a food source for mites, and therefore can be dispersed by mites and various insects as well.
 Where it is found outdoors: Penicillium / Aspergillus are found in soils, decaying plant debris, compost piles, fruit
 rot and some petroleum-based fuels.
 Where it is found indoors: Penicillium / Aspergillus are found throughout the home. They are common in house
 dust, growing on wallpaper, wallpaper glue, decaying fabrics, wallboard, moist chipboards, and behind paint. They
 have also been isolated from blue rot in apples, dried foodstuffs, cheeses, fresh herbs, spices, dry cereals, nuts,
 onions, and oranges.

 Stachybotrys:
 Distribution: Stachybotrys is ubiquitous in nature. This genus contains about 15 species.
 How it is spread: Stachybotrys produces wet slimy spores and is commonly dispersed through water flow, droplets,
 or insect transport, less commonly through the air.
 Where it is found outdoors: Stachybotrys is found in soils, decaying plant debris, decomposing cellulose, leaf litter
 and seeds.
 Where it is found indoors: Stachybotrys is common indoors on wet materials containing cellulose such as
 wallboard, jute, wicker, straw baskets, and other paper materials.

 Torula:
 Distribution: Torula is a cosmopolitan microfungus and includes approximately eight different species
 How it is spread: Torula produces dry spores that are easily dispersed through the air by wind.
 Where it is found outdoors: Torula is most common in temperate regions and has been isolated from soils, dead
 herbaceous stems, sugar beet roots, groundnuts, and oats.
 Where it is found indoors: Torula is common indoors on wet materials containing cellulose, such as wallboard, jute,
 wicker, straw baskets, and other paper materials.

 Ulocladium:
 Distribution: Ulocladium is ubiquitous in nature and includes approximately nine different species.
 How it is spread: Ulocladium produces dry spores that are easily dispersed through the air by wind.
 Where it is found outdoors: Ulocladium is common outdoors in soils, dung, paint, grasses, wood, paper, and
 textiles.
 Where it is found indoors: Ulocladium is common indoors on very wet materials containing cellulose such as
 wallboard, jute, wicker, straw baskets, and other paper materials. Ulocladium requires a significant amount of water
 to flourish.




 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                            EMLab ID: 2026826, Page 26 of 27



                                                                                                                                    Exh. A - Page 152
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 185 of 225 PageID #: 195
                                                                         EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                                                                                   MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                           EMLab P & K
 Project: Foster Martin-HEPA                                                                     3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                    (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018

                                                          References and Resources
 References:

 Airborne Allergens, William Solomon, Guest Editor. Immunology & Allergy Clinics of North America, Volume 9, Number 2,
 August 1989. W.B. Saunders Company, Publishers, The Curtis Center, Independence Square West, Philadelphia, PA 19106-3399.
 This book may be out of print.

 Bioaerosols: Assessment and Control, Janet Macher, Sc.D., M.P.H., Editor. 1999. ACGIH, 1330 Kemper Meadow Drive,
 Cincinnati, OH 45240-1634.

 Bioaerosols, Harriet Burge, Ph.D. 1995. Lewis Publishers, 2000 Corporate Blvd., N.W., Boca Raton, FL 33431-9868.

 Biological Contaminants in Indoor Environments, Morey, Feeley, Otten, Editors. 1990. ASTM, 1916 Race Street, Philadelphia,
 PA 19103. STP 1071.

 Fungi and Bacteria in Indoor Air Environments: Health Effects, Detection and Remediation, Proceedings from the International
 Conference, Saratoga Springs, NY October 6-7, 1994.

 Health Implications of Fungi in Indoor Environments, Edited by R.A. Samson. 1994. Elsevier Science, P.O. Box 945, Madison
 Square Station, New York, NY 10159-0945.

 Indoor Air and Human Health, Gammage & Kaye. 1985. Lewis Publishers.

 Microfungi, S.G. Gravesen, J.C. Frisvad, & R.A. Samson, published by Munksgaard.

 Useful Websites:

 www.acgih.org
 American Conference of Governmental Industrial Hygienists - information on IAQ and useful links.

 www.aiha.org
 American Industrial Hygiene Association - general IAQ information

 www.calepa.ca.gov
 California Environmental Protection Agency - California IAQ resources

 www.emlab.com
 EMLab P&K

 www.epa.gov
 Environmental Protection Agency - information regarding prevention and remediation of mold

 www.health.state.ny.us
 New York State Department of Health - New York state recommendations for IAQ, indoor mold inspections, remediation, and
 prevention

 www.moldreport.com
 MoldREPORT™ - online store, and other information about MoldREPORT™

 www.nih.gov
 National Institutes of Health - information regarding environmental health issues, including IAQ

 www.niehs.nih.gov
 National Institute of Environmental Health Sciences - information on mold



 This report is generated by EMLab P&K at the request, and for the exclusive use, of the EMLab P&K client named in this report. Important terms, conditions,
 and limitations apply. The EMLab P&K client and all readers of this report are advised to completely read the information, terms, conditions and limitations of
 this report.
 © 2002 - 2010 EMLab P&K
 EMLab P&K, LLC                                                                                                            EMLab ID: 2026826, Page 27 of 27



                                                                                                                                    Exh. A - Page 153
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 186 of 225 PageID #: 196
                                                             EXHIBIT 4




 Indiana University Environmental Health & Safety
 Mr. Dan Derheimer
 2427 E. 2nd street
 Bloomington, IN 47401 USA
 (812) 855-6316




 Approved by:                                                       Dates of Analysis:
                                                                    MoldReport Spore trap: 10-22-2018




      Technical Manager
      Ariunaa Jalsrai




 Service SOPs: MoldReport Spore trap (EM-MY-S-1038)
 AIHA-LAP, LLC accredited service, Lab ID #103005




 All samples were received in acceptable condition unless noted in the Report Comments portion in the body of the report. Due to
 the nature of the analyses performed, field blank correction of results is not applied. The results relate only to the items tested.


 The analytical sensitivity is the spores/m3 divided by the raw count. The limit of detection is the analytical sensitivity multiplied
 by the sample volume divided by 1000.

 EMLab P&K ("the Company") shall have no liability to the client or the client's customer with respect to decisions or
 recommendations made, actions taken or courses of conduct implemented by either the client or the client's customer as a result
 of or based upon the Test Results. In no event shall the Company be liable to the client with respect to the Test Results except for
 the Company's own willful misconduct or gross negligence nor shall the Company be liable for incidental or consequential
 damages or lost profits or revenues to the fullest extent such liability may be disclaimed by law, even if the Company has been
 advised of the possibility of such damages, lost profits or lost revenues. In no event shall the Company's liability with respect to
 the Test Results exceed the amount paid to the Company by the client therefor.
 EMLab P&K, LLC                                                                                         EMLab ID: 2026826, Page 1 of 4



                                                                                                             Exh. A - Page 154
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 187 of 225 PageID #: 197
                                                                          EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                                                                                       MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                             EMLab P & K
 Project: Foster Martin-HEPA                                                                       3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                      (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018

                                                                  Laboratory Results
 MoldREPORT: Spore Trap Analysis
 Location:                                               2834712:            2834704:      2834707:      2834699:      2834708:
                                                         Outdoor            Martin 313 #1 Martin 313 #2 Martin 313 #3 Martin 302 #1
 Comments (see below)                                      None                   None                   None                   None                   None
 Lab ID-Version‡:                                       9562379-1              9562380-1              9562381-1              9562382-1              9562383-1
 Analysis Date:                                         10/22/2018             10/22/2018             10/22/2018             10/22/2018             10/22/2018
 Spore types detected:                               raw ct.     per m3     raw ct.     per m3     raw ct.     per m3     raw ct.     per m3     raw ct.     per m3

 Alternaria                                              -          -           -          -          -              -        -            -         -          -
 Arthrinium                                              -          -           -          -          -              -        -            -         -          -
 Ascospores                                              6        320           -          -          -              -        -            -         -          -
 Aureobasidium                                           -          -           -          -          -              -        -            -         -          -
 Basidiospores                                          26       1,400          2        110          1             53        2           110        1         53
 Bipolaris/Drechslera group                              -          -           -          -          -              -        -            -         -          -
 Botrytis                                                -          -           -          -          -              -        -            -         -          -
 Chaetomium                                              -          -           1         13          -              -        -            -         -          -
 Cladosporium                                           12        640           -          -          -              -        -            -         -          -
 Curvularia                                              -          -           1         53          -              -        -            -         -          -
 Epicoccum                                               1         53           1         53          -              -        -            -         -          -
 Fusarium                                                -          -           -          -          -              -        -            -         -          -
 Myrothecium                                             -          -           -          -          -              -        -            -         -          -
 Nigrospora                                              2        110           -          -          -              -        -            -         2        110
 Penicillium/Aspergillus types                           -          -          11        590          6            320        -            -        64       3,400
 Pithomyces                                              1         53           -          -          -              -        -            -         1         53
 Rusts                                                   9        480           2        110          1             53        2           110        1         53
 Smuts, Periconia, Myxomycetes                          11        590           1         53          2            110        2           110        3        160
 Stachybotrys                                            -          -           -          -          -              -        -            -         -          -
 Stemphylium                                             -          -           -          -          -              -        -            -         -          -
 Torula                                                  -          -           -          -          -              -        -            -         -          -
 Trichoderma                                             -          -           -          -          -              -        -            -         -          -
 Ulocladium                                              -          -           -          -          -              -        -            -         -          -
 Zygomycetes                                             -          -           -          -          -              -        -            -         -          -
 Others                                                  1         53           1         53          -              -        -            -         2        110
                               § Total:                          3,700                  1,000                      530                    320                3,900
 Additional Information:
 Hyphal fragments                                           53                      53                   53                      -                      160
 Skin cells                                               13 - 67              8,000 - 13,          4,000 - 8,000          4,000 - 8,000            8,000 - 13,
                                                                                   000                                                                  000
 Pollen                                                       53                   < 13                       53                     53                 < 13
 Background debris†                                            3                     3                         3                      2                   3
 Limit of detection                                           13                    13                        13                     13                  13
 Sample volume (liters)                                       75                    75                        75                     75                  75
 MoldSCORE:                                                  N/A                   189                       150                    112                 300
 Comments:


 † Background debris is an indication of the amounts of non-biological particulate matter present on the slide (dust in the air) and is graded from 1 to 4 with 4
 indicating the largest amounts.
 For more information on the fungi identified in your report please visit www.emlab.com.
 ‡ A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the
 value of "x".
 § Total Spores/m3 has been rounded to two significant figures to reflect analytical precision.
 Rev02 03/11
 EMLab P&K, LLC                                                                                                                   EMLab ID: 2026826, Page 2 of 4



                                                                                                                                      Exh. A - Page 155
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 188 of 225 PageID #: 198
                                                                          EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                                                                                     MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                             EMLab P & K
 Project: Foster Martin-HEPA                                                                       3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                      (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018

                                                                  Laboratory Results
 MoldREPORT: Spore Trap Analysis
 Location:                                               2834713:                     2834715:                     2834703:                     2834700:
                                                        Martin 302 #2                Martin 302 #3                Martin 121 #1                Martin 121 #2
 Comments (see below)                                         None                         None                         None                         None
 Lab ID-Version‡:                                          9562384-1                    9562385-1                    9562386-1                    9562387-1
 Analysis Date:                                            10/22/2018                   10/22/2018                   10/22/2018                   10/22/2018
 Spore types detected:                                 raw ct.       per m3        raw ct.        per m3        raw ct.       per m3         raw ct.       per m3
 Alternaria                                               -             -              -             -             -              -             -              -
 Arthrinium                                               -             -              -             -             -              -             -              -
 Ascospores                                               -             -              -             -             -              -             1             53
 Aureobasidium                                            -             -              -             -             -              -             -              -
 Basidiospores                                            2           110              3           160             1             53             2            110
 Bipolaris/Drechslera group                               -             -              -             -            1              53             -              -
 Botrytis                                                 -             -              -             -             -              -             -              -
 Chaetomium                                               -             -             1             13             -              -             -              -
 Cladosporium                                             -             -              -             -             -              -             -              -
 Curvularia                                               1            53              1            53             3            160             -              -
 Epicoccum                                                1            53              -             -            1              53             -              -
 Fusarium                                                 -             -              -             -             -              -             -              -
 Myrothecium                                              -             -              -             -             -              -             -              -
 Nigrospora                                               -             -              -             -             -              -             1             53
 Penicillium/Aspergillus types                           26          1,400            22          1,200           42           2,200            5            270
 Pithomyces                                               -             -             2            110            3             160             3            160
 Rusts                                                    2           110              -             -            2             110             3            160
 Smuts, Periconia, Myxomycetes                            2           110              2           110             4            210             3            160
 Stachybotrys                                             -             -              -             -             -              -             -              -
 Stemphylium                                              -             -              -             -             -              -             -              -
 Torula                                                   -             -              -             -             -              -             -              -
 Trichoderma                                              -             -              -             -             -              -             -              -
 Ulocladium                                               -             -              -             -             -              -             -              -
 Zygomycetes                                              -             -              -             -             -              -             -              -
 Others                                                   -             -              -             -             -              -             2            110
                               § Total:                              1,800                        1,600                        3,000                        1,100
 Additional Information:
 Hyphal fragments                                               -                            -                         110                            53
 Skin cells                                              4,000 - 8,000                4,000 - 8,000               8,000 - 13,000                4,000 - 8,000
 Pollen                                                        53                          < 13                        < 13                           53
 Background debris†                                             3                            3                           3                             3
 Limit of detection                                            13                           13                          13                            13
 Sample volume (liters)                                        75                           75                          75                            75
 MoldSCORE:                                                   268                          254                         294                           163
 Comments:




 † Background debris is an indication of the amounts of non-biological particulate matter present on the slide (dust in the air) and is graded from 1 to 4 with 4
 indicating the largest amounts.
 For more information on the fungi identified in your report please visit www.emlab.com.
 ‡ A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the
 value of "x".
 § Total Spores/m3 has been rounded to two significant figures to reflect analytical precision.
 Rev02 03/11
 EMLab P&K, LLC                                                                                                                 EMLab ID: 2026826, Page 3 of 4



                                                                                                                                       Exh. A - Page 156
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 189 of 225 PageID #: 199
                                                                          EXHIBIT 4
 Client: Indiana University Environmental Health & Safety                                                                                     MoldREPORT
 Contact: Mr. Dan Derheimer                                                                                                             EMLab P & K
 Project: Foster Martin-HEPA                                                                       3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
 Date of Sampling: 10-19-2018                                                                                      (866) 871-1984 Fax (856) 334-1040
 Date of Receipt: 10-20-2018
 Date of Report: 10-22-2018

                                                                  Laboratory Results
 MoldREPORT: Spore Trap Analysis
 Location:                                               2834714:                     2834719:                     2834710:                     2834718:
                                                        Martin 121 #3                Martin 209 #1                Martin 209 #2                Martin 209 #3
 Comments (see below)                                         None                         None                         None                         None
 Lab ID-Version‡:                                          9562388-1                    9562389-1                    9562390-1                    9562391-1
 Analysis Date:                                            10/22/2018                   10/22/2018                   10/22/2018                   10/22/2018
 Spore types detected:                                 raw ct.       per m3        raw ct.        per m3        raw ct.       per m3         raw ct.       per m3
 Alternaria                                               -             -              1            53             -              -             -              -
 Arthrinium                                               -             -              -             -             -              -             -              -
 Ascospores                                               1            53              -             -             -              -             -              -
 Aureobasidium                                            -             -              -             -             -              -             -              -
 Basidiospores                                            2           110              4           210             2            110             2            110
 Bipolaris/Drechslera group                               -             -              -             -             1             53             -              -
 Botrytis                                                 -             -              -             -             -              -             -              -
 Chaetomium                                               -             -              1            13             -              -             -              -
 Cladosporium                                             -             -              -             -             -              -             -              -
 Curvularia                                               1            53              1            53             -              -             -              -
 Epicoccum                                                1            53              1            53             -              -             1             53
 Fusarium                                                 -             -              -             -             -              -             -              -
 Myrothecium                                              -             -              -             -             -              -             -              -
 Nigrospora                                               -             -              -             -             -              -             -              -
 Penicillium/Aspergillus types                            -             -             29          1,500            -              -             -              -
 Pithomyces                                               -             -              3           160             -              -             1            53
 Rusts                                                    3           160              3           160             5            270             6            320
 Smuts, Periconia, Myxomycetes                            2           110              1            53             9            480             3            160
 Stachybotrys                                             -             -              -             -             -              -             -              -
 Stemphylium                                              -             -              -             -             -              -             -              -
 Torula                                                   -             -              -             -             -              -             -              -
 Trichoderma                                              -             -              -             -             -              -             -              -
 Ulocladium                                               -             -              -             -             -              -             -              -
 Zygomycetes                                              -             -              -             -             -              -             -              -
 Others                                                   -             -              1            53             2            110             -              -
                               § Total:                               530                         2,400                        1,000                         690
 Additional Information:
 Hyphal fragments                                              53                           -                          110                           110
 Skin cells                                              4,000 - 8,000               8,000 - 13,000               8,000 - 13,000                4,000 - 8,000
 Pollen                                                       < 13                        110                           53                            53
 Background debris†                                             3                           4                            3                             3
 Limit of detection                                            13                          13                           13                            13
 Sample volume (liters)                                        75                          75                           75                            75
 MoldSCORE:                                                   141                         273                          176                           141
 Comments:




 † Background debris is an indication of the amounts of non-biological particulate matter present on the slide (dust in the air) and is graded from 1 to 4 with 4
 indicating the largest amounts.
 For more information on the fungi identified in your report please visit www.emlab.com.
 ‡ A "Version" indicated by -"x" after the Lab ID# with a value greater than 1 indicates a sample with amended data. The revision number is reflected by the
 value of "x".
 § Total Spores/m3 has been rounded to two significant figures to reflect analytical precision.
 Rev02 03/11
 EMLab P&K, LLC                                                                                                                 EMLab ID: 2026826, Page 4 of 4



                                                                                                                                       Exh. A - Page 157
                                       EXHIBIT
  Case 1:18-cv-03305-TWP-DML Document 1-1        5
                                          Filed 10/26/18 Page 190 of 225 PageID #: 200




FACILIT�
BLOOMIN


IBP1astic covering laid throughout room
                                                                                         ver on unit
�a · ·           Operations removed wood paneling and convector co

                                                       tion
      EHS performed coil cleaning and removal of insula

 0 New insulation was installed on hot and cold pipes
       cility O pe ra tio ns installed fire stop to to p and bottom of unit
 [1}/Fa

 G     Facility Ope ra tio ns re -in st al le d wood panelin g and covector cove              r on unit


 0      EHS performed final room dean

                     ection performed by Facility Operations Supervisor
  11:(Final room insp




                                                                                         Exh. A - Page 158
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 191 of 225 PageID #: 201
                                   EXH|B|T6




                 HEPA Air                      Purifier                        Test
                                         October 24, 201 8




                                               Ill
                            INDIANA UNIVERSITY
                        OFFICE 0F THE E            IVE VICE PRESIDENT
                           FOR UNIVERSJ          ACADEMIC AFFAIRS
                            lniw‘rrity   Envirnnmmnal   Ileal‘h   and Safety




                                                                                      Exh.   A - Page 159
      Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 192 of 225 PageID #: 202
                                         EXH|B|T6

University Environmental Health   and Safety                                              October 22, 201 8




HEPA Air                Purifier               Clearance Test

-
    Test to determine                 if   HEPA air     purifier   would   effectively clear    room
    of spores        and reduce mold score                  to acceptable level.

      1.     Tested room             at time     zero
      2.     Tested room             after     2 hours of runtime
      3.     Tested after 4 hours of runtime
-
     Four rooms were tested                     in   worst areas of Foster—Martin.
-
    Windows were closed and HVAC                            unit   was on    at time of test.




m    INDIANA LTNIVERSITY



                                                                                                Exh.   A - Page 160
      Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 193 of 225 PageID #: 203
                                         EXH|B|T6

University Environmental Health   and Safety                                               October 22, 201 8




Foster-Martin 313

         2334'?ﬂ4:       Mam 3 13 #1                        Fm”                    High!      Mam
          1:
               m   p-   5 fUI details
                                                            Ell”          1
                                                                          -00
                                                                               ‘




                                                                                     5n“
                                                                                              31:;

         2334]“072 Martin 3 l 3 #2.                         LET:                   maﬁa       Edi
          m sec p- 6 for details                                          mo
                                                                          ‘    ‘




                                                                                              153*


         2834:5992 Martin 31 3 #3                           I‘m”                   Egg?)
                                                                          1m
                                                                          ‘-          "       3:31;“
          *seep-7fmdetails                              l'                                    1r;
-
    40.74%         reduction of mold score             in   4 hours.
-
     Mold score reduced                  at 2   and 4 hour    interval.
-
     Mold score reduced                  to    normal outdoor      levels.




w    INDIANA UNIVERSITY



                                                                                                 Exh.   A - Page   161
      Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 194 of 225 PageID #: 204
                                         EXH|B|T6

University Environmental Health                      and Safety                                                October 22, 201 8




Foster-Martin 302
           2834'Ir'08:                       Martin 3'02 #1
               W see p- 8 far details


           V
                 _
                         »       -

                                         _
                                                      -



                                                                2 #2             Lower                Higher   Mam
                                                                                                2m             5mm
                                                                    A




           Efﬁgygmﬂi’s
                     '
                                     '
                                                                                 €110                    31m
                                                                                                               2.68

                             ‘       '
                                                      '-
                                                                                 Lower                Higher   Mold
           .
                                         -       r
                                                            .

                                                                l
           gfﬁyimgﬂsﬂ
                 3




                                                                                 c:1m           2m)      31m
                                                                                                               51m;


-
     15.33% reduction                                      of   mold score      in   4 hours.
-
     Mold score reduced                                         at 2    and 4 hour    interval.
-
    Air purifier                         still       appeared           effective, but   4 hours was not enough              for
    clearance due to higher starting concentrations.




w    INDIANA         LINIVERSI'I‘Y




                                                                                                                      Exh.   A - Page 162
      Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 195 of 225 PageID #: 205
                                         EXH|B|T6

University Environmental Health   and Safety                                             October 22, 201 8




Foster-Martin 121

           2834??!33:     Maﬂm Ml               #1
            *I
                 see p. 11 for details


           2334:?(10:
            1"
                        Martin 121 #2
                 seep. 12 for details
                                                            _L33“
                                                                             ma
                                                                             ‘
                                                                                  meg:
                                                                                    '
                                                                                         yam
                                                                                          “9“
                                                                                          163




-
           2334714: Manﬂm
            *seepl'i'n fmdetaﬂs



    52.04% reduction
                               #3      Ml


                                      of   mold score
                                                            -17m”
                                                             c'




                                                            in    4 hours.
                                                                             mu
                                                                             ‘
                                                                                  Egg:
                                                                                    '
                                                                                         gilt:
                                                                                          ‘




                                                                                          141




-
     Mold score reduced                    at 2      and 4 hour    interval.
-
     Mold score reduced                    to   normal outdoor        levels.




m    INDIANA LTNIVERSITY



                                                                                                Exh.   A - Page 163
      Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 196 of 225 PageID #: 206
                                         EXH|B|T6

University Environmental Health   and Safety                                             October 22, 201 8




Foster-Martin 209
                                                                                 HIEhH    Mold
            23344319:     Mamn 2W #1                        Pm"?        j
                                                                        ‘ﬂﬂ  I



                                                                                   m”
            * see p. 14 fm’ details                     l—"lm                             52%“


            2334710: Marlin 2M #2
            1":
              see p. 15 for details
                                                        l-
                                                            I‘m”
                                                            '
                                                                        mu
                                                                        ‘        m        2:21:
                                                                                          >




                                                                                              1   ?6

            2334718: Martin 2W #3
             * see p. 16 for details
                                                        -   I‘m“
                                                                        ‘mu
                                                                                 $532;
                                                                                   '
                                                                                          ﬂ   141

-
    48.35%         reduction of mold score             in   4 hours.
-
     Mold score reduced                  at 2   and 4 hour      interval.
-
     Mold score reduced                  to    normal outdoor      levels.




m    INDIANA LTNIVERSITY



                                                                                                   Exh.   A - Page 164
      Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 197 of 225 PageID #: 207
                                         EXH|B|T6

University Environmental Health   and Safety                                          October 22, 201 8




Mold Score                -   Reduction


  300

  250

  200

   150

   100

    50



               Martin 313                 Martin 302           Martin 121   Martin   209

                                               I 0hrs I 2hrs      4hrs



w    INDIANA L'NIVERSITY



                                                                                            Exh.   A - Page 165
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 198 of 225 PageID #: 208
                                            EXHIBIT 7
                                                                                        EMLab P&K
                                                   3000 Lincoln Drive East, Suite A, Marlton, NJ 08053
                                                 (866) 871-1984 Fax (856) 334-1040 www.emlab.com
 Client: Safety Management Group                  Date of Sampling: 10-17-2018
 C/O: Matt Martin                                 Date of Receipt: 10-18-2018
 Re: McNutt/Foster Air Sampling; Residence Halls Date of Report: 10-19-2018
 Air-O-Cell Sampling
 MoldSCORE™: Spore Trap Report
 Location: 113 F. Magee Ground FL ED office
          Fungi Identified          Indoor sample spores/m3      Raw    Spores/         MoldSCORE‡
                                    <100   1K     10K   >100K   count     m3      100       200       300 Score
  Generally able to grow indoors*
  Alternaria                                                     1        13                                100
  Bipolaris/Drechslera group                                     ND      < 13                               100
  Chaetomium                                                     ND      < 13                               100
  Cladosporium                                                   10      530                                114
  Curvularia                                                     ND      < 13                               100
  Nigrospora                                                     2        27                                104
  Other brown                                                    1        13                                105
  Penicillium/Aspergillus types†                                189     10,000                              300
  Pithomyces                                                     4        53                                117
  Stachybotrys                                                   ND      < 13                               100
  Torula                                                         ND      < 13                               100
  Seldom found growing indoors**
  Ascospores                                                     ND      < 13                               100
  Basidiospores                                                  2       110                                100
  Rusts                                                          1        13                                105
  Smuts, Periconia, Myxomycetes                                  ND      < 13                               100
  Total                                                                 10,840    Final MoldSCORE           300

 Location: 121 F. Magee 130
          Fungi Identified          Indoor sample spores/m3      Raw    Spores/         MoldSCORE‡
                                    <100   1K     10K   >100K   count     m3      100       200       300 Score
  Generally able to grow indoors*
  Alternaria                                                     ND      < 13                               100
  Bipolaris/Drechslera group                                     ND      < 13                               100
  Chaetomium                                                     ND      < 13                               100
  Cladosporium                                                   2       110                                101
  Curvularia                                                     ND      < 13                               100
  Epicoccum                                                      1        13                                102
  Nigrospora                                                     ND      < 13                               100
  Penicillium/Aspergillus types†                                 2       110                                118
  Pithomyces                                                     2        27                                110
  Stachybotrys                                                   ND      < 13                               100
  Torula                                                         ND      < 13                               100
  Seldom found growing indoors**
  Ascospores                                                     1        53                                100
  Basidiospores                                                  4       210                                100
  Rusts                                                          ND      < 13                               100
  Smuts, Periconia, Myxomycetes                                  1        13                                100
  Total                                                                  533      Final MoldSCORE           118


 EMLab P&K, LLC                                                                    EMLab ID: 2024943, Page 8 of 16



                                                                                        Exh. A - Page 166
                                                                          Filed: 10/25/2018 5:24 PM
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 199 of 225 PageID    #: 209
                                                                             Monroe  Circuit Court 1
                                                                                                Monroe County, Indiana




     STATE OF INDIANA                                       )     IN THE MONROE CIRCUIT COURT
                                                            ) SS:
     COUNTY OF MONROE                                       )     CAUSE NO: 53C01-1810-PL-002169




     JADEN THOMAS, RYAN BRAVERMAN,                          )
     KATIE DEDELOW, JAKE RAMSEY,                            )
     ISABELLA BLACKFORD, MICHAEL                            )
     DUKE, LINDSAY FREEMAN, individuals,                    )
     each on behalf of himself/herself and all others       )
     similarly situated,                                    )
                                                            )
                                                            )
                            Plaintiffs,
                                                            )
            v.
                                                            )
                                                            )
     INDIANA UNIVERSITY, by and through
                                                            )
     its Board of Trustees,

                            Defendant.


            PLAINTIFFS’ FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
                        TO DEFENDANT INDIANA UNIVERSITY

           Plaintiffs, Jaden Thomas, Ryan Braverman, Katie Dedelow, Jake Ramsey, Isabella

    Blackford, Michael Duke, and Lindsay Freeman, by counsel and pursuant to Rule 34 of the Indiana

    Rules of Trial Procedure, respectfully submit their First Request for Production of Documents (the

    “Requests”) to Defendant Indiana University. Defendant is hereby requested to produce the

    following specified documents for inspection and copying.

           These Requests are to be considered as continuing and Defendant is requested to provide,

    by way of supplementary answers and responses thereto, such additional information or documents

    as Defendant or any other person acting on its behalf may hereafter obtain which will augment or

    otherwise modify the responses first given.

                                                        1
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 200 of 225 PageID #: 210



           If you consider any discovery request to seek documents or information which is privileged

    or otherwise protected from discovery, with respect to each such document or information which

    would otherwise be produced or disclosed, make the claim expressly and describe the nature of

    the documents, communications, or other things not produced or disclosed, in a manner that will

    enable other parties to assess the applicability of the privilege or protection. Such a description

    shall include, but is not limited to, the following:

                   a.      A statement of the grounds on which the claim of privilege
                           or right to withhold is based, including all facts that support
                           the claim or right;

                   b.      A description of the document, including the type of
                           document, number of pages, date, and general nature of the
                           document’s contents;

                   c.      A statement identifying the person or persons who prepared
                           the document; and

                   d.      A statement identifying the person or persons who received
                           the document or copies thereof.

           Pursuant to Rule 34 of the Indiana Rules of Trial Procedure, Defendant is requested to

    produce the requested documents organized and labeled to correspond with the specific Requests

    numbered below.

                                                DEFINITIONS

           1.      "Action," "this lawsuit" or "this litigation" means the above-captioned case.

           2.      The term “or” is used in its inclusive sense and should be read as “and/or.”

           3.      Singular forms of any nouns or pronouns include the plural number and vice versa.

    Masculine forms of any nouns or pronouns include the feminine and neuter genders. The past

    tense includes the present tense where the clear meaning is not distorted by change of tense.

           4.      “Documents” means any document in your possession or control, or in the

    possession or control of your counsel, that relates to the subject of the request. Without limitation,
                                                       2
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 201 of 225 PageID #: 211



    “documents” includes: personal notes, memoranda, correspondence and letters either sent or

    received, audio or video recordings, telegrams, interviews, agreements, contracts, requests for

    proposals or bids, purchase orders, invoices, proposals, bids, leases, outlines, minutes, reports,

    summaries, check lists, charts, forms, notebooks, work papers, graphs, drawings, photographs,

    published materials, brochures, sales literature, price lists, advertising literature, handbooks,

    manuals, instructions, records, microfiche or microfilm, documents stored on a computer disk,

    drive, or server, audio or video records, database files, electronic mail, facsimiles, checks, receipts,

    ledgers, spreadsheets, statements, calendars, appointment books, Day Timers, diaries or journals,

    expense reports, travel records, mileage records, telephone messages, voice mails, text messages,

    address lists or books, Rolodex files, summaries of records of telephone conversations,

    chronologies, and all drafts of such documents (including all edited versions).

           The term “documents” includes but is not limited to any electronically stored data on

    magnetic or optical storage media as an “active” file or files (readily readable by one or more

    computer applications or forensics software), including but not limited to any electronically stored

    data on computers, servers, hard drives, storage drives, PDAs, cell phones, smart phones, or any

    other handheld electronic devices; any “deleted” but recoverable electronic files on said media;

    any electronic file fragments (files that have been deleted and partially overwritten with new data);

    and slack (data fragments stored randomly from random access memory on a hard drive during

    the normal operation of a computer [RAM slack] or residual data left on the hard drive after new

    data has overwritten some but not all of previously stored data).

           Electronically stored data should be produced in its original (electronic) format, such as

    .doc files for Word documents, .msg files for Outlook emails, etc., and should be produced in a

    manner such that all metadata and electronic information is preserved and viewable.


                                                       3
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 202 of 225 PageID #: 212



           5.      The terms “relate to,” “related to,” or “relating to” shall mean pertaining to,

    recording, evidencing, constituting, concerning, containing, setting forth, embodying, revealing,

    reflecting, referring to, showing, disclosing, describing, explaining, or summarizing. A

    "document" "relates" to the subject matter of the Request if the subject matter of the document is

    then identified in the Interrogatory or if the document describes, refers to, serves as a basis for, is

    derived from, is produced as the result of, incorporates, suggests, relies upon, is part of, or in any

    other way logically is connected to the subject matter of the inquiry.

           6.      "Communications" mean, without limitation, any effort to receive or convey

    information, whether oral or written, including but not limited to correspondences, exchanges of

    written or recorded information, face-to-face meetings, an electronic, facsimile, or telephone

    communications.

           7.      "Identify" or "identity," when used in reference to:

                   (a)     a natural person, means to state the person's:

                           (i)     full name;

                           (ii)    present or last known home and business address; and

                           (iii)   telephone number.

                   (b)     a person other than a natural person (i.e., a corporation, company,

                   association, partnership, joint venture or other entity) means to state:

                           (i)     its full name; and

                           (ii)    the address of its principal place of business.

                   (c)     a document means to provide:

                           (i)     its description (e.g., letter, memorandum, report, etc.);

                           (ii)    its title and date and the number of pages;


                                                        4
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 203 of 225 PageID #: 213



                            (iii)   author;

                            (iv)    summary of the contents; and

                            (v)     its present location and its custodian's identity.

    If any document was, but is no longer, in your possession or subject to your control, state what

    disposition was made of it and when that disposition was made and the identity of the person who

    authorized the disposition and made the disposition.

            8.      “Plaintiffs” mean Jaden Thomas, Ryan Braverman, Katie Dedelow, Jake Ramsey,

    Isabella Blackford, Michael Duke, and Lindsay Freeman, parties to this litigation.

            9.      “Claim” means the claim made by the Plaintiffs to you regarding the events as set

    forth in the Complaint.

            10.     “Dormitories” means all dormitories owned or operated by Indiana University on

    its Bloomington, Indiana campus.

            11.     “Mold Infestation” means the presence of mold, mold spores, mold mycotoxins, or

    mold particulate matter in the Dormitories as is at issue and described in the Complaint.

            12.     “You” or “your” means Defendant Indiana University, by and through its Board of

    Trustees, including any of its affiliates, subsidiaries, parent companies, partners, agents, associates,

    consultants, employees, independent contractors, advisors, accountants, attorneys and/or

    representatives.

                                    REQUESTS FOR PRODUCTION

            REQUEST NO. 1:          All documents identifying, relating to or evidencing your

    knowledge (including when and how you obtained that knowledge) of the Mold Infestation.

            RESPONSE:

            REQUEST NO. 2:          All documents identifying, relating to or evidencing any


                                                       5
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 204 of 225 PageID #: 214



    investigation of the Mold Infestation and/or its cause by you or anyone else.

           RESPONSE:

           REQUEST NO. 3:           All documents consisting of, relating to or evidencing mold testing,

    and/or the results of said mold testing, performed at the Dormitories from January 1, 2018 to

    present.

           RESPONSE:

           REQUEST NO. 4:           All documents consisting of, relating to or evidencing mold

    remediation protocols or other guidelines or instructions utilized, followed or considered by any

    person performing any mold remediation or clean up at the Dormitories from January 1, 2018 to

    present.

           RESPONSE:

           REQUEST NO. 5:           All documents identifying, relating to or evidencing any

    remediation of, or other attempts to remedy or clean, mold problems or issues, including but not

    limited to the Mold Infestation, at the Dormitories from January 1, 2018 to present. These

    documents should include, but not be limited to, all documents containing information such as the

    specific rooms/buildings subject to such remediation, identification of all efforts utilized to prevent

    the spread of mold spores during any such remediation (i.e., isolation and negative pressure

    techniques and systems utilized, HEPA air filters, covers for property disposable suits for

    technicians, etc.), identification of all chemicals or substances used to encapsulate, kill, or “clean”

    the mold, identification of any equipment or tools utilized, and identification of all processes or

    methods used to clean personal property or soft or porous materials/objects (e.g., clothing,

    upholstered furniture, etc.).

           RESPONSE:


                                                      6
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 205 of 225 PageID #: 215



           REQUEST NO. 6:          All documents relating to or evidencing communications by you

    with Plaintiffs or Plaintiffs’ parent(s) or 3rd Party Access User(s) relating to actual, claimed,

    reported, or potential mold problems or issues, including but not limited to the Mold Infestation,

    at the Dormitories from January 1, 2018 to present.

           RESPONSE:

           REQUEST NO. 7:          All documents relating to or evidencing communications by you

    with any other IU students or their parent(s) or 3rd Party Access User(s) relating to actual, claimed,

    reported, or potential mold problems or issues, including but not limited to the Mold Infestation,

    at the Dormitories from January 1, 2018 to present.

           RESPONSE:

           REQUEST NO. 8:          All documents relating to or evidencing communications by you

    with any non-parties relating to actual, claimed, reported, or potential mold problems or issues,

    including but not limited to the Mold Infestation, at the Dormitories from January 1, 2018 to

    present.

           RESPONSE:

           REQUEST NO. 9:          All documents relating to or evidencing communications internally

    by you relating to actual, claimed, reported, or potential mold problems or issues, including but

    not limited to the Mold Infestation, at the Dormitories from January 1, 2018 to present.

           RESPONSE:

           REQUEST NO. 10:         All documents identifying, relating to or evidencing efforts made by

    you to provide alternative housing and/or additional living expenses for any student affected by

    the Mold Infestation.

           RESPONSE:


                                                      7
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 206 of 225 PageID #: 216



           REQUEST NO. 11:        All documents identifying, relating to or evidencing attempts,

    efforts or agreements made by you to provide alternative housing, cleaning services,

    reimbursement of expenses, or accommodations of any other kind, for any student affected, or

    believed to be affected, by mold at the Dormitories, including but not limited to the Mold

    Infestation, from January 1, 2018 to present.

           RESPONSE:

           REQUEST NO. 12:        All documents relating to or evidencing communications (including

    internal communications between employees or agents of you) about the effect of mold at the

    Dormitories, including but not limited to the Mold Infestation, on students at IU from January 1,

    2018 to present.

           RESPONSE:

           REQUEST NO. 13:        All documents relating to or evidencing your belief, knowledge or

    communications, including internally or with others, that mold and/or the Mold Infestation has

    caused IU students to become sick or ill, from January 1, 2018 to present.

           RESPONSE:

           REQUEST NO. 14:        Copies of any industry standards or guidelines considered or relied

    on by you or anyone else in performing mold remediation, or otherwise attempting to remedy or

    clean mold, at the Dormitories from January 1, 2018 to present.

           RESPONSE:

           REQUEST NO. 15:        All pictures, videos, or other visual evidence of the Mold

    Infestation.

           RESPONSE:

           REQUEST NO. 16:         All documents identifying or relating to any mold testing or


                                                    8
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 207 of 225 PageID #: 217



    remediation that is planned or expected to occur in the future at the Dormitories or in relation to

    students or property residing in the Dormitories.

           RESPONSE:

           REQUEST NO. 17:        All documents evidencing, setting forth, or otherwise relating to

    information or instructions provided to your employees, contractors or agents, including but not

    limited to training guides or materials, emails, news bulletins, operation guides, procedure memos,

    claim-handling manuals, employee manuals, personnel manuals, supervisors manuals, manager

    manuals, or other documents, that describe or relate to how claims and/or the testing for or

    remediation of mold are to be handled at the Dormitories.

           RESPONSE:

           REQUEST NO. 18:        Documents sufficient to identify any industrial hygienist, mold

    remediation professional, or other individual who has participated in performing the mold

    remediation efforts thus far conducted by IU in relation to mold at the Dormitories, or who plans

    or is expected to participate in future such efforts, from January 1, 2018 to present, as well all

    documents evidencing communications with those individuals.

           RESPONSE:

           REQUEST NO. 19:        Documents sufficient to identify all rooms, apartments, or other

    housing that you have open or available to use as temporary residences for students living in the

    Dormitories affected by the Mold Infestation.

           RESPONSE:

           REQUEST NO. 20:        All documents identifying, relating to, or evidencing water leaks,

    water, moisture or humidity problems, water or moisture infiltration, or water or moisture damage




                                                    9
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 208 of 225 PageID #: 218



    at the Dormitories from January 1, 2018 to present, including but not limited to any such water or

    moisture issues at the Dormitories where the Mold Infestation has occurred.

           RESPONSE:

           REQUEST NO. 21:         All documents identifying, relating to, or evidencing any efforts by

    you to address, repair, or remediate water leaks, water, moisture or humidity problems, water or

    moisture infiltration, or water or moisture such damage at the Dormitories from January 1, 2018

    to present, including but not limited to any water or moisture issues at the Dormitories where the

    Mold Infestation has occurred.

           RESPONSE:

           REQUEST NO. 22:         All documents relating to, identifying, or communicating about any

    actual or potential source or cause of mold, including but not limited to the Mold Infestation, at or

    in the Dormitories from January 1, 2018 to present.

           RESPONSE:

           REQUEST NO. 23:         A complete copy of any insurance policy under which you have

    sought, intend to seek, or may obtain, coverage and/or reimbursement, in part or whole, for any

    claims, damages, or expenses arising out of or relating to the Mold Infestation and/or the issues

    and claims set forth in the Complaint.

           RESPONSE:




                                                     10
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 209 of 225 PageID #: 219



    Respectfully submitted,


    WILSON KEHOE WININGHAM                    COX LAW OFFICE


    /S/   Jonathon B. Noves                   /s/   Jacob   R.   Cox
    Jon Noyes, Attorney No. 3 1444-49         Jacob R. Cox, Attorney No. 26321-49
    Wilson Kehoe Winingham        LLC         COX LAW OFFICE
    2859 N. Meridian Street                   1606 N. Delaware Street
    Indianapolis, Indiana 46204               Indianapolis, Indiana    46202
    T: 317.920.6400                           T: 317.884.8550
    F:    317.920.6405                        F: 317.660.2453
    jnoyes@wkw.com.com                        jcox@coxlaw.com




                                         11
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 210 of 225 PageID #: 220




                                   CERTIFICATE OF SERVICE

           I hereby certify that a copy of the foregoing Plaintiff’s First Request for Production of
    Documents has been served upon the following, via hand delivery, on the 18th day
    of October, 2018:

           Indiana University
           Board of Trustees
           Franklin Hall 200
           601 E. Kirkland Avenue
           Bloomington, Indiana 47405



                                                /s/ Jacob R. Cox__________________
                                                        Jacob R. Cox




                                                  12
                                                                          Filed: 10/25/2018 5:24 PM
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 211 of 225 PageID    #: 221
                                                                             Monroe  Circuit Court 1
                                                                                                  Monroe County, Indiana




     STATE OF INDIANA                                   )     IN THE MONROE CIRCUIT COURT
                                                        ) SS:
     COUNTY OF MONROE                                   )     CAUSE NO: 53C01-1810-PL-002169



     JADEN THOMAS, RYAN BRAVERMAN,                      )
     KATIE DEDELOW, JAKE RAMSEY,                        )
     ISABELLA         BLACKFORD,         MICHAEL        )
     DUKE, LINDSAY FREEMAN, individuals,                )
     each on behalf of himself/herself and all others   )
     similarly situated,                                )
                                                        )
                                                        )
                            Plaintiffs,
                                                        )
            v.
                                                        )
                                                        )
     INDIANA UNIVERSITY, by and through its
                                                        )
     Board of Trustees,
                                                        )
                                                        )
                            Defendant.


    To:    Indiana University
           c/o Thomas A. Barnard
           Taft Stettinius & Hollister LLP
           One Indiana Square, Suite 3500
           Indianapolis, IN 46204

                                          AMENDED SUBPOENA

           You are hereby commanded to attend and provide testimony at the offices of Connor

    Reporting located at 120 W. Seventh Street, Suite 440, One City Center, Bloomington, IN

    47404, on Friday, October 26, 2018, beginning at 10:00 a.m. (ET), in relation to the above-

    captioned litigation and your knowledge regarding the issues in that case. To the extent you

    need any documents in order to fully or meaningfully testify on the topics set forth in Exhibit 1

    to the Notice of Deposition accompanying this subpoena, you are directed pursuant to Rule 45 of

    the Indiana Rules of Trial Procedure to bring the same with you to the deposition for inspection,
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 212 of 225 PageID #: 222



    copying, and/or use.


             Dated   this 23rd   day of October, 2018.

    Respectfully submitted,


    WILSON KEHOE WININGHAM                               COX LAW OFFICE


   /s/Jonathon B. Noyes                                  /s/   Jacob   R.   Cox
    Jon Noyes, Attorney N0. 3 1444-49                    Jacob R. Cox, Attorney No. 26321-49
   Wilson Kehoe Winingham             LLC                COX LAW OFFICE
   2859 N. Meridian Street                               1606 N. Delaware Street
   Indianapolis, Indiana 46204                           Indianapolis, Indiana    46202
    T: 3 17.920.6400                                     T: 3 17.884.8550
    F:   317.920.6405                                    F:    317.660.2453
    jnoyes@wkw.com.c0m                                   jcox@coxlaw.com
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 213 of 225 PageID #: 223



     STATE OF INDIANA                                    )     IN THE MONROE CIRCUIT COURT
                                                         ) SS:
     COUNTY OF MONROE                                    )     CAUSE NO: 53C01-1810-PL-002169




     JADEN THOMAS, RYAN BRAVERMAN,                       )
     KATIE DEDELOW, JAKE RAMSEY,                         )
     ISABELLA         BLACKFORD,         MICHAEL         )
     DUKE, LINDSAY FREEMAN, individuals,                 )
     each on behalf of himself/herself and all others    )
     similarly situated,                                 )
                                                         )
                                                         )
                            Plaintiffs,
                                                         )
             v.
                                                         )
                                                         )
     INDIANA UNIVERSITY, by and through its
                                                         )
     Board of Trustees,
                                                         )
                                                         )
                            Defendant.



                  AMENDED NOTICE OF DEPOSITION OF INDIANA UNIVERSITY
                              PURSUANT TO RULE 30(B)(6)

           PLEASE TAKE NOTICE that, pursuant to Rules 30(B)(6) and 45 of the Indiana Rules of

    Civil Procedure, Plaintiffs, by counsel, will take the deposition of a corporate representative(s) of

    Defendant Indiana University at the offices of Connor Reporting located at 120 W. Seventh

    Street, Suite 440, One City Center, Bloomington, IN 47404, on Friday, October 26, 2018,

    beginning at 10:00 a.m. (ET). The deposition will be taken upon oral examination before a

    Notary Public or some other person duly qualified to administer oaths, and may also be video- or

    audio-taped. A list of topics upon which you will be questioned and are asked to prepare is

    attached as Exhibit 1, and a list of definitions of terms used in Exhibit 1, to assist you in

    preparing for those topics, is attached as Exhibit 2.
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 214 of 225 PageID #: 224



              The deposition    Will continue until complete. A11 counsel are invited to attend.               T0   the


    extent   you need any documents         in order t0 fully or meaningfully testify         0n the topics   set forth in


    Exhibit   1,   you are directed pursuant    to   Rule 45    t0 bring the   same with you    to the deposition for


    inspection, copying, and/or use.


    Respectfully submitted,


    WILSON KEHOE WININGHAM                                           COX LAW OFFICE


    /s/Jonathon B. Noyes                                             /s/   Jacob   R.   Cox
    Jon Noyes, Attorney N0. 3 1444-49                                Jacob R. Cox, Attorney N0. 26321-49
    Wilson Kehoe Winingham            LLC                            COX LAW OFFICE
    2859 N. Meridian Street                                          1606 N. Delaware Street
    Indianapolis, Indiana 46204                                      Indianapolis, Indiana      46202
    T: 317.920.6400                                                  T: 317.884.8550
    F:    317.920.6405                                               F: 317.660.2453
    jnoyeschwkw.com.com                                              jcox@coxlaw.com




                                            CERTIFICATE 0F SERVICE

              Ihereby    certify that a   copy 0f the foregoing     Plaintiffs’    Amended Subpoena and         Notice of
    Deposition has been served upon the following, Via electronic mail and U.S. Mail, postage
   prepaid, on the 23rd day 0f October, 2018:


              Thomas A. Barnard
              Taft Stettinius   & Hollister LLP
              One   Indiana Square, Suite 3500
              Indianapolis,   IN 46204
              TBarnard      taftlaw.com


                                                          /s/   Jacob   R.   Cox
                                                          Jacob R. Cox
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 215 of 225 PageID #: 225



                                                EXHIBIT 1

                                                  Topics


            1. Identification of all Dormitory buildings, rooms, common areas affected by the
               Mold Infestation, the type(s) of mold that has been identified in each such space;

            2. Identification of and details regarding the nature of all investigations conducted
               by you to identify the Mold Infestation, the findings of those investigations, and
               any cause(s) of the mold that you have determined or considered;

            3. Identification of all individuals who have conducted investigation(s) into the
               Mold Infestation, including whether they are contractor(s) or employee(s) and
               their qualifications, experience and training in mold investigation and
               remediation, as well as a description of the investigation taken by those
               individuals and the findings of those investigations;

            4. Identification of and details regarding the contents and nature of all mold tests
               results (including air samples and/or tape lifts and any exterior control tests taken
               contemporaneous to interior mold samples) sought or obtained by you along with
               identifying information as to the date and location where the sample was obtained
               and the results of that testing;

            5. Identification of any mold testing that is currently planned or underway;

            6. Identification of any industrial hygienist, mold remediation professional, or other
               individual who has participated in analyzing mold test results or the mold
               infestation and/or contributed to determining how to remediate said mold;

            7. Identification of and details regarding the contents of any mold remediation
               protocol, including any such protocol set forth in informal communications (such
               as email or text message) or in draft or final version, that has been considered,
               prepared or utilized to direct the mold remediation efforts;

            8. All mold remediation efforts taken to date, as well as those underway or planned
               for the future, including specifically the Dormitory rooms, buildings, and
               common areas subject to such remediation and identification of all efforts utilized
               to prevent the spread of mold spores during any such remediation (i.e., isolation
               and negative pressure techniques and systems utilized, HEPA air filters,
               disposable suits for technicians, etc.), chemicals or substances used to
               encapsulate, kill, or “clean” the mold, and any processes or methods used to
               clean personal property or soft or porous materials/objects (e.g., clothing,
               upholstered furniture, etc.);

            9. Identification of any industrial hygienist, mold remediation professional, or other
               individual who has participated in performing the mold remediation efforts thus
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 216 of 225 PageID #: 226



               far conducted by IU or who plans or is expected to participate in future such
               efforts as well as a description of the role or involvement of such individuals in
               the mold remediation efforts;

            10. Identification of any post-remediation testing conducted by you to determine the
                effectiveness of the mold remediation efforts already performed as well as details
                regarding the results of that testing;

            11. Identification of and details regarding the contents of any reports, analyses, or test
                results regarding post-remediation results and testing;

            12. Identification of all industry standards relied on by you in investigating and
                remediating the mold infestation;

            13. Identification of all students who have identified mold in their room, building, or
                common areas and/or complained of medical symptoms relating to mold exposure
                as well as the nature of those complaints;

            14. All efforts made to provide alternative housing and additional living expenses or
                reimbursement for expenses and costs relating to the Mold Infestation for students
                living in the affected dorms/rooms;

            15. Any water or moisture damage/infiltration/leaks/etc. that could reasonably be the
                cause of or contribute to the Mold Infestation at issue in the litigation;

            16. All directions made or provided by you to your employees, contractors or agents
                as to what statements and/or information regarding the mold infestation and
                remediation efforts they are to make or share, or alternatively that they are to
                conceal or not share, when communicating with IU’s students, those students’
                parents or family, or other members of the public, including specifically any such
                statements and/or information that they are to make or share that provides an
                incomplete accounting of your knowledge of the Mold Infestation or that is
                inaccurate;

            17. The timetable for all future anticipated efforts to address and remedy the mold
                infestation and injuries suffered by IU students as a result of the same.
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 217 of 225 PageID #: 227



                                               EXHIBIT 2
                              Definitions for Topics Identified in Exhibit 1

           1.      "Action," "this lawsuit" or "this litigation" means the above-captioned case.

           2.      The term “or” is used in its inclusive sense and should be read as “and/or.”

            3.      Singular forms of any nouns or pronouns include the plural number and vice
    versa. Masculine forms of any nouns or pronouns include the feminine and neuter genders. The
    past tense includes the present tense where the clear meaning is not distorted by change of tense.

            4.      “Documents” means any document in your possession or control, or in the
    possession or control of your counsel, that relates to the subject of the request. Without
    limitation, “documents” includes: personal notes, memoranda, correspondence and letters either
    sent or received, audio or video recordings, telegrams, interviews, agreements, contracts, requests
    for proposals or bids, purchase orders, invoices, proposals, bids, leases, outlines, minutes, reports,
    summaries, check lists, charts, forms, notebooks, work papers, graphs, drawings, photographs,
    published materials, brochures, sales literature, price lists, advertising literature, handbooks,
    manuals, instructions, records, microfiche or microfilm, documents stored on a computer disk,
    drive, or server, audio or video records, database files, electronic mail, facsimiles, checks, receipts,
    ledgers, spreadsheets, statements, calendars, appointment books, Day Timers, diaries or journals,
    expense reports, travel records, mileage records, telephone messages, voice mails, text
    messages, address lists or books, Rolodex files, summaries of records of telephone conversations,
    chronologies, and all drafts of such documents (including all edited versions).

           The term “documents” includes but is not limited to any electronically stored data on
    magnetic or optical storage media as an “active” file or files (readily readable by one or more
    computer applications or forensics software), including but not limited to any electronically stored
    data on computers, servers, hard drives, storage drives, PDAs, cell phones, smart phones, or any
    other handheld electronic devices; any “deleted” but recoverable electronic files on said media;
    any electronic file fragments (files that have been deleted and partially overwritten with new data);
    and slack (data fragments stored randomly from random access memory on a hard drive during
    the normal operation of a computer [RAM slack] or residual data left on the hard drive after new
    data has overwritten some but not all of previously stored data).

            Electronically stored data should be produced in its original (electronic) format, such as
    .doc files for Word documents, .msg files for Outlook emails, etc., and should be produced in a
    manner such that all metadata and electronic information is preserved and viewable.

            5.      The terms “relate to,” “related to,” or “relating to” shall mean pertaining to,
    recording, evidencing, constituting, concerning, containing, setting forth, embodying, revealing,
    reflecting, referring to, showing, disclosing, describing, explaining, or summarizing. A
    "document" "relates" to the subject matter of the Request if the subject matter of the document is
    then identified in the Interrogatory or if the document describes, refers to, serves as a basis for, is
    derived from, is produced as the result of, incorporates, suggests, relies upon, is part of, or in any
    other way logically is connected to the subject matter of the inquiry.
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 218 of 225 PageID #: 228



           6.     "Communications" mean, without limitation, any effort to receive or convey
    information, whether oral or written, including but not limited to correspondences, exchanges of
    written or recorded information, face-to-face meetings, an electronic, facsimile, or telephone
    communications.

           7.      "Identify" or "identity," when used in reference to:

           (a) A natural person, means to state the person's:

                   (i)full name;
                   (ii)present or last known home and business address; and
                   (iii)telephone number.

           (b) A person other than a natural person (i.e., a corporation, company, association,
    partnership, joint venture or other entity) means to state:

                   (i)its full name; and
                   (ii)the address of its principal place of business.

           (c) A document means to provide:

                   (i)its description (e.g., letter, memorandum, report, etc.);
                   (ii)its title and date and the number of pages;
                   (iii)author;
                   (iv)summary of the contents; and
                   (v)its present location and its custodian's identity.

           If any document was, but is no longer, in your possession or subject to your control, state
    what disposition was made of it and when that disposition was made and the identity of the person
    who authorized the disposition and made the disposition.

            8.     “Plaintiffs” mean Jaden Thomas, Ryan Braverman, Katie Dedelow, Jake Ramsey,
    Isabella Blackford, Michael Duke, and Lindsay Freeman, parties to this litigation.

            9.     “Claim” means the claim made by the Plaintiffs to you regarding the events as set
    forth in the Complaint.

           10.   “Dormitories” means all dormitories, apartments, quadrangles, and other student
    housing owned or operated by Indiana University on its Bloomington, Indiana campus.

          11.      “Mold Infestation” means the presence of mold, mold spores, mold mycotoxins, or
    mold particulate matter in the Dormitories.

           12.     “IU,” “you” or “your” means Defendant Indiana University, by and through its
    Board of Trustees, including any of its affiliates, subsidiaries, parent companies, partners, agents,
    associates, consultants, employees, independent contractors, advisors, accountants, attorneys,
    representatives, and/or anyone else acting on your behalf.
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 219 of 225 PageID #: 229




     DOCUMENT E: PLAINTIFFS’ MOTION
            FOR HEARING
                                                                          Filed: 10/25/2018 5:24 PM
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 220 of 225 PageID    #: 230
                                                                             Monroe  Circuit Court 1
                                                                                                Monroe County, Indiana




     STATE OF INDIANA                                   )     IN THE MONROE CIRCUIT COURT
                                                        ) SS:
     COUNTY OF MONROE                                   )     CAUSE NO: 53C01-1810-PL-002169



     JADEN THOMAS, RYAN BRAVERMAN,                      )
     KATIE DEDELOW, JAKE RAMSEY,                        )
     ISABELLA         BLACKFORD,         MICHAEL        )
     DUKE, LINDSAY FREEMAN, individuals,                )
     each on behalf of himself/herself and all others   )
     similarly situated,                                )
                                                        )
                                                        )
                           Plaintiffs,
                                                        )
            v.
                                                        )
                                                        )
     INDIANA UNIVERSITY, by and through its
                                                        )
     Board of Trustees,
                                                        )
                                                        )
                           Defendant.

         PLAINTIFFS’ MOTION FOR HEARING ON THEIR EMERGENCY MOTION
             TO SHORTEN LENGTH OF TIME TO RESPOND TO DISCOVERY

           Plaintiffs, by counsel, respectfully move this Court to hold a hearing on their Emergency

    Motion to Shorten Length of Time to Respond to Discovery at its soonest convenience, and state

    as follows:

           1.      Plaintiffs filed their Emergency Motion to Shorten Length of Time to Respond to

    Discovery on October 25, 2018.

           2.      As stated in Plaintiffs’ Motion, Plaintiffs are requesting emergency relief because

    of the public health emergency caused by the mold infestation in the Indiana University (“IU”)

    dormitories and the questions surrounding IU’s testing and remediation efforts in those

    dormitories.



                                                    1
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 221 of 225 PageID #: 231



              3.     Plaintiffs request that, to the extent the   Court does not immediately grant the


    Motion but instead Wishes     to consider additional    argument 0r factual issues from              either Plaintiffs


    0r Defendant, that this matter be set for an      emergency hearing because 0f the              facts   and

    circumstances involved.


              4.     Plaintiffs are available to participate in a hearing telephonically or in person,


    depending on    this Court’s preference     and convenience.

              WHEREFORE, Plaintiffs respectfully request that this            Court      set this   matter for hearing at


    its   soonest convenience, and for   all   other reliefjust and proper in the premises.


    Respectfully submitted,


    WILSON KEHOE WININGHAM                                      COX LAW OFFICE


    /s/Jonathon B. Noves                                        /s/   Jacob   R.   Cox
    Jon Noyes, Attorney N0. 31444—49                            Jacob R. Cox, Attorney N0. 26321—49
    Wilson Kehoe Winingham          LLC                         COX LAW OFFICE
    2859 N. Meridian Street                                     1606 N. Delaware Street
    Indianapolis, Indiana 46204                                 Indianapolis, Indiana         46202
    T: 317.920.6400                                             T: 317.884.8550
    F:    317.920.6405                                          F: 3 17.660.2453
    inoyes@wkw.com.c0m                                          jcox@coxlaw.com
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 222 of 225 PageID #: 232



                                      CERTIFICATE OF SERVICE

           I  hereby certify that a copy 0f the foregoing has been served upon the following, Via
    electronic mail and U.S. Mail, postage prepaid, on the 25‘d day of October, 201 8:


           Indiana University
           c/o   Thomas A. Barnard
           Taft Stettinius   & Hollister LLP
           One   Indiana Square, Suite 3500
           Indianapolis,   IN 46204
           TBarnard@taftlaw.c0m

                                               /s/   Jacob   R.   Cox
                                               Jacob R. Cox
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 223 of 225 PageID #: 233




          DOCUMENT F: ORDER SETTING
                 HEARING
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 224 of 225 PageID #: 234



     STATE OF INDIANA                                      )     IN THE MONROE CIRCUIT COURT
                                                           ) SS:
     COUNTY OF MONROE                                      )     CAUSE NO: 53C01-1810-PL-002169



     JADEN THOMAS, RYAN BRAVERMAN,                         )
     KATIE DEDELOW, JAKE RAMSEY,                           )
     ISABELLA         BLACKFORD,         MICHAEL           )
     DUKE, LINDSAY FREEMAN, individuals,                   )
     each on behalf of himself/herself and all others      )
     similarly situated,                                   )
                                                           )
                                                           )
                             Plaintiffs,
                                                           )
             v.
                                                           )
                                                           )
     INDIANA UNIVERSITY, by and through its
                                                           )
     Board of Trustees,
                                                           )
                                                           )
                             Defendant.

          ORDER GRANTING PLAINTIFFS’ MOTION FOR HEARING ON THEIR
        EMERGENCY MOTION TO SHORTEN LENGTH OF TIME TO RESPOND TO
                               DISCOVERY

           The Court, having reviewed Plaintiffs’ Motion for Hearing on their Emergency Motion to

    Shorten Length of Time to Respond to Discovery, and having considered the matter and being

    duly advised in the premises, now GRANTS the Motion.

           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that a hearing will be

             9:00
    held at ____________a.m./p.m.             ___ day of October, 2018 on Plaintiffs’ Emergency
                                  (ET) on the 31st

    Motion to Shorten Length of Time to Respond to Discovery. The hearing will be held (in person

    in the Circuit Court 1) / (telephonically with the parties to participate via calling

    _____________________). Plaintiffs’ counsel is further ordered to provide an electronic copy

    of this Order to Defendant’s counsel if they have not yet appeared in this matter for receipt of


                                                       1
Case 1:18-cv-03305-TWP-DML Document 1-1 Filed 10/26/18 Page 225 of 225 PageID #: 235



    service via IEF as of the time this Order is entered.



                            26th day of ______________,
           SO ORDERED this ______        October        2018.



                                                            ____________________________________
                                                            JUDGE, Monroe County Circuit Court 1


    Copies to:

    Jon Noyes, Attorney No. 31444-49
    Wilson Kehoe Winingham LLC
    2859 N. Meridian Street
    Indianapolis, Indiana 46204

    Jacob R. Cox, Attorney No. 26321-49
    COX LAW OFFICE
    1606 N. Delaware Street
    Indianapolis, Indiana 46202

    Indiana University
    c/o Thomas A. Barnard
    Taft Stettinius & Hollister LLP
    One Indiana Square, Suite 3500
    Indianapolis, IN 46204




                                                      2
